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8
9
10                       UNITED STATES DISTRICT COURT
11                    NORTHERN DISTRICT OF CALIFORNIA
12                                 WESTERN DIVISION
13
14    MARCIANO ABADILLA, et al.,            Case No. 3:18-cv-7343

15                  Petitioners,
                                            PETITION FOR ORDER
16         v.                               COMPELLING ARBITRATION

17    UBER TECHNOLOGIES, INC.,

18                  Respondent.

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                                             PETITION FOR ORDER COMPELLING ARBITRATION
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1          Petitioners file this Petition for an Order Compelling Arbitration (“Petition”)
2    against Respondent Uber Technologies, Inc. (“Uber”), as follows:
3                              NATURE OF THE PETITION
4          1.     Petitioners—12,501 Uber drivers—bring this petition to enforce the
5    arbitration provisions included in their services agreements with Uber. Petitioners’
6    names and locations are attached to this Petition as Exhibit A.
7          2.     Beginning on August 18, 2018, Petitioners began filing their individual
8    arbitration demands against Uber. Petitioners seek to arbitrate their individual
9    claims against Uber for misclassifying Petitioners as independent contractors.
10   Among their causes of action, Petitioners’ asserts claims for violation of the Fair
11   Labor Standards Act, 29 U.S.C. §§ 206, 207.
12         3.     As of November 13, 2018, 12,501 demands have been filed with
13   JAMS. Of those 12,501 demands, in only 296 has Uber paid the initiating filing
14   fees necessary for an arbitration to commence. Out of those matters, only 47 have
15   appointed arbitrators, and out of those 47, in only six instances has Uber paid the
16   retainer fee of the arbitrator to allow the arbitration to move forward.
17         4.     Accordingly, Petitioners have filed this Petition to enforce the
18   arbitration provision contained in Uber’s services agreement that all Drivers must
19   sign. It has been more than three-and-a-half months since the first Petitioners
20   served their individual arbitration demands, yet Uber has refused to pay the
21   necessary fees to commence and administer arbitration in all but a handful of cases.
22   For the vast majority of demands, Uber’s refusal to pay any fees means the
23   arbitrations cannot even commence, let alone proceed to a preliminary hearing. At
24   the rate at which Uber is paying the initial arbitration fees, it would take
25   approximately 10 years before the last Petitioner’s arbitration even commenced.
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1                                      JURISDICTION
2          5.     This Court has jurisdiction over this action pursuant to 9 U.S.C. § 4
3    and 28 U.S.C. §§ 1331, 1367. Venue exists under 9 U.S.C. § 4 and 28 U.S.C. §
4    1391(b).
5                            INTRADISTRICT ASSIGNMENT
6          6.     This action is properly assigned to the San Francisco Division of this
7    District pursuant to Civil Local Rule 3-2(c) and (d) because a substantial part of the
8    events or omissions which give rise to the claim occurred in San Francisco County,
9    which is served by the San Francisco Division.
10                                   RELEVANT FACTS
11   A.    Petitioners File Arbitration Demands Pursuant To Their Services
12         Agreements with Uber
13         7.     Petitioners have set in motion individual arbitrations just as Uber has
14   long insisted are required by its agreements. In light of this, Petitioners served
15   12,501 individual arbitration demands on Uber, as follows:
16                      August 13, 2018 – 400 individual demands
17                      September 5, 2018 – 1,046 individual demands
18                      September 18, 2018 – 2,194 individual demands
19                      September 28, 2018 – 1,285 individual demands
20                      October 8, 2018 – 1,834 individual demands
21                      October 15, 2018 – 1,215 individual demands
22                      October 22, 2018 – 998 individual demands
23                      October 30, 2018 – 1,191 individual demands
24                      November 6, 2018 – 1,030 individual demands
25                      November 13, 2018 – 1,346 individual demands
26         8.     All Petitioner have asserted claims for failure to pay minimum wage
27   and overtime under the Fair Labor and Standards Act, 29 U.S.C. §§ 206, 207. In
28   addition, Petitioners assert various state law causes of action that include the
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1    following:
2                 California Claimants:
3                      Failure to pay minimum wage under California Labor Code §§
4                       1182.12, 1194, 1194.1, 1197, 1198 & Industrial Welfare
5                       Commission Wage Order 9-2001
6                      Failure to pay overtime under Labor Code § 510 & Wage Order
7                       9-2001
8                      Failure to provide an itemized wage statement under Labor
9                       Code § 226
10                     Failure to provide paid sick time under Labor Code § 246
11                     Failure to conduct background checks in compliance with
12                      California Civil Code §§ 1786.1-1786.60
13                     Violation of California Business & Professions Code § 17200
14                     Violation of the various local ordinances as shown to be
15                      applicable as a result of a claimant working 2 hours in a given
16                      workweek within the relevant municipality
17                Illinois Claimants:
18                     Failure to pay minimum wage under 820 ILCS 105/1 et seq.
19                     Failure to pay overtime under Ill. Admin. Code tit. 56, §
20                      210.430
21                     Violation of various local ordinances as shown to be applicable
22                      as a result of a claimant working the requisite hours within the
23                      relevant municipality
24                Massachusetts Claimants:
25                     Failure to pay minimum wage under M.G.L c. 151
26                     Failure to pay overtime under M.G.L c. 151
27                     Failure to provide paid sick time under M.G.L c. 149 § 148C
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1                 New Jersey Claimants:
2                       Failure to pay minimum wage under N.J.S.A. § 34:11-56a et
3                        seq.
4                       Failure to pay overtime under N.J.S.A. § 34:11-56a4 and
5                        N.J.A.C. § 12:56-6.1
6                       Failure to provide a statement of wages under N.J.A.C. § 12:56-
7                        4.1
8                       Violation of various local ordinances as shown to be applicable
9                        as a result of a claimant working 80 hours per year within the
10                       relevant municipality
11                New York Claimants:
12                      Failure to pay minimum wage under New York Consolidated
13                       Laws, Labor Law (“NYLL”) §§ 652, 663, and Part 142 of Title
14                       12 of the Official Compilation of Codes, Rules, and Regulations
15                       of the state of New York (“Miscellaneous Wage Order”), § 142-
16                       2.1
17                      Failure to pay overtime under Miscellaneous Wage Order § 142-
18                       2.2
19                      Failure to provide “spread of hours” pay under NYLL §§ 265
20                      Failure to provide proper wage statements under NYLL §§
21                       195(1), 195(3), 198
22   B.    The Arbitration Provisions
23         9.     Petitioners’ disputes with Uber arise out of one of two agreements: (1)
24   the Raiser, LLC Technology Services Agreement; or (2) the Portier, LLC
25   Technology Services Agreement. Both agreements contain an extensive arbitration
26   provision, located in § 15.3 of each agreement. Both arbitration provisions allow
27   drivers to opt out of arbitration. Petitioners elected not to invoke the opt-out
28   provision.
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1          10.    The two agreements are nearly identical. For example, each agreement
2    requires Petitioners to arbitrate “all disputes between you and the Company or Uber
3    … including but not limited to any disputes arising out of or related to this
4    Agreement and disputes arising out of or related to your relationship with the
5    Company or Uber.”
6          11.    In fact, under each agreement, the arbitration provision “applies to
7    disputes regarding any city, county, state or federal wage-hour law … and claims
8    arising under the … Fair Labor Standards Act … and state statutes, if any,
9    addressing the same or similar subject matters, and all other similar federal, state
10   and/or local statutory and common law claims.”
11         12.    Petitioners’ allegations in their demands for arbitration regarding their
12   employment misclassification fall within the scope of these provisions.
13         13.    Both arbitration provisions state—in a section titled “Paying For The
14   Arbitration”—that Petitioners “will not be required to bear any type of fee or
15   expense that [they] would not be required to bear if [they] had filed the action in a
16   court of law. Any disputes in that regard will be resolved by the Arbitrator as soon
17   as practicable after the Arbitrator is selected, and Company shall bear all of the
18   Arbitrator’s and arbitration fees until such time as the Arbitrator resolves any such
19   dispute.” (Id. at § 15.3(vi).) This is consistent with the two provisions’ delegation
20   of questions of arbitrability to the arbitrator; each provision dictates that “disputes
21   arising out of or relating to the interpretation, application, enforceability,
22   revocability or validity of this Arbitration Provision, or any portion of the
23   Arbitration Provision” are to be decided by the arbitrator.
24   C.    Uber Has Refused To Commence The Arbitrations
25         14.    In defending the validity of its arbitration provisions and promoting
26   arbitration as a viable alternative to the courts, Uber represented to the Ninth
27   Circuit that it “has offered to pay the arbitration fees” to plaintiffs who had asserted
28   employment-based claims.
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1          15.    Four days after the first Petitioners served their demands, their counsel
2    attempted to reach an agreement with Uber on an alternative process to administer
3    the arbitrations. Petitioners proposed a bellwether process, in which Uber and
4    Petitioners’ counsel would select nine bellwether arbitrations, with mediation to
5    follow.
6          16.    Two-and-a-half weeks later, Uber declined a bellwether process,
7    proposing instead four individual arbitrations and no mediation. That proposal was
8    unworkable for Petitioners, who then elected to pursue their arbitrations through the
9    JAMS procedure set forth in the arbitration provision.
10         17.    Pursuant to JAMS’s procedure, Uber’s payment of the filing fee
11   triggers the commencement of the arbitration. To date, Uber has paid the filing fee
12   in only 296 arbitrations.
13         18.    After the filing fee is paid, the parties appoint an arbitrator through a
14   strike process. Once that happens, JAMS invoices a retainer based on the
15   arbitrator’s professional fees for anticipated preparation time.
16         19.    In the first 47 arbitrations that commenced and completed the strike
17   process, it took Uber more than three months to pay the retainer for any of the
18   arbitrations. Even then, Uber has paid the initial retainer for preliminary hearing
19   activities for only six of the 47 arbitrations that have appointed arbitrators.
20         20.    On November 13, 2018, Uber represented to Petitioners’ counsel that
21   it would “imminently” pay the remaining retainers, but it did not pay them.
22         21.    Uber knows that its failure to pay the filing fees has prevented the
23   arbitrations from commencing. Throughout this process, JAMS has repeatedly
24   advised Uber that JAMS is “missing the NON-REFUNDABLE filing fee of $1,500
25   for each demand, made payable to JAMS.” JAMS has also informed Uber that
26   “[u]ntil the Filing Fee is received we will be unable to proceed with the
27   administration of these matters.”
28   ///
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1          22.    Thus, despite Uber’s proclamation that the “entire purpose of
2    arbitration is to provide an inexpensive and expeditious means of resolving
3    disputes,” its quest to resolve misclassification disputes in individual arbitration
4    instead of a class action in court, and its knowledge of the effect of the non-
5    payment of arbitration fees, only six of Petitioners’ demands are in a position to
6    proceed toward a hearing.
7          23.    To date, Uber has paid the fees required to commence arbitration for
8    only 296 of the 12,501 individuals who have served arbitration demands. That
9    means that in approximately 98% of the arbitrations that have been filed, Uber has
10   not paid the necessary fees to commence arbitration. And of the 2% of demands
11   that have turned into commenced arbitrations, Uber has paid the initial retainers for
12   only 2% of those. In other words, Uber has paid initial retainers for only .05%—
13   one-twentieth of one percent—of the 12,501 Petitioners who have served arbitration
14   demands. Some Petitioners served their demands as early as August 13, 2018, and
15   have waited three-and-a-half months without any movement on their cases. (See
16   Rigali Decl., ¶ 4.) At this rate, it will be approximately 10 years before all
17   Petitioners have even begun arbitration, and far longer before all Petitioners even
18   see a preliminary hearing.
19         24.    Under 9 U.S.C. § 4, it is not in dispute that the parties entered an
20   arbitration agreement requiring them to arbitrate. It is also undisputed that Uber
21   has failed and refused to adhere to its obligation to arbitrate under the agreement.
22   Uber’s decision to not participate in more than 12,000 Petitioner arbitrations is
23   unjustified, frivolous, and done for improper purposes.
24         25.    Accordingly, this Court should compel Uber to arbitrate under 9
25   U.S.C. § 4. Further, the Court should sanction Uber for its dilatory, bad faith
26   conduct under 28 U.S.C. § 1927 and the Court’s inherent power. Cf. Int’l Union of
27   Petroleum and Indus. Workers v. Western Indus. Maintenance Inc., 707 F.2d 425
28   (9th Cir. 1983) (upholding sanctions for unjustified refusal to abide by arbitrator’s
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1    award, including frivolous delay tactics); Sheet Metal Workers’ Int’l Assoc. Local
2    Union No. 359 v. Madison Indus., Inc. of Arizona, 84 F.3d 1186, 1192 (9th Cir.
3    1996) (upholding sanctions for flatly refusing to honor arbitration award); Road
4    Sprinkler Fitters Union No. 669, U.A, AFL-CIO v. Cosco Fire Protection, Inc., 363
5    F. Supp. 2d 1220, 1226 (C.D. Cal. 2005) (awarding sanctions where defendants
6    asserted a series of defenses indicating a bad-faith intent to delay arbitration).
7    Under this established case law, an “award of fees is appropriate when a party
8    frivolously or in bad faith refuses to submit a dispute to arbitration.” Road
9    Sprinkler Fitters, 363 F. Supp. 2d at 1226 (citation omitted).
10
11                                 PRAYER FOR RELIEF
12         WHEREFORE, Petitioners respectfully request that the Court:
13         1.     Enter an order compelling Uber to arbitrate Petitioners’ demands for
14                arbitration, including engaging in arbitration proceedings by paying
15                the filing fees, participating in the selection of the arbitrator, and
16                paying the requisite retainer for the selected arbitrator.
17         2.     Awarding Petitioners’ attorneys’ fees and costs; and
18         3.     Awarding such other and further relief as the Court deems just and
19                proper.
20
21   Dated: December 5, 2018                 LARSON O’BRIEN, LLP
22
23                                           By: _/s/ Stephen G. Larson___________
24                                                 STEPHEN G. LARSON
                                                   PAUL A. RIGALI
25                                                 R.C. HARLAN

26                                           Attorneys for Petitioners
                                             MARCIANO ABADILLA, et al.
27
28
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            EXHIBIT A
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                                               Filed     Abadilla Page
                                                     12/05/18     v. Uber11Technologies,
                                                                            of 301       Inc.
                                               USDC Northern District Case No. 3:18-cv-7343

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Muhammad          Abdullah              Antioch                CA
Jamal             Abdullah              Fairfield              CA
Tariq             Abdus‐Samad           Altadena               CA
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Jeremiah          Abee                  Richmond               CA
Dennis            Abela                 Newark                 CA
Mark              Abella                Los Angeles            CA
Rafael            Abello                Pomona                 CA
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Edwin             Abesamis              Sacramento             CA
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Carla             Abeyta                Glendale               CA
Maria Felix       Abiles                National City          CA
Richard           Abinader              Belmont                CA
Olaleye           Abioro                Gardena                CA
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Karam             Abou‐Mostafa          Alhambra               CA
Michelle          Abrams                Stockton               CA
Terrell           Abrams                San Leandro            CA
Jose              Abrego                Huntington Park        CA
Rachelle          Abril                 Merced                 CA
Alex              Abualzalaf            Campbell               CA
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Hector            Acaba                 San Pedro              CA
Jose              Acevedo               Pinole                 CA
Felipe            Acevedo               Madera                 CA
Simone            Acevedo               Oakland                CA
Edgardo           Acevedo               Covina                 CA
Sunday            Achiayah              Rncho Cordova          CA
Kenneth           Achukwu               Antioch                CA
Michael           Acker                 Anaheim                CA
Anita             Acosta                Fresno                 CA
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Jhonel            Adam                 Monterey                CA
Anweya            Adam                 Ceres                   CA
Abdul             Adam                 San Leandro             CA
Fernando          Adame                Downey                  CA
William           Adames               Oakland                 CA
Obetd             Adames               Los Angeles             CA
Brian             Adams                Stockton                CA
Amy               Adams                San Francisco State     CA
Richard           Adams                Oakland                 CA
William           Adams                Los Angeles             CA
Christopher       Adams                Woodland Hills          CA
Michael           Adams                East Palo Alto          CA
Kenya             Adams                San Jose                CA
Brandon           Adams                Compton                 CA
Floyd             Adams                Sacramento              CA
Charles           Adams                Long Beach              CA
Tameka            Adams                Paramount               CA
Angelo            Adams                Inglewood               CA
Lamont            Adams                Richmond                CA
Junis             Adams                Oakland                 CA
Tanieshia         Adams                Los Angeles             CA
Joshua            Adelaja              Stockton                CA
Mohammed          Adeys                San Jose                CA
Rajendra          Adhikari             Sunnyvale               CA
Victor            Adkins               San Pedro               CA
Greg              Adkins               Monrovia                CA
Richard           Adu Asante           Los Angeles             CA
Mario             Adurias              Riverside               CA
Aefoisia          Ae                   Granada Hills           CA
William           Afaisen              Long Beach              CA
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Okechukwu         Afonta               Hawthorne               CA
Mike              Agazaryan            North Hollywood         CA
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Ann               Agnew                Antioch                 CA
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Tina              Aguila               Downey                  CA
Crystal           Aguila               Pico Rivera             CA
Dorothy           Aguilar              San Jose                CA
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William          Aguilar               Bay Point               CA
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Wendy            Aguilar               Fontana                 CA
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Adela Haro       Aguilar               Fresno                  CA
Larry            Aguilar               Baldwin Park            CA
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Carlos           Aguilar               Canyon Country          CA
Luis             Aguilar‐Perez         Los Angeles             CA
Reggie           Aguiling              Laguna Hills            CA
Kevin            Aguinaldo             Long Beach              CA
Victor           Aguirre               Mission Hills           CA
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Anissa           Aguirre               Sanger                  CA
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Mike             Ahern                 Antioch                 CA
Jubrieel         Ahkile                Oakland                 CA
Farid            Ahmad                 Tracy                   CA
Hasina           Ahmadi                Clayton                 CA
Hossein          Ahmadi                Calabasas               CA
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Sk F             Ahmed                 Los Angeles             CA
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Michael          Akins                 Chowchilla              CA
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Sukias           Akopyan               Burbank                 CA
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Khaled           Alagi                 Oakland                 CA
Mohsen           Alagi                 Oakley                  CA
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Abdolreza        Alai                  Larkspur                CA
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Salvador           Alas                   Lodi                    CA
Petros             Alaverdian             Panorama City           CA
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Mark               Alban                  Pleasant Hill           CA
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Lisette            Albert                 Los Angeles             CA
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Cristobal          Alcorta                Lynwood                 CA
Jose               Aldana                 San Ysidro              CA
George             Aldapa Jr              Cerritos                CA
Rafael             Aldave                 Palmdale                CA
Anthony            Alduncin               Hayward                 CA
Hamzah             Aldwairi               Rancho Cordova          CA
Juan               Alejandre              El Sobrante             CA
Wilton             Alejandro              Roseville               CA
Dagoberto          Alejo                  Madera                  CA
Alexander          Aleksanyan             Glendale                CA
Alma               Aleman                 Elk Grove               CA
Alexander          Aleman                 Sacramento              CA
Monique            Alexander              Alameda                 CA
Erica              Alexander              Inglewood               CA
Nina               Alexander              Woodland Hills          CA
Rosetta            Alexander              Elk Grove               CA
Andrew             Alexander              Stockton                CA
Amanda             Alexander              Fresno                  CA
Ho                 Alexander              Huntingtn Bch           CA
Christopher        Alexander              Inglewood               CA
Joseph             Alexander              North Highlands         CA
Barry              Alexander              San Pablo               CA
Sanae              Alexander              Milpitas                CA
Ken                Alexander              Hayward                 CA
James              Alexander              Oakland                 CA
William            Alexander Jr           Hawthorne               CA
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Angeline         Alexis               Los Angeles             CA
Jayson           Alfonso              Sunnyvale               CA
Keisha           Alfred               Moreno Valley           CA
James            Alfred               West Sacramento         CA
Loretta          Alfred               Los Angeles             CA
Salah            Algabri              Oakland                 CA
Malek            Algahim              San Francisco           CA
Ghasan Mohamed   Algahim              Oakland                 CA
Mohamed          Algahim              San Francisco           CA
Antoine          Alghani              Long Beach              CA
Samir            Alhawi               Rancho Cucamonga        CA
Akber            Ali                  San Francisco           CA
Shareef          Ali                  Sacramento              CA
Rizwaan          Ali                  San Pablo               CA
Amer             Ali                  Fremont                 CA
Mohammed         Ali                  Hayward                 CA
Ali              Ali                  Oakland                 CA
Said             Aliev                Irvine                  CA
Sheri            Alipate              Redwood City            CA
Annas            Alkanawi             San Bruno               CA
Akram            Alkhulaidi           Hayward                 CA
Safwan           Allababidi           San Bruno               CA
L Takim          Allah                San Leandro             CA
Monet            Allen                Hayward                 CA
Johnie           Allen                Oakland                 CA
Marla            Allen                Hayward                 CA
Lorene           Allen                Tulare                  CA
Heather          Allen                Fresno                  CA
Michael          Allen                Redwood City            CA
Kara             Allen                Bellflower              CA
Eric             Allen                San Jose                CA
Adrian           Allen                Wildomar                CA
Derek            Allen                Santa Clara             CA
Jeff             Allen                Vallejo                 CA
Terrence         Allen                San Leandro             CA
Nathan           Allen                Salinas                 CA
Daijerri         Allen                Carson                  CA
Andrei           Allen Sr             Oakland                 CA
Jamal            Almahbashi           Richmond                CA
Ruben            Almaraz              Fresno                  CA
Ali              Almayahi             Mountain View           CA
Paulo Cazar      Almeida              El Cerrito              CA
Alexander        Almendral            San Lorenzo             CA
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Ahmed              Almoraissi               Vallejo                 CA
Fawaz              Alnajar                  Pinole                  CA
Dierhem            Alomaisi                 Oakland                 CA
Denise             Alomar                   Pinole                  CA
Christian          Alonzo                   West Covina             CA
Al                 Aloudi                   San Francisco           CA
Noor               Alsaeis                  Hawthorne               CA
Michael            Alston                   San Jose                CA
Ariba              Alston‐Williams          Freedom                 CA
Luis               Altamirano               Fresno                  CA
Peter              Aluma                    Sacramento              CA
John               Alva                     Los Angeles             CA
Mike               Alvarado                 South Gate              CA
Steven             Alvarado                 Torrance                CA
Brian              Alvarado                 Sacramento              CA
Connie             Alvarado                 San Fernando            CA
Irma               Alvarado                 Visalia                 CA
Gabriel            Alvarado                 Fullerton               CA
Victor             Alvarado                 Stockton                CA
Peter              Alvarado                 Culver City             CA
Jose               Alvarado                 North Hollywood         CA
Jesse              Alvarado                 Bell                    CA
Jacqueline         Alvarado                 Norwalk                 CA
Jose               Alvarado Linares         Bell                    CA
Raul               Alvarez                  Fresno                  CA
Osbaldo            Alvarez                  North Hills             CA
Jose               Alvarez                  Sanger                  CA
Ivan               Alvarez                  Anaheim                 CA
Frances            Alvarez                  Santa Clara             CA
Paul               Alvarez                  Downey                  CA
Adrian             Alvarez                  Burbank                 CA
Daniel             Alvarez                  Modesto                 CA
Christian          Alvarez                  El Sobrante             CA
Hector             Alvarez                  Sanger                  CA
Eric               Alvarez                  Reseda                  CA
Luis               Alvarez                  Fresno                  CA
Candise            Alvarez                  Windsor                 CA
Melvin             Alvarez                  Antioch                 CA
Amanda             Alvarez                  Stanton                 CA
Horacio Barrios    Alvarez                  North Hollywood         CA
Jose               Alvarez                  Vacaville               CA
Edmund             Alvarez                  San Bruno               CA
Fabian             Alvelo                   Granada Hills           CA
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Phillip          Alvidrez               Ontario                 CA
Eva              Alvizar Garay          Fresno                  CA
Michelle         Amador                 San Jose                CA
Kabemba          Amaku                  San Leandro             CA
Tony             Amaral                 San Francisco           CA
Otonye           Amatoru                Fairfield               CA
Ipalibo          Amatoru                Vacaville               CA
Athanasios       Amaxopoulos            Sunnyvale               CA
Juan             Amaya                  San Jose                CA
Inez             Amaya                  La Puente               CA
Michael          Ambeau                 Fairfield               CA
Andrew           Ambriz                 Stockton                CA
Laura            Ambriz‐ Garcia         San Bernardino          CA
Yoshiko          Ambrose                Carmichael              CA
Mohammed Ahmed   Amdouni                Daly City               CA
Victor           Amerson                San Francisco           CA
Felicia          Ames                   Tracy                   CA
Raul             Amesquita              San Bernardino          CA
Brandon          Amey                   Antioch                 CA
Louie            Amezcua                Los Angeles             CA
Merwais          Amin                   Concord                 CA
Naiem            Amiri                  Modesto                 CA
Qais             Amiri                  San Leandro             CA
Nariman          Amiri                  Tracy                   CA
Farhad           Amiri                  Union City              CA
Nasim            Amiri                  Elk Grove               CA
Lilit            Amiryan                Glendale                CA
Jann             Amos                   Los Angeles             CA
Kenny            An                     San Leandro             CA
Ona              Anakwenze              Sacramento              CA
Presha           Anaya                  Modesto                 CA
Celena           Anaya                  Fresno                  CA
Catherine        Ancheta                Chino                   CA
Dariyon          Anderson               Compton                 CA
Justin           Anderson               Inglewood               CA
Shaun            Anderson               Hawthorne               CA
Karanja          Anderson               Highland                CA
Sherra           Anderson               Sacramento              CA
Frank            Anderson               San Jose                CA
Anthonisha       Anderson               Paramount               CA
Daniel           Anderson               Vacaville               CA
Jay              Anderson               Fresno                  CA
Heather          Anderson               Oceanside               CA
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Rianne               Anderson               Paramount               CA
Isaiah               Anderson               Hayward                 CA
Gary                 Anderson               Modesto                 CA
Amber                Anderson               Los Angeles             CA
Tatiana              Anderson               Inglewood               CA
Darron               Anderson               Los Angeles             CA
Daisha               Anderson               Los Angeles             CA
Mary                 Anderson               Santa Clara             CA
Angela               Anderson               Oakland                 CA
Adreana              Anderson               Beaumont                CA
Eugine               Andrade                San Francisco           CA
Manuel               Andrade                Redwood City            CA
Juancho              Andres                 San Francisco           CA
William              Andresen               Reseda                  CA
Brian                Andrews                Carmel Highlands        CA
Norrese              Andrews                Los Angeles             CA
Micah                Andrews                Castro Valley           CA
Kody                 Andrews                San Francisco           CA
Jackie               Andrews                Modesto                 CA
Kimberi              Andrews                Inglewood               CA
Brenda               Andrus                 Sacramento              CA
Guilherme H          Anduca                 Menlo Park              CA
Gusner               Anezil                 Petaluma                CA
Manuel               Angel                  Vallejo                 CA
James                Angels                 Norwalk                 CA
Angela               Anglin                 Sacramento              CA
Bernardo             Anguiamo               Redwood City            CA
Caesar               Angulo                 Berkeley                CA
Alfonso              Angulo                 San Pedro               CA
Alfred               Anisco                 San Jose                CA
Wellington           Ankomahene             Oakland                 CA
Oriyomi              Anomo                  Los Angeles             CA
Kaleem               Ansari                 Los Angeles             CA
Chris                Ansell                 Redondo Beach           CA
John                 Anthony                Los Angeles             CA
Taina                Anthony                Los Angeles             CA
Robert               Anthony                Long Beach              CA
Edna Dunham‐Mcnair   Anthony Mcnair         Stockton                CA
Frankie              Antoine                Dublin                  CA
Jared                Antonio                Sunnyvale               CA
Michelle             Antonio                Long Beach              CA
Patrica              Antuna                 Inglewood               CA
Roselind             Anyalebechi            Gardena                 CA
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Gina              Apaisa                  Carson                  CA
Javier            Aparicio                Glendale                CA
Cesar             Aparicio                Palmdale                CA
Mariza            Aquino                  Daly City               CA
Yesenia           Aquino                  Newark                  CA
Anthony           Aquino                  Visalia                 CA
Rehmatullah       Aradzai                 Hayward                 CA
Cesar             Aragon                  Antioch                 CA
Stephen           Aragon                  Monrovia                CA
Petra             Aragon                  San Jose                CA
Frederick         Arak                    Los Angeles             CA
Bruce             Arana                   Oakland                 CA
Patricia          Arana Hernandez         San Jose                CA
Juan              Aranda                  Wilmington              CA
David             Aranda                  Covina                  CA
Rafael            Araujo                  Daly City               CA
Sonja             Arbee                   Stockton                CA
Antonio           Arce                    South San Francisco     CA
Annette           Arce                    Calabasas               CA
Jeremy            Archimbaud              Northridge              CA
Zachariah         Archuleta               Fresno                  CA
Stacy             Ardoin                  San Jose                CA
Virginia          Ardon                   Los Angeles             CA
Jesse             Arellano                Bloomington             CA
Cristina          Arellano                Los Angeles             CA
Juan              Arellano                Santa Ana               CA
Carlos            Arellano Orozco         San Fernando            CA
Matthew           Arensberg               Santa Clara             CA
Angel             Arevalo                 Pomona                  CA
Jorge             Arevalo                 Cudahy                  CA
Erik              Arezoo                  Panorama City           CA
Jacob             Arguelles               San Diego               CA
Kellie            Argueta                 Hayward                 CA
Olfis             Argueta                 San Francisco           CA
William           Argueta                 Eastvale                CA
Joel              Argueta                 Long Beach              CA
Ahmad             Aria                    Modesto                 CA
Arturo            Arias                   Norwalk                 CA
Edguhort          Arias                   Vallejo                 CA
Ahmed             Arikat                  San Jose                CA
Aaron             Armelin                 Monrovia                CA
Anita             Armendariz              San Jose                CA
Pedro             Armendariz              Montclair               CA
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Nicolas          Armenta              Pacoima                 CA
Jesus            Arminta              Los Angeles             CA
Tracy            Armstead             Glendale                CA
Tyesha           Armstead             Gardena                 CA
Donnie           Armstrong            Oakland                 CA
Lonnie           Armstrong            Elk Grove               CA
Larnell          Armstrong            Oakland                 CA
Michael          Armstrong            Union City              CA
Roger            Armstrong            Lomita                  CA
Lavern           Armstrong            Stockton                CA
Johnell          Arnett               Rosemead                CA
Sir              Arnette              Hanford                 CA
Anthony          Arnick               Fontana                 CA
Tenisha          Arnold               Los Angeles             CA
David            Arnold               Hawaiian Gardens        CA
Robert           Arnwine              Moreno Valley           CA
Van Eric         Arreca               Baldwin Park            CA
Ernesto          Arreguin             Stevenson Ranch         CA
Joseph           Arreola              South Gate              CA
Adolfo           Arreola              Orange                  CA
Kathy            Arreola              Paramount               CA
Amanda           Arreola              Sacramento              CA
Fernando         Arreola              Fresno                  CA
Daniel           Arreola              San Dimas               CA
Matthew          Arrieta              Arcadia                 CA
Vernell          Arrington            Glendale                CA
Manny            Arriola              Dublin                  CA
Anica            Arriola              Tarzana                 CA
Nicolas          Arroyo               Fresno                  CA
Imtiaz           Arshad               Hercules                CA
Hakop            Arshakyan            Los Angeles             CA
Mary Carmen      Arteaga              Bakersfield             CA
Manuel           Arteaga              Moreno Valley           CA
Manuel           Artigas              Clovis                  CA
Ursula I         Arvand               Redwood City            CA
Antonio          Arvizo               Clovis                  CA
Luajuana         Asaad                Irvine                  CA
Hovsep           Asatryan             Fresno                  CA
Tomika           Asberry              Fremont                 CA
Jonathan         Ashabraner           Fremont                 CA
John             Ashe                 Sacramento              CA
Angelicca        Ashford              Pittsburg               CA
Jamal            Ashford              San Leandro             CA
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Bradon             Ashford              Oakland                 CA
Laurence E         Ashford Jr           San Leandro             CA
Artik              Ashish               Hayward                 CA
Arthur             Ashjian              Oceanside               CA
Jennifer           Ashley               Berkeley                CA
Johnathan          Ashley               Santa Clara             CA
Christianna        Ashley               San Pedro               CA
Kejon              Askew                Dublin                  CA
Philip             Askew                Walnut Creek            CA
Mark               Askins               Redwood City            CA
Donara             Aslanian             Glendale                CA
Arutyun            Aslanyan             Van Nuys                CA
Mangwi             Asobo                San Jose                CA
Fred               Assadi               Morgan Hill             CA
Yousef             Assfour              San Bruno               CA
Joel               Astorga              Bell                    CA
Benjamin           Astrolabio           San Leandro             CA
Eileen             Atencio              Wilmington              CA
Patrick            Atkins               San Leandro             CA
April              Atkins               Vallejo                 CA
Anthony            Atkinson             Long Beach              CA
George             Atondo               Woodland                CA
Brenton            Attaway              Modesto                 CA
Ayatte             Attia                Vallejo                 CA
Mandouh            Attia                Oakley                  CA
Dai                Au                   Manhattan Beach         CA
Darell             Auberry              Los Angeles             CA
Jeannette          August               Castro Valley           CA
Gary               Augustine            Riverside               CA
Deion              Augustus             Los Angeles             CA
Derec              Aujay                Penngrove               CA
Andre              Ausler               Temecula                CA
Leo                Austin               Stockton                CA
Geneva             Austin               Los Angeles             CA
Leonard            Austin               Los Angeles             CA
Justin             Austin               Rosemead                CA
Yolanda            Austin               Fairfield               CA
Erick              Avalos               Ontario                 CA
Louie              Avalos               Muscoy                  CA
Ana                Avalos               Rialto                  CA
Mher               Avdalyan             Glendale                CA
Carlos             Avelar               South San Francisco     CA
Beatriz            Avendano             San Francisco           CA
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Ricky             Avenell                Fresno                  CA
Annette           Avery                  Los Angeles             CA
Dessie            Avery                  Los Angeles             CA
Betty             Avila                  Hanford                 CA
Angel             Avila                  Rialto                  CA
Nathan            Avila                  Baldwin Park            CA
Michael D         Avila                  San Francisco           CA
Jennifer          Avila                  Napa                    CA
Andrew            Avila                  Bakersfield             CA
Marcus            Avila                  Panorama City           CA
Kenneth           Avila                  North Highlands         CA
Alexander         Avilez                 San Jose                CA
Andres            Avina                  Long Beach              CA
Samm              Avitia                 Sacramento              CA
Bryan             Avrey                  Hollywood               CA
Rudolph Navor     Ayala                  Los Gatos               CA
Erick             Ayala                  Palmdale                CA
Edward            Ayala                  San Jose                CA
Hector            Ayala                  Reseda                  CA
Santos            Ayala                  Oakland                 CA
Jess              Ayala                  San Leandro             CA
Manuel            Ayala                  Los Angeles             CA
Wahidullah        Ayam                   Modesto                 CA
Marco             Ayar                   Chino                   CA
Billy             Ayers                  Lancaster               CA
Asned             Ayesh                  Hayward                 CA
Jose              Ayungua                Whittier                CA
Tameem            Azad                   Tracy                   CA
Mohammad          Azam                   Anaheim                 CA
Peter             Azcarate               Benicia                 CA
Zuberi            Azikiwe                Van Nuys                CA
Mohammed          Aziz                   Union City              CA
Fayaz             Azizi                  Lincoln                 CA
Charldred         Azonwu                 Los Angeles             CA
Jose Luis         B Avila                Whittier                CA
Asiman            Babayev                San Jose                CA
Frank             Babiarz                Chula Vista             CA
Rosella           Baca                   East Los Angeles        CA
Nina              Baca                   San Jose                CA
Jose              Baca‐ Gonzalez         San Jose                CA
John              Bacon                  Carson                  CA
Behnam            Badi                   San Francisco           CA
Sadat             Badr                   San Francisco           CA
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Sherry             Bagheri                San Jose                CA
Michelle           Baham                  Hawthorne               CA
Hassan             Bahar                  Los Angeles             CA
Agustin L.         Bahena                 San Jose                CA
Manik              Bahl                   Hawthorne               CA
Istikhar           Baig                   Los Angeles             CA
Steven             Bailey                 Hanford                 CA
Justin             Bailey                 Carmichael              CA
Dannella           Bailey                 Compton                 CA
Tobias             Bailey                 Stockton                CA
Craig              Bailey                 Inglewood               CA
Jerry              Bailey                 Woodland Hills          CA
Cathy              Bailey                 Berkeley                CA
Shenita            Bailey                 San Francisco           CA
Melvin             Baires                 Sylmar                  CA
Steven             Bais ‐ Johnson         Chico                   CA
John               Bajek                  Oakland                 CA
Richard            Bajic                  Santee                  CA
Daveon             Baker                  Los Angeles             CA
Asa                Baker                  Visalia                 CA
Steven             Baker                  Huntington Beach        CA
Kirt               Baker                  Sacramento              CA
Dorrick            Baker                  El Sobrante             CA
Derrick            Baker                  San Francisco           CA
Toni               Baker                  Oakland                 CA
Paulette           Baker                  Castro Valley           CA
Kenneth            Baker                  Redding                 CA
Leisa              Baker                  Oakland                 CA
Katherine          Baker                  Milpitas                CA
Peyman             Baktash                Citrus Heights          CA
Emmanuel           Balagot                Fremont                 CA
Jose               Balan                  Los Angeles             CA
Esmeralda          Balcazar               Whittier                CA
Aimee              Balcita                Corona                  CA
Dale               Baldisseri             San Mateo               CA
Dexter             Baldridge Ii           Oakland                 CA
Richard            Baldwin                Fresno                  CA
Roland             Baldwin                Los Angeles             CA
Kip                Baldwin                San Rafael              CA
Robert             Balga                  Richmond                CA
Enkhnyam           Baljinnyam             Dublin                  CA
Fred               Ball                   Santa Rosa              CA
Joseph             Ball                   Santa Rosa              CA
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Cinda             Ball                     Sacramento              CA
Kenesha           Ballard                  Sacramento              CA
Nickolas          Ballard                  Ontario                 CA
Andre             Ballard                  Alameda                 CA
Cecilia           Ballesteros              San Jose                CA
Eric              Ballew                   Topanga                 CA
Rachelle          Balling                  Sacramento              CA
Miguel            Balunsat                 Daly City               CA
Benjamin          Baluyut                  Antioch                 CA
Angela            Baluyut                  Antioch                 CA
Mario             Bamberger                Hayward                 CA
Dan               Bamonte                  Los Angeles             CA
Tamba             Bandabaila               Concord                 CA
Jesus             Bandera Jr               Anaheim                 CA
Andres            Banderas                 Downey                  CA
Mel               Bandle                   Benicia                 CA
Nicole            Banducci                 Sunnyvale               CA
John              Bang                     Alameda                 CA
Dilbag            Bangar                   Clovis                  CA
Shaib             Banipal                  Chatsworth              CA
Brian             Banks                    American Canyon         CA
Dejhontai         Banks                    San Jose                CA
Deandre           Banks                    Stockton                CA
Sam               Banks                    Merced                  CA
Vann              Banks                    Pinole                  CA
Annette           Banks                    San Mateo               CA
Sam               Bans                     Modesto                 CA
Carmelo           Bantique Sr              Vallejo                 CA
Guadalupe         Banuelos                 Baldwin Park            CA
Bre               Banuelos                 Corona                  CA
Laura             Banuelos                 Maywood                 CA
James             Baptista                 San Francisco           CA
Marquise          Baptiste                 Fontana                 CA
Raul              Barahona Alvarez         Daly City               CA
Juan              Barajas                  San Jose                CA
Lucero            Barajas                  Fresno                  CA
Veronica          Barajas                  Fresno                  CA
Sergio            Barajas                  Los Angeles             CA
Jose              Barajas Gallegos         Los Angeles             CA
Edgar             Baray                    Bell Gardens            CA
Kalin             Barber                   Los Angeles             CA
Douglas           Barber                   Oakland                 CA
Gloria            Barber                   Simi Valley             CA
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Va Linda              Barber                   Sacramento              CA
Nikoya                Barber                   Los Angeles             CA
Janetta               Barber                   Hayward                 CA
Alejandro             Barbosa                  Burbank                 CA
Ryan                  Barbour                  Elk Grove               CA
Jennifer              Barboza                  Granada Hills           CA
Kevin                 Barcus‐Prior             Santa Rosa              CA
Roberto               Bardales                 Sylmar                  CA
Michael               Barden                   San Jose                CA
Eric                  Barfield                 San Leandro             CA
Jeremy                Barker                   Whittier                CA
Louis                 Barkho                   Modesto                 CA
Morris                Barnes                   Los Angeles             CA
Anthony               Barnes                   Daly City               CA
Kevin                 Barnes                   Bellflower              CA
Kenneth               Barnes                   Vallejo                 CA
Terrell               Barnes                   Long Beach              CA
Corlon                Barnes                   Sacramento              CA
Mark                  Barnes                   Berkeley                CA
Jason                 Barnes                   Napa                    CA
Delice                Barnett                  Long Beach              CA
Louis                 Barnett                  Corona                  CA
Debora                Barnett                  Los Angeles             CA
Jaquan                Barnett                  Alhambra                CA
Raul                  Barradas Reynoso         Los Angeles             CA
Raymond               Barragan                 San Pedro               CA
Samuel                Barragan                 Hawthorne               CA
Erick                 Barraza                  Los Angeles             CA
Levy                  Barrera                  Long Beach              CA
Juan                  Barrera                  Hayward                 CA
Juan                  Barrera                  Inglewood               CA
Desiree               Barrera                  Alhambra                CA
Ty                    Barrett                  Ontario                 CA
Shelby                Barrientes               San Jose                CA
Robert                Barrientos               Stockton                CA
Alyssa                Barrows                  Lomita                  CA
Jeanine               Barry                    Carmichael              CA
Reginald              Barry                    Long Beach              CA
Mike                  Barry                    Val Verde               CA
Myra                  Bartholomew              San Lorenzo             CA
John                  Bartley                  Vallejo                 CA
Jean                  Bartoli                  Carson                  CA
Lawrence              Barton                   Sacramento              CA
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Humberto         Barzaga              Fontana                 CA
Sophia           Barze                Oakland                 CA
Simon            Barzilay             San Francisco           CA
Robert           Bascherini           San Francisco           CA
Duane            Basore               Riverside               CA
Marcus           Bass                 Fresno                  CA
Myeisha          Bass                 Sacramento              CA
Marcus           Bass                 Inglewood               CA
Chantel          Basulto              El Monte                CA
Tumurkhuyag      Batchuluun           Walnut Creek            CA
Linda            Bates                Oakland                 CA
Portland         Bates                Los Angeles             CA
Robert           Batey                Vacaville               CA
Josue            Batres               San Jose                CA
Bolorerdene      Batsandag            Concord                 CA
Darius           Battle               Sacramento              CA
Jalesa           Battle               Fresno                  CA
James            Battle               San Leandro             CA
Sam              Baty                 Antioch                 CA
Luis             Batz                 Moreno Valley           CA
Kahmal           Baucom               Los Angeles             CA
Bill             Baumgartner          Lodi                    CA
Sinjin           Baust                Berkeley                CA
Josef            Bautista             Fremont                 CA
Richard          Bautista             Chatsworth              CA
Luis             Bautista             Ontario                 CA
Lorena           Bautista             Modesto                 CA
Ricardo          Bautista             Elk Grove               CA
Anthony          Bayquen              Milpitas                CA
Matthew          Bazile               Santa Rosa              CA
Curtis           Beams                Oakland                 CA
Kasey            Bean                 Harbor City             CA
Joseph           Bean                 Sherman Oaks            CA
Jerrod           Bean                 Salinas                 CA
Cicelya          Beard                Los Angeles             CA
Danny            Beas                 San Jose                CA
Daniel           Beasley              Newhall                 CA
Chris            Beatty               Sacramento              CA
Eugene           Beaver               Long Beach              CA
Michael          Beavers              Manteca                 CA
Anthony          Beavers              Los Angeles             CA
Pamela           Becerra              Tracy                   CA
Fabian           Becerra              Azusa                   CA
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Bobby Ray         Beck                     Lakewood                CA
Michael           Beck                     Riverbank               CA
Randy             Beckett                  Winton                  CA
Donye             Beckett                  Lancaster               CA
Adam              Beckford                 Los Angeles             CA
Joneithia         Beckles                  Long Beach              CA
Jazmyn            Bedford                  Oakland                 CA
Lisa              Bedoy                    Stickton                CA
Terry             Bee                      San Francisco           CA
Gemayel           Beecham                  Los Angeles             CA
Richard           Beecher                  East Palo Alto          CA
Deshawn           Beemon                   Moreno Valley           CA
Harry             Beggs                    Redwood City            CA
Armond            Bekter                   Glendale                CA
Jose              Belardo                  Brentwood               CA
Mohamed           Belayadi                 San Francisco           CA
Jolene            Belion                   San Jose                CA
Jammie            Belion                   Lathrop                 CA
Daniil            Belitskiy                San Francisco           CA
Omari             Bell                     San Francisco           CA
Albert            Bell                     Stockton                CA
Kevin             Bell                     Valley Village          CA
Sidney            Bell                     Palmdale                CA
Laron             Bell                     Oakland                 CA
Walter            Bell                     Sacramento              CA
Rayvon            Bell                     Los Angeles             CA
Christine         Bellah                   Sacramento              CA
Michelle          Bellamy                  Concord                 CA
James             Bellamy                  Bellflower              CA
Joycelyn          Belloff                  Van Nuys                CA
Dorothy           Bellot ‐ Johnson         Antioch                 CA
Trebien           Bellows                  Los Angeles             CA
Miomir            Beltram                  Kentfield               CA
Srdjan            Beltram                  San Rafael              CA
Hector            Beltran                  Pasadena                CA
Frank             Beltran                  Clovis                  CA
Christina         Beltran                  San Jose                CA
Joel              Beltran                  San Diego               CA
Henry             Beltran                  Hawthorne               CA
Antonio           Belvine                  Stockton                CA
Michelle          Bemis                    Fresno                  CA
Jabran            Ben Hmida                Pacifica                CA
Hamdi             Ben Zarguine             Oakland                 CA
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Robert            Benamor                   Long Beach              CA
Celess            Benavides                 Fresno                  CA
Eduardo           Benavides                 Panorama City           CA
Mauricio          Benavides                 Altadena                CA
Brian             Benbenek                  Torrance                CA
Nicole            Bendickson                Vallejo                 CA
Daniel            Benefield                 Oakland                 CA
Jesus             Benitez                   North Hollywood         CA
Marco             Benitez                   Oxnard                  CA
Itzel             Benitez                   Rosemead                CA
Lawrence          Benjamin                  Los Angeles             CA
John              Benjamin                  San Jose                CA
Cherie            Benjamin                  Vacaville               CA
Pamela            Benjamin                  Bellflower              CA
Nikkole           Benjamin‐ Ballard         Oakland                 CA
Maria             Bennett                   Mission Viejo           CA
Davaughn          Bennett                   Long Beach              CA
Derrell           Bennett                   Fresno                  CA
Miracle           Bennett                   Richmond                CA
Donald            Bennett                   Los Angeles             CA
Loren             Bennett                   Napa                    CA
David             Bennett                   El Cajon                CA
Russell           Bennett                   Torrance                CA
Lonnie            Bennett                   Lawndale                CA
Ralph             Bennette                  Los Angeles             CA
Alfonso           Benson                    Los Angeles             CA
Kenneth           Benson                    Petaluma                CA
Lavertis          Benson                    San Leandro             CA
Kelly             Benton                    Vallejo                 CA
Nichole           Benton                    Duarte                  CA
Victoria          Benz                      Antioch                 CA
Mitchel           Beraha                    Los Angeles             CA
Anthony           Berber                    Castro Valley           CA
Luis              Berganza                  Baldwin Park            CA
Eder              Berganza                  Los Angeles             CA
Carl              Berges                    Adelanto                CA
Robert            Bergman                   Fresno                  CA
Tim               Bergman                   Napa                    CA
Kyle              Bergstedt                 Diamond Bar             CA
Bissrat           Berhanu                   Hayward                 CA
Stanislav         Berlyand                  Walnut Creek            CA
Adrian            Bermudez                  San Francisco           CA
Carlos            Bermudez                  San Jose                CA
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Barbara          Bernal                   San Jose                CA
David            Bernal                   Knightsen               CA
Jorge            Bernal                   Los Angeles             CA
Ernesto          Bernal                   Montebello              CA
Sylvia H.        Bernal                   Clovis                  CA
Aisha            Bernard                  Pittsburg               CA
Timothy          Bernard                  Lancaster               CA
Jesus            Bernas                   Brentwood               CA
Maurice          Bernstine                Richmond                CA
Nancy            Berny                    Pico Rivera             CA
Joel             Berrios                  Roseville               CA
Robert           Berrios                  Elk Grove               CA
Daniel           Berry                    Canyon Cntry            CA
Ladasha          Berry                    Sausalito               CA
Kimberly         Berryman                 Rialto                  CA
John             Bertrand                 San Diego               CA
Martin           Besigye                  Woodland Hills          CA
Jose             Betances                 Hayward                 CA
Crystal          Betancourt               Los Angeles             CA
Brian            Bettencourt              Los Banos               CA
Jazmyn           Beverly                  Long Beach              CA
Yusuf            Bey                      San Jose                CA
Raheem           Bey                      Inglewood               CA
Kulsum           Bey                      Oakland                 CA
Rajiv            Bhardwaj                 Alameda                 CA
Natnael          Biaven                   Oakland                 CA
Erickea          Bibbs                    San Francisco           CA
Adam             Bieneman                 San Ramon               CA
Markeysha        Bilal Fields             Brentwood               CA
Shanice          Billington               Hawthorne               CA
Quincy           Billops                  Elk Grove               CA
Roderic          Bingley                  Hawthorne               CA
Ram              Binod                    Elk Grove               CA
Chelsey          Binz                     Lakewood                CA
Steven           Birch                    Los Angeles             CA
Shaun            Birdsong                 Los Angeles             CA
Frantz           Birdsong‐Johnson         Elk Grove               CA
Kevin            Birula                   Long Beach              CA
John             Bishop                   Pittsburg               CA
Shamauda         Bishop                   San Francisco           CA
John K           Bishop                   Richmond                CA
Clayton          Bisson                   Fremont                 CA
Bikash           Bista                    San Pablo               CA
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Ben                Bittner                Martinez                CA
Andrew             Bizer                  Fresno                  CA
Kimberly           Bizzell                Santa Clarita           CA
Theresa            Black                  Chico                   CA
Daesha             Black                  Fresno                  CA
Andrew             Black                  San Francisco           CA
Jazzmere           Blackburn              Fairfield               CA
Tyrone             Blackman               Los Angeles             CA
Murray             Blackmond              Vallejo                 CA
Sherrita           Blackshear             Norwalk                 CA
Tammy              Blackwell              Carson                  CA
James              Blackwell              Victorville             CA
Jason              Blair                  Oakland                 CA
Jerrod             Blair                  Moreno Valley           CA
Aamar              Blair                  Inglewood               CA
Jasiri             Blake                  Suisun City             CA
Queen              Blake                  West Hollywood          CA
Robert             Blake                  San Carlos              CA
Juane              Blake                  Upland                  CA
Laura              Blakeney               Sacramento              CA
Emmanuel           Blancas                La Mirada               CA
James              Blanchard              Los Angeles             CA
Jose               Blanco                 Pacoima                 CA
Damon              Blanco                 Riverside               CA
Robert             Bland                  Stockton                CA
Shynell            Blanson                Oakland                 CA
Reva               Blanton                Antelope                CA
Andre              Bledsaw                Fresno                  CA
Robert             Blevins                Los Angeles             CA
August             Blevins                Carlsbad                CA
Rafael             Blickwede              Hayward                 CA
Sabrina            Blue                   Downey                  CA
Deandra            Bluitt                 San Francisco           CA
Daniel James       Blundell               Pacific Palisades       CA
James              Boateng                Inglewood               CA
Lawrence           Boatright              North Hollywood         CA
Fabian             Bobadilla Cortes       San Jose                CA
Mario              Bobino                 Richmond                CA
James              Bogan                  Elk Grove               CA
Boris              Boggianosantiesteban   San Francisco           CA
Angela             Bohanon                Oakland                 CA
Rosemary           Bohman                 Forest Knolls           CA
James              Boissiere              Oakland                 CA
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Phineas            Bolden               Palmdale                CA
Zachary            Bolden               San Leandro             CA
Donald             Bolden               Stockton                CA
Rodney             Bolding              Ontario                 CA
Roxana             Bolouri              Oakland                 CA
Alicia             Bolton               Oakland                 CA
Shamonee           Bond                 Los Angeles             CA
Ara                Bondarenko           Panorama City           CA
Ranny              Boniel               San Bruno               CA
Ryan               Bonifacio            Union City              CA
Restituto          Bonifacio            San Mateo               CA
Nestor             Bonilla              Huntington Park         CA
Josue              Bonilla              Los Angeles             CA
Marcella           Bonnesen             Baldwin Park            CA
Clifton            Bonnet               Palo Alto               CA
Tiera              Bontemps             West Sacramento         CA
Adrain             Booker               Fremont                 CA
Kevin R            Booker               Fresno                  CA
Christopher        Booker               Fresno                  CA
Amber              Boone                Fresno                  CA
Kelly              Boone                Fairfield               CA
Matee              Boonkokua            Burbank                 CA
Sutdan             Boonyagarn           Mountain View           CA
Lynne              Booth                Los Angeles             CA
Cassius            Booth                Richmond                CA
Mikesha            Booth                Long Beach              CA
Johnny             Borrayo              Mission Hills           CA
Kyle               Borton               San Leandro             CA
Veronica           Borunda              Rosemead                CA
Kimeca             Bose‐ Hayes          Paramount               CA
Tiffany            Bostick              Elk Grove               CA
Willie             Bosworth Jr          Vallejo                 CA
Rudy               Botello              Brea                    CA
Mitchell           Bottler              Los Angeles             CA
Kelly              Bottoms              Visalia                 CA
Nicolas            Boucher              San Jose                CA
Nyoka              Bouie                Richmond                CA
Soufiane           Bourbia              San Pedro               CA
Chahine            Bourdouane           North Hollywood         CA
Marlon             Bourland             Los Angeles             CA
Chauntay           Bovell               Hayward                 CA
Samuel             Bowah                Oakland                 CA
Steve              Bowen                Bakersfield             CA
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Stevisha           Bowers               Stockton                CA
Albert             Bowie                Oakley                  CA
Samuel             Bowie                Richmond                CA
Charles            Bowles               Culver City             CA
Jill               Bowlin               Modesto                 CA
Altisha            Bowman               Corona                  CA
Christopher        Bowman               Sacramento              CA
Greg               Bowser               Tracy                   CA
Jemal              Boyd                 North Highlands         CA
Danae              Boyd                 Carmichael              CA
Charles            Boyd                 Oxnard                  CA
Anita              Boyd                 Sacramento              CA
Brandon            Boyd                 Stanton                 CA
Harold             Boyden               Oakland                 CA
Robert             Bracken              Pleasanton              CA
Gary               Braddock             Fremont                 CA
Reginald           Bradford             Los Angeles             CA
Trianna            Bradford             Compton                 CA
Kelley             Bradford             Rodeo                   CA
Kevin              Bradley              Inglewood               CA
Peola              Bradley              San Francisco           CA
Casey              Bradley              Santa Rosa              CA
Kimberly           Bradley              Los Angeles             CA
Kevin              Bradley              Hayward                 CA
La Verne           Bradley              Vallejo                 CA
Clarence           Bradsher             Oakland                 CA
Brian              Brady                Oakland                 CA
Seamus             Brady                Belvedere               CA
Shane              Brady                Carmichael              CA
Jamil              Braggs               Sacramento              CA
Regina             Braimah              San Jose                CA
Eric               Branch               Lancaster               CA
Orlando            Branco               San Diego               CA
Quentin            Brande               Los Angeles             CA
Stacy              Branden              Los Angeles             CA
Jerome             Brandon              Sylmar                  CA
Ashley             Brandow              Long Beach              CA
Joseph             Branham              Modesto                 CA
Semaj              Brantley             Los Angeles             CA
Jermaine           Brantley             Stockton                CA
Jamie              Brassill             Carmichael              CA
Angelita           Bratcher             San Francisco           CA
Aaron              Bratcher             Oakland                 CA
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Jeremiah           Bratton               Marysville              CA
Zaydoc             Bratton               San Mateo               CA
Hunter             Brawley               Capitola                CA
Timothy            Braynen               Concord                 CA
Ashley             Brazeau               Pacifica                CA
Brandon            Braziel               Los Angeles             CA
Frank              Breaker               Fairfield               CA
Todd               Brennan               Pleasant Hill           CA
Josh               Brennecke             El Sobrante             CA
Alexander          Brewer                Hayward                 CA
Antwan             Brewer                Los Angeles             CA
Camille            Brewer                Palmdale                CA
Lawrence           Brice                 Stockton                CA
Patrice            Bridewell             Los Angeles             CA
Martin             Bridges               Tracy                   CA
Rickey             Briggs                San Francisco           CA
Gracie             Briggs                Mather                  CA
Arnette            Briley                Richmond                CA
Joel               Briley                Los Angeles             CA
Monique            Brim                  Oakland                 CA
Diane              Bringas               Chino                   CA
Shanae             Brinson               Lakewood                CA
Omar               Briscoe               Los Angeles             CA
Jaime              Briseno               Sun Valley              CA
Juan               Brisuela‐Cruz         Alameda                 CA
Alberta            Brito                 Visalia                 CA
Michelle           Brittmon              Moreno Valley           CA
Linda              Britton               Hayward                 CA
Dominisha          Britton               Vacaville               CA
Justin             Broadfoot             San Francisco           CA
Sari               Broge                 San Jose                CA
Edward             Brooks                Compton                 CA
Timothy            Brooks                Sacramento              CA
Toyia              Brooks                San Francisco           CA
Timothy            Brooks                Los Angeles             CA
Ronald             Brooks                Clovis                  CA
Jessie             Brooks                Clovis                  CA
Karen              Brooks                Sacramento              CA
Carl               Brooks                Los Angeles             CA
Sharia             Brooks                Sacramento              CA
Elvin              Brooks                Oakland                 CA
Christopher        Brooks                San Francisco           CA
Ryan               Brookter              San Jose                CA
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Joseph             Brophy                Redwood City            CA
Willie             Broughton             Inglewood               CA
Jeremy             Broun                 Lawndale                CA
Joseph             Broussard             San Francisco           CA
Yvette             Broussard‐Thaxton     South Gate              CA
Jacqueline         Brown                 Antioch                 CA
Whitney            Brown                 Walnut Creek            CA
Loleta             Brown                 Norwalk                 CA
Larry              Brown                 Sacramento              CA
Tyri               Brown                 Antioch                 CA
Lewis              Brown                 Fontana                 CA
Jarrell            Brown                 Hercules                CA
Prentice           Brown                 Sacramento              CA
Kyle               Brown                 Los Angeles             CA
Devon              Brown                 Martinez                CA
Ashlee             Brown                 Vallejo                 CA
Jamie Marshall     Brown                 Los Angeles             CA
James              Brown                 Long Beach              CA
Cory               Brown                 Fremont                 CA
Shirley            Brown                 Galt                    CA
Solomon            Brown                 San Jose                CA
Phillip            Brown                 Oakland                 CA
Jerri              Brown                 Brentwood               CA
Rhonda             Brown                 Hawthorne               CA
Eric               Brown                 Los Angeles             CA
Henry              Brown                 Sacramento              CA
Marcus             Brown                 Oakland                 CA
Cicara             Brown                 Hanford                 CA
Stephen            Brown                 Berkeley                CA
Marlin             Brown                 Sacramento              CA
Orville            Brown                 San Pablo               CA
Elawna             Brown                 Los Angeles             CA
Lanetra            Brown                 Elk Grove               CA
Nicole             Brown                 San Leandro             CA
Isaac              Brown                 Bellflower              CA
Joanna             Brown                 Santa Clarita           CA
Sherman            Brown                 Fresno                  CA
Shakila            Brown                 West Sacramento         CA
Donte              Brown                 Pinole                  CA
Garick             Brown                 Antioch                 CA
Shawndrika         Brown                 Los Angeles             CA
Darryn             Brown                 Los Angeles             CA
Denise             Brown                 San Francisco           CA
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Tikia             Brown                   Long Beach              CA
Ricky             Brown                   Los Angeles             CA
Regina            Brown                   San Jose                CA
Laquita           Brown                   Milpitas                CA
David             Brown                   Long Beach              CA
Rahmu             Brown                   Sacramento              CA
Craig             Brown                   Sacramento              CA
Windy             Brown                   Inglewood               CA
Edwin             Brown                   Chula Vista             CA
Terry             Brown                   Sacramento              CA
Aaliyah           Brown                   Inglewood               CA
Jalea             Brown                   Mountain View           CA
Derrick           Brown                   Stockton                CA
Kevin             Brown                   San Diego               CA
Sheila            Brown                   Vallejo                 CA
Micheal           Brown                   Oakland                 CA
Kenneth           Brown                   Los Angeles             CA
Cedric            Brown                   Rialto                  CA
Mechelle          Brown                   Hawthorne               CA
Arthur            Brown                   Los Angeles             CA
Laurence          Brown                   Los Angeles             CA
Alexander         Brown                   Los Angeles             CA
Ashleigh          Brown                   Van Nuys                CA
Crystal           Brown ‐ Diggins         Los Angeles             CA
Willie E.         Brown Jr.               Stockton                CA
Tina              Brown Pruitt            Oakland                 CA
Kevin Wayne       Brown Sr.               Vacaville               CA
Rebecca           Brownlee                Torrance                CA
Stephanie         Bruce                   San Bernardino          CA
Kayla             Bruce                   sacrmento               ca
Ashlee            Bruno                   Fair Oaks               CA
Clayton           Bruton                  Sacramento              CA
Rodolfo           Bryand                  San Jose                CA
Myfhawna          Bryant                  Los Angeles             CA
Jayson            Bryant                  Richmond                CA
Kevin             Bryant                  Culver City             CA
Zemmoia           Bryant                  Stockton                CA
Rodney            Bryant                  Clovis                  CA
Lisa              Bryant                  Livermore               CA
Dina              Bryant                  San Francisco           CA
Ferernand         Buan                    Lomita                  CA
Michael           Buchanan                Oakley                  CA
Rondalin          Buchanan                Antelope                CA
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Miquel            Buchanan             Inglewood               CA
Michael           Buchanan             Long Beach              CA
Cherith           Buck                 Novato                  CA
Kim               Buckley              Los Angeles             CA
Kiara             Buckley              Monrovia                CA
Mark              Buckman Jr.          Tracy                   CA
Ronjay            Budd                 Long Beach              CA
Rashad            Budd                 Long Beach              CA
Dhiraj            Budhraja             Torrance                CA
Alexis            Buenaventura         Montebello              CA
Andrew            Buenaventura         Carson                  CA
Marco Antonio     Bueno                Marina                  CA
Anthony           Bueno‐Diaz           San Jose                CA
Julio             Buenrostro           Campbell                CA
Jose              Buenrostro           Bloomington             CA
Stephen           Buford               Suisun City             CA
Geana             Bugnatto             Merced                  CA
Sharon            Bui                  San Jose                CA
Rosemarie         Buison               Fremont                 CA
Melinda           Bullock              San Leandro             CA
Gerald            Bullock              Long Beach              CA
Dolores           Burke                Castro Valley           CA
Trystan           Burke                San Leandro             CA
Vince             Burkes               Sunnyvale               CA
John              Burks                San Bernardino          CA
Marcus            Burks                Napa                    CA
Tallaferrieo      Burks                Inglewood               CA
Demorris          Burks                Antioch                 CA
Stephan           Burnett              Hayward                 CA
Vinquisha         Burnett              Wilmington              CA
Decarsha          Burnette             Vallejo                 CA
Willie            Burns                El Cerrito              CA
Michael           Burns                Inglewood               CA
Tricia            Burns                Inglewood               CA
Edward            Burns                Campbell                CA
Avery             Burrell              Oakland                 CA
Kevin             Burries              Inglewood               CA
Jamila            Burton               Los Angeles             CA
Rashida           Burton               Oakland                 CA
Shauntel          Burton               Los Angeles             CA
Lashawn           Burton               Tracy                   CA
Franklin          Burton               Los Angeles             CA
Reginald          Burton               Vallejo                 CA
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Latrease           Burwell                Lancaster               CA
Doshon             Busby                  Stockton                CA
David              Bush                   Placentia               CA
Aaron              Bush                   San Pablo               CA
Steve              Bush                   Rancho Cucamonga        CA
Takara             Bushnell               Long Beach              CA
Jeremy             Buskirk                Clovis                  CA
Kiel               Busler                 Moraga                  CA
Vijender           Bussa                  Santa Clara             CA
Gilbert            Bustamante             Long Beach              CA
Leticia            Bustillos              Santa Ana               CA
Bunheng            Buth                   Long Beach              CA
Johnny             Butler                 Rancho Cucamonga        CA
Rachel             Butler                 Oakland                 CA
Gerald             Butler                 Inglewood               CA
Nichol             Butler                 Los Angeles             CA
Shawn              Butler                 Citrus Heights          CA
George             Butler                 Oakland                 CA
David              Butler                 Union City              CA
Darwin             Butler                 Los Angeles             CA
Maurice            Butler                 San Bernardino          CA
Tanisha            Butler Billops         San Jose                CA
Christopher        Butner                 Oakland                 CA
Andre              Butt                   Long Beach              CA
Jerry              Buttmer                Buena Park              CA
Benon              Bwayo                  San Diego               CA
Rhonda             Bynum                  Richmond                CA
Anthony            Byrd                   San Jose                CA
Terrence           Byrnes                 Fair Oaks               CA
Gene               Bytof                  San Francisco           CA
Eric               Caballero              Maywood                 CA
Marlon             Caballero              Rialto                  CA
Alejandra          Caballero              Sacramento              CA
Iriving            Cabassa                Canoga Park             CA
Fernando           Cabe                   Sacramento              CA
Guadalupe          Cabiero                Fresno                  CA
Felicia            Cabiero                Fresno                  CA
Saul               Cabral                 Riverside               CA
Kenneth            Cabral                 Castro Valley           CA
Jesse              Cabrales               Valencia                CA
Leandro            Cabrera                Novato                  CA
Christine          Cabrera                Visalia                 CA
Richard            Cabritatachin          Simi Valley             CA
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Sherwin            Cacdac                  Fresno                  CA
Rafael             Caceres                 Rialto                  CA
Adrian             Cadena                  Los Angeles             CA
Kelly              Cadwallader             Alameda                 CA
William            Caetano                 Palm Desert             CA
Maurice            Caffey                  Emeryville              CA
Ebony              Cage                    Sacramento              CA
Litianna           Caginitoba              San Jose                CA
Terriann           Cail                    Los Angeles             CA
Deanijinique       Cail                    Elk Grove               CA
Christopher        Cain                    Oakland                 CA
Jorge              Cal                     Downey                  CA
Samir              Cal                     Downey                  CA
Angel              Calangian               San Francisco           CA
Leonardo           Calaustro               Elk Grove               CA
Phillip            Caldera                 Montebello              CA
Tommy              Calderon                Alhambra                CA
David              Calderon                Los Angeles             CA
Edwin              Calderon                Los Angeles             CA
Luis               Calderon                San Francisco           CA
Maurice            Caldwell                West Sacramento         CA
Tyler              Caldwell                Redondo Beach           CA
Monica             Caldwell                Sacramento              CA
Keith              Caldwell                Los Angeles             CA
Ronald             Caldwell                Los Angeles             CA
James              Caldwell                Oakland                 CA
Darrell            Calhoun                 Beverly Hills           CA
Lorenzo            Calhoun                 Stockton                CA
Christina          Cali                    Glendora                CA
India              Caliz                   Compton                 CA
Antonio            Callahan                Fairfield               CA
Karina             Callahand               Elk Grove               CA
Jennifer           Callaway                Kentfield               CA
Carma              Calles                  Newark                  CA
Joyce              Calloway                Richmond                CA
Nedra              Calloway                El Sobrante             CA
Jazmen             Callum                  Concord                 CA
Dino               Caloca                  Monterey Park           CA
Philip             Caluya                  Richmond                CA
Eric               Calvillo ‐ Hernandez    Santa Ana               CA
Nelly              Calvo Bermudez          Gilroy                  CA
Jose               Camacho                 Van Nuys                CA
Eric               Camacho                 El Monte                CA
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Sandy              Camacho              Los Angeles             CA
Martha             Camacho              Fairfield               CA
Kennedy            Camacho              Union City              CA
Sergio             Camarena             Sanger                  CA
David              Camarena             Anaheim                 CA
Jake               Camboia              Elk Grove               CA
Ronald             Cambra               Stockton                CA
Eban               Cambridge            Oakland                 CA
Gabriel            Cambron              Campbell                CA
Monica             Cameron              Sacramento              CA
Casey              Cameros              Gardena                 CA
Thomas             Campagna             Stockton                CA
Kevin              Campbell             Azusa                   CA
Rachel             Campbell             Fremont                 CA
Matt               Campbell             Alhambra                CA
Sieda              Campbell             Los Angeles             CA
Antonio            Campbell             San Francisco           CA
Terrell            Campbell             Sacramento              CA
Sean               Campbell             Carson                  CA
Rhonda             Campbell             San Jose                CA
Chantel            Campbell             Sacramento              CA
Thattas            Campbell             Redondo Beach           CA
Nicole             Campbell             Encino                  CA
Alexandria         Campbell             Encino                  CA
Viktoria           Campbell             Inglewood               CA
Michelle           Campos               Morgan Hill             CA
Eliseo             Campos               Sacramento              CA
Eric               Campos               Visalia                 CA
Juan               Campos               Fremont                 CA
Alfredo            Campos               San Bernardino          CA
Christopher        Camus                Buena Park              CA
Joann              Canales              Colton                  CA
Aldo               Canchola             Pittsburg               CA
Katherine          Candelaria           El Monte                CA
Jonathan           Canela               San Pedro               CA
Dalia              Canizalez            Oakland                 CA
David              Canlas               Daly City               CA
Sierra             Cannon               Lancaster               CA
Antoine            Cannon               Elk Grove               CA
Reginald           Cannon               Los Angeles             CA
Abraham            Cantineri            Stockton                CA
Carlos             Canto                Morongo Valley          CA
Stacy              Cantu                Salinas                 CA
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David              Capablanca           Los Angeles             CA
Joann              Capella              Campbell                CA
Brian              Capers               Carson                  CA
Christopher        Capron               Citrus Heights          CA
Michelle           Caraway              Los Angeles             CA
Eduardo            Cardenas             Pico Rivera             CA
Miguel             Cardenas             Los Angeles             CA
Donaldo            Cardenas             San Jose                CA
Johnny             Cardenas             Union City              CA
Robert             Cardenas             Los Angeles             CA
Robert             Cardera Sr.          San Lorenzo             CA
Foster             Carey                Compton                 CA
Octavio            Carillo              Fresno                  CA
Delena             Carillo              Gardena                 CA
Ruby               Carlos               San Francisco           CA
Corey              Carlson              Daly City               CA
John               Carmazzi             Sunnyvale               CA
Deshanna           Carminer             Oakland                 CA
Charlene           Carmona              Elk Grove               CA
Steve              Carpenter            Bakersfield             CA
Patrick            Carpenter            Pacifica                CA
Brandon            Carr                 Fresno                  CA
Laura              Carr                 Palm Springs            CA
Jacob              Carr                 Madera                  CA
Don                Carr                 Orange                  CA
Josue              Carrada              Inglewood               CA
Manuel             Carrasco             Oakland                 CA
Frank              Carrasco             Visalia                 CA
Anthony            Carraway             San Jose                CA
Lesley             Carrier              Petaluma                CA
Janelle            Carrillo             San Bernardino          CA
Juan Jesus         Carrillo             Los Angeles             CA
Michael            Carrillo             Fontana                 CA
Rommel             Carrillo             La Puente               CA
Eric               Carrillo             Buena Park              CA
Alex               Carrillo             San Jose                CA
Jeffery            Carroll              Bell                    CA
Craig              Carroll              Vacaville               CA
Holly              Carroll              San Jose                CA
Kenneth            Carroll              Gardena                 CA
Patricia           Carsi                Los Angeles             CA
Donnie             Carson               Stockton                CA
Brian              Carson               San Jose                CA
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William               Carswell             Sacramento               CA
Byron                 Cartagena            Northridge               CA
Joseph                Carter               Los Angeles              CA
Lauren                Carter               Los Angeles              CA
Kalvin                Carter               Spring Valley            CA
Patti                 Carter               Daly City                CA
Jermaine              Carter               Rocklin                  CA
Dizella               Carter               Martinez                 CA
Joseph                Carter               Gardena                  CA
Ranell                Carter               Fresno                   CA
Richard               Carter               Hayward                  CA
Terran                Carter               North Hills              CA
William               Carter               Oakland                  CA
Celicour              Carter               Bellflower               CA
Nathaniel             Carter               Fontana                  CA
Theresa               Carter               Sacramento               CA
Larry                 Carter               Fresno                   CA
Darrell               Carter               Sacramento               CA
Kyle                  Carter               Los Angeles              CA
David                 Carter               Sacramento               CA
Brittni               Carter               Palmdale                 CA
Nathaniel             Carter               San Pablo                CA
Deonte                Carter               Sacramento               CA
Julisa                Carter               El Cerrito               CA
Jessica               Carter               San Jose                 CA
Fila                  Carter               Carson                   CA
Rocco                 Cartia               San Jose                 CA
Anthony               Casanova             Sacramento               CA
Tim                   Casey                Sacramento               CA
Latrice               Casey                Oakland                  CA
Deborah               Cash                 Los Angeles              CA
Raymund               Casino               Riverside                CA
Felrobert             Casipe               Fremont                  CA
Cory                  Caso                 Dededo                   CA
Dominic               Cassinerio           Fresno                   CA
Raymond               Castaneda            Fresno                   CA
Alfred                Castaneda            San Jose                 CA
Jesse                 Castaneda            Los Angeles              CA
Carla                 Castaneda            Stockton                 CA
Rojelio               Castaneda            Stockton                 CA
John                  Castaneda            Vallejo                  CA
Chris                 Castanon             Clovis                   CA
Sergio                Castellanos          Winnetka                 CA
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Andretti            Castellanos              Rancho Cucamonga        CA
Franklin            Castillo                 Emeryville              CA
Jennifer            Castillo                 Inglewood               CA
Luis                Castillo                 South San Francisco     CA
Guillermo           Castillo                 Paramount               CA
Oskar               Castillo                 Monterey Park           CA
Rosa Marili         Castillo Mejia           Salinas                 CA
Juan                Castillo Sanchez         East Palo Alto          CA
Jairo               Castorena                Covina                  CA
Eugene              Castro                   San Diego               CA
Pedro               Castro                   Los Angeles             CA
Mark                Castro                   Azusa                   CA
Carlos              Castro                   Sacramento              CA
Erick               Castro                   Sylmar                  CA
Kathryn             Castro                   San Jose                CA
Maritza             Castro                   Huntington Park         CA
Reynaldo Iii        Castro                   Bellflower              CA
Jesse               Castro                   Glendale                CA
Raymond             Castro                   Los Angeles             CA
Jasmine             Castro                   San Bernardino          CA
Jorge               Castro                   Glendora                CA
Andres              Castro                   San Fernando            CA
Donald              Cathey                   Tracy                   CA
James               Cathey                   Los Angeles             CA
Patrick             Cato                     Alameda                 CA
Roshunda            Cato                     Richmond                CA
Alexandria          Caton                    Modesto                 CA
Clara               Catron                   Los Angeles             CA
Roderick            Causey                   Los Angeles             CA
Jake                Cavanaugh                Fresno                  CA
Gina                Cavuoto                  Capitola                CA
Cef                 Cayetano                 Bellflower              CA
Roy                 Cazali                   Redwood City            CA
Edgar               Cazares                  Norwalk                 CA
Sergio              Cazessus                 Compton                 CA
Jose                Cea Portillo             Antioch                 CA
Terry               Ceasar                   Los Angeles             CA
Kathy               Ceja                     Atwater                 CA
Elizabeth           Ceja                     San Jose                CA
Francisco           Celaya                   Royal Oaks              CA
Katrina             Celaya                   Fresno                  CA
Dean                Celentano                Morgan Hill             CA
Edward              Centeno                  Los Angeles             CA
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Misael            Cepeda                San Jose                CA
David             Cerna                 Alameda                 CA
Leonardo          Cervantes             Panorama City           CA
Pamela            Cervantes             San Dimas               CA
Cesar             Cervantes             Los Angeles             CA
Ramon             Cervantes             Hollister               CA
Miriam Chavez     Cesar Coronado        Stanton                 CA
James             Chacon                Sacramento              CA
Carlos            Chacon                Reseda                  CA
Manish            Chadha                Fresno                  CA
Jonathan          Chaet                 San Francisco           CA
Arman             Chalabian             Burbank                 CA
Ramesh            Chalise               Antioch                 CA
Ehsan             Chaman                Albany                  CA
Enoch             Chamberlain           Cerritos                CA
Arthur            Chambers              Los Angeles             CA
Kevin             Chambers              Vallejo                 CA
Cedric            Chambers              Long Beach              CA
Lamont            Chambers              San Jose                CA
Vanissa           Chambers‐Mitchell     Antioch                 CA
Lalin             Chand                 Seaside                 CA
John              Chand                 La Puente               CA
Chusant           Chand                 San Mateo               CA
Jack              Chandler              Los Angeles             CA
Lalesh            Chandra               Stockton                CA
Ramesh            Chandra               Antioch                 CA
Richard           Chaney                Buena Park              CA
Jason             Chang                 San Ramon               CA
Jude              Chang                 Sacramento              CA
Fred              Chang                 Diamond Bar             CA
Frank             Chang                 San Gabriel             CA
Brett             Chapman               San Jose                CA
Stephanie         Chapman               San Lorenzo             CA
Ursula            Chappell              Stockton                CA
Damian            Chappelle             Vallejo                 CA
Virend            Charan                Elk Grove               CA
Shannon           Charette              Los Angeles             CA
Victor            Chargin               Fremont                 CA
Terrence          Charles               Huntington Beach        CA
Moises            Charles               San Jose                CA
Kambria           Charles               Antioch                 CA
Anthony           Charles               San Jose                CA
Toby              Charles               Berkeley                CA
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Christopher        Chasteen             Suisun City             CA
Darrell            Chatmon              Vallejo                 CA
Ralesh             Chaube               Hayward                 CA
Shekhar            Chaudhary            Pinole                  CA
Riddhi             Chauhan              San Bruno               CA
Consafos           Chavarin             Oakland                 CA
Hazel              Chavarria            San Pablo               CA
Tania              Chavarria            Pacifica                CA
Juan               Chavarro             Chatsworth              CA
Chris              Chavers              Altadena                CA
Edher              Chavez               Richmond                CA
Helen              Chavez               La Habra                CA
Angelica           Chavez               Alameda                 CA
Hain               Chavez               Anaheim                 CA
Santos             Chavez               King City               CA
Karina             Chavez               Oakland                 CA
Jennifer           Chavez               Los Angeles             CA
Joseph             Chavez               San Jose                CA
Jimmy              Chavez               Visalia                 CA
Cynthia            Chavez               Paramount               CA
Randy              Chavez               Los Angeles             CA
Suslov             Chavez               San Jose                CA
Omar               Chavez               San Jose                CA
Alberto            Chavez               San Jose                CA
Manuel             Chavez               Roseland                CA
Brian              Chavez               Vacaville               CA
Michael            Chavez               San Jose                CA
Manuel             Chavez               San Jose                CA
Wendy              Chavez               Fresno                  CA
Steven             Chavez               Ontario                 CA
Francisco          Chavez               Hayward                 CA
Michael            Chavez               Huntington Park         CA
Christopher        Chavez               Chino Hills             CA
Cassy              Chavez               Compton                 CA
Javier             Chavez               Hayward                 CA
Brittany           Chavez               Pomona                  CA
Jacob              Chavis               Oakland                 CA
Marvin             Chavis               Sacramento              CA
Imran              Chawla               Rancho Cucamonga        CA
Felisha            Cheatham             Morgan Hill             CA
Ivan               Chechur              Glendale                CA
Jane               Chege                Hayward                 CA
Tony               Chen                 San Jose                CA
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Odis               Chenault                 Berkeley                CA
Claude             Chenet                   El Monte                CA
Yu Chi             Cheng                    Sunnyvale               CA
Marguerita         Chenier                  Jurupa Valley           CA
Yoseph             Chernet                  Oakland                 CA
Sergey             Chernioglo               Sacramento              CA
Mikhail            Chernobilskiy            San Francisco           CA
James              Cherry                   Los Angeles             CA
Dominique          Chestnut                 Citrus Heights          CA
Swee               Chew                     Hollister               CA
Steve              Chhuy                    Union City              CA
Jae                Chi                      Santa Clara             CA
Nelson             Chiedu                   Stanton                 CA
Keith              Childs                   Los Angeles             CA
Chan               Chim                     Long Beach              CA
Victor             Chime                    North Hills             CA
Jorge              Chiquete                 Bell Gardens            CA
George             Chiu                     Walnut Creek            CA
Lam                Choi                     San Francisco           CA
Aigul              Chotbaeva                Pacifica                CA
Azim               Choudhry                 Emeryville              CA
Jasmine            Chouteau                 Fairfield               CA
Erickson           Chow                     Davis                   CA
Jamar              Choyce                   American Canyon         CA
Tyanna             Choyce                   Oakland                 CA
Eric               Christensen              San Francisco           CA
Kristen            Christian                South Pasadena          CA
Andre              Christian                Hayward                 CA
Emanuel            Christian                Oakland                 CA
Steffany           Christien                Redondo Beach           CA
Michelle King      Christopher King         Antioch                 CA
Jane               Chu                      Los Angeles             CA
Suthee             Chuatakoon               Fairfield               CA
Debbie             Chukwu                   Stockton                CA
Ikea               Chukwudi                 Torrance                CA
Hurticine          Chukwudire               Paramount               CA
Ka                 Chun Chu                 Castro Valley           CA
Jay                Chung                    Inglewood               CA
Gene               Church                   Fremont                 CA
John               Churchill                Corte Madera            CA
Alex               Chuzhoy                  San Francisco           CA
Stephen            Cianci                   Daly City               CA
Sergio Vidal       Cifuentes De Paz         San Jose                CA
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Anthony           Cilibrasi             Hayward                 CA
Theresa           Cinoccomin            San Francisco           CA
Jonathan          Cirin                 South Gate              CA
John              Cirone                La Verne                CA
Henry             Cisneros              Fresno                  CA
Cuauhtemoc        Cisneros              San Fernando            CA
Ricardo           Cisneros              San Francisco           CA
Rafael            Cisneros              Long Beach              CA
Yolanda           Cisneros Cruz         Cudahy                  CA
Virginia          Clark                 Stockton                CA
Will              Clark                 Simi Valley             CA
Bessie            Clark                 Oakland                 CA
Gerald            Clark                 Sacramento              CA
Karen             Clark                 Richmond                CA
James             Clark                 Hayward                 CA
Anthony           Clark                 San Jose                CA
Jesus             Clark                 Anaheim                 CA
Joshua            Clark                 San Francisco           CA
Stacy             Clark                 Adelanto                CA
Shakir            Clark                 San Francisco           CA
Cameron           Clark                 Berkeley                CA
Sharlena          Clark                 Oakland                 CA
Melissa           Clark                 Woodland Hills          CA
Elamin            Clark                 Pinole                  CA
Salema            Clarke                Van Nuys                CA
Carlos G          Claros                Hacienda Heights        CA
Carolyn           Clary                 Alameda                 CA
Leonel            Claude                Los Angeles             CA
Nicole            Clausen               Santa Clara             CA
Bartolome         Clavano               Wilmington              CA
Steve             Clay                  Lakewood                CA
Rose              Claybon               Vallejo                 CA
Jonathan          Clayton               American Canyon         CA
Ronnie            Clayton               Los Angeles             CA
Andy              Clayton               Los Angeles             CA
Jerome            Clement               Fairfield               CA
Richard           Clemente              Oakland                 CA
Lionel            Clemons               Westminster             CA
Venetta           Clepper               Richmond                CA
Andrew            Clerk                 San Jose                CA
James             Cleveland             Lawndale                CA
Kevin             Cleveland             Cotati                  CA
Christopher       Cleveland             San Francisco           CA
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Martin Casey      Clift                Boulder Creek           CA
La Don            Cline                Victorville             CA
Sevokel           Clinton              Oakland                 CA
Damon             Clisby               Sacramento              CA
Brian             Cloud                Northridge              CA
Louis             Co                   Concord                 CA
Shannon           Cobb                 Bakersfield             CA
Eugenia           Cobb                 Los Angeles             CA
Steven            Cobb                 Suisun City             CA
Laquoya           Cobia                Sacramento              CA
Joseph            Cochon               Daly City               CA
Kendrick          Cochran              Vallejo                 CA
Corey             Cockerham            Oakland                 CA
Roslyn            Coffee               Los Angeles             CA
Charles           Coffey               Oakland                 CA
Armando           Coffey               Sacramento              CA
Roosevelt         Coffey               Ontario                 CA
Gregory           Cofield              Fairfield               CA
Lewis             Cofield              Vallejo                 CA
Carolyn           Cofield              Alameda                 CA
Jasmine           Coger                Chatsworth              CA
Samantha          Coggins              Inglewood               CA
Tracy             Coggins              Gardena                 CA
Jerome            Cohen                Pacifica                CA
Marlena           Cohen                San Francisco           CA
Igal              Cohen                encino                  CA
Victor            Cohler               Tracy                   CA
Richard           Cohn                 Clearlake               CA
Alan              Colaso               Calistoga               CA
Lois              Colbert              Sacramento              CA
Barbara           Cole                 Long Beach              CA
Rakato            Cole                 Pittsburg               CA
Terrence          Cole                 Walnut Creek            CA
Rhonda            Cole                 Mira Loma               CA
Sam               Cole                 San Francisco           CA
Allen             Cole                 San Francisco           CA
Alice             Cole                 Richmond                CA
Dennis            Coleck               Reseda                  CA
Ronald            Coleman              San Jose                CA
Evelyn            Coleman              Merced                  CA
Daisy             Coleman              Berkeley                CA
Arthur James      Coleman              Sacramento              CA
Ariel             Coleman              Anaheim                 CA
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Michael          Coleman              Oakland                 CA
Lawrence         Coleman              Berkeley                CA
Jabari           Coleman              Vallejo                 CA
Carla            Coleman              Oakland                 CA
Jerry            Coleman              Victorville             CA
Marcos           Colin                North Hollywood         CA
Eddie            Collier              Los Angeles             CA
Robert           Collier              Oakland                 CA
Nancy            Collins              Concord                 CA
Clyde            Collins              Moraga                  CA
Bertha           Collins              San Jose                CA
Vicki            Collins              San Jose                CA
Lacresha         Collins              Los Angeles             CA
Gary             Collins              Gardena                 CA
Lakeyshema       Collins              Los Angeles             CA
Michelle         Collins              Dixon                   CA
Johnny           Collins              Oakland                 CA
Brynnda          Collins              Emeryville              CA
Tremaine         Collins              Burbank                 CA
Brian            Collom               Gilroy                  CA
Jaime            Colocho              Lawndale                CA
Peter            Colthirst            Santa Ana               CA
Kristine         Colton               Downey                  CA
Debra            Combs                Los Angeles             CA
Joshua           Como                 Moreno Valley           CA
Chontelle        Compton              Culver City             CA
Donald           Conley               Gardena                 CA
James            Conlin               Visalia                 CA
Justin           Connelly             Vallejo                 CA
Kassandra        Connelly             Rocklin                 CA
Steven           Conner               Tracy                   CA
Timothy          Conover              Oakland                 CA
Patrick          Conroy               San Rafael              CA
Erick            Constantino          Sylmar                  CA
Jon              Constantino          San Francisco           CA
Shelly           Conte                Fresno                  CA
Joshua           Contreras            Rowland Heights         CA
Jacqueline       Contreras            Hayward                 CA
Abraham          Contreras            Daly City               CA
Pearl            Contreras            Los Angeles             CA
Jose J           Contreras            Stockton                CA
Phillip          Contreras            Los Angeles             CA
Elsy             Contreras            Redwood City            CA
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Genevieve         Contreras                 Huntington Park         CA
Raul              Contreras                 Wilmington              CA
Cynthia           Contreras                 Los Angeles             CA
Saul              Contreras Alvarez         San Jose                CA
Adolfo            Contreres                 Compton                 CA
James             Conway                    Los Angeles             CA
Paul              Conway The 3rd            Oakland                 CA
Charles           Cook                      Los Angeles             CA
Virginia          Cook                      San Bernardino          CA
Pam               Cook                      Hawthorne               CA
Anita             Cook                      Fairfield               CA
Melvin            Cook Jr                   Richmond                CA
Chris             Cooke                     Rohnert Park            CA
Charles           Cooke Jr                  Los Angeles             CA
Teresa            Cooley                    Oakland                 CA
Alex              Cooper                    La Palma                CA
Kevin             Cooper                    Fremont                 CA
Patrick           Cooper                    Lincoln                 CA
Kirika            Cooper                    Oakland                 CA
Melissa           Cooper                    Antioch                 CA
Rachel            Cooper                    Torrance                CA
Geraldine         Cooper                    Rancho Cucamonga        CA
Tyree L           Cooper                    Harbor City             CA
Kevin             Cooper                    Oakland                 CA
Kenley            Cooper                    Long Beach              CA
Wayne             Copeland                  Long Beach              CA
Paul Edward       Copeland                  Fresno                  CA
Manuel            Corao                     San Francisco           CA
Regina            Corbin                    Fontana                 CA
William           Cordell                   Antioch                 CA
Omar              Cordero                   Elk Grove               CA
Leroy             Cordova                   Fresno                  CA
Ceidy             Cordova                   West Hills              CA
Moises            Corea                     Los Angeles             CA
Osvaldo           Coria                     Escalon                 CA
Lorri             Cornejo                   Los Angeles             CA
Chasiti           Cornell                   Suisun City             CA
Susan             Cornish                   Stockton                CA
Cesar             Corpus                    Moreno Valley           CA
Jose              Corral                    Pico Rivera             CA
Marco             Corral                    Buena Park              CA
Hector            Corrales                  Bell                    CA
Diana             Corrales                  San Jose                CA
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Candida           Correa               Garden Grove            CA
Jonathan          Correa               South San Francisco     CA
Richard           Cortes               Azusa                   CA
Samvir            Cortez               Fremont                 CA
Miguel            Cortez               San Jose                CA
Shirley           Cortez               Richmond                CA
Mark              Cortez               Reedley                 CA
Carlos            Cortez               Pinole                  CA
Jose              Cortez               Los Angeles             CA
Shirley           Cortez               Richmond                CA
Javier            Cortinas             San Jose                CA
Kaley             Cortini              Canoga Park             CA
Magno             Corvera              San Francisco           CA
Marshareese       Cosby                Los Angeles             CA
Samuel            Cosipuma             Bellflower              CA
Nelson            Costa                San Bruno               CA
Flavio            Costa                San Bruno               CA
Phyllis           Costa                San Jose                CA
Michael           Costa                Isleton                 CA
Shari             Coston               Antioch                 CA
Raymond           Cota                 Los Angeles             CA
Joseph            Cotton               Tracy                   CA
Allen             Cotton               Richmond                CA
Eric              Cottrell             Lynwood                 CA
Cristal           Couoh                Los Angeles             CA
Braunz            Courtney             Oakland                 CA
Veronica          Covarrubias          Fontana                 CA
Mariela           Covarrubias          Morgan Hill             CA
Ryan              Covay                Concord                 CA
Jason             Cowan                Chico                   CA
Tiffany           Cowan                San Leandro             CA
Ari               Cowan                Oakland                 CA
Howard            Cowles               Waterford               CA
Deandre           Cox                  Fremont                 CA
Gilbert           Cox                  Diamond Bar             CA
Kianna            Cox                  North Highlands         CA
Mario             Cox                  Richmond                CA
Parrell           Cox                  Brentwood               CA
Laura             Coyne                Sacramento              CA
Don               Cozine               San Jose                CA
Della             Craft                Los Angeles             CA
Joseph            Craft                North Hills             CA
Jerome            Crafton              Oakland                 CA
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Caleb             Craig                Lancaster               CA
David             Craighead            Anaheim                 CA
Mark              Crain                Compton                 CA
David             Cramer               San Pedro               CA
Jimmie            Craney               San Francisco           CA
Dyshion           Craney               Modesto                 CA
Daron             Crass                Fresno                  CA
London            Crawford             Torrance                CA
Brandon           Crawford             Rocklin                 CA
Troy              Crawford             Santa Ana               CA
Deborah           Crawford             Sacramento              CA
Sean              Crawford             Hayward                 CA
Darnell           Crawford             Los Angeles             CA
Jeffrey           Crawford             Oakland                 CA
Courtney          Creater              San Francisco           CA
Clifford          Creighton            Highland                CA
Curtis            Crenshaw             Sacramento              CA
Nicholas          Crescitelli          Long Beach              CA
Philip            Cresswell            Bakersfield             CA
Nicole            Creswell             Pinole                  CA
David             Crisostomo           Daly City               CA
Jermaine          Criss                Norwalk                 CA
Barbara           Crittle              Oakland                 CA
Hope              Crivello             Sacramento              CA
Brandon           Crivello             Hollister               CA
Melissa           Crooke               Huntington Beach        CA
Kyoung            Cropley              San Jose                CA
Jimmy             Cross                Colton                  CA
Warren Timothy    Cross I I            San Francisco           CA
Desiree           Crossetti            Mount Shasta            CA
Michael           Crossley             Moreno Valley           CA
Charlie           Crouse               San Mateo               CA
Jon               Crowell              Hesperia                CA
Anthony           Crowell              Oakland                 CA
Sydney            Croxton              Hayward                 CA
Mercedes          Crumby               Fairfield               CA
Kevin             Crump                Oakland                 CA
Cristian          Cruz                 Bell Gardens            CA
Jolean            Cruz                 Fresno                  CA
Edward            Cruz                 Commerce                CA
David             Cruz                 San Pablo               CA
Gustavo           Cruz                 South Gate              CA
Richard           Cruz                 Salinas                 CA
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Kevin             Cruz                   Los Angeles             CA
Jordan            Cruz                   San Diego               CA
Michael           Cruz                   Montebello              CA
Angela            Cruz                   Thornton                CA
Juan              Cruz                   Hayward                 CA
Raymond           Cruz                   Vallejo                 CA
Ruben             Cruz                   Los Angeles             CA
Moises            Cruz                   Torrance                CA
Ruben             Cruz                   Lynwood                 CA
Humberto          Cruz Lucero            Mountain View           CA
Marvin            Cuarto                 Ontario                 CA
Daniel            Cuellar                Clovis                  CA
Carlos            Cueva                  Covina                  CA
Cynthia           Cuffee                 Palo Alto               CA
Damita            Cuffey                 Long Beach              CA
Kent              Cuffey                 Long Beach              CA
Eulalia           Cuica                  Corona                  CA
Charles           Culpepper              Sacramento              CA
Dana              Cummings               Los Angeles             CA
Rheutelia         Cummings               Canyon Cntry            CA
Robert            Cummings Jr.           Modesto                 CA
Matthew           Cunningham             Monterey Park           CA
William           Cunningham             Emeryville              CA
Allan             Cunningham             Los Angeles             CA
Roy               Cunningham             Citrus Heights          CA
Damita            Cunningham             Santa Ana               CA
Ambria            Cunningham             Fairfield               CA
Laurie            Cunningham             Anaheim                 CA
Lloyd             Cunningham Jr.         Richmond                CA
Carolyn           Curiel                 Los Angeles             CA
Carlos            Curiel                 Anaheim                 CA
Sean              Currenton              Sacramento              CA
Karen R.          Currie                 Visalia                 CA
Porcetta          Currington             Sacramento              CA
Stephanie         Curry                  Sacramento              CA
John              Curry                  Corona                  CA
Leslie            Curry                  Hayward                 CA
Kelvin            Curry                  Oakland                 CA
Limmie            Curry                  Sacramento              CA
Marcelo           Cury                   Los Angeles             CA
Tim               Cusulos                San Francisco           CA
Macarthur         Cutright               Dana Point              CA
Tijana            Cvetkovic              Oakland                 CA
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Tracy              Cyprain                  Compton                 CA
Parisa             Cyrousi Buchanan         Oakland                 CA
Steven             Czarnecki                Carson                  CA
Shouan             Dabiri                   Mission Viejo           CA
William            Dabney                   Sacramento              CA
Rudy               Dacpano                  West Covina             CA
Harold             Dacus                    Oakland                 CA
Brandon            Dagg                     Cupertino               CA
Randolph           Daggett                  Fresno                  CA
Vincent            Daglow                   Stockton                CA
Edward             Dagostino                Modesto                 CA
Ouissem            Dahmoul                  Los Angeles             CA
Sierra             Dailey                   Fairfield               CA
Michael            Dakan                    Pasadena                CA
Travis             Dale                     Murrieta                CA
Jeannie            Damico                   Mira Loma               CA
Omotayo            Damola                   Culver City             CA
Liran              Dan                      Encino                  CA
Duy                Dang                     Sacramento              CA
Robert             Daniels                  Hawthorne               CA
Juliene            Daniels                  Los Angeles             CA
Shaun              Daniels                  Salida                  CA
Art                Daniels                  Rohnert Park            CA
Ashley             Daniels                  Vallejo                 CA
Janelle            Daniels                  Oakland                 CA
Eian               Daniels                  Woodland Hills          CA
Montee             Daniels                  Compton                 CA
Jimila             Daniels                  Vallejo                 CA
Kymberly           Daniels                  Vallejo                 CA
Freddie            Daniels                  Compton                 CA
Kopiolinia         Daniels Jones            Carson                  CA
Najib              Danishyar                Fremont                 CA
Michael            Danova                   Costa Mesa              CA
Marco              Danova                   La Quinta               CA
Duke               Dantay                   Oakland                 CA
Marcus             Dantzler                 Lawndale                CA
Oneta              Dara                     Fresno                  CA
Hrant              Darbinyan                Glendale                CA
Louis              Darby                    Palmdale                CA
Michelle           Darby                    Los Angeles             CA
Janet              Darcey                   San Francisco           CA
Grigor             Darmandjian              Sun Valley              CA
Larry              Darnell                  Oakland                 CA
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Barkev             Daron                Northridge              CA
Shannon            Dasilva              Oakland                 CA
Ambrose            Dauda                San Jose                CA
Charlotte          Davenport            Hawthorne               CA
Kim                Davenport            Palmdale                CA
Geary              Davenport            Richmond                CA
Billy              Davenport            Los Angeles             CA
Rosene             Davenport            Moreno Valley           CA
Roberto            David                San Bruno               CA
Jose               David Ayala          Corona                  CA
Chauncey           David‐Jacobs         Richmond                CA
Robert             Davidson             La Mirada               CA
Ike                Davidson             Los Angeles             CA
Abel               Davila               Porterville             CA
Mack               Davis                Hayward                 CA
Michelle           Davis                Lancaster               CA
Cartez             Davis                Davis                   CA
Kurt               Davis                Bellflower              CA
Byron              Davis                Lancaster               CA
Teresa             Davis                Daly City               CA
Danielle           Davis                Los Angeles             CA
Kiana              Davis                Novato                  CA
Nicole             Davis                Rancho Cordova          CA
Vernon             Davis                Santa Cruz              CA
Lauryn             Davis                Los Angeles             CA
Ryan               Davis                Sacramento              CA
Alvis              Davis                Oakland                 CA
Zachary            Davis                Inglewood               CA
Darryl             Davis                Oakland                 CA
Cherrone           Davis                Inglewood               CA
Tami               Davis                Oakland                 CA
Janelle            Davis                San Jose                CA
Mario              Davis                Rancho Cordova          CA
Manuel             Davis                San Francisco           CA
Walter             Davis                Oakley                  CA
Christopher        Davis                Oakland                 CA
Leah               Davis                Madera                  CA
Labarron           Davis                Sacramento              CA
Marvette           Davis                Long Beach              CA
Travis             Davis                Elk Grove               CA
Chelsea            Davis                San Bernardino          CA
Ronald             Davis                Compton                 CA
Ronald             Davis                Oakland                 CA
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Laticia            Davis                  Hayward                 CA
Richard            Davis                  Los Angeles             CA
Michelle           Davis                  Marina Del Rey          CA
Flosieta           Davis                  Los Angeles             CA
Rebbie Frances     Davis‐Sylvester        Altadena                CA
Horace             Daway                  Anaheim                 CA
Ladrick            Dawkins                Redlands                CA
Milton             Dawkins                Los Angeles             CA
Richard            Dawkins                Fairfield               CA
George             Dawood                 Modesto                 CA
George             Dawoud                 Millbrae                CA
Danielle           Dawson                 Windsor Hills           CA
Dorian             Dawson                 East Palo Alto          CA
Violet             Dawson                 Compton                 CA
Derrick            Dawson                 Oakland                 CA
Brad               Dayton                 Hesperia                CA
Dereyk             Dcosta                 Campbell                CA
Marvin             Ddungu                 Canoga Park             CA
Johnny             De Abreu               Morgan Hill             CA
Vicente            De Almeida             San Francisco           CA
Felix              De Armas ‐ Zayas Jr.   Riverside               CA
Miguel             De Carvalho            San Ramon               CA
Clare              De Chavez              Walnut Creek            CA
Diva               De Guzman              San Jose                CA
Philip             De Guzman              San Jose                CA
Reyna              De Jesus               Downey                  CA
Rebecca            De Jesus               San Jose                CA
Lorden             De Jesus               East Palo Alto          CA
Juan Pablo         De Jesus               Los Angeles             CA
Jose               De Jesus Estrada       Fullerton               CA
Yesena             De La Cerda            Fremont                 CA
Ernesto            De La Cruz             Long Beach              CA
Jemuel             De La Cruz Jr.         Vallejo                 CA
Juana              De La Cruz Mahmood     Arcadia                 CA
Alejandro          De La Cruz Pelayo      Paramount               CA
Brysa              De La Parra            Chula Vista             CA
Irving             De La Riva             Castro Valley           CA
Sandra             De La Rosa             Parlier                 CA
Enrique            De La Rosa             Kingsburg               CA
Jose               De La Torre            Bay Point               CA
Christopher        De La Torre            San Jose                CA
Chris              De La Vega             Hemet                   CA
Ariel              De Leon                Long Beach              CA
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Demetrius          De Loach             Modesto                 CA
Richard            De Vera              Hayward                 CA
Gregory            De Vera              Vallejo                 CA
Terence            Dean                 Sacramento              CA
Joseph James       Dean                 San Francisco           CA
Tracy              Dean                 Richmond                CA
Gustavo            Deanda               Oakdale                 CA
Vera               Deatherage           Petaluma                CA
Eugene             Debartolo            North Hollywood         CA
Michael            Debas                Oakland                 CA
Haroun             Debes                Oakland                 CA
Uriah              Deckard              Elk Grove               CA
Marvin             Decuire              San Francisco           CA
Bervick            Deculus              Los Angeles             CA
James              Dediego              Monterey                CA
Justine            Dedios               Oakland                 CA
Cameron            Deeds                Long Beach              CA
Todd               Dees                 Bellflower              CA
Samantha           Defazio              Lawndale                CA
Michelle           Deffner              Alameda                 CA
Frank              Degourville          Los Angeles             CA
Damion             Dehayward            Sacramento              CA
Benigno            Del Castillo         Bellflower              CA
Jerico             Dela Cruz            Artesia                 CA
Gersson Emmanuel   Dela Mora            Long Beach              CA
Jazzie             Delacruz             Pacifica                CA
Juan               Delacruz             Val Verde               CA
Chayna             Delahoussaye         San Diego               CA
Rob                Delakovias           San Ramon               CA
Angela             Delaney              Benicia                 CA
Jose               Delao                Richmond                CA
Mark               Delao                Fresno                  CA
Ruben              Delariva             Fontana                 CA
Raylene            Delataz              Downey                  CA
Gustavo            Delatorre            Manteca                 CA
Ana                Delcid               Newhall                 CA
Claudio            Delgadillo           Sylmar                  CA
Sebastian          Delgadillo           Valencia                CA
Jeysen             Delgado              Harbor City             CA
Anthony            Delgado              Stockton                CA
Yair               Delgado              Antioch                 CA
Jose               Delgado              Baldwin Park            CA
Kimberly           Delgado              Los Angeles             CA
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Daniel            Delgado              Fillmore                CA
Rodolfo           Delgado              Hawthorne               CA
Fernando          Dellanoce            Hayward                 CA
Joseph            Delmazzo             Ontario                 CA
Donna             Deloach              Los Angeles             CA
Michael           Deloney              Los Angeles             CA
Leon              Deloney              Port Hueneme            CA
Apollo            Delove               Sacramento              CA
Joseph            Delregno             Los Angeles             CA
Prince            Delumumda            Los Angeles             CA
David             Demarrco             Anaheim                 CA
Adrian            Demery               Los Angeles             CA
Martin            Demond               Piedmont                CA
Jennifer          Demorizi             Oakland                 CA
Patricia          Denby                Sacramento              CA
Anil              Dendi                San Jose                CA
Nancy             Denker               Bellflower              CA
George            Denney               Lafayette               CA
Michael           Dennis               Los Angeles             CA
Diamond           Dent                 Carson                  CA
Larry             Denton               Castroville             CA
Lucinda           Denton               Anaheim                 CA
Jimmy             Deriada              Arcadia                 CA
Irvin             Derington            Stockton                CA
Harry             deRochemont          San Diego               CA
Tiffany           Derosier             Palmdale                CA
Silva             Desalez              Daly City               CA
Enoc              Desantiago           Stockton                CA
Mark              Deshazier            Stockton                CA
Daniel            Desmond              Martinez                CA
Luiz              Dester               El Cerrito              CA
Brooke            Dettman              Daly City               CA
Thomas            Dettmer              Pico Rivera             CA
Abbie             Detweiler            Daly City               CA
Angela            Devault              Sherman Oaks            CA
Thomas            Devencenci           Lathrop                 CA
Terri             Devereaux            San Francisco           CA
Renee             Devine               Los Angeles             CA
Dale              Dewitt               Tracy                   CA
Kapil             Dhakal               San Jose                CA
Sandeep Kaur      Dhaliwal             Fresno                  CA
Irvinderdev       Dhanda               Mountain House          CA
Vikky             Dhanota              Livingston              CA
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Amrinder          Dhillon                Vallejo                 CA
Ashraf            Diab                   Long Beach              CA
Ibrahima          Diallo                 Oakland                 CA
Amadou            Diallo                 Burlingame              CA
Omar              Diallo                 Inglewood               CA
Benafran          Dias                   San Bruno               CA
Paulo             Dias                   Daly City               CA
Frank Matthew     Dias                   San Jose                CA
Shannon           Diaz                   Palo Alto               CA
Joseph Moreno     Diaz                   El Monte                CA
Ubaldo            Diaz                   San Jose                CA
Alejandro         Diaz                   Gardena                 CA
Eric              Diaz                   Gardena                 CA
Jorge             Diaz                   Covina                  CA
Karen             Diaz                   Santa Ana               CA
Victor            Diaz Silva             Sunnyvale               CA
James             Dickerson              Los Angeles             CA
Tyrone            Dickerson Jr.          Fairfield               CA
Tyrone            Dickerson Sr           Suisun City             CA
Roami             Dicks                  San Francisco           CA
Hung              Diec                   San Francisco           CA
Maria             Diego                  Los Angeles             CA
Matthew           Dierking               Sacramento              CA
Lavorance         Diggs                  Compton                 CA
Brittany          Dilbeck                Visalia                 CA
Mauricio          Dill                   Antioch                 CA
Antonio           Dillon                 Hayward                 CA
Ali               Dilmaghani             Novato                  CA
Louis             Dingee                 Stkn                    CA
Mikayla           Dinkins                Oakland                 CA
Miriam            Dinkins                Los Angeles             CA
Roland            Dinoso                 Richmond                CA
Andrew            Dinovitz               Belvedere               CA
Cody              Dinsmore               Sacramento              CA
Dyllon            Dinwiddie              Sacramento              CA
Momar             Diouf                  Emeryville              CA
Erika             Dipasquale‐Dow         Antioch                 CA
Christoff         Disi                   Inglewood               CA
Senarath          Dissanayake            Cerritos                CA
Alex              Distefano              Redondo Beach           CA
Carlito           Divina Jr.             San Jose                CA
Decemeil          Dixon                  Sacramento              CA
Elbert            Dixon                  Compton                 CA
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Michele            Dixon                  Inglewood               CA
Patricia           Dixon                  Stockton                CA
John               Dixon                  San Francisco           CA
Ervin              Dixon                  Hayward                 CA
Monica             Dixon                  Rancho Cucamonga        CA
Diamond            Dixon                  El Sobrante             CA
Atheldra           Dixon                  Compton                 CA
Andrew             Dizgonzales            Los Angeles             CA
Jason              Do                     Long Beach              CA
Donte              Dobbins                Sacramento              CA
Ernest             Dobson                 West Hollywood          CA
Harreld            Dockery                Rodeo                   CA
Enrico             Dockins                Lancaster               CA
Zaundria           Dodds                  Palmdale                CA
Francis            Dodoo                  Walnut Creek            CA
Derrick            Dodson                 Long Beach              CA
Major              Dodson                 Los Angeles             CA
Edwin              Domingo                Fremont                 CA
Edgar              Dominguez              Los Angeles             CA
Nichole            Dominguez              Fresno                  CA
Edward Alexander   Dominguez              Van Nuys                CA
Eric               Dominguez              Vallejo                 CA
Dionne             Dominique              Woodland Hills          CA
Kirk               Domio                  Inglewood               CA
Allan              Domondon               Elk Grove               CA
Robert             Donald                 Oakland                 CA
Anthony            Donaville              Mountain House          CA
Erik               Dondero                Corona                  CA
Brian              Donohoe                Mission Viejo           CA
Tim                Donohue                Sonoma                  CA
Sirocco            Dooley                 Los Angeles             CA
Salvador           Dorado                 Castroville             CA
Joya               Doran                  Redlands                CA
Christy            Dorough                San Jose                CA
Francine           Dorsey                 Oakland                 CA
Albert             Dorsey                 North Highlands         CA
Willie             Dorton                 Los Angeles             CA
William            Dos Santos Ferreirea   Burlingame              CA
Zena               Doss                   San Francisco           CA
Aproll             Dossman                Sacramento              CA
Artilla            Dotson                 Berkeley                CA
Gylan              Dottin                 Santa Ana               CA
Diana              Douglas                West Sacramento         CA
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Joseph            Douglas              Los Angeles             CA
Andrew            Douglas              Sacramento              CA
Howard            Douglas              Hercules                CA
Vitor Ruas        Douglas Ruas         Pacifica                CA
Jennifer          Douglass             Poway                   CA
Cory              Dove                 Porterville             CA
Shemeka           Dove                 Elk Grove               CA
Laura             Dow                  San Francisco           CA
Jermaine          Dowdell              Richmond                CA
Parker            Downey               San Jose                CA
Phillip           Downey               Oak View                CA
Monique           Downs                Hawthorne               CA
Laneshia          Downs                Stockton                CA
Stephan           Doyle                Fresno                  CA
Lester            Dozier               Fresno                  CA
Janice            Dozier               Los Angeles             CA
Sharon            Drake                Los Angeles             CA
Adam              Drake                Laguna Niguel           CA
Tamala            Drake‐ Smith         Berkeley                CA
Anthony           Drapeau              Pomona                  CA
Sean              Draper               Modesto                 CA
Toni              Draper               Mira Loma               CA
Sherie            Drawn                Sacramento              CA
Brandon           Drayton              Los Angeles             CA
Alexandar         Drob                 Burbank                 CA
Ratuponipate      Drodrolagi           Sacramento              CA
Aryc              Drummond             Concord                 CA
Stacy             Duarte               Fresno                  CA
Juan              Duarte               Ontario                 CA
Stacy             Duarte               Sacramento              CA
Jaysfer           Duarte               Modesto                 CA
Jonathan          Dubose               San Diego               CA
Chisa             Du'Brey              Lawndale                CA
Cheryl            Ducker               Stockton                CA
Antoinette        Duckett              Palmdale                CA
Johnny            Ducksworth           San Francisco           CA
Tanishya          Dudley               San Jose                CA
Brandon           Duemas               Los Angeles             CA
Charles           Duenes               Cypress                 CA
Tom               Duffy                San Francisco           CA
Dashaun           Duffy                San Francisco           CA
Kyle              Dufour               Sacramento              CA
Kyle              Dugan                Richmond                CA
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Briana            Duhe                 Millbrae                CA
Charles           Duke                 Highland                CA
Micah             Dulan                Sacramento              CA
Jason             Dulle                Discovery Bay           CA
Tirzah            Dunbar               North Oakland           CA
Debbie            Dunbar               Inglewood               CA
Quatshuana        Dunbar               Los Angeles             CA
Albert            Dunbar               Lathrop                 CA
Kevin             Duncan               Compton                 CA
Shaun             Duncan               Hayward                 CA
Anthony           Duncan               San Francisco           CA
Wilfredo          Dungca               Fairfield               CA
Precious          Dungey               Los Angeles             CA
Kyle              Dunkin               Fairfield               CA
Stephen           Dunlap               Richmond                CA
Gilbert           Dunn                 San Pedro               CA
Royce             Dunn                 Fresno                  CA
Gary              Dunn                 San Rafael              CA
John              Dunn                 Sunnyvale               CA
Steven            Dunn‐Beavers         Cerritos                CA
Myeshia           Dunson               Sacramento              CA
Johnielle         Dupart               Los Angeles             CA
Destiny           Duplessis            Fresno                  CA
Lashonda          Dupree               Oakland                 CA
Tilbert           Duran                Bloomington             CA
Darlene           Duran                Los Angeles             CA
Maria             Duran                Los Banos               CA
Jasson            Duran                Fontana                 CA
Guillermo         Duran                Moreno Valley           CA
Leonor            Duran                Los Angeles             CA
Kevin             Durden               Upland                  CA
Tyler             Durden               Oakland                 CA
Yolanda           Dureelyles           Sacramento              CA
Terry             Duren                Fresno                  CA
Gerald            Durham               Inglewood               CA
Terry             Durham               Gardena                 CA
Kenneth           Durham Sr            Sacramento              CA
Shane             Durkee               Sherman Oaks            CA
Casmir            Duru                 Oakland                 CA
Christie          Dy                   Corona                  CA
Kevin             Dyas                 Inglewood               CA
Zeno              Dyer                 Downey                  CA
Toure             Eagans               Los Angeles             CA
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Marcenus          Earl                    Riverside               CA
Sam               Early                   Northridge              CA
Oscar             Easley                  Ontario                 CA
Janice            Eason                   North Highlands         CA
Ronald            East                    Vallejo                 CA
Jerry             Eastland                Lodi                    CA
Nicole            Easton                  San Jose                CA
Raymond           Eaton                   Inglewood               CA
Rachel            Echeverria              San Jose                CA
Fernando          Echeverria              West Covina             CA
William           Eckhart                 National City           CA
Pamela            Eddins                  Los Angeles             CA
Ryan              Edeiros                 Fair Oaks               CA
Nathaniel         Eden                    Rodeo                   CA
Satrina           Edmerson                Compton                 CA
Kevn              Edmond                  Hawthorne               CA
Michelle          Edmondson               Manteca                 CA
Jose              Edradan                 San Mateo               CA
Mohammad          Edris                   Sacramento              CA
Johnmelchore      Edrosolo                Pinole                  CA
Tahira            Edward                  Fresno                  CA
Robert            Edward                  Milpitas                CA
Jeffrey           Edward Marshall         Vallejo                 CA
Velda             Edwards                 Oakland                 CA
Hakim             Edwards                 Lawndale                CA
Douglas           Edwards                 Laguna Woods            CA
Celisa            Edwards                 Los Angeles             CA
Revena            Edwards                 Elk Grove               CA
Niambi            Edwards                 Fresno                  CA
Justin            Edwards                 Sacramento              CA
Chenette          Edwards                 Los Angeles             CA
Katrina           Edwards                 San Leandro             CA
Rina              Edwards                 Fullerton               CA
Vincent           Edwards                 Los Angeles             CA
Donald            Edwards                 Sacramento              CA
Maron             Edwards                 Los Angeles             CA
Bruce             Edwards                 Hacienda Heights        CA
Alicia            Egbokhan                Sacramento              CA
Christopher       Eggelston               Los Angeles             CA
Michael           Egurrola                Montebello              CA
Joe               Ehinger                 Placentia               CA
Jason             Einboden                Alhambra                CA
Helton            Eirassol                Campbell                CA
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Aric              Eisnberg             Skyforest               CA
Raffee            Ekmekjian            Van Nuys                CA
Nicole            Ekwueme              Bakersfield             CA
Terry             Elbert               East Palo Alto          CA
Dean              Eldean               Valencia                CA
Janae             Eldridge             Sacramento              CA
Ray               Eldridge             Concord                 CA
Rafeed            Elguhiem             San Francisco           CA
Driss             Elhiba               Santa Clara             CA
Steven            Elias                Walnut Creek            CA
Demetrius         Elkins               Los Angeles             CA
Catrena           Elliot               Daly City               CA
Jamie             Elliott              Union City              CA
Jackie            Elliott              Oakland                 CA
Darrick           Ellis                Los Angeles             CA
Sohib             Elmahgub             Vallejo                 CA
Mahmoud           Elmashni             Milpitas                CA
Max               Elmore               Banning                 CA
Mohamed           Elnabarawy           Benicia                 CA
Amr               Elsewehy             Laguna Niguel           CA
Karim             Elshourbagy          Los Angeles             CA
Brittany          Elsner               Lakewood                CA
Curtis            Elston               San Francisco           CA
Raed              Elzebda              Winnetka                CA
Leroy             Elzy                 Stockton                CA
Michaesha         Emerson Anderson     Lancaster               CA
Karl              Emrich               Pleasanton              CA
Anyumel           Emuge                Reseda                  CA
Asotasi           Ene                  Fremont                 CA
Lisa              Englent              Stockton                CA
Jennifer          English              Hercules                CA
Linda             Engquist             San Jose                CA
Dulguun           Enkhtsogoo           Oakland                 CA
Inibehe           Eno‐ Adams           Hayward                 CA
Del               Enos                 Stockton                CA
Jose              Enriquez             Los Angeles             CA
Daniel            Enriquez             Glendale                CA
Rudy              Enriquez             Arcadia                 CA
Luis              Enriquez             Ontario                 CA
Cynthia           Epes                 San Leandro             CA
Roger             Epperson             San Jose                CA
Brian             Epps                 Norwalk                 CA
Jamal             Erakat               Castro Valley           CA
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Serene              Erby                 Sacramento              CA
Enayatullah         Erfan                Concord                 CA
Malik               Erin                 East Palo Alto          CA
William             Ervin I I            Corona                  CA
Alex                Escalante            Hercules                CA
Brendon             Escalona             Stockton                CA
Lashay              Escandon             San Pedro               CA
Carlos              Escarcega            Ontario                 CA
David               Escaro               Vallejo                 CA
Keith               Escher               Long Beach              CA
Horacio             Escobar              San Francisco           CA
Alan                Escobar              Fresno                  CA
David               Escobar              San Leandro             CA
Jose                Escobar              San Jose                CA
Roberto             Escobar              Pleasant Hill           CA
Kristina            Escobar              Antioch                 CA
Kelin               Escobar              Antioch                 CA
Priscilla           Escobar              Los Angeles             CA
Medhanie            Esfamihael           Oakland                 CA
Donald              Eskridge             Riverside               CA
Tyone               Esmond               Richmond                CA
Mateo               Esparrago            Benicia                 CA
Aldo                Esparza              Albany                  CA
David               Espinal              Daly City               CA
Marcos              Espinal              Hawthorne               CA
Amado               Espino               Carson                  CA
Robert              Espino               Irwindale               CA
Carlos              Espinosa             Los Angeles             CA
Elena               Espinoza             Northridge              CA
Carlos              Espinoza             Hollister               CA
Liza                Espinoza             Merced                  CA
Alfredo Felix       Espinoza             Fresno                  CA
Richard             Espinoza             La Verne                CA
Silvestre           Espinoza             Healdsburg              CA
Luis                Espinoza             Mountain View           CA
Kristi              Espinoza             Modesto                 CA
Rodolfo             Espinoza             Salinas                 CA
Ricky               Espinoza             San Jose                CA
Jesse               Espinoza             Fresno                  CA
Oscar               Espiritu             Los Angeles             CA
Gregory             Espy                 Pittsburg               CA
Mikeo               Esqueda              Madera                  CA
Veronica            Esquenazi            San Jose                CA
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Richard           Esquibel                Stockton                CA
Gracie            Esquivel                Sacramento              CA
Jesus             Esquivel                Corona                  CA
Sherry            Esteban                 San Diego               CA
Karise            Estell                  Oakland                 CA
Rebecca           Estensen                Lincoln                 CA
David             Estrada                 San Jose                CA
Kelvin            Estrada                 Tulare                  CA
Donald            Estrada                 Benicia                 CA
Phyllis           Estrada                 Fresno                  CA
Victoria          Estrada                 San Pablo               CA
Arturo            Estrada                 Fullerton               CA
Raymond           Estrada                 San Jose                CA
Oscar             Estrada Zaldana         Pico Rivera             CA
Maribel           Estupinian              San Francisco           CA
Edgar             Esturban                Los Angeles             CA
Alexander         Esver Jr.               Vallejo                 CA
Justin            Etienne                 San Jose                CA
Tyrone            Eugene                  Oakland                 CA
Kelly             Evangelista             Fresno                  CA
Teresa            Evans                   Van Nuys                CA
Leo               Evans                   San Leandro             CA
Carrie            Evans                   Oakland                 CA
Keenan            Evans                   Richmond                CA
Teresa            Evans                   Sacramento              CA
Carl              Evans                   Los Angeles             CA
Tyrese            Evans                   Los Angeles             CA
Shannan           Evans                   Sacramento              Ca
Jeffery           Evans                   Vallejo                 CA
Kim               Evans                   Walnut Creek            CA
Gina              Evans‐ Ramirez          Oakland                 CA
Zohna             Everett                 Stockton                CA
Fredric           Everett                 Redondo Beach           CA
Tc                Everett                 San Pablo               CA
Sharonda          Everfield               Oakland                 CA
Daniel            Evertsz                 American Canyon         CA
Ryan              Ewing                   Newport Beach           CA
Christian         Ezar                    Long Beach              CA
Princess          Eze                     North Hollywood         CA
Peter Damian      Ezeoke                  Fontana                 CA
Agnes             Faafiu                  Oakland                 CA
Karina            Fabre                   Orange                  CA
Robert            Facio                   San Jose                CA
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Paul            Facio                 Selma                   CA
Melanie         Fackrell              Antelope                CA
Clarence        Fahie                 Lancaster               CA
Fnu             Fahim                 Oakland                 CA
Farzin          Fahimi                Woodland Hills          CA
Mena            Fahmy                 Northridge              CA
Eugene          Fair                  Los Angeles             CA
Pilar           Fairley               Victorville             CA
Leah            Fairley               Emeryville              CA
Corey           Faison                Menifee                 CA
Shamika         Faison                Folsom                  CA
Pamela          Faith                 Vallejo                 CA
Fahiem          Faiyaz                Livermore               CA
Renato          Fajardo               San Jose                CA
Pete            Falcon Jr             Clovis                  CA
Audrina         Falcone               Inglewood               CA
Doreen          Falle                 Long Beach              CA
Carolyn         Falley                Fresno                  CA
Donald          Falorio               San Diego               CA
Yasmin          Fang                  Santa Clara             CA
Michael         Fang                  Sunnyvale               CA
Senya           Fania                 San Jose                CA
Sharise         Faniel                Palmdale                CA
Abshir          Farah                 San Jose                CA
Mohammad        Farhad Jalali         Tracy                   CA
Albert          Farhadi               Los Angeles             CA
Fady            Farhat                Hollister               CA
Shanta          Faria De Sa           North Hollywood         CA
Robert          Farias                San Jose                CA
Enrique         Farias                Santa Clara             CA
Glen            Farley                Sacramento              CA
George          Farmer                Los Angeles             CA
Jacob           Farmos                Livermore               CA
Kim             Farrar                Salinas                 CA
Jami            Faulk                 Tracy                   CA
Darby           Faulkner              Costa Mesa              CA
Laura           Favento               Sun Valley              CA
Sean            Fawaz                 Huntington Beach        CA
Adam            Fayad                 Cerritos                CA
Tibor           Fazekas               Los Angeles             CA
Javed           Fazelyar              Tracy                   CA
Adam            Fears                 Chowchilla              CA
Brandon         Featherstone          Anaheim                 CA
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Danny              Fedur                  Sacramento              CA
Brenda             Fehlings               Fresno                  CA
Mark               Feigin                 Agoura Hills            CA
Lee                Feijo                  Oakley                  CA
Ilya               Feldman                San Mateo               CA
Jesse              Felix                  Coachella               CA
James              Felix                  Sacramento              CA
Nova               Felix                  Antelope                CA
Jon                Felix                  Santa Fe Springs        CA
Miguel             Felix Espinoza         Fresno                  CA
Immer              Felix Espinoza         Fresno                  CA
Michael            Fenili                 Hollywood               CA
James              Fennelly               Newark                  CA
Rodney             Ferguson               Chino                   CA
David              Ferguson               San Jose                CA
Diana              Ferguson               Vallejo                 CA
Alejandro          Fernandez              Los Angeles             CA
Denice             Fernandez              Vallejo                 CA
Rachel             Fernandez              San Jose                CA
Nayely             Fernandez              Norwalk                 CA
Ahmad              Fernandez              Norwalk                 CA
Judith             Fernandez              San Jose                CA
Ramon              Fernandez              San Leandro             CA
Frederick          Fernandez              Daly City               CA
Eliezer            Fernandez              San Lorenzo             CA
Ruben              Fernandez              Stockton                CA
Guillermo          Fernandez              Alameda                 CA
Daniel             Fernandez              Ontario                 CA
Ronnie             Fernandez              Tracy                   CA
Prospero           Fernando               Fremont                 CA
Jaime              Fernando               El Cerrito              CA
Ryan               Ferreira               Sunnyvale               CA
Jason              Ferrell                Escondido               CA
Carlos             Ferrer                 Hayward                 CA
Madijd             Ferri                  Oakland                 CA
Tutuila            Fetuu                  Antioch                 CA
Erik               Fiallos                Los Angeles             CA
Arthur             Field                  Sherman Oaks            CA
Alvin              Fields                 San Pablo               CA
Ola                Fields                 Sacramento              CA
Rick               Fields                 San Francisco           CA
Jacqueline         Fields                 San Pablo               CA
Jordan             Fierro                 San Francisco           CA
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Bryan                 Fife                    Sacramento               CA
Earnest               Fife                    Los Angeles              CA
Robert                Figueroa                Sylmar                   CA
Maria                 Figueroa                Daly City                CA
Roxana                Figueroa                East Palo Alto           CA
Julio                 Figueroa                Los Angeles              CA
Santiago              Figueroa Medina         Bakersfield              CA
Kimiya                Files                   South Gate               CA
Jesse                 Finamore                Los Angeles              CA
Mapuna                Finau                   San Mateo                CA
Matthew               Fink                    Anaheim                  CA
Rodrick               Finley                  Compton                  CA
Thomas                Finn                    Orange                   CA
Steven                Finnie                  Carson                   CA
Fabian                Fiorentini              San Francisco            CA
Paul                  Fisher                  Fresno                   CA
Evan                  Fisher                  Manteca                  CA
Ronald                Fisher                  Long Beach               CA
Irina                 Fisherman               Daly City                CA
John                  Fitch                   Pleasant Hill            CA
Sydney                Fitz                    Los Angeles              CA
Kaela                 Fitzer                  Clovis                   CA
Marrio                Fitzgerald              Oakland                  CA
Lakiya                Fitzpatrick             El Sobrante              CA
Roshell               Flanagan                Vallejo                  CA
Tommie                Flanagan                Long Beach               CA
Daniel                Flannery                Citrus Heights           CA
Kelly                 Fleenor                 Yuba City                CA
Lashone               Fleming                 Los Angeles              CA
Aisha                 Fleming                 San Leandro              CA
Byreesha              Fleming                 Oakland                  CA
Tiffany               Fleming                 Los Angeles              CA
Christeen             Flemons                 Sacramento               CA
Steven                Flemons                 Sacramento               CA
Keisha                Flemons                 Oakland                  CA
Sebron                Flenaugh                Fairfield                CA
Lamarr                Flenoury                Marysville               CA
Candie                Fletcher                Richmond                 CA
Emmett                Fletcher                Richmond                 CA
Thomas                Fletcher                Fresno                   CA
Anthony               Fletcher                San Francisco            CA
Jumbe                 Fletcher                Los Angeles              CA
Joel                  Fletes                  San Francisco            CA
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Jasmine            Flewellen                Oakland                 CA
Kellie             Flippin                  Fresno                  CA
Antoinette         Flood                    San Francisco           CA
Vanessa            Flores                   West Sacramento         CA
Pedro              Flores                   Rancho Cordova          CA
Jorge              Flores                   Los Angeles             CA
Enrique            Flores                   Sacramento              CA
Rodolfo            Flores                   Modesto                 CA
Diego              Flores                   Lynwood                 CA
Oscar              Flores                   Los Angeles             CA
Robert             Flores                   Azusa                   CA
Cesar              Flores                   Corona                  CA
Jose               Flores                   Glendora                CA
German             Flores                   Long Beach              CA
Ivan               Flores                   Bell                    CA
Allan              Flores                   North Hills             CA
Louis              Flores                   Fontana                 CA
Sofia              Flores                   Richmond                CA
Rafael             Flores                   Sunnyvale               CA
James              Flores                   Pomona                  CA
Edgar              Flores                   San Francisco           CA
Monica             Flores                   Turlock                 CA
Ben                Flores                   Visalia                 CA
Marvin             Flores                   Lynwood                 CA
Vincent            Flores                   Ventura                 CA
Brandon            Flores                   Riverside               CA
Sergio             Flores                   Los Angeles             CA
Luis               Flores                   Los Angeles             CA
Katherine          Flores Collins           Folsom                  CA
Edgar              Flores Fernandez         Redwood City            CA
Anthony            Flores Rodriguez         San Jose                CA
Dominic            Floresca                 Oakley                  CA
Jayson             Flory                    Citrus Heights          CA
Lelandia           Flowers                  Hawthorne               CA
Kevin              Flowers                  Oceanside               CA
Timothy            Flowers                  Stockton                CA
Garfield           Flowers                  Corona                  CA
Dennis             Flowers                  Canoga Park             CA
Michael            Flowers                  Oakland                 CA
Debra              Flowers                  Vallejo                 CA
Jesse              Floyd                    Los Angeles             CA
Barbara            Floyd                    Hawthorne               CA
Ranchelo           Fojas                    Fremont                 CA
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Jacob             Folmer                Anaheim                 CA
Shae              Fondie                Dana Point              CA
Victor            Fong                  Napa                    CA
Jackson           Fong                  Hayward                 CA
Carl              Fontenot              Sacramento              CA
Ramon             Fontenot              San Francisco           CA
Chun              Foo                   Concord                 CA
Angelique         Forbes                San Francisco           CA
Marguerite        Forbes                Los Angeles             CA
Lorenzo           Ford                  Los Angeles             CA
Sharmellia        Ford                  Los Angeles             CA
Donna             Ford                  Los Angeles             CA
Anthony           Ford                  Los Angeles             CA
Ernest            Ford                  Sacramento              CA
Tera              Ford                  Castro Valley           CA
Daniel            Ford                  Fresno                  CA
Shirley           Ford                  Oakland                 CA
Gordon            Ford                  Foster City             CA
Robert            Forman                Cathedral City          CA
Anthony           Formano               El Segundo              CA
Roxanne           Forrest               Carson                  CA
Stephanie         Forrester             Sacramento              CA
John              Fortenberry           Oakland                 CA
Bobby             Fosha                 Los Angeles             CA
Kathyrina         Foster                Antioch                 CA
James             Foster                Campbell                CA
William           Foster                El Cerrito              CA
Joseph            Foster                Sacramento              CA
Theresa           Foster                Oakland                 CA
Lewis             Foster                Los Angeles             CA
Faith             Foster                Moreno Valley           CA
Reginald          Foster                Los Angeles             CA
Josette           Foster                Novato                  CA
Samuel            Foulk                 Beaumont                CA
Steven            Fountain              Stockton                CA
Nessia            Fountain              Pomona                  CA
Haidee            Foust                 Crockett                CA
Daniel            Fowler                Fremont                 CA
Carol             Fowler                Vallejo                 CA
Dorothy           Fowler Debose         Sacramento              CA
Stacey            Fowlkes               Stockton                CA
Steven            Fowlkes               San Jose                CA
Garrett           Fox                   Lomita                  CA
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Elgin             Fox                     Madera                  CA
Ben               Fox                     West Hollywood          CA
Sharon            Fox                     Highland                CA
Daniella          Franca                  San Mateo               CA
Robert            Francis                 Fresno                  CA
Steven            Francis                 Stockton                CA
Monique           Francis                 Anaheim                 CA
Cristian          Franco                  Fresno                  CA
Maribel           Franco                  Salinas                 CA
Rafael            Franco                  Daly City               CA
Eduardo           Francoia                Los Angeles             CA
Eric              Francois                Fairfield               CA
Elicia            Frank                   Beverly Hills           CA
Euvil             Frank                   San Diego               CA
Evan              Franklin                San Jose                CA
Aiyana            Franklin                Lancaster               CA
Chandra           Franklin                Los Angeles             CA
Randy             Franklin                La Verne                CA
Laura             Franklin                Fresno                  CA
Gary              Franklin                San Ramon               CA
Marcus            Franklin                Oakland                 CA
Mauchese          Franklin Jr             San Bernardino          CA
Shellee           Franks                  Long Beach              CA
Rodney            Fraszier                Rio Linda               CA
Elmer             Frausto                 Santa Clara             CA
Janae             Frazier                 Hercules                CA
Gary              Frazier                 Oakland                 CA
Stacy             Frazier                 Long Beach              CA
Chavonne          Frazier ‐ Boult         Sacramento              CA
Alicia            Fredericks              Inglewood               CA
Olej              Freedman                South San Francisco     CA
Larry             Freeman                 Palmdale                CA
Rick              Freeman                 West Covina             CA
Rotteinia         Freeman                 Alameda                 CA
Rolanda           Freeman                 Los Angeles             CA
Ron               Freiermuth              Belmont                 CA
Shanisse          Frenchwood              Newark                  CA
Anthony           Fretty                  Daly City               CA
Pamela            Frey                    San Jose                CA
James             Frick                   Palo Alto               CA
Tyrone            Friend                  Inglewood               CA
Luscious          Frost                   Pittsburg               CA
Gregory           Frye                    Sacramento              CA
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Mandisa               Frye                 Sacramento              CA
Hai                   Fu                   Los Angeles             Ca
Wilbert               Fuentecilla          San Jose                CA
Romen                 Fuentes              Los Angeles             CA
Alejandra             Fuentes              Pinole                  CA
Miguel                Fuentes              Sunnyvale               CA
Francisco             Fuerte               Azusa                   CA
Derek                 Fujitsubo            Clovis                  CA
Brandon               Fukushima            San Francisco           CA
Kenneth               Fulbright            Hayward                 CA
David                 Fuller               Paramount               CA
Roy J                 Fuller               Vallejo                 CA
Jon                   Fuller               Santa Clara             CA
Darren                Fuller               Pittsburg               CA
Taja                  Fulmore              Compton                 CA
Prescott              Fulse                Gardena                 CA
Justin                Fultz                Stockton                CA
Decina                Funches              Oakland                 CA
Victor                Funez                Los Angeles             CA
Luis                  Funez                San Pablo               CA
Roberto               Funseon              Ontario                 CA
Yana                  Fuqua                Suisun City             CA
Daryck                Fuqua                San Francisco           CA
Mark                  Furlani              San Francisco           CA
Joshua                Furtado              Sacramento              CA
Brendon               Fusco                Berkeley                CA
Eric                  Futrell              Frazier Park            CA
Forrest               Fykes                Inglewood               CA
Peter                 Gabriel              Martinez                CA
Steve                 Gachoka              Pittsburg               CA
Tommy                 Gage                 Upland                  CA
Angela                Gagon                Vallejo                 CA
Cleve                 Gaines               Antelope                CA
Andre                 Gaines               Vallejo                 CA
Ann                   Galadzhyan           Sun Valley              CA
Tamer                 Galal                Cupertino               CA
Gabriel               Galando              Los Angeles             CA
Sandra                Galaviz              Lake View Terrace       CA
Sandra                Galeana              Whittier                CA
Matthew               Galeapace            San Francisco           CA
Julio                 Galindez             Citrus Heights          CA
Louis                 Galindo              Los Angeles             CA
Anthony               Galindo              Los Angeles             CA
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Edgar              Galindo              Santa Fe Springs        CA
Jose Martin        Gallardo             South Gate              CA
Tara               Gallardo             Bakersfield             CA
Antonio            Gallardo             La Habra                CA
Armando            Gallardo             Huntington Park         CA
Alondra            Gallegos             Gardena                 CA
Gabriel            Galletta             Manteca                 CA
Essan              Galo                 Santa Clara             CA
Saul               Galvan               Huntington Park         CA
Pablo              Galvan               Los Angeles             CA
Michael            Galvan               Wildomar                CA
Juan               Galvez               San Francisco           CA
Leonardo           Galvez               San Bernardino          CA
Kristine           Galvez               San Jose                CA
Henry              Gambing              San Francisco           CA
Ricky              Gamble               Sacramento              CA
Maurice            Gamble               Oakland                 CA
Levi               Gamboa               Sacramento              CA
Daniel             Gamboa               San Francisco           CA
Tamia              Gambrell             Compton                 CA
Marcus             Gamez                Oakland                 CA
Anthony            Gamez                Ontario                 CA
Michael            Gammage              Stockton                CA
Ray                Gammage              Los Angeles             CA
Jacqueen           Gandy                Oakland                 CA
Ahmed              Gaoh                 San Leandro             CA
Erwin              Garatigue            Anaheim                 CA
Latonya            Garbutt              Los Angeles             CA
James              Garbutt              Los Angeles             CA
Jahaida            Garcia               Norwalk                 CA
Sonia              Garcia               Huntington Park         CA
Nestor             Garcia               Sacramento              CA
Ignacio            Garcia               South Gate              CA
Maria              Garcia               El Monte                CA
Kevin              Garcia               Torrance                CA
Jose A             Garcia               Hayward                 CA
Alfredo            Garcia               North Hollywood         CA
Wilber             Garcia               San Mateo               CA
Thomas             Garcia               Lomita                  CA
Oscar              Garcia               Los Angeles             CA
Julio              Garcia               Norwalk                 CA
Alberto            Garcia               San Bernardino          CA
Marina             Garcia               San Jose                CA
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Erika                 Garcia               Garden Grove            CA
Daniel                Garcia               Hayward                 CA
Monique               Garcia               Oakland                 CA
Shansurie             Garcia               Murrieta                CA
Ignacio               Garcia               Santa Rosa              CA
Frank                 Garcia               Los Angeles             CA
Keith                 Garcia               San Jose                CA
John                  Garcia               Long Beach              CA
Eric                  Garcia               Reedley                 CA
Ashley                Garcia               San Diego               CA
Daniel                Garcia               Clovis                  CA
Aaron                 Garcia               Chino Hills             CA
Anthony               Garcia               La Mesa                 CA
Israel                Garcia               Oakland                 CA
Ramon                 Garcia               Long Beach              CA
Amador                Garcia               San Leandro             CA
Brandon               Garcia               Fowler                  CA
Oton                  Garcia               Lynwood                 CA
Francisco             Garcia               Fresno                  CA
Kris                  Garcia               Stockton                CA
Manuel                Garcia               Union City              CA
Melba                 Garcia               Bellflower              CA
Alex                  Garcia               Fresno                  CA
German                Garcia               Morgan Hill             CA
Wayne                 Garcia               Richmond                CA
Gerardo               Garcia               Fresno                  CA
German                Garcia               Los Angeles             CA
Laura                 Garcia               Los Angeles             CA
Roger                 Garcia               Los Angeles             CA
Sergio                Garcia               Ontario                 CA
Jessica               Garcia               La Habra                CA
Vianey                Garcia               Gardena                 CA
Omar                  Garcia               Whittier                CA
Bianca                Garcia               Bay Point               CA
Pablo                 Garcia               San Jose                CA
Alfonso               Garcia               San Jose                CA
Cesar                 Garcia               Hayward                 CA
Alfredo               Garcia               San Jose                CA
Michelle              Garcia               San Jose                CA
Andres                Garcia               Hacienda Heights        CA
Sergio                Garcia               San Pedro               CA
Gabriel               Garcia               Paramount               CA
Luis                  Garcia               La Habra                CA
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Darlene            Garcia                 Long Beach              CA
Jose De Jesus      Garcia Salazar         Moreno Valley           CA
Laura              Gardenhire             Norco                   CA
Mustafa            Gardizi                Pleasant Hill           CA
Larry              Gardner                Long Beach              CA
Darius             Gardner                San Leandro             CA
Merrill            Gardner                Santa Rosa              CA
Aastha             Garg                   Irvine                  CA
Laura              Garibay                Turlock                 CA
Miguel             Garibay                Concord                 CA
Christopher        Garner                 Fresno                  CA
Cecilia            Garner                 Winnetka                CA
Latonya            Garner                 Vacaville               CA
Keith              Garner                 San Jose                CA
Jason              Garnett                Richmond                CA
Wayne              Garnett                Richmond                CA
Theodore           Garnett                Richmond                CA
Desiree            Garnica                Fresno                  CA
Janay              Garrard                San Rafael              CA
Darrius            Garrett                Concord                 CA
Dominic            Garrett                Berkeley                CA
Steven             Garrett                Oakland                 CA
Arman              Garrett                Concord                 CA
Edward             Garrison               Los Angeles             CA
Leah               Garry                  Los Angeles             CA
Njeri              Garth                  Inglewood               CA
Vanessa            Gary                   Oakland                 CA
Sandra             Garza                  Fremont                 CA
Mathew             Garza                  Downey                  CA
Israel             Garza                  Dinuba                  CA
Alfred             Garza                  Sacramento              CA
Lesvia             Garza                  Fresno                  CA
Gabriel            Gasabyan               North Hollywood         CA
Norman             Gaspard                Vallejo                 CA
Miguel             Gastinell              Pomona                  CA
Rebecca            Gates‐Shortz           Roseville               CA
Phiness            Gatewood               Los Angeles             CA
Jevon              Gatlin                 Anaheim                 CA
David              Gauci                  Daly City               CA
Regis              Gaudrot                Marina Del Rey          CA
Angela             Gause‐Brewster         Rancho Cucamonga        CA
Joseph             Gauthier               Bellflower              CA
Steven             Gay                    Inglewood               CA
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Stephen          Geare                  Napa                    CA
Michael          Gebele                 Torrance                CA
Biniyam          Gebreeyosus            Oakland                 CA
Yarad            Gebregiorgis           San Francisco           CA
Zemen            Gebremariam            San Francisco           CA
Shishay          Gebreslassie           Santa Clara             CA
Mehrepab         Gebreysus              San Diego               CA
Tammy            Geer                   Manteca                 CA
Michael          Gehrett                Lakewood                CA
Mauro            Gelista                Lynwood                 CA
Paul             Geluz                  Wilmington              CA
Bradley          Gentry                 Castro Valley           CA
Gregory          Georgandas             Brentwood               CA
Taylor           George                 Murrieta                CA
Roman            George                 Pleasant Hill           CA
Monty            George                 Folsom                  CA
Angelo           George                 Salinas                 CA
Kenneth          Gerard                 Fresno                  CA
Keith            Gerhart                Sacramento              CA
Louis            Gernhardt              Walnut Creek            CA
Dennis           Gervacio               Hayward                 CA
Donald           Getaw                  Los Angeles             CA
Timothy          Geter                  San Diego               CA
Banipal          Gevargiz               San Jose                CA
Mohammad         Ghafouriffar           San Jose                CA
Jamshid          Ghahremani             Mission Viejo           CA
Nassar           Ghanam                 Oakland                 CA
Arman            Ghasemzadeh            San Jose                CA
Arman            Ghevondyan             Glendale                CA
Mohammad         Ghiasi                 Sacramento              CA
Sujit            Ghimire                El Sobrante             CA
Aaron            Ghiringhelli           Livermore               CA
Moh Yassen       Ghulam Sakhi           San Francisco           CA
Julio            Giannobile             San Francisco           CA
Joey             Gibbs                  Aptos                   CA
Ronda            Gibbs                  Long Beach              CA
Lynnetta         Gibbs‐Thompson         Oakland                 CA
Nahstaskia       Gibson                 Los Angeles             CA
Cynthia          Gibson                 Santa Rosa              CA
Savanna          Gibson                 Bellflower              CA
Nykia            Gibson                 Sacramento              CA
Jarah            Gibson                 Woodland Hills          CA
Sandeep          Gidda                  San Jose                CA
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Tesha             Giddens                Los Angeles             CA
Juan              Gil                    Long Beach              CA
Tywaun            Gilbert                Inglewood               CA
Mark              Gilbertson             Gardena                 CA
Osama             Gildeh                 Laguna Beach            CA
Daniel            Gildner                Penngrove               CA
Richard           Gill                   Pleasanton              CA
Ratinder          Gill                   Fremont                 CA
Dashpinder        Gill                   Fremont                 CA
Michael           Gill                   Los Angeles             CA
Jermaine          Gill                   Downey                  CA
Helen             Gill Smith             Pittsburg               CA
Vernon            Gillam                 Pittsburg               CA
Ernest            Gillett                Los Angeles             CA
Xavier            Gillette               Brentwood               CA
David             Gilliland              Anaheim                 CA
Melanie           Gillum                 Richmond                CA
Monica            Gilmer                 Oakland                 CA
Keyshon           Gilmer                 Van Nuys                CA
Shaandreia        Gilmore                Sacramento              CA
Sharron           Gilmore                Palmdale                CA
Devonna           Gilmore                Fairfield               CA
Tanisha           Gilmore                San Francisco           CA
Leonard           Gilmore                Sacramento              CA
Vanessa           Giminez                Modesto                 CA
Mowafi            Ginawi                 Oakland                 CA
Benjamin          Gines                  Montclair               CA
Alessandro        Ginez                  Norwalk                 CA
Mary              Giordano               Clovis                  CA
Edgardo           Giovanni Flores Paez   Concord                 CA
Donica            Gipson                 Huntington Park         CA
Magdi             Girgif                 Bellflower              CA
Ramy              Girgis                 Reseda                  CA
Diego             Giron                  Long Beach              CA
Terrance          Girton                 Oakland                 CA
Jasan             Givens                 Los Angeles             CA
Charles           Glackin                Los Angeles             CA
Robert            Gladden                Lynwood                 CA
Laticia           Glenn                  Hesperia                CA
Mia               Glenn                  Beverly Hills           CA
Sidney            Glick                  Tarzana                 CA
Mark              Glinoga                Los Angeles             CA
Johnny            Glover                 El Cajon                CA
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Craig               Glover             San Mateo               CA
Jeanette            Glover             Los Angeles             CA
Aristotle           Go                 South San Francisco     CA
Clay                Go                 San Francisco           CA
Sei                 Goaneh             Hawthorne               CA
Ahlvin              Gochingco          Carson                  CA
Christian           Goddard            El Dorado Hills         CA
Isreal              Godinez            Fresno                  CA
Irma                Godinez            Canoga Park             CA
Manuel              Godoy              Chino                   CA
Louis               Godoy              Campbell                CA
Mario               Godoy              Hawthorne               CA
Julio               Godoy              Bloomington             CA
Jonathan            Goins              Beaumont                CA
Anthony             Gois               Modesto                 CA
Mohamed             Gojali             Garden Grove            CA
Michael             Gokey              Inglewood               CA
Jeffrey             Goldmann           San Clemente            CA
Daniel              Golez              Ontario                 CA
Manuel              Gomes              Napa                    CA
Christine           Gomes              Visalia                 CA
Michael Alexander   Gomez              La Habra                CA
Lea                 Gomez              Gardena                 CA
Steven              Gomez              Whittier                CA
Sabrina             Gomez              Compton                 CA
Marco               Gomez              Los Angeles             CA
Ronald              Gomez              La Puente               CA
Luis                Gomez              Sanger                  CA
Jaciel              Gomez              Inverness               CA
Raymond             Gomez              Inglewood               CA
Ishmael             Gomez              Stockton                CA
Eloise              Gomez              Anaheim                 CA
Jose                Gomez              Corona                  CA
Ruben               Gomez              Sylmar                  CA
Mirian              Gomez              San Pablo               CA
Judith              Gomez              Riverside               CA
David               Gomez              Fontana                 CA
Andrea              Gomez              San Pedro               CA
Victor              Gomez              Union City              CA
Anna                Gomez              San Jose                CA
Samuel              Gomez              South Gate              CA
Angel               Gomez              Los Angeles             CA
Julio               Gomez              Northridge              CA
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Michael           Gomez                Pasadena                CA
Monica            Gomez                Los Angeles             CA
Luis              Gomez                Bellflower              CA
Pedro             Gomez Soto           Los Angeles             CA
Vuan              Gomillia             East Palo Alto          CA
John              Gomillion            North Hollywood         CA
Katrina           Gonsalves            Fremont                 CA
Omar              Gonzales             Los Angeles             CA
Valentino         Gonzales             Vallejo                 CA
Melissa           Gonzales             San Pedro               CA
George            Gonzales             Fresno                  CA
Leanna            Gonzales             Reseda                  CA
Angel             Gonzales             Sacramento              CA
Donn              Gonzales             Concord                 CA
Vincent           Gonzales             Montebello              CA
Carlos            Gonzales             Novato                  CA
Michael           Gonzales             Watsonville             CA
Laura             Gonzales             Hacienda Heights        CA
Rachel            Gonzales             Pittsburg               CA
Joe               Gonzales Jr          Hayward                 CA
Mariela           Gonzalez             San Ramon               CA
Carlos            Gonzalez             Bakersfield             CA
Lilly             Gonzalez             Panorama City           CA
Angel             Gonzalez             Los Angeles             CA
Claudio           Gonzalez             Santa Cruz              CA
Manuel            Gonzalez             Cudahy                  CA
Oscar Miguel      Gonzalez             Daly City               CA
Hector            Gonzalez             Keyes                   CA
Ivan              Gonzalez             El Sobrante             CA
Wendy             Gonzalez             Valley Glen             CA
Andrea            Gonzalez             San Jose                CA
Louie             Gonzalez             Bermuda Dunes           CA
Daniel            Gonzalez             Simi Valley             CA
Miguel            Gonzalez             South San Francisco     CA
Jose              Gonzalez             San Mateo               CA
Sonya             Gonzalez             Visalia                 CA
Elizabeth         Gonzalez             Fresno                  CA
Alejandro         Gonzalez             Los Angeles             CA
Brandy            Gonzalez             Hollister               CA
Ivan              Gonzalez             Hayward                 CA
Jessie            Gonzalez             San Jose                CA
Eric              Gonzalez             Hawthorne               CA
Diego             Gonzalez             Van Nuys                CA
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Jose              Gonzalez              Salinas                 CA
Mauricio          Gonzalez              Downey                  CA
Jessi             Gonzalez              Los Angeles             CA
Margarita         Gonzalez              Huntington Park         CA
Herberth          Gonzalez              San Pablo               CA
Jose              Gonzalez              Santa Ana               CA
Gerardo           Gonzalez              Compton                 CA
Richard           Gonzalez              Half Moon Bay           CA
Oscar             Gonzalez              Canoga Park             CA
Robert            Gonzalez              Elk Grove               CA
Eric              Gonzalez              San Carlos              CA
Hector            Gonzalez              Santa Monica            CA
Jorge             Gonzalez              Pacoima                 CA
Miguel            Gonzalez              Santa Ana               CA
Miguel            Gonzalez              Palmdale                CA
Shannon           Gonzalez              Hayward                 CA
Christian         Gonzalez              Bell                    CA
Patricia          Gonzalez De Duran     Cypress                 CA
Mauricio          Gonzalez Valois       San Pablo               CA
Felix             Gonzalez‐Vargas       San Jose                CA
Hal               Gooch                 Los Angeles             CA
Chris             Gooch                 San Francisco           CA
John              Gooch                 Fresno                  CA
William           Good                  Long Beach              CA
Paul              Goodfader             Vallejo                 CA
Bradford          Gooding               Santa Cruz              CA
Quanita           Goodrich              Los Angeles             CA
Garrick           Goodson               Carson                  CA
Deja              Goodwin               Oakland                 CA
Samuel            Gorden                Moreno Valley           CA
Michael           Gordon                Sacramento              CA
Michael           Gordon                Vallejo                 CA
Danny             Gordon                Fresno                  CA
Cameron           Gordon                San Leandro             CA
Lawrence          Gordon                Beverly Hills           CA
Gino              Gorrichategui         San Rafael              CA
David             Gory                  San Ramon               CA
Rohan             Goslyn                Irvine                  CA
Carnell           Goss                  Oakland                 CA
Basil             Goss                  Los Angeles             CA
Clifton           Gosse                 Oakley                  CA
Ignacio           Gottheil              Fullerton               CA
Neven             Gouda                 Port Hueneme            CA
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Jasper            Gout                 Los Angeles             CA
Renato            Gouveia              Palo Alto               CA
Isabella          Graboski             Daly City               CA
Michael           Grace                Downey                  CA
Omar              Gradilla             Whittier                CA
Hector            Granados             Fontana                 CA
Edgar             Granados             Fresno                  CA
Edgar             Granados             Los Angeles             CA
Andrew            Granados             Garden Grove            CA
Nelson E          Granados Romero      Los Angeles             CA
Tremayne          Granberry            Long Beach              CA
Tania             Grande Ronquillo     Oakland                 CA
Charlene          Granderson           Sacramento              CA
Victoria          Granger              San Carlos              CA
Delawrence        Grant                Compton                 CA
Khaleb            Grant                Los Angeles             CA
Terry             Grant                Union City              CA
Jeffrey           Grant                Daly City               CA
Alan              Gravenkamp           Lodi                    CA
Philip            Graves               Sacramento              CA
Eric              Gray                 Lancaster               CA
Jonnesha          Gray                 Inglewood               CA
Victor            Gray                 Hanford                 CA
Robert            Gray                 San Francisco           CA
Henry             Gray                 Union City              CA
William           Gray                 Fullerton               CA
Artondra          Gray                 San Jose                CA
Kennisha          Gray                 Long Beach              CA
Quincy            Gray                 Los Angeles             CA
George            Grays                Gardena                 CA
Joquin            Grays                Long Beach              CA
Dwight            Grayson              Hayward                 CA
Brianna           Grayson              Oakland                 CA
Sergey            Grechko              San Francisco           CA
Chris             Greco                San Francisco           CA
Elijah            Green                Los Angeles             CA
Kimberly          Green                Los Angeles             CA
Tamika            Green                Stockton                CA
Joy               Green                Los Angeles             CA
Kenisa            Green                Antioch                 CA
Sherise           Green                Richmond                CA
Shanta            Green                Sacramento              CA
Danyelle          Green                North Hollywood         CA
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Leanna            Green                Sacramento              CA
Randall           Green                Santa Fe Springs        CA
Marissa           Green                Sacramento              CA
Kathleen          Green                Stockton                CA
Kiara             Green                Los Angeles             CA
Jeffrey           Green                San Pedro               CA
Cornell           Green                Pittsburg               CA
Simone            Green                Bellflower              CA
Talisah           Green                San Francisco           CA
Shelby            Green                Oakland                 CA
Tonya             Green                Vallejo                 CA
De‐ Ong           Green                Los Angeles             CA
Marqus            Green                La Puente               CA
Christine         Green                Culver City             CA
Alexandra         Greenberg            Long Beach              CA
Kimberley         Greene               Alameda                 CA
Bette             Greene               Huntingtn Bch           CA
Asia              Greene               Fairfield               CA
Melissa           Greenfield           San Mateo               CA
Teri              Greenidge            Rocklin                 CA
Tiffany           Greenland            Oakland                 CA
Mark              Greenspun            Daly City               CA
Allison           Greer                Lindsay                 CA
Tiffany           Gregg                Hawthorne               CA
Mark              Gregory              Saugus                  CA
Rhonda            Gregory              Oakland                 CA
Nechelle          Gregory              Vallejo                 CA
Davon             Gregory              Los Angeles             CA
Kirnvir           Grewal               Union City              CA
Logan             Grey                 Burbank                 CA
William           Grey                 Richmond                CA
Michael           Grey                 Fresno                  CA
Ronald            Grey                 Pasadena                CA
Tawnie            Grider               San Jose                CA
Barbara           Grier                San Francisco           CA
Turhone           Griffin              Palmdale                CA
Cleo              Griffin              Benicia                 CA
Mark              Griffin              Berkeley                CA
Kenneth           Griffin              Castro Valley           CA
Brandon           Griffith             San Leandro             CA
Robb              Griffith             Santa Clara             CA
William           Griffith             Oakland                 CA
Imani             Griffith             Elk Grove               CA
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Richard             Grijalva               American Canyon         CA
John                Grimaldo               Fresno                  CA
John                Grimes                 San Pedro               CA
Tanisha             Grimes                 Sacramento              CA
Ambraya             Grisby                 Stockton                CA
Jerry Patrick       Grisham                Livermore               CA
Raymond             Grissom                Pico Rivera             CA
Don                 Grogans                Oakland                 CA
Mia                 Groves                 Antioch                 CA
Casandra            Groves                 Sherman Oaks            CA
Robert              Grubbs                 San Francisco           CA
Efren               Guadamud               Larkspur                CA
Jose                Guadarrama             Bakersfield             CA
Fabian              Guaglianone            La Crescenta            CA
Michael             Guardado               San Jose                CA
Steven              Guardado               La Palma                CA
Mar                 Guarin                 Daly City               CA
Zechariah           Guarniere              Vallejo                 CA
Ricardo             Guaydacan              Stkn                    CA
Lazare              Gubeladze              San Francisco           CA
Mario               Gudino                 Gardena                 CA
Anthony             Guerra                 San Jose                CA
Joseph              Guerra                 San Francisco           CA
Salvador            Guerrero               South San Francisco     CA
Virginia            Guerrero               Los Angeles             CA
Frank Q.            Guerrero               Sacramento              CA
Marelli             Guerrero               Whittier                CA
David               Guerrero               Martinez                CA
Victoria            Guerrero               Huntington Beach        CA
Christopher         Guevara                Canyon Country          CA
Ramon               Guevara                Daly City               CA
Nelson              Guevara Larios         Los Angeles             CA
Yavith              Guevarra               San Pablo               CA
Christian           Guevarra               El Sobrante             CA
Melissa             Guffy                  San Diego               CA
Nathan              Guice                  Vallejo                 CA
Richard             Guild                  Temecula                CA
Gersom              Guillem                Vallejo                 CA
Roger               Guillen                San Jose                CA
Juan                Guillen                Bakersfield             CA
David               Guillory               Oakland                 CA
Milton              Guinses                Los Angeles             CA
Chris               Gullatt                Compton                 CA
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Michael            Gullatt              Union City              CA
Aaron              Gulley               Whittier                CA
Tarik              Gumds                Los Angeles             CA
Antonio            Gunnells             San Francisco           CA
Hongli             Guo                  San Jose                CA
Jones              Guobadia             Inglewood               CA
Larry              Gurevitz             Long Beach              CA
Kenneth            Gurriere             San Francisco           CA
Anthony            Gurrola              San Bernardino          CA
Fernie             Gurrola              Fontana                 CA
Eric               Gutierrez            West Point              CA
Rojelio            Gutierrez            San Jose                CA
Jonathan           Gutierrez            Los Angeles             CA
Angelica           Gutierrez            Los Angeles             CA
Jose               Gutierrez            Buena Park              CA
Robert             Gutierrez            Glendora                CA
Joseph             Gutierrez            Torrance                CA
Gary               Gutierrez            Sacramento              CA
Edwin              Gutierrez            San Francisco           CA
Moses              Gutierrez            Alviso                  CA
Jesse              Gutierrez            San Lorenzo             CA
Victor             Gutierrez            Oakland                 CA
Alicia             Gutierrez            Rancho Cucamonga        CA
Miguel             Gutierrez            Los Angeles             CA
Rafael             Gutierrez            Lathrop                 CA
Mark               Gutierrez            Chino                   CA
Richard            Gutierrez            Fresno                  CA
Sandra             Gutierrez            Los Angeles             CA
Irvin              Gutierrez            Fullerton               CA
Aila               Gutierrez            Los Angeles             CA
Israel             Gutierrez            Maywood                 CA
Efren              Gutierrez            San Bernardino          CA
John               Gutowski             Diamond Bar             CA
Clifford           Guy                  Los Angeles             CA
Tashebia           Guyton               Palmdale                CA
Sonia              Guzman               La Puente               CA
Jennie             Guzman               Los Angeles             CA
Cecilia De         Guzman               Glendale                CA
Gabriel            Guzman               Downey                  CA
Judith             Guzman               San Bernardino          CA
Hanna              Haas                 North Highlands         CA
Hafizullah         Habibullah           Roseville               CA
Hesam              Hadaegh              Los Angeles             CA
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Mohammad           Hadi                 Sacramento              CA
Ernest             Hadnot               Hawthorne               CA
Mukhtar            Hafizullah           Mission Viejo           CA
Jamshid            Haidary              San Jose                CA
Ghulam             Haider               Pleasant Hill           CA
Adam               Haido                Hawthorne               CA
Fekade             Haile                Antioch                 CA
Dutta              Hailemariam          Gardena                 CA
Folaniko           Hailey               Lakewood                CA
Markishia          Haines               Clovis                  CA
Grigori            Hakobyan             Glendale                CA
Jeni               Haldeman             Santa Clara             CA
Edna               Hale                 Compton                 CA
Lilian             Hale                 Richmond                CA
Susan              Haley                Sonora                  CA
Brandi             Haley                Palmdale                CA
Philip Donnie      Hall                 Atwater                 CA
Lina               Hall                 Newport Beach           CA
Ajahana            Hall                 Ontario                 CA
Paige              Hall                 Sacramento              CA
Gabriel            Hall                 Modesto                 CA
Flora              Hall                 Los Angeles             CA
Ralph              Hall                 Corralitos              CA
Joshua             Hall                 Rancho Cucamonga        CA
Nicole             Hall                 Fresno                  CA
Shelletha          Hall                 West Sacramento         CA
Roshni             Hall                 Van Nuys                CA
Joseph             Hall                 West Sacramento         CA
Tequila            Hall                 San Francisco           CA
Patricia           Hall                 Oakland                 CA
Kamel              Halliche             Oakland                 CA
Ibrahim            Hamami               Novato                  CA
Eric               Hamilton             Long Beach              CA
Nicholas           Hamilton             Sacramento              CA
Erica              Hamilton             Sacramento              CA
Darrian            Hamilton             Oakland                 CA
Donna              Hamilton             San Jose                CA
Amy                Hamilton             Morgan Hill             CA
Joseph             Hamilton             Inglewood               CA
Dana               Hamilton             Oakland                 CA
Bruce              Hamilton             San Carlos              CA
Jamal              Hamilton             Oakland                 CA
Tracie             Hamilton             Lancaster               CA
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Shonna             Hamlin               Antioch                 CA
Briaun             Hamm                 Clovis                  CA
Alan               Hamm                 Los Angeles             CA
Cecil              Hammock Jr.          Palmdale                CA
Zidra              Hammond              Fresno                  CA
Kiescha            Hammond              Compton                 CA
Psychisa           Hammond              Compton                 CA
Felita             Hammond              Gardena                 CA
Terrell            Hammond              Lynwood                 CA
Louis              Hampton              Folsom                  CA
Fahmi              Hamza                Hayward                 CA
Turkel             Hamzali              Van Nuys                CA
Samuel             Han                  North Hollywood         CA
Scott              Handel               San Jose                CA
Howard             Handler              Palm Springs            CA
Kachina            Handy                Pittsburg               CA
Harold             Handy                Fresno                  CA
Ray                Haney                Lakewood                CA
Brihana            Hanible              Oakland                 CA
Khristian          Hanley               Lomita                  CA
Michael            Hanna                Lomita                  CA
Larry              Hannah               Sacramento              CA
Michael            Hansen               Cathedral City          CA
Irma Christina     Hanson               Richmond                CA
Shaleena           Harbans              Concord                 CA
Micheal            Harbaugh             Turlock                 CA
Isiah              Harbor               San Bernardino          CA
Jerald             Harbour              Torrance                CA
Amy                Harcarik             Porter Ranch            CA
Russell            Hardaway             San Mateo               CA
Thomas             Hardeman             Los Angeles             CA
Erica              Hardesty             Oakland                 CA
Antionette         Hardy                Oakland                 CA
Curley             Hardy Jr.            Vallejo                 CA
Myron              Hare                 Los Angeles             CA
Melissa            Hargrove             Los Angeles             CA
Kenneth            Harley               Long Beach              CA
Lithasha           Harmon               Antelope                CA
Lynn               Harness              Sacramento              CA
Mary               Haro                 Corona                  CA
Jonathan           Harper               Compton                 CA
Diana Michelle     Harper               Fairfield               CA
Roget              Harper               Moreno Valley           CA
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Jackqulyn         Harper               San Jose                CA
Eric              Harper               Oakland                 CA
Mohamed           Harrat               Fremont                 CA
Kuandra           Harrell              Inglewood               CA
Cornelius         Harrell              Signal Hill             CA
Heleen            Harrington           Redondo Beach           CA
Tammy             Harris               Compton                 CA
Chad              Harris               Los Angeles             CA
Andrea            Harris               Los Angeles             CA
Allen             Harris               Los Angeles             CA
Willie            Harris               Vista                   CA
John              Harris               Elk Grove               CA
Dekoven           Harris               Sunnyvale               CA
Kisha             Harris               Inglewood               CA
Darrolynn         Harris               Marina                  CA
Delmarian         Harris               Sacramento              CA
Jon               Harris               Suisun City             CA
Jamil             Harris               Los Angeles             CA
Tiesia            Harris               Fresno                  CA
Jeffery           Harris               Long Beach              CA
Rori              Harris               Los Angeles             CA
Willie            Harris               Union City              CA
Chaunika          Harris               Los Angeles             CA
Amar              Harris               Oakland                 CA
Tywana            Harris               Sacramento              CA
Alexa             Harris               San Leandro             CA
Jamal             Harris               Alhambra                CA
Darnella          Harris               Sacramento              CA
Demikia           Harris               Santa Ana               CA
Mark              Harris               Los Angeles             CA
Matthew           Harris               Los Angeles             CA
Dexter            Harris               Hawthorne               CA
Lynette           Harris               Vallejo                 CA
Mary Lee          Harris               West Sacramento         CA
Major             Harris               Northridge              CA
Mulbah            Harris               Antioch                 CA
Michael Angelo    Harris               Los Angeles             CA
Bobby             Harris               Stockton                CA
Bryant            Harris               San Lorenzo             CA
William           Harris               Hayward                 CA
Touissant         Harris               El Sobrante             CA
Kimberly          Harris               Vallejo                 CA
Charles           Harris               North Highlands         CA
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Anthony          Harris               Oakland                 CA
Mahana           Harris               Hayward                 CA
Michael          Harris               Hawaiian Gardens        CA
Shareef          Harris               El Sobrante             CA
Antonio          Harris Jr            Fremont                 CA
Ronald           Harrison             Inglewood               CA
Tosha            Harrison             Fresno                  CA
Latoya           Harrison             Oakland                 CA
Joshua           Harrison             Hawthorne               CA
Felix            Harry                Burlingame              CA
Mechelle         Harston              Fremont                 CA
Steven           Hart                 Danville                CA
Michael          Hart                 Seaside                 CA
Lawrence         Hart                 Oakland                 CA
Shannon          Hartwell             Pittsburg               CA
Rene             Hartwig              San Jose                CA
Yurik            Harutrunian          North Hollywood         CA
Cheryl           Harvey               Lodi                    CA
Toi              Harvey               Inglewood               CA
George           Harvey               Bellflower              CA
Jerry            Harvey               Anaheim                 CA
Michelle         Harvey               Los Angeles             CA
Cheryl           Harvey               San Jose                CA
Dember           Harvey               Los Angeles             CA
Archie           Harvey               San Jose                CA
Ladiamond        Harvey               San Francisco           CA
Husain           Hasanzada            Fremont                 CA
Peter            Hasegawa             Richmond                CA
Said             Hashimi              Fremont                 CA
Johnny           Haskins              El cerrito              CA
Paea             Hasoka               San Leandro             CA
Shakideen        Hassan               Oakland                 CA
Yazan            Hassan               San Bruno               CA
Behrouz          Hassanzadeh          San Jose                CA
Peter            Hassey               Sacramento              CA
Jordan           Hassim               Beaumont                CA
Mohammed         Hassoun              Clovis                  CA
Omar             Hassoun              Clovis                  CA
Kiara            Hastings             Los Angeles             CA
David            Hattaway             Stevenson Ranch         CA
Terrence         Hatter               Oakland                 CA
Varonica         Hattix               San Jose                CA
Regina           Haugabook            Antioch                 CA
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Deane             Haught               Sacramento              CA
Albert            Haulcy               Hayward                 CA
Peter             Hauser               Hayward                 CA
Dennis            Hawil                San Jose                CA
Mary              Hawkins              Los Angeles             CA
Phillip           Hawkins              North Hollywood         CA
Vanessa           Hawkins              Los Angeles             CA
Lorenzo           Hawkins              Vallejo                 CA
Hudie             Hawkins Iii          Inglewood               CA
Adam              Hawkyard             Sanger                  CA
Nannette          Hawthorne            Manteca                 CA
Tamara            Hawthorne            Union City              CA
John              Hayes                Sacramento              CA
Allen             Hayes                Sacramento              CA
Antiwon           Hayes                Long Beach              CA
Lashundria        Hayes                Antioch                 CA
Kirby             Hayes                Long Beach              CA
Clifford          Hayes                Richmond                CA
Brittanie         Hayes                Inglewood               CA
Kenneth           Haynes               Suisun City             CA
Reginald          Haynes               Lakewood                CA
Leticia           Haynes               San Francisco           CA
Nile              Haynes               Windsor Hills           CA
Janell            Haynie               Rancho Cordova          CA
Miles             Hays                 Los Angeles             CA
Toussant          Hays                 Los Angeles             CA
Reginald          Hays                 Ontario                 CA
Adriana           Hayter               San Francisco           CA
Justin            Hayward              Westminster             CA
Michelle          Hayward              Pomona                  CA
Terry             Haywood              Torrance                CA
Terrence          Haywood              Panorama City           CA
Heather           Hazelton             Yorba Linda             CA
Sayed             Hazin                West Sacramento         CA
Mary              Heads                Long Beach              CA
Maximilian        Hearst               San Leandro             CA
Alexandra         Hebert               Oakland                 CA
Niccole           Hedgeman             Los Angeles             CA
Sarah             Hedgpeth             Anaheim                 CA
William           Heermance            Los Angeles             CA
Michael           Hehir                Sacramento              CA
Karl              Heiserman            Granada Hills           CA
Erin              Heisser              Los Angeles             CA
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Kristina          Helferstay           Carson                  CA
Joseph            Helms                Van Nuys                CA
Reginald          Helson               Hayward                 CA
Jason             Hemmings             Fontana                 CA
Deshawn           Henderson            Richmond                CA
Keith             Henderson            Concord                 CA
Torrell           Henderson            Richmond                CA
Robert            Henderson            San Francisco           CA
James             Henderson            Sausalito               CA
Akim T.           Henderson            Richmond                CA
Kevin             Henderson            Vallejo                 CA
Nakeyia           Henderson            Long Beach              CA
Terrance          Henderson            San Francisco           CA
Gayle             Hendon               San Jose                CA
Alvin W.          Hendon Sr.           Stockton                CA
Sondra            Hendricks            Stockton                CA
Larry             Hendricks            Vallejo                 CA
Deandre           Hendrix              Ontario                 CA
Charles           Henley               Vallejo                 CA
Christina         Henley               Fullerton               CA
Aliyah            Henley               Torrance                CA
Jaime             Henriquez            San Francisco           CA
Nelson            Henriquez            South San Francisco     CA
Mercedes          Henry                San Francisco           CA
Sh'E              Henry                Sacramento              CA
Donovan           Henry                North Hollywood         CA
Troyreac          Henry                Oakland                 CA
Tashika           Henry                Upland                  CA
Marc              Henry                Bellflower              CA
Trevor            Hensley              Costa Mesa              CA
Mahdi             Hentati              San Francisco           CA
Noel              Herbert              Suisun City             CA
Margie            Heredia              San Jose                CA
Luis              Heredia              San Jose                CA
Kaley             Hermoso              Fremont                 CA
Andrew            Hernandez            Anaheim                 CA
Richard           Hernandez            Fresno                  CA
Marla             Hernandez            American Canyon         CA
Humberto          Hernandez            Long Beach              CA
Luis              Hernandez            Eastvale                CA
Joe               Hernandez            Oakland                 CA
Gilbert           Hernandez            Glendora                CA
Rosa              Hernandez            Venice                  CA
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Reynabel          Hernandez              Los Angeles             CA
Samuel            Hernandez              Dinuba                  CA
Jose              Hernandez              Daly City               CA
Rigoberto         Hernandez              Tracy                   CA
Rudy              Hernandez              Modesto                 CA
Noel              Hernandez              Los Angeles             CA
Jesus             Hernandez              North Hollywood         CA
Oscar             Hernandez              Garden Grove            CA
Jaime             Hernandez              Fresno                  CA
Jordan            Hernandez              Fresno                  CA
Jaime             Hernandez              San Jose                CA
Cindy             Hernandez              Fresno                  CA
Jose I            Hernandez              Salinas                 CA
Bruno             Hernandez              La Puente               CA
John              Hernandez              Fresno                  CA
Miguel            Hernandez              San Jose                CA
Erica             Hernandez              Concord                 CA
Alex              Hernandez              Rohnert Park            CA
Jose              Hernandez              Lawndale                CA
Kevin             Hernandez              Los Angeles             CA
Omar              Hernandez              San Jose                CA
Jose              Hernandez              Los Angeles             CA
Gabriel           Hernandez              Vacaville               CA
William           Hernandez              Montebello              CA
Juan              Hernandez              San Bernardino          CA
Beatrice          Hernandez              San Francisco           CA
Roberto           Hernandez              Elk Grove               CA
Jose              Hernandez              Harbor City             CA
Connie            Hernandez              Los Angeles             CA
Michael           Hernandez              Aliso Viejo             CA
Alfredo           Hernandez              Oakland                 CA
Eduardo           Hernandez              Los Angeles             CA
Julian            Hernandez              Huntington Park         CA
Ryan              Hernandez              Mission Viejo           CA
Walter            Hernandez              Los Angeles             CA
Edward            Hernandez              Monterey Park           CA
David             Hernandez              Compton                 CA
Kory              Hernandez              Corona                  CA
Roberto           Hernandez              Baldwin Park            CA
Torivio           Hernandez ‐ Serrato    Ontario                 CA
Angelina          Hernandez‐ Garcia      Daly City               CA
Gustavo           Hernandez Lara         Hesperia                CA
Angel             Hernandez Larios       Richmond                CA
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Jaime            Hernandez Moreno     San Bruno               CA
Abel             Herndon              Anaheim                 CA
David            Herndon              Los Angeles             CA
Regina           Herrera              Vacaville               CA
Frank            Herrera              Livermore               CA
Marcos           Herrera              Richmond                CA
Moises           Herrera              Oakland                 CA
Emiliano         Herrera              Sanger                  CA
Joe              Herrera              Reedley                 CA
Mario            Herrera              San Pablo               CA
Tommy            Herrera              Sunnyvale               CA
Albert           Herrera              San Bernardino          CA
Debbie           Herrera              Bellflower              CA
Monica           Herring              Bakersfield             CA
Gary             Herring              Salinas                 CA
Blanche          Herron               Downey                  CA
Fred             Herron               Oakland                 CA
James J          Hershberger          San Jose                CA
Andrei           Hershel              San Francisco           CA
Dolores          Hesse                Alhambra                CA
Gregory          Hester               La Verne                CA
Jaziah           Hickerson            San Ramon               CA
Quanisha         Hicks                Hemet                   CA
Raven            Hicks                Oakland                 CA
James            Hicks                Pittsburg               CA
Deion            Higgindotham         Oakland                 CA
Mark             Higgins              Santa Clara             CA
Kayla            Hightower            San Leandro             CA
James            Hightower            San Jacinto             CA
Chris            Higuera              Sherman Oaks            CA
Samih            Hijazin              Covina                  CA
Crystal          Hildebrand           Richmond                CA
Claudine         Hileman              Oakland                 CA
David            Hill                 Los Angeles             CA
Phylicia         Hill                 Los Angeles             CA
Hasina           Hill                 Sacramento              CA
Magdalena        Hill                 Oakland                 CA
Ervin            Hill                 Los Angeles             CA
Willie           Hill                 Vallejo                 CA
Michelle         Hill                 San Leandro             CA
Carla            Hill                 San Jose                CA
Omar             Hill                 Long Beach              CA
Samuel           Hill                 Santa Fe Springs        CA
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Pernell           Hill                 Fontana                 CA
Ethan             Hill                 Torrence                CA
Samantha          Hill                 Sacramento              CA
Anthony           Hill                 San Jose                CA
Montey            Hill                 Salinas                 CA
Marques           Hill                 El Sobrante             CA
Shawntae          Hill                 Los Angeles             CA
Faith             Hill                 Inglewood               CA
Raymond           Hill                 Alameda                 CA
Andrew            Hillary              Los Angeles             CA
Randy             Hilliard             Gardena                 CA
Gregory           Hillman              Canyon Country          CA
Rachquel          Hills                Stockton                CA
Saif              Hilou                Granada Hills           CA
Susan             Hilton               Fresno                  CA
Charmaine         Hilton               El Cajon                CA
Dava              Hilton               South Lake Tahoe        CA
Jonathan          Hines                Sacramento              CA
Adrian            Hines                Antioch                 CA
Ruth              Hines                Concord                 CA
Richard           Hines                San Pablo               CA
Rhieva            Hines                Berkeley                CA
Timothy           Hinkle               Sacramento              CA
Maria             Hinojosa             Chula Vista             CA
Sinead            Hinson               Rancho Palos Verdes     CA
Ron               Hinton               Los Angeles             CA
James             Hippler              Torrance                CA
Breezy            Hirschfield          Elk Grove               CA
Brian             Hirsh                Los Angeles             CA
Ron               Hirshfield           Santa Rosa              CA
Jeremiah          Hodge                San Jose                CA
Sterling          Hodge                San Bernardino          CA
Deon              Hodge                Pinole                  CA
Norma             Hodges               Sacramento              CA
Arnessa           Hodges               San Francisco           CA
Cynthia           Hodges               Los Angeles             CA
Jacob             Hodkinson            Hesperia                CA
Michael           Hoffman              Valencia                CA
Michael           Hoffman              Tracy                   CA
Lindsey           Hogan                Compton                 CA
Lester            Hogan                Sacramento              CA
Terry             Hogans               Pomona                  CA
Anthony           Holden               Carson                  CA
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Victoria          Holguin               Bloomington             CA
Gilbert           Holguin               Clovis                  CA
Latisha           Holland               Fremont                 CA
Elvin             Holland               Fresno                  CA
Barbara           Holland               Oakland                 CA
Josh              Hollars               Campbell                CA
Brad              Hollender             San Diego               CA
Tonya             Holley                Palmdale                CA
Lawrence          Holliday              San Francisco           CA
Brietta           Holliman              Fresno                  CA
Patricia          Hollingsworth         Rialto                  CA
Tracy             Hollingsworth         Ontario                 CA
Kareem            Hollinquest           Sacramento              CA
Katrina           Hollins               Vallejo                 CA
Brenda            Hollis                Moreno Valley           CA
Craig             Hollis                Brentwood               CA
Chemika           Hollis                San Francisco           CA
Kyle              Holloway              Sacramento              CA
Tatiana           Holloway              Oakland                 CA
Demarrie          Holloway              Castro Valley           CA
Alicia            Holmes                Pittsburg               CA
Lesily            Holmes                Sacramento              CA
Delandria         Holmes                Los Angeles             CA
Jeffrey           Holmes                Beaumont                CA
Ta‐Leha           Holmes                Rancho Cordova          CA
Donald            Holmes                Rialto                  CA
Erenee            Holmes                Oakland                 CA
David             Holmes                Fontana                 CA
Tasheen           Holmes                Oakland                 CA
Crystal           Holmes                Los Angeles             CA
Sirena            Holness‐Amos          Oakley                  CA
Bruce             Holway                Visalia                 CA
George            Honey                 Santa Rosa              CA
David             Hoobler               San Jose                CA
Wilbert           Hood                  Los Angeles             CA
Conner            Hood                  Torrance                CA
Shiloh            Hood                  Pittsburg               CA
Brad              Hood                  San Rafael              CA
Kimball           Hooker                San Jose                CA
Richard           Hooker                La Mirada               CA
Alexander         Hooks                 Los Angeles             CA
Kimberly          Hoover                Morgan Hill             CA
Keren             Hoover                San Carlos              CA
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David             Hopkirk              Roseville               CA
Carrie            Hopping              Sacramento              CA
Sokkhar           Hor                  Pomona                  CA
David             Horan                San Francisco           CA
Keith             Horton               Pleasanton              CA
Charles           Horton               Carson                  CA
Dwayne            Horton               Los Angeles             CA
Cameron           Hoskin               Linda                   CA
Gennipher         Hosman               Merced                  CA
Peter             Hou                  San Leandro             CA
Patrick           Housley              Sacramento              CA
Stephanie         Houston              Pasadena                CA
Makayla           Houston              Vallejo                 CA
Pete              Hovater              Stockton                CA
Shawn             Hovey                Sacramento              CA
Emmanuel          Howard               Fontana                 CA
Derrick           Howard               Hayward                 CA
Caprice           Howard               Sacramento              CA
Derrick           Howard               Los Angeles             CA
Glenn             Howard               Seaside                 CA
Ronnie            Howard               Ontario                 CA
Montae            Howard               Vallejo                 CA
Doyle             Howell               Chino                   CA
Steve             Howell               Santa Clarita           CA
Paul              Howell               Oakland                 CA
Jason             Howlett              Oakley                  CA
Toney             Hoy                  Compton                 CA
Jason             Hoy                  La Canada               CA
Valerie           Hoyt                 Paramount               CA
Alfred            Hsia                 Van Nuys                CA
John              Hsu                  San Jose                CA
Kizuwanda         Hubbard              Richmond                CA
Jason             Hubbert              Stockton                CA
Daniel            Huber                Concord                 CA
Charles           Hucks                Hercules                CA
Timmy             Hudson               Berkeley                CA
Erik              Hudson               Los Angeles             CA
Lisa              Hudson               Long Beach              CA
Omari             Hudson               Pinole                  CA
Brian             Huebner              Burlingame              CA
Maria             Huerta               San Jose                CA
Fernando          Huerta               Los Angeles             CA
Kendrick          Huey                 San Francisco           CA
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Jacob             Huey Correa          San Diego               CA
Kathleen          Hufa                 Gold River              CA
Stanley           Huff                 Oakland                 CA
Greg              Huffman              Moreno Valley           CA
Ramzi             Hugayees             San Pablo               CA
April             Hughes               Los Angeles             CA
Andre             Hughes               Stockton                CA
William           Hughes               Antioch                 CA
Shawn             Hughes               Berkeley                CA
Wendy April       Hughes               Dublin                  CA
Julie             Hughes               San Rafael              CA
Richetta          Hughes               Citrus Heights          CA
Chris             Hughes               Fairfield               CA
Jamie             Hughes               Tracy                   CA
Freddie           Huguez               Alhambra                CA
Juan              Huizar               Van Nuys                CA
Hilario           Huizar               Reseda                  CA
Katina            Humphrey             Vallejo                 CA
Lakiesha          Humphrey             Oakland                 CA
Nacoty            Humphries            Los Angeles             CA
Kenneth           Hungerford           Anaheim                 CA
Craig             Hunson               San Pablo               CA
Elaine            Hunter               Antioch                 CA
Lorelei           Hunter               Riverside               CA
Jonathan          Hunter               San Francisco           CA
Marty             Hunter               Soquel                  CA
Jesse             Hunter               Novato                  CA
Derek             Hunter               Oakland                 CA
Felicia           Hunter               Los Angeles             CA
Yvette            Hunter               Antioch                 CA
Carson            Huntley              Seaside                 CA
George            Huntley              Pinole                  CA
Jonathan          Hurren               Stockton                CA
Jonathan          Hurst                Brea                    CA
William           Hurst                Inglewood               CA
Moises            Hurtado              American Canyon         CA
Carlos            Hurtado              Hawthorne               CA
Sergio            Hurtado              South San Francisco     CA
Christopher       Hurtado              Pico Rivera             CA
Tahir             Hussain              La Mirada               CA
Hassan            Hussain              Yettem                  CA
Yasser            Hussein              San Francisco           CA
Jonathan          Hyde                 Torrance                CA
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Anthony           Hyden                 San Francisco           CA
Christopher       Hylton                Whittier                CA
Oral              Hylton                Carmichael              CA
Alisia            Hysaw                 Los Angeles             CA
Abel              Ibarra                Visalia                 CA
Gabriel           Ibarra                Clovis                  CA
Jessica           Ibarra                Van Nuys                CA
Keila             Ibarra                Los Angeles             CA
Samuel            Ibikunle              Emeryville              CA
Mohammad          Ibrahim               Sacramento              CA
Salley            Ibrahim               Long Beach              CA
Eriri             Ifeanyi               Los Angeles             CA
Sharleen          Ignacio               Oakland                 CA
Jesus             Ignacio Nunez         Hayward                 CA
Jonathan          Ihejeto               Los Angeles             CA
Tamikka           Ihevba                Lomita                  CA
Jonathan          Ikeno                 Tulare                  CA
Abdessamed        Ikhlelf               Walnut Creek            CA
Arabella          Imbriale              San Jose                CA
Joseph            Imperial              San Jose                CA
Albert            Inaudi                San Francisco           CA
Olu               Inegbeje              Los Angeles             CA
Patricia          Infanti               Diamond Bar             CA
David             Ingles                Carson                  CA
Derrick           Ingram                Sacramento              CA
Annie             Iosefa                San Jose                CA
Nickolas          Ippolito              Campbell                CA
Jimmie            Irby                  Gardena                 CA
Ali               Irdem                 Sacramento              CA
David             Ireland               San Jose                CA
Leonda            Irvin                 Beaumont                CA
Chris             Irving                Fairfield               CA
Demetri           Irving                Madera                  CA
Emiliano          Isidoro               Los Angeles             CA
Mohammad          Islam                 Los Angeles             CA
Hodan             Ismail                Campbell                CA
Gregory           Isom                  Fairfield               CA
Kevon             Isom                  Los Angeles             CA
Remondo           Isom                  Pomona                  CA
Lena              Isom‐Brown            Fresno                  CA
Shelley           Itelson               San Mateo               CA
Balazs            Ivanfi                Orange                  CA
Ivan              Ivanov                Daly City               CA
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Charles           Ives                 Walnut Creek            CA
Valentina         Iwuoha               Oakland                 CA
Matthew           Izaguirre            Modesto                 CA
Boulos            Jaber                San Francisco           CA
Raquel            Jachetta             Elk Grove               CA
Jose              Jacinto              Pacheco                 CA
Rachel            Jack                 Compton                 CA
Gregory           Jackman              Los Angeles             CA
Victor            Jackson              North Hollywood         CA
Devante           Jackson              San Leandro             CA
Deanne            Jackson              Inglewood               CA
Delvin            Jackson              Los Angeles             CA
Shakara           Jackson              Long Beach              CA
Arthur            Jackson              Los Angeles             CA
Jonathan          Jackson              Corona                  CA
Richard           Jackson              Oakland                 CA
Katana            Jackson              Los Angeles             CA
Rosalyn           Jackson              Sacramento              CA
Marvin            Jackson              San Jose                CA
Lakeisha          Jackson              Union City              CA
Shari             Jackson              Long Beach              CA
Cassandra         Jackson              Fairfax                 CA
Celine            Jackson              Tiburon                 CA
Brandon           Jackson              Los Angeles             CA
Juanita           Jackson              Long Beach              CA
Tammy             Jackson              Sacramento              CA
Octavious         Jackson              Oakland                 CA
Pearlesha         Jackson              Sacramento              CA
Dennis            Jackson              Inglewood               CA
Eboni             Jackson              Los Angeles             CA
Janice            Jackson              Sacramento              CA
Margaret          Jackson              Sacramento              CA
Vernon            Jackson              Los Angeles             CA
Catherine         Jackson              Pittsburg               CA
Doryen Sayon      Jackson              Los Angeles             CA
Kyle              Jackson              Alameda                 CA
Earnest H.        Jackson              Berkeley                CA
Rodney            Jackson              Sacramento              CA
Michael           Jackson              Stockton                CA
Josh              Jackson              Torrance                CA
Valerie           Jackson              Sacramento              CA
James             Jackson              Fresno                  CA
Miriam            Jackson              Los Angeles             CA
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Edward             Jackson              Stockton                CA
Jonathan           Jackson              Glendale                CA
Lawrence           Jackson              Los Angeles             CA
Marlon             Jackson              Inglewood               CA
Lasheta            Jackson              Richmond                CA
Tracy              Jackson              Los Angeles             CA
Maurice            Jackson              San Francisco           CA
Jerome             Jackson              San Lorenzo             CA
Reginald           Jackson              Hayward                 CA
Paulette           Jackson              Hercules                CA
Connie             Jackson              Oakland                 CA
Jacqueline         Jackson              Oakley                  CA
Jade               Jackson              Mountain House          CA
Liza               Jackson              Los Angeles             CA
Jewel              Jackson              Vallejo                 CA
Michele            Jackson              San Jose                CA
Kelly              Jackson              San Francisco           CA
Terrence           Jackson              Mill Valley             CA
Andre              Jackson              Hayward                 CA
Ardis              Jackson              Rancho Cucamonga        CA
Jaymes             Jackson              Hawthorne               CA
Andre              Jackson Sr.          Alameda                 CA
Carl               Jacobs               San Francisco           CA
Maurice            Jacobs               Moreno Valley           CA
Sabrina            Jacskon              Fresno                  CA
Jamil              Jaffer               Carson                  CA
Ricardo            Jaime                Corona                  CA
Abdirizak          Jama                 San Jose                CA
Imani              James                Oakland                 CA
Ife                James                Long Beach              CA
Wendell            James                San Francisco           CA
Ayela              James                Pinole                  CA
La Tanya           James                Long Beach              CA
Ronald             James                Oakland                 CA
Cassandra          James                Vallejo                 CA
Noah               James                Antioch                 CA
Jessie             James                Walnut Creek            CA
Elendu C.          James                Stockton                CA
Cathrine           Jameson              Fresno                  CA
Liane              Jamison              Berkeley                CA
Connie             Jamison              Gardena                 CA
Najia              Jamjoum              Alameda                 CA
Jay Woon           Jang                 Los Angeles             CA
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Deborah            Janisse                   Lancaster              CA
Kenneth            Janke                     San Leandro            CA
Malik              Jannah                    Oakland                CA
Oscar              Janssen                   Reseda                 CA
Demetria           January                   Fontana                CA
Edward             Jaramillo                 Rancho Cucamonga       CA
Nora               Jasinskas                 Van Nuys               CA
Ana                Jasso                     San Francisco          CA
Ramon              Jaszanovits               San Jose               CA
Christopher        Javier                    Fairfield              CA
Romeo              Javier                    San Jose               CA
Florentino         Javier                    San Jose               CA
Edward             Javier                    San Jose               CA
Sean               Jean‐Louis                Hemet                  CA
Daniel             Jeffers                   Inglewood              CA
Lenard             Jefferson                 El Segundo             CA
Janel              Jefferson                 North Highlands        CA
Steven             Jefferson                 El Sobrante            CA
Kimberly           Jefferson                 San Francisco          CA
Kelvin             Jefferson                 Fairfield              CA
Stephanie          Jefferson                 Victorville            CA
James              Jefferson                 Hayward                CA
Charmaine          Jefferson                 Stockton               CA
Richard            Jefferson                 Fullerton              CA
Robert             Jefferson                 Pittsburg              CA
Derrick            Jeffrey                   North Highlands        CA
Michael            Jeffreys                  Gardena                CA
Mohamed            Jemal                     Huntington Beach       CA
Anthony            Jenkins                   Los Angeles            CA
Curtis             Jenkins                   San Leandro            CA
Asia               Jenkins                   El Sobrante            CA
Angelina           Jenkins                   Sacramento             CA
Cora               Jenkins                   Berkeley               CA
Yolanda            Jenkins                   Alhambra               CA
Bernetta           Jenkins ‐ Tucker          Bay Point              CA
Ebony              Jennings                  Modesto                CA
Thomas             Jennings                  Yorba Linda            CA
Jackmark           Jennings                  Fairfield              CA
Kenneth            Jennings                  Castro Valley          CA
Richard            Jensen                    Capitola               CA
Laurie             Jensen                    Merced                 CA
Thomas             Jensen Jr.                Millbrae               CA
Victor             Jerez                     Santa Maria            CA
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Mher                 Jerijian              Glendora               CA
Sparkle              Jernigan              Baypoint               CA
Gina                 Jewell                San Jose               CA
Roshan               Jha                   Emeryville             CA
Ravandeep            Jhutty                San Jose               CA
Barry                Jimena                Livermore              CA
Julie                Jimenez               San Francisco          CA
Vincent              Jimenez               Crestline              CA
Jeannette            Jimenez               Fresno                 CA
Christian            Jimenez               San Ysidro             CA
Jaime                Jimenez               San Francisco          CA
Edgar                Jimenez               San Jose               CA
Publio               Jimenez               Tracy                  CA
Felipe               Jimenez               Pasadena               CA
Lisa                 Jimenez               Gilroy                 CA
Alyssa               Jimenez               Whittier               CA
Robert               Jimenez               South Gate             CA
Brian                Jimenez               Los Angeles            CA
Mohammed             Jiwa                  Rancho Cucamonga       CA
Hans                 Joachim               Canyon Country         CA
Malik                Jobs                  Los Angeles            CA
Ingemar              Jogestedt             Culver City            CA
Shaman               Johal                 Livingston             CA
Veronica Rodriguez   John Montoya          San Francisco          CA
Thaydra              Johnese               Stockton               CA
Antoine              Johnson               Hawthorne              CA
Tania                Johnson               Los Angeles            CA
Shanell              Johnson               Richmond               CA
Christopher          Johnson               San Francisco          CA
Tristan              Johnson               Sacramento             CA
James                Johnson               Los Angeles            CA
Paul                 Johnson               Antioch                CA
Joshua               Johnson               Daly City              CA
Joseph               Johnson               Rancho Cordova         CA
Gertrude             Johnson               Los Angeles            CA
Ashanta              Johnson               Carson                 CA
Rita                 Johnson               Los Angeles            CA
Rhonda               Johnson               Antioch                CA
Ava                  Johnson               San Bernardino         CA
Theodore             Johnson               Palmdale               CA
Antwon               Johnson               Hawthorne              CA
Charles              Johnson               Fairfield              CA
Brandon              Johnson               Los Angeles            CA
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Cherise           Johnson              San Francisco          CA
Eric              Johnson              Oroville               CA
Michael           Johnson              Los Angeles            CA
Ivan              Johnson              Merced                 CA
Michael           Johnson              West Sacramento        CA
Keith             Johnson              Pittsburg              CA
Brandy            Johnson              Cameron Park           CA
Patrick           Johnson              Vallejo                CA
Lathen            Johnson              Stockton               CA
Patrick           Johnson              Fremont                CA
Effie             Johnson              Sacramento             CA
Algia             Johnson              Irvine                 CA
Ebonie            Johnson              North Long Beach       CA
Sean              Johnson              Oakland                CA
Tammye            Johnson              Hanford                CA
Damien            Johnson              Oakley                 CA
Turquoise         Johnson              Stockton               CA
Delma             Johnson              San Leandro            CA
Vernita           Johnson              Bay Point              CA
Monica            Johnson              Modesto                CA
Al‐ Nisa          Johnson              Los Angeles            CA
Mona              Johnson              El Cerrito             CA
Kandyce           Johnson              Stockton               CA
Glen              Johnson              Salinas                CA
Damon             Johnson              Lynwood                CA
Earl              Johnson              Sacramento             CA
Beverly           Johnson              Stockton               CA
Onjanette         Johnson              Vallejo                CA
Tony              Johnson              Vallejo                CA
Sean              Johnson              San Leandro            CA
Zarwu             Johnson              Hayward                CA
Anthony           Johnson              Antioch                CA
Antonio           Johnson              Antioch                CA
Thomas C.         Johnson              Union City             CA
Courtney          Johnson              Inglewood              CA
Kevin             Johnson              Victorville            CA
Wesley            Johnson              Oakland                CA
Tyrone            Johnson              Escalon                CA
Jamila            Johnson              Elk Grove              CA
Delia             Johnson              San Leandro            CA
Joshua            Johnson              Oakland                CA
Cameron           Johnson              Vallejo                CA
Gretta            Johnson              Antioch                CA
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Fredrick           Johnson                Pomona                 CA
Leonard            Johnson                Gardena                CA
Colleen            Johnson                Compton                CA
Ashley             Johnson                Rialto                 CA
Tomarie            Johnson                Fontana                CA
Battiste           Johnson                Los Angeles            CA
Patricia           Johnson                Los Angeles            CA
Marcus             Johnson                Oakland                CA
Jerae              Johnson                Vallejo                CA
Lakendra           Johnson                Corona                 CA
Phillip            Johnson                Glendale               CA
Myles              Johnson                San Bernardino         CA
Victor             Johnson                Saugus                 CA
Dolly              Johnson                Los Angeles            CA
Paulette           Johnson                San Francisco          CA
Devonte            Johnson                Chico                  CA
Kenneth            Johnson                San Bernardino         CA
Ronald             Johnson                Daly City              CA
Ronald E           Johnson                Vallejo                CA
Imani              Johnson                San Leandro            CA
Denisha            Johnson                Hayward                CA
Latosha            Johnson                Fairfield              CA
Ricklynn           Johnson                Oakland                CA
Paula              Johnson                San Francisco          CA
Larhonda           Johnson                Hayward                CA
Quendell           Johnson                Los Angeles            CA
Terry A            Johnson                Los Angeles            CA
Judy               Johnson                Vallejo                CA
Quintasha          Johnson                Los Angeles            CA
Mikele             Johnson                Paramount              CA
Saida              Johnson                Inglewood              CA
Barry              Johnson                Los Angeles            CA
Darryl             Johnson                Bellflower             CA
Franklin           Johnson                East Palo Alto         CA
Kendall            Johnson                Los Angeles            CA
Katrina            Johnson Cason          Sacramento             CA
Anthony R.         Johnston               Torrance State         CA
James              Johnston               Rancho Dominguez       CA
Claudia            Jolon Chacon           Los Angeles            CA
Wilson             Jones                  Vallejo                CA
Arthur             Jones                  Wildomar               CA
Tyrone             Jones                  Vallejo                CA
Quinton            Jones                  Los Angeles            CA
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Maximillian        Jones                San Jose               CA
Benjamin           Jones                Compton                CA
Melody             Jones                Elk Grove              CA
Steven             Jones                Antioch                CA
Eddy               Jones                Hercules               CA
Matthew            Jones                Hawthorne              CA
Andrea             Jones                Long Beach             CA
Anitra             Jones                Stockton               CA
Octavia            Jones                Los Angeles            CA
James              Jones                San Francisco          CA
Charles            Jones                Antioch                CA
Christopher        Jones                Ontario                CA
Keith              Jones                Garden Grove           CA
Afrika             Jones                Stockton               CA
Juantine           Jones                Oakland                CA
Kenneth            Jones                Oakland                CA
Ricky              Jones                Altadena               CA
Helen              Jones                Antioch                CA
Robert             Jones                San Diego              CA
Randall            Jones                Elk Grove              CA
Kimberly           Jones                Sacramento             CA
Rhonda             Jones                Oakland                CA
Evans              Jones                Tracy                  CA
Pamala             Jones                Stockton               CA
Jelani             Jones                Los Angeles            CA
David              Jones                Stockton               CA
Antony             Jones                Los Angeles            CA
Henry              Jones                Burbank                CA
Gloria             Jones                Los Angeles            CA
Charles            Jones                Compton                CA
Brian Lee          Jones                Long Beach             CA
Robert             Jones                Moreno Valley          CA
Carolyn            Jones                Palmdale               CA
Jennifer           Jones                Rancho Cucamonga       CA
Thessie            Jones                Los Angeles            CA
Quincynthia        Jones                Citrus Heights         CA
Robin              Jones                Los Angeles            CA
Harold             Jones                Sacramento             CA
Idrissa            Jones                Berkeley               CA
Daniel             Jones                Elverta                CA
Crystal            Jones                Santa Monica           CA
Rachelle           Jones                Oakland                CA
Demisha            Jones                Compton                CA
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Michael             Jones                 Compton                CA
Diann               Jones                 Lancaster              CA
Laree               Jones                 Banning                CA
William             Jones                 Yucaipa                CA
Marquise            Jones                 Sacramento             CA
James               Jones                 Sacramento             CA
Alexis              Jones                 Alameda                CA
Vickie              Jones                 Vallejo                CA
Monique             Jones                 Oakland                CA
Ralph               Jones                 Sacramento             CA
Eric                Jones                 Oakland                CA
Capri               Jones                 Paramount              CA
Tyisha              Jones                 Los Angeles            CA
Diondre             Jones                 North Hollywood        CA
Terri               Jones                 Rancho Cucamonga       CA
Maurice             Jones                 Pomona                 CA
Steven              Jones                 Inglewood              CA
Devonne             Jones                 Los Angeles            CA
Winchell            Jones                 Sacramento             CA
Arlington           Jones Jr.             San Leandro            CA
Kalin               Jones Sr              Sacramento             CA
Kathleen            Jones‐Tucker          Pittsburg              CA
Tyra                Jordan                Oakland                CA
Julian              Jordan                Rialto                 CA
Tanecia             Jordan                Sacramento             CA
Anthony             Jordan                San Jose               CA
Tony                Jordan                Sacramento             CA
William             Jordan                Monrovia               CA
Vanessa             Jordan                Lomita                 CA
Jamelia             Jordan                Antioch                CA
Rakalla             Jordan                Sacramento             CA
Daniel              Jordan                Sylmar                 CA
Tara                Jorgensen             Los Angeles            CA
Fortunato           Jose                  Daly City              CA
Jessica Gordillo    Jose Ventura          San Jose               CA
Jerod               Joseph                Long Beach             CA
Hinry               Joseph                Hacienda Heights       CA
Winston             Joseph                San Francisco          CA
Rosalien            Joseph                Antioch                CA
Jeshurun            Joseph                Los Angeles            CA
Darnell             Joseph                Suisun City            CA
Fanfan              Joseph                Novato                 CA
Neico               Joy                   Van Nuys               CA
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Jonathan           Juarez                Fresno                  CA
Fredy              Juarez                Chino                   CA
Jose Adrian        Juarez Jr             Los Angeles             CA
Marcus             Junior                Sacramento              CA
Melissa            Justo                 Stockton                CA
Hussein            Kabba                 San Diego               CA
Edward             Kabbani               Laguna Niguel           CA
Selemon            Kahasu                Santa Clara             CA
Kendel I.          Kahsu                 Oakland                 CA
Hamidreza          Kaibollahi            Reseda                  CA
Edmond             Kakish                Upland                  CA
Alina              Kamae                 Irvine                  CA
Ahmed              Kamara                Concord                 CA
Mosi               Kamau                 Oakland                 CA
Marcellus          Kane                  Littlerock              CA
Joseph             Kang                  Anaheim                 CA
Lucia              Kang                  Rcho Sta Marg           CA
Megan              Kanicsar              Fresno                  CA
Andrew             Kanihan               Santa Rosa              CA
Rahul              Kankanala             Fremont                 CA
Georges            Kantabadouno          Concord                 CA
Nick               Kantar Jr             Citrus Heights          CA
Analicia           Kapellas              Hayward                 CA
John               Karam                 Burlingame              CA
Abdullah           Karim                 San Ramon               CA
Kefentse           Karim                 Gardena                 CA
Khaled             Karoone               San Francisco           CA
Yolanda            Karoui                Los Angeles             CA
Ehab               Kassab                San Francisco           CA
Shaun              Kasten                Redlands                CA
Royce              Kaufman               Rialto                  CA
Zachary            Kaufman               Pleasant Hill           CA
Tony               Kavoosi               San Jose                CA
Dwayne             Kawar                 Campbell                CA
Issah              Kawooya               Van Nuys                CA
Kenyatta           Kay                   Berkeley                CA
Sara               Kazazi                San Jose                CA
Sayed Ali Reza     Kazemi                Sacramento              CA
Dharma             Kc                    Alameda                 CA
Cynthia            Kearney               San Francisco           CA
Karla              Keasley               San Francisco           CA
Fitsum             Kebede                San Jose                CA
Myisha             Kee                   Hercules                CA
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Jason              Keele                 Salinas                 CA
Richard            Keen                  San Francisco           CA
Tamara             Keene                 Stockton                CA
Tiana              Keene                 Sacramento              CA
Amy                Kei                   San Francisco           CA
Kristina           Keith                 West Covina             CA
Patrick            Keith                 San Leandro             CA
Daniel             Kellenbeck            Fairfield               CA
Josue              Kellenberger          Hesperia                CA
Dwayne             Kelley                Hawthorne               CA
Katherine          Kelley                Los Angeles             CA
Tina               Kelley                Modesto                 CA
Charles            Kelley                San Francisco           CA
Alonzo             Kelley                Compton                 CA
Frank              Kellom Jr             San Francisco           CA
Eric               Kelly                 Suisun City             CA
Alisha             Kelly                 Kingsburg               CA
Jason              Kelly                 San Mateo               CA
Alfred             Kelly                 Pleasant Hill           CA
Solomon            Kelly                 Los Angeles             CA
Joseph             Kemp                  Compton                 CA
Stacy              Kemp                  Berkeley                CA
Bennie             Kemp                  Rio Vista               CA
Latosha            Kenard                Oakland                 CA
Richard            Kendall               Vacaville               CA
Lionel             Kendrick Jr.          Los Angeles             CA
Douglas            Kennedy               Tracy                   CA
Jamie              Kennedy               Stockton                CA
Jerry              Kennedy               Stockton                CA
Chris              Kennedy               Clovis                  CA
Leslie             Kennedy               San Jose                CA
Christy            Kennedy               Sacramento              CA
Melvin             Kenney                North Hills             CA
Joseph             Kenney                San Rafael              CA
Melisha            Kenney                Oakland                 CA
Brian              Kennison              Mill Valley             CA
Collin Adam        Kenoly                Milpitas                CA
Eddie              Kent                  Oakland                 CA
Marcus             Kent                  San Pedro               CA
Kindal             Kern                  Compton                 CA
Melad              Kest                  San Dimas               CA
Anthony            Keung                 Fremont                 CA
Moho               Khaled                Patterson               CA
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Khoeum            Kham                   Long Beach             CA
Shahab            Khan                   Oakland                CA
Nantu             Khan                   Los Angeles            CA
David             Khan                   Lawndale               CA
Bensaba           Khan                   Compton                CA
Rahmat            Khan                   San Leandro            CA
Rahematullah      Khan                   Hayward                CA
Abu               Khan                   Hayward                CA
Hammad            Khan                   Union City             CA
Shabbir           Khan                   Fresno                 CA
Khashayar         Khashabizadeh          Woodland Hills         CA
Mustafa           Khesrawi               Fremont                CA
Chantha           Khiev                  Oakland                CA
Preuch            Khoeum                 Sacramento             CA
Ferydoon          Kholousi               El Cerrito             CA
Hamidullah        Khosty                 Sacramento             CA
Jai               Kibble                 Hawthorne              CA
Emmanuel          Kibukamusoke           Canoga Park            CA
Gebrehiwot        Kidane                 Santa Clara            CA
Felicia           Kidd                   San Bernardino         CA
Harold            Kiel                   Berkeley               CA
Michael           Kigozi                 North Hills            CA
Gregory           Kigozi                 Northridge             CA
Darrell           Kilgore                Inglewood              CA
Lawrence          Killens                Carson                 CA
Joe               Killmaier              San Francisco          CA
Jennifer          Kilson                 Long Beach             CA
Jeff              Kilty                  Antelope               CA
Kristen           Kim                    San Jose               CA
Vibol             Kim                    Union City             CA
Elliott           Kim                    Los Angeles            CA
Dmitry            Kim                    Sherman Oaks           CA
Samson            Kim                    Rowland Heights        CA
Andrew            Kim                    Buena Park             CA
Michael           Kim                    Los Angeles            CA
Young             Kim                    Santa Maria            CA
Cindy             Kim Hernandez          Fremont                CA
Helena            Kimble                 West Covina            CA
Bobby             Kimble                 Stevenson Ranch        CA
Michael           Kincade                Clovis                 CA
Terrell           Kincade                Costa Mesa             CA
Robby             Kincaid                Concord                CA
Zachary           Kindelberger           Sunnyvale              CA
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Vincent           King                  Oakland                CA
Princeton         King                  Stockton               CA
Ezra              King                  Victorville            CA
John              King                  Moreno Valley          CA
Gerald            King                  Gardena                CA
La Shawnda        King                  San Francisco          CA
John              King                  Los Angeles            CA
Vickie            King                  Castro Valley          CA
Kathleen          King                  American Canyon        CA
Karlyn            King                  Los Angeles            CA
Mark              King                  Pacifica               CA
Alvis             King                  Madera                 CA
Alnita            King                  Hanford                CA
Cihan             King                  Tracy                  CA
Kenneth           King                  Martinez               CA
Leanthony         King                  Vallejo                CA
Micheal           King                  Bakersfield            CA
James             King                  Pinole                 CA
Wanzel            King                  Inglewood              CA
Paceta            King                  Los Angeles            CA
Lamond            King Sr.              Richmond               CA
Samuel            Kinsey                Sacramento             CA
Radeepa           Kiribathgala          Reseda                 CA
Dustin            Kirkland              Lake Forest            CA
Victoria          Kissel                Carson                 CA
Robert            Kitajima              San Jose               CA
Kamure            Kizart                San Pablo              CA
Jeffrey           Kizer                 Sacramento             CA
Christian         Klarenbach            Antioch                CA
Matthew           Klasen                Fresno                 CA
Matthew           Klein                 El Cajon               CA
Brenna            Klink                 Los Angeles            CA
Paige             Knight                Modesto                CA
Aisha             Knight                San Francisco          CA
Cecilia           Knott                 Downey                 CA
Noelle            Knotts                San Francisco          CA
Desiray           Knox                  Sacramento             CA
Damon             Knox                  Anaheim                CA
Teresa            Koch                  Fremont                CA
Johndy            Koeu                  Pittsburg              CA
Yusuf             Kohgadai              Alameda                CA
Ramiz             Kohi                  Pacifica               CA
Adedayo           Kolade                Fresno                 CA
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Christopher        Kolb                  Los Angeles            CA
Khemarak           Kong                  Long Beach             CA
Manjinder          Kooner                San Jose               CA
Christianne        Kotoff                Emeryville             CA
Avedis             Koumoushyan           Van Nuys               CA
Jeffrey            Koutz                 Vacaville              CA
Steve              Kouyoumdjian          Pasadena               CA
Zoran              Kovacevic             Redwood City           CA
Doug               Kovacich              Antioch                CA
Zionne             Kowlessar             Torrance               CA
Modupe             Koyejo                San Leandro            CA
Stefanie           Kral                  Oakland                CA
Andy               Krupinski             San Jose               CA
Nicholas           Krywokulsky           Pittsburg              CA
Kasey              Kuhlmeyer             San Jose               CA
Angela             Kumar                 Sacramento             CA
Gurvinder          Kumar                 Daly City              CA
Arun               Kumar                 South San Francisco    CA
Krisniel           Kumar                 Sacramento             CA
Raj                Kumpakha              Daly City              CA
Jennifer           Kupskey               Los Angeles            CA
Michael Charles    Kurth                 Rosamond               CA
Amanda             Kusovich              Los Angeles            CA
Ajay               Kuverji               San Jose               CA
Raymond            Kwan                  Richmond               CA
James              Kyle                  Roseville              CA
Iris               La Salle              Vallejo                CA
Tenika             Lacebal               Sacramento             CA
Randale            Lacey                 Los Angeles            CA
Anand              Lachman               San Mateo              CA
Ricky              Laco                  San Jose               CA
Pamela             Lacy                  Compton                CA
Dirk               Lacy Sr.              Chico                  CA
John               Laford                Camarillo              CA
Carl               Lagandaon             Vallejo                CA
Ramon              Lagman                Fremont                CA
Alexander          Lainez                Palmdale               CA
Marco              Lainez                Wilmington             CA
Leatrice           Laird                 Oakland                CA
Brianne            Laiwa                 Sunnyvale              CA
Robirt             Lajeen                Ceres                  CA
Biruk              Lakew                 Oakland                CA
Gyan               Lal                   Los Angeles            CA
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Binesh            Lalwani              Sun Valley             CA
Siho              Lam                  San Francisco          CA
Eon               Lam                  Fairfield              CA
Sunny             Lam                  Oakland                CA
Ninim             Lama                 San Pablo              CA
William           Lamar                Sherman Oaks           CA
Eva               Lamas                Fresno                 CA
Kirkland          Lamb                 Gardena                CA
Richelle          Lambert              Antioch                CA
Rheanell          Lambert              Sacramento             CA
Leah              Lambert              Lakewood               CA
Denita            Lambert              Fremont                CA
Josh              Lampela              Fair Oaks              CA
Sean              Lampley              San Leandro            CA
Steve             Landau               Daly City              CA
Deshaun           Landers              Los Angeles            CA
Quincya           Landingham           Pittsburg              CA
Belouse           Landor               San Bernardino         CA
Amelia            Landreth             Los Angeles            CA
Christine         Lane                 Sunnyvale              CA
Michelle          Lane                 Sacramento             CA
Everett           Lane                 Whittier               CA
Lionel            Lane                 Pacifica               CA
Jason             Lane                 Antioch                CA
Michael           Lang                 Oakland                CA
Jules             Lange                Highland               CA
Sione             Langi                Concord                CA
Zachary           Langlotz             Fairfield              CA
Diana             Langston             Buena Park             CA
Loretta           Langston             Newman                 CA
Peter             Lanier               East Palo Alto         CA
Missunique        Lankster             Sacramento             CA
Reginald          Lao                  Long Beach             CA
Victor            Laos                 San Leandro            CA
Mehdi             Laouti               San Francisco          CA
Adriel            Lapena               San Jose               CA
Isagani           Lapena               San Jose               CA
Angel             Lara                 Bakersfield            CA
Michael           Lara                 Los Angeles            CA
Juan              Lara                 San Fernando           CA
Kevin             Lara                 Oakland                CA
Victor            Lara                 Fresno                 CA
Juan M            Lara                 North Hollywood        CA
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Arturo              Lara                    Wilmington             CA
Roger               Lara                    Montebello             CA
Alfonso             Lara ‐ Ochoa            Vallejo                CA
Ivan                Lara Nava               Castro Valley          CA
Richard             Lares                   Torrance               CA
Carlos              Largaespada             San Francisco          CA
Noel                Largaespada             Albany                 CA
Aaron               Largent                 Fresno                 CA
Raquel              Largo                   Chino                  CA
Jeese               Larios                  Los Angeles            CA
Bobbylee            Larkins                 Vallejo                CA
Burnett             Larrimore               Vallejo                CA
Rochelle            Larry                   Richmond               CA
Jonathan            Larsen                  Tulare                 CA
Eric                Lassiter                Torrance               CA
Clarence            Laster                  Moreno Valley          CA
Tondraya            Laster                  Pasadena               CA
Brien               Laster                  Visalia                CA
Jamye               Latham                  Torrance               CA
Michael             Lathan                  Oakland                CA
John                Latifi                  Sacramento             CA
Bashir              Latify                  Hayward                CA
Nicholas            Latin                   Sacramento             CA
Luis                Latre                   Union City             CA
Kumpol              Lattivongskorn          Hayward                CA
Haitelenisia        Latu                    San Bruno              CA
Hansen              Lau                     San Francisco          CA
Khin                Lau                     Garden Grove           CA
Marthalyn           Laulusa                 Long Beach             CA
Tatasi              Lauofo                  Daly City              CA
Talina              Laury                   Long Beach             CA
Eduardo             Laval                   San Francisco          CA
Natalie             Laval                   San Francisco          CA
Evan                Law                     Laguna Niguel          CA
Janice              Law                     Moreno Valley          CA
Anthony             Lawrence                San Pablo              CA
Ernest              Lawrence                South Lake Tahoe       CA
Chrishawn           Lawrence                Inglewood              CA
Sharawn             Laws                    Fremont                CA
Kirkland            Laws ‐ Carr             Stockton               CA
Aliece              Lawson                  Los Angeles            CA
Linnora             Lay                     Fontana                CA
Nadejda             Layne                   Castro Valley          CA
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Lee                 Layne                Castro Valley          CA
Alexander           Layog                San Jose               CA
Beninno             Lazaro               San Bruno              CA
John Vincent        Lazaro               Hillsborough           CA
Joseph              Lazos                Downey                 CA
Phuc                Le                   Westminster            CA
Jamal               Lea                  Modesto                CA
Bonisha             Lea                  Vallejo                CA
Willie              Leach                Los Angeles            CA
Thomas              Leach                Lathrop                CA
Michael             Leach                Alameda                CA
Ashley              Leahy                Cotati                 CA
Francis             Leal                 Hayward                CA
Jose                Leal                 Long Beach             CA
Andres              Leal                 Fontana                CA
George              Leanos               San Jose               CA
Marc                Lear                 Redondo Beach          CA
Rhonda              Leath                Hesperia               CA
Anthony             Leavell Jr           Redlands               CA
Paul                Leblanc              Fairfield              CA
Greg                Lecount              Elk Grove              CA
Mario               Lecue                Hayward                CA
Michael             Ledbetter            Ripon                  CA
Natasha             Ledbetter            Canoga Park            CA
Theresa             Ledeatte             Van Nuys               CA
Giovanni            Ledesma              Sacramento             CA
Guadalupe           Ledesma              Fresno                 CA
Jose A              Ledesma              Pico Rivera            CA
Martin              Ledezma              Highland               CA
Michael             Ledezma              Livermore              CA
Kelsey              Ledson               Rohnert Park           CA
Geen P              Lee                  San Francisco          CA
Felicia             Lee                  Winnetka               CA
Sean                Lee                  Inglewood              CA
Ardra               Lee                  Los Angeles            CA
Teddy               Lee                  Fontana                CA
Kerry               Lee                  Los Angeles            CA
Michael             Lee                  Hayward                CA
Derrell Jaron       Lee                  Pasadena               CA
Frank               Lee                  Fullerton              CA
David               Lee                  Moreno Valley          CA
Crishon             Lee                  Oakland                CA
Tommy               Lee                  Pacifica               CA
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Alfred            Lee                  San Jose               CA
May               Lee                  Fresno                 CA
Dearie            Lee                  Oakland                CA
Grant             Lee                  La Habra               CA
Sung Hoon         Lee                  Los Angeles            CA
Veronica          Lee                  San Francisco          CA
Suavea            Lee                  Oakland                CA
James             Lee                  San Jose               CA
Parry             Lee                  Vallejo                CA
Robert            Lee                  Long Beach             CA
John              Lee                  Buena Park             CA
Laylay            Lee‐Aquila           San Jose               CA
Lucien            Leech                Fairfield              CA
Chris             Leeson               Roseville              CA
Tommy             Lefort               San Pablo              CA
Ann               Legaspi              Salinas                CA
Stephen           Lege                 San Rafael             CA
Luis              Legorreta            San Jose               CA
Lisa              Lehman Tuck          Fresno                 CA
Mark              Leighton             Napa                   CA
Juan              Leiva                Vallejo                CA
Semi              Leiwere              Santa Rosa             CA
Gus               Lejano               Whittier               CA
Pius              Leke                 Anaheim                CA
Tiffany           Lemas                Vallejo                CA
Iliana            Lemus                Fresno                 CA
Martin            Lemus                Lawndale               CA
William           Len                  San Jose               CA
Brandon           Lenhoff              Huntington Beach       CA
Joseph            Lenon                Lakewood               CA
Larry             Lenore               Oakland                CA
Teresa            Leon                 Menifee                CA
Elizabeth         Leon                 Bell Gardens           CA
Thomas            Leon                 Anaheim                CA
Omar              Leonard              Long Beach             CA
Jerome            Leonard              Hercules               CA
Corey             Leornas              Lathrop                CA
Terrance          Leota                San Leandro            CA
Ericka            Lesley               Los Angeles            CA
Siupeli           Letatau              Oakland                CA
Anastasia         Letson               Mission Viejo          CA
Felix             Leung                Rowland Heights        CA
Nicshae           Leverette            Los Angeles            CA
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Yuriy             Levin                Concord                CA
Leilani           Levingston           Elk Grove              CA
George            Levison              Danville               CA
Jacob             Levy                 San Francisco          CA
Brandon           Lewin                Fairfield              CA
Mary              Lewis                Los Angeles            CA
Troy              Lewis                Compton                CA
Otis              Lewis                Los Angeles            CA
Rodriguez         Lewis                San Jose               CA
Riley             Lewis                Fontana                CA
Isiah             Lewis                Fairfield              CA
Narvette S        Lewis                San Francisco          CA
Laurie            Lewis                San Pablo              CA
Sebastian         Lewis                Los Angeles            CA
Nathan            Lewis                Cerritos               CA
Yvonne            Lewis                West Covina            CA
Aladrian          Lewis                Inglewood              CA
Fonda             Lewis                Sacramento             CA
Anthony           Lewis                Marina                 CA
Demetrius         Lewis                Santa Clara            CA
Steven            Lewis                Napa                   CA
Everton           Lewis                Fairfield              CA
Deonte            Lewis                Sacramento             CA
Latoya            Lewis                Clovis                 CA
Al                Lewis                San Leandro            CA
Robert            Lewis                Fresno                 CA
Danitra           Lewis                San Bernardino         CA
Stephanie         Lewis                San Leandro            CA
Capperine         Lewis                Sacramento             CA
Shannon           Lewis                Sacramento             CA
Chanel            Lewis                Carson                 CA
Hope              Lewis                Sacramento             CA
Terron            Lewis                Sacramento             CA
Nais              Lewis                Los Angeles            CA
Matthew Ryan      Lewis                Long Beach             CA
Dawn              Lewis                Vallejo                CA
Timothy           Lewis                Sacramento             CA
Anthony           Lewis                Oakland                CA
Cheryl            Lewis                San Jose               CA
Kelley            Lewis                San Francisco          CA
Sonya I           Lewis                Richmond               CA
Leonard           Lewis                Victorville            CA
Jessica           Lewis                Glendale               CA
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Franklin          Leyva                  Vallejo                CA
Ming              Li                     San Gabriel            CA
Alvin             Li                     Vallejo                CA
Lyndon            Licudine               Burlingame             CA
Matthew           Lieb                   Madera                 CA
David             Liebman                San Jose               CA
Theresa           Lietzau                Carson                 CA
Lance             Liggett                Antioch                CA
Jonathan          Liggins                Lancaster              CA
Richard           Light                  Los Angeles            CA
Veiotis           Ligon                  North Hollywood        CA
Jeongmyung        Lim                    San Francisco          CA
Erik              Lima                   Montebello             CA
Ines              Limeta                 Cimarron               CA
Lou Carl          Limiac                 Cerritos               CA
Limu              Limu                   Vallejo                CA
Jing              Lin                    San Francisco          CA
Wilber            Linares                San Francisco          CA
Christopher       Linares                San Pedro              CA
Edward            Lindberg               San Ramon              CA
Fred              Linder                 Bakersfield            CA
Cherish           Lindesay               Norwalk                CA
Ebony             Lindsey                San Jose               CA
Nicole            Lindsey                Carson                 CA
Rouzeen           Lindsey                Los Angeles            CA
Symphani          Lindsey                Oakland                CA
Chad              Lining                 Murrieta               CA
Brock             Linson                 Los Angeles            CA
Anthony           Lipscomb               Modesto                CA
Kolb              Lisa                   Huntington Beach       CA
David             Liss                   San Jose               CA
Jeff              Little                 Los Angeles            CA
Jacquelyn         Littlejohn             Los Angeles            CA
Kacper            Litwin                 Santa Clara            CA
Elijah            Liu                    San Fernando           CA
Jason             Liu                    Petaluma               CA
Lawrence          Livera                 San Leandro            CA
Kamasu            Livingston             Walnut Creek           CA
David             Livingston Sr          Gardena                CA
Esteban           Lizarraga              Clovis                 CA
Mary              Lizarraga              North Hills            CA
Cesar             Llamas                 San Jose               CA
Charity           Lloyd                  Moreno Valley          CA
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Mickey              Lo                    Sacramento             CA
Emilio              Lobato                South San Francisco    CA
Khari               Lobin                 Inglewood              CA
Mark                Lobre                 San Francisco          CA
Alexis              Locastro              Arleta                 CA
Bryant              Locke                 North Highlands        CA
Kelly               Lockett               San Jose               CA
Aminn               Lodhia                Hayward                CA
Steven              Loehr                 Santa Ana              CA
Vincent             Loeng ‐ Loth          Stockton               CA
Robert              Loera                 Whittier               CA
Frank               Logan                 Bellflower             CA
Jaeu                Logan                 Long Beach             CA
James               Logan                 Watsonville            CA
James               Logan                 San Jose               CA
Ricky               Logan                 Oakland                CA
Sabrina             Logan                 Richmond               CA
Ryan                Logan                 Sacramento             CA
Wallace             Loggins               San Francisco          CA
Nicasio             Lojo Jr               Burlingame             CA
Cronnica            Lomack                Los Angeles            CA
Knight              Lombardo              Hawthorne              CA
Ernie               Lomelin               Chino                  CA
Maria Victoria      Lomonaco              Buena Park             CA
Lenore              London                Chino                  CA
Sara                Long                  Westminster            CA
Donna               Long                  Los Angeles            CA
Maleka              Long                  Long Beach             CA
Eugennia            Long                  Anaheim                CA
Yolanda             Long                  Los Angeles            CA
Antoinette          Long                  San Jose               CA
Eric                Long                  Oakland                CA
Blake               Longmore              Fresno                 CA
Michael             Longoria              Fresno                 CA
Gilbert             Longoria              Visalia                CA
Lawrence            Longrus               Vallejo                CA
Kevin               Longstreet            Long Beach             CA
Natoshka            Lonon                 Torrance               CA
Shalisa             Loomis                Placentia              CA
Brett               Looney                Palmdale               CA
Artemio             Lopez                 San Bruno              CA
Shawne              Lopez                 Oakland                CA
Krystal             Lopez                 Altadena               CA
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Rafael             Lopez                Brentwood              CA
Jessica            Lopez                Fresno                 CA
Nicole             Lopez                Commerce               CA
Robert             Lopez                San Pedro              CA
Juan               Lopez                Mira Loma              CA
Selina             Lopez                Victorville            CA
Gabriel            Lopez                Seal Beach             CA
Marvin             Lopez                San Jose               CA
Caridad            Lopez                San Francisco          CA
Jacqueline         Lopez                Bell Gardens           CA
Alfosno            Lopez                Pico Rivera            CA
George Jesus       Lopez                Northridge             CA
Salazar            Lopez                Anaheim                CA
Karina             Lopez                Los Angeles            CA
Marcel             Lopez                Hayward                CA
Miguel             Lopez                Los Angeles            CA
Eduardo A          Lopez                Downey                 CA
David              Lopez                Fresno                 CA
Gema               Lopez                Los Angeles            CA
German             Lopez                San Diego              CA
Omar               Lopez                Whittier               CA
Carlos             Lopez                Rncho Cordova          CA
Juan               Lopez                Vacaville              CA
Priscilla          Lopez                Selma                  CA
Kellim             Lopez                San Francisco          CA
Willy              Lopez                Ontario                CA
Angel              Lopez                Compton                CA
Mario              Lopez                Fresno                 CA
Jose               Lopez                Bakersfield            CA
Juvenal            Lopez                El Monte               CA
Dulce              Lopez                Huntington Park        CA
Junior             Lopez                San Francisco          CA
Jesus              Lopez                Sunnyvale              CA
Carlos             Lopez                Patterson              CA
Gloria             Lopez                Hayward                CA
Corina             Lopez                Clovis                 CA
Mayra              Lopez                Los Angeles            CA
Miguel             Lopez                Salinas                CA
Fernando           Lopez                Los Angeles            CA
Jayden             Lopez                Panorama City          CA
Ruben              Lopez                Los Angeles            CA
Pedro              Lopez                Menifee                CA
Joanna             Lopez                Santa Ana              CA
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Josette             Lopez                 Pico Rivera            CA
Armando             Lopez                 Pomona                 CA
Jean                Lopez                 San Diego              CA
Gerardo             Lopez                 Inglewood              CA
Michelle            Lopez                 Los Angeles            CA
Gloria              Lopez Rivera          Highland               CA
Va                  Lor                   Fresno                 CA
Neil                Lorenzo               San Jose               CA
Jessica             Lorona                Orangevale             CA
Thomas              Louis‐Jean            Richmond               CA
Michael             Louka                 Northridge             CA
Vince               Louros                San Pedro              CA
Kenitra             Love                  Oakland                CA
Darren              Lovecchio             Monterey               CA
Donald              Loveland              Vista                  CA
Erika               Lovett                Gardena                CA
Christopher         Low                   Simi Valley            CA
Christina           Lowanga               Los Angeles            CA
Ricky               Lowe                  Sacramento             CA
Antonio             Lowe                  Inglewood              CA
Keyan               Lowe                  Fresno                 CA
Qwanisha            Lowe‐Gomez            Stockton               CA
William             Lowell                South San Francisco    CA
Jesus Daniel        Loza                  Menifee                CA
Yvette              Lozano                Tracy                  CA
Armando             Lozano                Fresno                 CA
Jose                Lozano                Los Angeles            CA
David               Lozano Diaz           Sepulveda              CA
Rick                Lozoya                Sacramento             CA
Robert              Lua                   Inglewood              CA
David               Luangraj              Oakland                CA
Scott               Lubin                 Lakewood               CA
Justin              Lucas                 Sanger                 CA
Steven              Lucatero              Kingsburg              CA
Jason               Luce                  Walnut Creek           CA
Jesus               Lucero                Los Angeles            CA
Matthew             Lucero                Fresno                 CA
Nelson              Lucha                 Montebello             CA
Ivilson             Luciano Ll            Oakland                CA
Chris               Lucido                Vallejo                CA
Reginald            Luck                  Los Angeles            CA
Sheila              Luckie                Sacramento             CA
Michael             Luera                 Tracy                  CA
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Paul               Lugo                   Whittier               CA
Estella            Lugo                   San Bernardino         CA
Jimmy              Lui                    San Francisco          CA
Hugo               Lujan                  Alviso                 CA
Eva                Lujano                 Pittsburg              CA
Ronald             Luk                    Oakland                CA
Brandon            Lumba                  La Puente              CA
Lyndol             Lumley                 Modesto                CA
Sebastian          Lumsey                 Esparto                CA
Dennis             Luna                   Colton                 CA
Ebenezer           Luna                   San Francisco          CA
Chris              Luna                   Patterson              CA
Amanda             Luna                   Sacramento             CA
Carlos             Luna                   San Jose               CA
Carlos             Luna                   Fresno                 CA
Michael            Luo                    San Francisco          CA
Genesis            Lutu                   Carson                 CA
Vincent            Luu                    Hacienda Heights       CA
Diogenes           Luz                    Daly City              CA
Dara               Ly                     Long Beach             CA
Tai                Ly                     San Leandro            CA
David              Ly                     San Francisco          CA
Andre              Ly                     Long Beach             CA
Jason              Lyke                   Sherman Oaks           CA
Douglas            Lyles                  Buena Park             CA
Brett              Lyman                  San Francisco          CA
Lamont             Lynch                  Emeryville             CA
Darryl             Lynch                  Dublin                 CA
Christopher        Lyon                   Los Angeles            CA
Anton              Lyons                  Concord                CA
Wanda              M. Watson              Los Angeles            CA
Maria              Mabanan                San Jose               CA
Rufino             Mabborang I I          Pico Rivera            CA
Vernon             Mabins                 Inglewood              CA
Rahman             Mabra                  San Francisco          CA
Darnell            Mabrey                 San Francisco          CA
Selim              Mabrouk                San Francisco          CA
Johnny             Macadamia              Gardena                CA
Jesani May         Macatbag               San Bruno              CA
Joseph             Macedo                 Manteca                CA
Edward             Machado                South San Francisco    CA
Maria              Machain                Fresno                 CA
George             Machorro               Anaheim                CA
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Irving             Maciaa                 San Francisco          CA
Cesar              Macias                 Salinas                CA
Nora               Macias                 San Jose               CA
Roberto            Macias                 Whittier               CA
Nora               Macias                 Hollister              CA
Alfredo            Maciel                 San Jose               CA
Volner             Mack                   Sacramento             CA
Artelia            Mack                   San Francisco          CA
Timothy            Mack                   Inglewood              CA
Kenya              Mack                   San Francisco          CA
Telease            Mackey                 Long Beach             CA
Maria Angelica     Madden                 Petaluma               CA
Robert             Madden                 Long Beach             CA
Kalifa             Madden                 Los Angeles            CA
Racquel            Maddox                 Compton                CA
Harry              Madera                 Los Angeles            CA
Jerome             Madison                Victorville            CA
Jason              Madison                Oakland                CA
Javier             Madrid                 San Jose               CA
Michael            Madrid                 Fresno                 CA
Jose               Madrid                 Fresno                 CA
Josue              Madrigal               Lynwood                CA
Jose               Madrigal Cruz          San Jose               CA
Jimmy              Maerina                San Carlos             CA
Chris              Maes                   San Jose               CA
Yvette             Magana                 Watsonville            CA
Ana                Magana                 Garden Grove           CA
Frank              Magana                 Los Angeles            CA
Julius             Magee                  Sacramento             CA
Timothy            Magestro               Grover Beach           CA
Patrick            Magrdchian             San Marino             CA
Esther             Mainuu                 Hayward                CA
John               Mairs                  Menlo Park             CA
Ian                Maissen                Mill Valley            CA
Carol              Malaluan               Pacifica               CA
Livingston         Malcolm                Oakland                CA
Aaron              Maldonado              Ontario                CA
Omar               Maldonado              Van Nuys               CA
Santos             Maldonado              Castro Valley          CA
Mario              Maldonado              Covina                 CA
Willy              Maldonado              Lawndale               CA
Shafi              Malikzadah             Fremont                CA
Eugeniu            Maliucov               Sacramento             CA
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Camille           Mallari               San Francisco          CA
Anthony           Maloco                Brisbane               CA
Marquise          Malone                Fresno                 CA
Latasha           Malone                Pittsburg              CA
Joseph            Man                   San Francisco          CA
Regine            Manabat               Los Angeles            CA
David             Manaoat               Oakley                 CA
Mario             Mancera               Palmdale               CA
Dominique         Manchester            San Francisco          CA
Mohamed           Mandour               Daly City              CA
Lengh             Mang                  Oakland                CA
Shir              Mangal                Sacramento             CA
Arthur            Mangeni               Los Angeles            CA
Thind             Manginger             Santa Clara            CA
Mark              Mangubat              North Hills            CA
Sanjay            Mani                  Redlands               CA
David             Manikad               Sun Valley             CA
Jesse             Manipol               Stockton               CA
Janay             Manning               Fresno                 CA
Dewayne           Manning               Monrovia               CA
Darryl            Manning               San Bernardino         CA
Latonia           Manning               Gardena                CA
Emily             Manotok               Foster City            CA
Gerardo           Manrique‐ Ramirez     San Rafael             CA
Antonio           Manso                 San Jose               CA
Melissa           Manson                Carson                 CA
Yasser            Mansour               Clovis                 CA
Love              Mansuy                Van Nuys               CA
James             Mantalvanos           Hayward                CA
Cheryl            Manuel                Inglewood              CA
Artur             Manukyan              North Hills            CA
Parsam            Manvelian             North Hills            CA
Lila              Manyweather           Inglewood              CA
Jeff              Manzanilla            Livermore              CA
Lawrence          Manzano               Elk Grove              CA
Kevin             Manzilla              Los Angeles            CA
Jimmy             Manzo                 Salinas                CA
Sonnia            Manzo                 Anaheim                CA
Mario             Manzo                 San Pedro              CA
Alejandra         Manzo                 Maywood                CA
Nabil             Manzo                 Santa Clara            CA
Abdizaz           Mao                   Anaheim                CA
John              Maokhamphiou          Antelope               CA
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Shane               Mapes                  Dixon                  CA
Yolanda             Mapp                   Piedmont               CA
William             Mapp                   Oakland                CA
Eddie               Marble                 Hercules               CA
Raoni               Marcelino              San Jose               CA
Allana St John      Marcia Chavez          Woodland Hills         CA
Frank               Mardeusz               Tiburon                CA
Maria               Marin                  Roseville              CA
Juan Manuel         Marin                  Signal Hill            CA
Victor              Marin                  Los Angeles            CA
Justin              Marinello              Whittier               CA
Raymon              Marines                Bell Gardens           CA
Eduardo             Mariscal               Chula Vista            CA
Danielle            Mark                   San Francisco          CA
Erika               Marks                  Pinole                 CA
Robert              Marks                  Fair Oaks              CA
Nathan              Marlow                 Sacramento             CA
Justin              Maron                  Rodeo                  CA
Randall             Marquez                Torrance               CA
Armando             Marquez                Riverside              CA
Fernando            Marquez                Bell                   CA
Gustavo             Marquez                Gardena                CA
Alfred              Marquez                Fresno                 CA
Tony                Marquez                San Fernando           CA
Gabriela            Marquez                Downey                 CA
Michael             Marquez                Gardena                CA
Nathan              Marquez                Hayward                CA
Albert              Marquez                Fullerton              CA
Ruben               Marquina               Compton                CA
Merisa              Marrero                San Jose               CA
Tasha               Marriott               Sacramento             CA
Tim                 Marrufo                Fremont                CA
Lonnie              Marsh                  Los Angeles            CA
David               Marshall               North Highlands        CA
John                Marshall               Antioch                CA
Jason               Marshall               Lakewood               CA
Samuel              Marshall               Hayward                CA
Jovonah             Marshall               Los Angeles            CA
James               Marshall               San Francisco          CA
Paul                Marshall               San Dimas              CA
William             Marshall               San Francisco          CA
Amy F               Marshall               San Leandro            CA
Bryan               Marshall               Inglewood              CA
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Nestor             Martija              Union City              CA
William            Martin               Santa Cruz              CA
Michael            Martin               Downey                  CA
Andre              Martin               Lancaster               CA
Maurice            Martin               Los Angeles             CA
Rodney             Martin               Fresno                  CA
Kia                Martin               Fairfield               CA
Hector             Martin               Inglewood               CA
Michael            Martin               Oakland                 CA
Dontae             Martin               Gardena                 CA
Isaac Paul         Martin               San Jose                CA
Debra              Martin               Victorville             CA
Matthew            Martin               Santa Rosa              CA
Billy              Martin               Antioch                 CA
Nicholas           Martin               Rialto                  CA
David              Martin               Lake Arrowhead          CA
Lee                Martin               Laguna Hills            CA
Irma Street        Martin               Antioch                 CA
Anna               Martin               Richmond                CA
Freddie            Martin Sr.           Bakersfield             CA
Steven             Martinez             San Francisco           CA
Hector             Martinez             Montclair               CA
Jonathan           Martinez             La Puente               CA
Joaquin            Martinez             Visalia                 CA
Roberto            Martinez             Redwood City            CA
Diana              Martinez             Concord                 CA
Ninoska            Martinez             Richmond                CA
Octavio            Martinez             Whittier                CA
Marco              Martinez             San Pablo               CA
Kevin              Martinez             San Mateo               CA
Tino               Martinez             Santa Rosa              CA
Bennerita          Martinez             Hayward                 CA
Matthew            Martinez             San Jose                CA
Ben                Martinez             San Mateo               CA
Frank              Martinez             Antelope                CA
Ronald             Martinez             San Carlos              CA
Guadalupe          Martinez             Garden Grove            CA
Henry              Martinez             Salinas                 CA
Perry              Martinez             Redwood City            CA
Adrian             Martinez             East Los Angeles        CA
Leticia            Martinez             Chatsworth              CA
Yolanda            Martinez             Chino                   CA
Anthony            Martinez             Galt                    CA
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Jorge              Martinez                Pleasant Hill          CA
Vinicio Omar       Martinez                Montebello             CA
Domingo            Martinez                Sacramento             CA
Reynaldo           Martinez                Richmond               CA
Caroline           Martinez                Whittier               CA
Margaret           Martinez                Fresno                 CA
Oscar              Martinez                Los Angeles            CA
Herman             Martinez                Huntington Park        CA
Laura              Martinez                Manteca                CA
German             Martinez                San Francisco          CA
Raquel             Martinez                Manteca                CA
Alejandro          Martinez                Milpitas               CA
Ernest             Martinez                Los Angeles            CA
Gilbert            Martinez                Vallejo                CA
Arturo             Martinez                Fremont                CA
Michael            Martinez                Chino                  CA
Madelyn            Martinez                Baldwin Park           CA
Blanca             Martinez                Pomona                 CA
Carlos             Martinez                Gilroy                 CA
Oscar              Martinez                Anaheim                CA
Cecilia            Martinez                Sylmar                 CA
Maria              Martinez                Pittsburg              CA
Frank              Martinez                Wilmington             CA
Eduardo            Martinez                Downey                 CA
Regina             Martinez                Oakland                CA
Alexander          Martinez                Covina                 CA
Alejandro          Martinez                Downey                 CA
Miguel             Martinez                Azusa                  CA
Chante             Martinez                North Hollywood        CA
Hector             Martinez                Whittier               CA
Juan               Martinez                Los Angeles            CA
Jesus              Martinez                Montebello             CA
Antonio            Martinez                Los Angeles            CA
Carlos             Martinez                North Hollywood        CA
Pedro              Martinez                Lynwood                CA
Nataya             Martinez                Lakewood               CA
Josejuan           Martinez Duena          Oakland                CA
Juan               Martinez Jr             Modesto                CA
Jorge              Martinez Jr.            Palmdale               CA
Cecilia            Martinez‐Moore          Bakersfield            CA
Georgette          Martins                 Los Angeles            CA
Evaldo             Martins Jr.             South San Francisco    CA
Willian            Martir                  Redwood City           CA
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Arutyun             Martirosyan           North Hollywood        CA
Andrew              Marty                 Sacramento             CA
Miranda             Maruri                San Francisco          CA
Karen               Mascarenhas Santana   Pleasanton             CA
Joseph              Mascorro              La Puente              CA
Nathan              Masih                 San Leandro            CA
Nemia               Masina                San Francisco          CA
Grantray‐Grantral   Mask Sr               Sacramento             CA
Rita                Mason                 Oakland                CA
Garry               Mason                 Richmond               CA
Raymahn             Mason                 Fairfield              CA
Tashiana            Mason                 El Sobrante            CA
Latonia             Mason                 El Sobrante            CA
Edward James        Mason                 San Francisco          CA
Kimberly            Mason                 Sacramento             CA
Chuanda             Mason                 Van Nuys               CA
Mohammad            Masoud                Pittsburg              CA
Sara                Massengale            Orangevale             CA
Theatis             Massengale            Capistrano Beach       CA
Scott               Massey                San Jose               CA
Raymond             Masten                Ione                   CA
Dominic             Mastrangleo           Los Angeles            CA
George              Mastrogeorgiou        Hollywood              CA
Fred                Mata                  San Jose               CA
Janet               Mata                  Lake View Terrace      CA
Michael             Mata                  Los Angeles            CA
David               Matevosyan            Palo Alto              CA
Antoine             Mather                Oakland                CA
Arron               Mathews               Oakland                CA
Reginald            Mathies               Los Angeles            CA
Paul                Mathis                San Jose               CA
Kevin               Matias                Arcadia                CA
Mario               Matthews              Los Angeles            CA
Michael             Matthews              La Palma               CA
Iyanna              Matthews              Los Angeles            CA
Kamau               Maurice               Rncho Cordova          CA
Sean                Maxemin               Bakersfield            CA
Maurice L.          Maxwell               Inglewood              CA
Tanjanique          Maxwell               Fresno                 CA
Dwight              Maxwell               Los Angeles            CA
Tony                Maxwell               Hawaiian Gardens       CA
Christan            Maxwell               San Jose               CA
Rohullah            Mayar                 Sacramento             CA
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Sean               Mayberry               Oakland                CA
Emanuele           Mayer                  San Jose               CA
Manuel             Mayes                  San Leandro            CA
Janet              Mayfield               Moreno Valley          CA
Kendrick           Mayfield               Stockton               CA
Chandra            Mayfield               Sacramento             CA
Raphael            Mayieka                San Jose               CA
Amiel              Mayo                   Sacramento             CA
Oscar              Mayo                   San Diego              CA
Paolo              Mazza                  Millbrae               CA
Kyanna             Mbah                   Stockton               CA
Nakisha            Mc Cadney              Los Angeles            CA
Carol              Mc Crary               Daly City              CA
Mackie             Mc Duffy               Oakland                CA
Dwaine             Mc Fadden              Antioch                CA
Richard            Mc Gee                 South San Francisco    CA
Tyrone             Mc Kinnon              Vallejo                CA
Shawntail          Mc Laurin              Compton                CA
Kyle               Mc Nair ‐ Robinson     Ontario                CA
Daryl              Mc Near                San Diego              CA
Robert             Mcabee                 Los Angeles            CA
Latoya             Mcadoo                 Pasadena               CA
Ehan               Mcalister              Sacramento             CA
Sultan             Mcbride                Fremont                CA
Marvis             Mcbride                Oakley                 CA
Tanisha            Mcbride                Hawthorne              CA
Glen               Mcbride                Los Angeles            CA
Brittany           Mccann                 Sausalito              CA
Michael            Mccann                 Frazier Park           CA
Patrick            Mccarthy               Covina                 CA
Arthur             Mcchristian            Hayward                CA
Amber              Mcclain                Stockton               CA
Sheena             Mcclain                San Francisco          CA
Stephanie          Mcclain                North Highlands        CA
Shana              Mcclanahan             San Francisco          CA
Joseph             Mcclary                Los Angeles            CA
Michael            Mccleary               San Jose               CA
Joseph             Mcclendon              Vallejo                CA
James              Mcclinton              Riverside              CA
Sean               McClinton              Norco                  CA
Robin              Mcclurkin              San Jose               CA
Cindy              Mccoleman              Pomona                 CA
Jennifer           Mcconnell              Fresno                 CA
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Emanuel            Mccorvey               Fresno                 CA
Karletha           Mccowan                Vallejo                CA
David              Mccoy                  Hayward                CA
Angela             Mccoy                  Vallejo                CA
Jazzalon           Mccoy                  Fresno                 CA
Rashad             Mccoy                  Pomona                 CA
Jermaine           Mccoy                  Hawthorne              CA
Franklin           Mccoy Iii              San Francisco          CA
Annette            Mccray                 Del Rey Oaks           CA
Kristopher         Mccray                 Vallejo                CA
Phillip            Mccree                 Pittsburg              CA
Darron             Mcculler               San Jose               CA
Collins            Mcculley               Sunol                  CA
Keith              Mccullom               Vallejo                CA
Kimuel             Mccullough             Northridge             CA
Danian             Mccully                Inglewood              CA
Erick              Mcdaniel               Antioch                CA
Lynn               Mcdaniel               Richmond               CA
David              Mcdaniels              Suisun City            CA
Seamus             Mcdonagh               San Francisco          CA
Bryon              Mcdonald               Santa Rosa             CA
Ruby               Mcdonald               Visalia                CA
Raymond            McDonald               Bakersfield            CA
Johnte             Mcdowell               Suisun City            CA
Jeff               Mcdowell               Reseda                 CA
Eric               Mcdowell               Inglewood              CA
Nickie             Mceachin               Rancho Cordova         CA
Kevin              Mcelrath               Los Angeles            CA
Reginald           Mcelroy                Compton                CA
Ronnie             Mcelroy                Madera                 CA
Crysanthamise      Mcelwee                Moreno Valley          CA
Keith              Mcfarland              Roseville              CA
Dannie Ray         McFrazier              Inglewood              CA
Albert             Mcgarrity Iii          Wildomar               CA
Rometra            Mcgary                 Fairfield              CA
Bobby              Mcgaughey              Los Angeles            CA
Louis              Mcgaughy               Fairfield              CA
Karen              Mcgee                  Compton                CA
Lance              Mcgee                  Compton                CA
Rodney             Mcgee                  San Pablo              CA
Ronrico            Mcgehee                Fresno                 CA
Clarence           Mcghee                 Vallejo                CA
Dedrick            Mcghee                 Sacramento             CA
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Vontrice           Mcginnis                 San Francisco          CA
Robert             Mcglothern               Moreno Valley          CA
Sharon             Mcgowan                  San Jose               CA
Martin             Mcgrath                  Berkeley               CA
Robert             Mcgruder                 Los Angeles            CA
Vernon             Mchenry                  San Pedro              CA
Winston            Mcintosh                 Hawthorne              CA
Aaron              Mcintyre                 North Hills            CA
Lori               Mcintyre                 Modesto                CA
Temeka             Mckenith                 Los Angeles            CA
Ryan               Mckinney                 Los Angeles            CA
Tiesha             Mckinnis                 Palmdale               CA
Robert             Mckinzy                  San Lorenzo            CA
John               Mcknight                 Bellflower             CA
Esau               Mcknight Jr.             Canyon Country         CA
Carla              Mclaurin                 San Jose               CA
Daniel             Mclorin                  Oakland                CA
Christopher        Mcmahon                  San Francisco          CA
Andre              Mcmahon                  Clovis                 CA
Teri               Mcmichael                Fresno                 CA
Hayes              Mcmillan                 Moreno Valley          CA
Ladonna            Mcmillan                 Los Angeles            CA
Jermaine           Mcmillan                 Los Angeles            CA
Taquesha           Mcmillan                 Los Angeles            CA
Deshon             Mcmillan                 Fresno                 CA
Jahlin             Mcmillan                 Fallbrook              CA
Shantel            Mcmillian‐Glass          Bellflower             CA
Taylor             Mcminn                   Sacramento             CA
Quindell           Mcmullen                 San Jose               CA
Matthew            Mcmurray                 North Hollywood        CA
Coshia             Mcnair                   Buena Park             CA
Sean               Mcnair                   Los Angeles            CA
Raymonde           Mcnally                  Folsom                 CA
Nick               Mcnally                  Los Angeles            CA
Michael            McNamara                 Irvine                 Ca
Paula              Mcneal                   Rancho Cordova         CA
Kenneth            Mcneal                   North Hollywood        CA
Marc               Mcpherson                Richmond               CA
Doug               Mcpherson                Fullerton              CA
Fred               Mcquater                 Los Angeles            CA
Lester             Mcquillon                Sacramento             CA
Roshawnda          Mcrae                    Corcoran               CA
Nikisha            Mcroyal                  Compton                CA
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Myisha              Mcswine                 Redlands               CA
Faneyce             Mcwhinnie               Lakewood               CA
Marc                Mcwilliams              North Hollywood        CA
Brian               Mcwilliams              San Pablo              CA
Marsha              Meadors                 Antioch                CA
Sharon              Meadows                 Bay Point              CA
Lacreshia           Meadows                 Los Angeles            CA
Omar                Medarno                 Los Angeles            CA
Ian                 Medcalf                 Clovis                 CA
Wayne               Medeiros                Antioch                CA
Daniel              Medina                  Tollhouse              CA
Juan                Medina                  Paramount              CA
Myra                Medina                  Sanger                 CA
Michael             Medina                  Commerce               CA
Alicia              Medina                  Sausalito              CA
Jennifer            Medinas                 Fairfield              CA
Bill                Medrano                 Burbank                CA
Juan                Medrano                 Valley Village         CA
Shainysse           Meekins‐Bolden          El Segundo             CA
Lawrence            Meeks                   San Jose               CA
Michael             Megliorino              Sacramento             CA
Shant               Meguerditchian          Northridge             CA
Manish              Mehra                   Newhall                CA
Pedro               Mejia                   Los Angeles            CA
Margaret            Mejia                   Fowler                 CA
David               Mejia                   Fowler                 CA
Luis                Mejia                   Los Angeles            CA
Byron               Mejia                   San Francisco          CA
Mario               Mejia Tapia             Riverside              CA
Dana                Melanson                Knightsen              CA
Itagia              Meleah                  San Jose               CA
Cristie             Melendez                Hayward                CA
Destiny             Melendez                Fresno                 CA
Rodrigo             Melendrez               San Bruno              CA
Juan                Melendrez               Alhambra               CA
Saghatel            Melkumyan               Sun Valley             CA
Francisco Rodrigo   Mena Zapata             Vallejo                CA
Jody                Mena‐Ancheta            Fresno                 CA
Shonam              Menchue                 Modesto                CA
Christian           Mendes                  Lancaster              CA
Dana                Mendes                  San Ramon              CA
Weslley             Mendes Teodoro          San Bruno              CA
Brandon             Mendez                  Anaheim                CA
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Gregorio           Mendez               Los Angeles            CA
Steven             Mendez               Chino Hills            CA
Tara               Mendez               Hayward                CA
Alfredo            Mendez               Sacramento             CA
Andrew             Mendez               Los Angeles            CA
Blanca             Mendez               San Francisco          CA
Brian              Mendez               Sylmar                 CA
Ernesto            Mendez Gonzalez      Modesto                CA
Bobby              Mendiola             Burbank                CA
Elvis              Mendivil             Mountain View          CA
Dyana              Mendonca             Oakland                CA
Maria G            Mendoza              Orosi                  CA
Louie              Mendoza              Pomona                 CA
Jose               Mendoza              Long Beach             CA
Gloria             Mendoza              San Francisco          CA
Alejandro          Mendoza              Orosi                  CA
Andrew             Mendoza              San Bernardino         CA
Nicole             Mendoza              Sacramento             CA
Arthur             Mendoza              Ontario                CA
Paul               Mendoza              Santa Fe Springs       CA
Juan Carlos        Mendoza              Oakland                CA
Ricardo            Mendoza              Los Angeles            CA
Adrian             Mendoza Galvan       South San Francisco    CA
Juan               Menendez             Burbank                CA
Janet              Menifee              Hayward                CA
Lesly              Menjivar             Stockton               CA
Mauricio           Menjivar             Rocklin                CA
Billy              Menjivar             Alhambra               CA
Mixhael            Mente                Lakewood               CA
William            Mercado              Culver City            CA
Jonathan           Mercado              Colton                 CA
Imad               Merhi                Los Angeles            CA
Marlon             Merino               Los Angeles            CA
Mario              Merlos               Reseda                 CA
Trisha             Merriott             Campbell               CA
Mia                Merritt              Los Angeles            CA
Nicole             Merritt              Antioch                CA
Iskandaryan        Mesrop               Daly City              CA
Robert             Metcalfe             Los Angeles            CA
Tarek              Mettali              San Francisco          CA
Angel              Meza                 Los Angeles            CA
Aurora             Meza                 North Hollywood        CA
Felipe             Meza                 West Covina            CA
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Robert             Meza                   Upland                  CA
Raymond            Meza                   San Jose                CA
Luis               Meza‐Valencia          San Bruno               CA
Estifanoes         Mhur                   Oakland                 CA
Simon              Micael                 Oakland                 CA
Kimbalyn           Michael                Santa Monica            CA
Bill               Michael                san jose                ca
Stephanie Lujan    Michael Hurst          Lodi                    CA
Eriin Perry        Michael Perry          South San Francis       CA
Hany               Michaels               San Francisco           CA
Bassem             Micheal                Cypress                 CA
Matt               Michiel                West Hills              CA
Peter              Michno                 Livermore               CA
Beethoven          Micu                   Dublin                  CA
Reginald           Middleton              Lawndale                CA
Daniel             Middleton              Los Angeles             CA
Daniel             Miguel                 Long Beach              CA
Chelsea            Miles                  Pittsburg               CA
Melva              Miles                  Sacramento              CA
Moris              Miles                  Sacramento              CA
Adriane            Miles                  Sacramento              CA
Freddie            Miles                  Lynwood                 CA
Anthony            Miles                  Pittsburg               CA
Yalanda            Miles                  Rncho Cordova           CA
Savannah           Milhaeux               Oakland                 CA
Howard             Miller                 Los Angeles             CA
Robert             Miller                 Inglewood               CA
Marcus             Miller                 Danville                CA
Stephanie          Miller                 Victorville             CA
Candance           Miller                 San Bernardino          CA
Ryan               Miller                 San Diego               CA
Justin             Miller                 Norwalk                 CA
Shawn              Miller                 Fairfield               CA
Jon                Miller                 Stockton                CA
Ariyan             Miller                 Stockton                CA
Dana               Miller                 Vallejo                 CA
Ivory              Miller                 Gilroy                  CA
Ebony              Miller                 Los Angeles             CA
Lakneesha          Miller                 San Jose                CA
Odain              Miller                 Oakland                 CA
Heshimu            Miller                 Downey                  CA
Harold             Mills                  Hayward                 CA
Dana               Mills                  Sausalito               CA
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Niesha             Mills                   Inglewood              CA
Louis              Milner                  Los Angeles            CA
Francine           Milner                  Los Angeles            CA
Brandon            Milner                  Moreno Valley          CA
Leona              Milner                  Compton                CA
Konstancia         Milova                  Pacifica               CA
Mark               Milton                  Sonoma                 CA
Mark               Milton                  San Rafael             CA
Coldman            Milton                  Citrus Heights         CA
Solomon            Mims                    Newark                 CA
Orlando            Mims                    Elk Grove              CA
Natalie            Minard                  Temecula               CA
Hakop              Minasyan                Los Angeles            CA
William            Mincey                  Merced                 CA
Michael            Miner                   Elk Grove              CA
Jose               Minero                  Tracy                  CA
Bernard            Minor                   Los Angeles            CA
Donald             Minor                   Daly City              CA
Sidney             Minor                   Antioch                CA
Nicholas           Minor                   Compton                CA
Tenishea           Minter                  Sacramento             CA
Ephrem             Mirach                  Oakland                CA
Salvador           Miranda                 Bell Gardens           CA
Christian          Miranda                 Los Angeles            CA
Gerard             Miranda                 Hawthorne              CA
Gregory            Miranda                 San Pedro              CA
Paul               Miranda                 Pittsburg              CA
Juan               Miranda                 Los Angeles            CA
Kyle               Miranda                 San Jose               CA
Jose               Miranda                 Maywood                CA
Octavio            Miranda                 Montebello             CA
Angelo I           Miranda                 Whittier               CA
Conrad G.          Miranda I I I           West Sacramento        CA
Charlie            Mireles                 Los Angeles            CA
Maksim             Mironov                 North Hollywood        CA
Fnu                Mirza Zubair Ali Baig   Fremont                CA
Naser              Mirzadeh                Sacramento             CA
Neil               Misa                    Hercules               CA
Bryan              Mitbo                   Orange                 CA
Valerie            Mitchell                Los Angeles            CA
Jarrin             Mitchell                Lemon Grove            CA
Marlon             Mitchell                Inglewood              CA
Sammy              Mitchell                Roseville              CA
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Nelson             Mitchell                 Union City             CA
Tamika             Mitchell                 Torrance               CA
Jesse              Mitchell                 Antelope               CA
Apryl              Mitchell                 Sacramento             CA
Scott              Mitchell                 Antioch                CA
Daniel             Mitchell                 Stockton               CA
Iris               Mitchell                 Los Angeles            CA
Derek              Mitchell                 San Bernardino         CA
Montrai            Mitchell                 Los Angeles            CA
Anthony            Mitchell                 Antioch                CA
Lionel             Mitchell                 Elk Grove              CA
Joseph             Mitchell                 Hayward                CA
Durrell            Mitchell                 Carmichael             CA
Malcolm            Mitchell                 Irvine                 CA
Samaad             Mitchell                 Los Angeles            CA
Dalton             Mitchell Jr              Oakland                CA
Marcena            Mitchell Miller          Moreno Valley          CA
Nicole             Miyashiro                Los Angeles            CA
Yamen              Mizher                   Fullerton              CA
Jacqueline         Modica                   Sacramento             CA
Tom                Moges                    Santa Rosa             CA
Komyar             Moghadam                 Livermore              CA
Stacey             Mohamed                  Folsom                 CA
Nael               Mohammad                 Newark                 CA
Yar                Mohammad                 Sacramento             CA
Ghulam             Mohammadi                Hayward                CA
Shahir             Mohammed                 Sacramento             CA
Qasim              Mohammed                 Daly City              CA
Martin             Moiba                    Hawthorne              CA
Catherine          Mojica                   Fremont                CA
Oweis              Mokatish                 San Francisco          CA
Chris              Molano                   Hayward                CA
Lee                Molett                   Los Angeles            CA
Luis               Molina                   Santa Clara            CA
Jose               Molina                   South San Francisco    CA
Michael            Molina                   Commerce               CA
Bayardo            Molina                   Pacifica               CA
Jose               Molina                   Oakland                CA
Juan               Molina                   North Hollywood        CA
Juan               Molina                   Long Beach             CA
Julian             Molina                   Long Beach             CA
Rudy               Molina                   Los Angeles            CA
Kevin              Mollenhauer              Glendale               CA
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Tyisha            Momon                 Los Angeles            CA
Donald            Monaco                Ceres                  CA
Paola             Moncaba               San Francisco          CA
Juan              Moncada               Anaheim                CA
David             Moncito               Sacramento             CA
Kim               Monday                Inglewood              CA
Mark              Monez                 Palmdale               CA
Elaine            Monge                 Carson                 CA
Carlos            Monge Rosa            Montclair              CA
Jose              Monroy                Stkn                   CA
Antonio           Monroy                Fremont                CA
Ana               Monroy                Los Angeles            CA
Enrique           Monroy                Stockton               CA
Guadalupe         Monroy                Vallejo                CA
Heather           Monroy                Garden Grove           CA
Matthew           Montalbano            Fontana                CA
Jose              Montalvan             Santa Rosa             CA
Patricia          Montalvo              San Pablo              CA
Samuel            Montanez              Fresno                 CA
Shawn             Montarbo              Campbell               CA
Victor            Monterrubio Galvan    Stockton               CA
Johnny            Montez                Hollister              CA
Ruthie            Montgomery            Highland               CA
Robert            Montgomery            Hesperia               CA
Arturo            Montiel               North Hollywood        CA
Manuel            Montijo               San Jose               CA
Daniel            Montoya               Whittier               CA
Daisy             Montoya               South Gate             CA
Eric              Montoya               San Francisco          CA
Alex              Montuya               San Francisco          CA
Kennard           Moody                 Oakland                CA
Kesha             Moody                 Elk Grove              CA
Jannae            Moody                 Long Beach             CA
Lavena            Moon                  Antioch                CA
Desmond           Moore                 Long Beach             CA
Debra             Moore                 Lakewood               CA
Matthew           Moore                 Merced                 CA
Denise            Moore                 San Bernardino         CA
Treg              Moore                 San Bernardino         CA
Chris             Moore                 Long Beach             CA
Giselle           Moore                 Los Angeles            CA
Lanese            Moore                 Carson                 CA
Janee             Moore                 Stockton               CA
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Jacquelynn         Moore                     Lynwood                CA
Gabby              Moore                     Rancho Cucamonga       CA
Michael            Moore                     Fresno                 CA
Norris             Moore                     Rancho Cucamonga       CA
Lashun             Moore                     Oakland                CA
Michael            Moore                     Brea                   CA
Tracy              Moore                     Oakland                CA
Vincent            Moore                     Los Angeles            CA
Spencer            Moore                     Moreno Valley          CA
Teresa             Moore                     Los Angeles            CA
Aaliyah            Moore                     Moreno Valley          CA
Reginald           Moore 2Nd                 Perris                 CA
Allen              Moore Jr                  Sacramento             CA
Marlon             Moorer                    East Palo Alto         CA
Andrew             Moppin                    Gardena                CA
Jorge              Mora                      Patterson              CA
Laura              Mora                      Fresno                 CA
Jose               Mora                      Los Angeles            CA
Javier             Mora Jr                   Westminster            CA
Manny              Morad                     San Bruno              CA
Bizhan             Moradi                    Redlands               CA
Gustavo            Moraes                    North Hollywood        CA
Gilberto           Morais                    Daly City              CA
Ana                Morales                   Sacramento             CA
Jose               Morales                   Arleta                 CA
Luciano            Morales                   Upland                 CA
Mario              Morales                   Pomona                 CA
Juan Carlos        Morales                   Hayward                CA
Oscar              Morales                   Upland                 CA
Cesar              Morales                   Encino                 CA
Melissa            Morales                   San Leandro            CA
Rene Sebastian     Morales                   Montebello             CA
Mark               Morales                   Ontario                CA
Sonia              Morales De Vejar          Moreno Valley          CA
Madgeline          Moralez                   Norwalk                CA
Carlos             Moralez Perez             Van Nuys               CA
Ronaldo            Moran                     Hayward                CA
Jose               Moreira                   San Leandro            CA
Vicente            Morel                     San Leandro            CA
Matthew            Moreland                  Los Angeles            CA
Ronny              Morell                    Mountain View          CA
Rayomand           Morena                    Rancho Mission Viejo   CA
Daniel             Moreno                    San Mateo              CA
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Julio              Moreno                  Newark                 CA
Erica              Moreno                  Fresno                 CA
Rosa               Moreno                  Los Angeles            CA
Nicholas           Moreno                  San Jose               CA
Andrew             Moreno                  Long Beach             CA
Leticia            Moreno                  Camarillo              CA
Cruz               Moreno Andrade          San Leandro            CA
Kejuan             Morgan                  Long Beach             CA
Leo                Morgan                  Fresno                 CA
Keith              Morgan                  Vallejo                CA
Crystal            Morgan                  Sacramento             CA
Ryan               Morgan                  Danville               CA
Kenyatte           Morgan                  Wilmington             CA
Ravion             Morgan                  Hawthorne              CA
Levi               Morgan                  Patterson              CA
Florine            Morgan                  Los Angeles            CA
Shirleye           Morgan                  San Francisco          CA
Christopher        Morgan                  Rancho Cucamonga       CA
Brendan            Moriarty                Monrovia               CA
Ryan               Morlan                  Anaheim                CA
Katina             Morning                 Gardena                CA
Brian              Morotti                 Lodi                   CA
Michael            Morris                  Sacramento             CA
Antoinette         Morris                  Richmond               CA
Jeremiah           Morris                  Fresno                 CA
Brianna            Morris                  Hawthorne              CA
Ferland            Morris                  Hawthorne              CA
Karen              Morris                  Salida                 CA
Araceli            Morris                  Hayward                CA
Devin              Morris                  Victorville            CA
Louis              Morris                  Hayward                CA
Robert             Morris                  Pleasant Hill          CA
Kimberly           Morris                  Hayward                CA
James              Morrison                Vallejo                CA
Joseph             Morrison                Oakland                CA
William            Morrison                Berkeley               CA
Jason              Morrissette             Sacramento             CA
Matthew            Morrissey               Atherton               CA
Frank              Morrow                  Discovery Bay          CA
Kris               Morrow                  Roseville              CA
Susan              Morrow                  Gardena                CA
Joseph             Morte                   Concord                CA
Henry              Morton                  Fresno                 CA
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Danielle           Mosby                Long Beach             CA
Sidney             Mosby                Los Angeles            CA
Candis             Mosby                San Bernardino         CA
Victor             Moscoso              Hayward                CA
Laquetta           Moseley              Harbor City            CA
Valerie            Moses                El Sobrante            CA
Vatina             Mosey                San Francisco          CA
Robert             Mosley               Modesto                CA
John               Mosley               Newark                 CA
Tal                Moss                 West Hollywood         CA
Gregory            Moss                 Buena Park             CA
Charles            Moss                 Compton                CA
Osama              Mostafa              Elk Grove              CA
Javier             Mota                 San Jose               CA
Marcia             Motavelazco          Clovis                 CA
Patrick            Moten                Fairfield              CA
Miya               Moton                Compton                CA
Mario              Mottley              Los Angeles            CA
Theresa            Mounphoxay           San Francisco          CA
Abdulnasser        Mousa                Oakland                CA
Adnan              Mousa                Santa Clara            CA
Brian              Mouton               Oakland                CA
Antonio            Mouton               Richmond               CA
Arlene             Mouton               Los Angeles            CA
Harry              Moya                 Gardena                CA
Kabir              Mozhda               Clovis                 CA
Donald             Mozzetti             Livermore              CA
M                  Mqoeem               Tracy                  CA
Fetuao             Mua                  Bay Point              CA
Lanita             Mucker               Los Angeles            CA
Samih              Mudallal             Granada Hills          CA
Shareef            Muhammad             Carson                 CA
Elijah             Muhammad             Los Angeles            CA
Nailah             Muhammad             Oakland                CA
Muzhgan            Muhtashimi           Fremont                CA
Najibullah         Mujadidi             Irvine                 CA
Rushdan            Mujahiddeen          Hawthorne              CA
Emmanuel           Mujica               South Gate             CA
John               Mulbrew              Sacramento             CA
Jennifer           Mulhern              Sacramento             CA
Eddy               Muller               San Jose               CA
Teri S.            Mullin               Oakland                CA
Douglas            Mullins              San Jose               CA
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Matthew            Mulugeta             Burbank                CA
Bradley            Mumby                San Diego              CA
Abdul              Mumuni               Oakland                CA
Noel               Munerlyn             Fresno                 CA
Randy              Munmon               Oakland                CA
Esther             Munoz                San Mateo              CA
Juan               Munoz                Los Angeles            CA
Gregorio           Munoz                San Jose               CA
Wilfredo           Munoz                Richmond               CA
Julio              Munoz                Pittsburg              CA
Matthew            Munoz                Los Angeles            CA
Lauren             Muntasir             Richmond               CA
Joyce              Muoio                San Juan Capistrano    CA
Mkrtich            Muradyan             Valley Village         CA
Carlos             Murcia               Gardena                CA
Joshua             Murcia               Hemet                  CA
Craig              Murdah               Martinez               CA
Oney               Murguia              El Sobrante            CA
David              Murillo              Downey                 CA
Ramon              Murillo              La Mirada              CA
Martin             Muro                 La Verne               CA
Corina             Muro                 Long Beach             CA
Katrina            Murphy               Stockton               CA
Timothy            Murphy               Sacramento             CA
Dejanique          Murphy               Fresno                 CA
Michael            Murphy               San Francisco          CA
Richard            Murphy               San Francisco          CA
Jacob              Murphy               South San Francisco    CA
Michael            Murphy Jr.           Gardena                CA
Joseph             Murray               Stockton               CA
Kenneth            Murray               San Jose               CA
Shalona            Murray               Lomita                 CA
Donnell            Murray               Oakland                CA
Kristina           Murray               Los Angeles            CA
John               Murrieta             Rosemead               CA
Spevie             Murrieta             Visalia                CA
Tristin            Murry                Sacramento             CA
Omar               Musbah               Irvine                 CA
Albert             Muscat               Richmond               CA
Anthony            Musharbash           La Verne               CA
Frank              Mutebwa              Sherman Oaks           CA
Julius             Mutisya              Castro Valley          CA
Tamer              Muwanas              Victorville            CA
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Arthur             Muwonge                 Van Nuys               CA
Hamazah            Muwwakkil               Sacramento             CA
Lori               Muzquiz                 Stockton               CA
Eric               Mwansa                  Sacramento             CA
Fanisha            Myers                   Highland               CA
Ayesha             Myers                   Inglewood              CA
Robert             Nadeau                  Long Beach             CA
Mohammad           Nadimi                  Oakland                CA
Victor             Nadtochaev              Walnut Creek           CA
Sami               Nagi                    Oakland                CA
Laszlo             Nagy                    Stevenson Ranch        CA
Richard            Nahinay                 San Bruno              CA
Juan               Najera                  Fresno                 CA
John               Nalty                   San Jose               CA
Thomas             Naranjo                 Clovis                 CA
Jitesh             Narayan                 Hayward                CA
Leslie             Naseath                 Susanville             CA
Sayed Nasrat       Naseemi                 Hayward                CA
Jarone             Nash                    Los Angeles            CA
Stephen            Nash                    San Pablo              CA
Muaad              Nasher                  San Leandro            CA
Balall             Nasher                  San Leandro            CA
Abdul              Nasir                   Hayward                CA
Jian               Nasiri                  Tracy                  CA
Tiana Ward         Nataka Jenkins          Vacaville              CA
Consuelo           Nateras                 Downey                 CA
Joselito           Natividad               San Bruno              CA
Robert             Natuti                  Seaside                CA
Vincent            Nava                    Riverside              CA
Jonathan           Nava                    Pico Rivera            CA
Manuel             Navarratte              Visalia                CA
Adrian             Navarrete               West Covina            CA
Javier             Navarro                 Garden Grove           CA
Daniel             Navarro                 Hawthorne              CA
Marcos             Navarro                 Los Angeles            CA
Edward             Navarro                 West Covina            CA
Jose               Navarro                 Los Angeles            CA
Victor             Navarro                 Los Angeles            CA
Jose               Navarro Ramos           Duarte                 CA
Keith              Neal                    Paramount              CA
William            Neal                    Paramount              CA
Mitchell           Neal                    Rancho Cordova         CA
Deanna             Neal                    Fresno                 CA
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Benjamin           Neal                   Turlock                 CA
Cedric             Neal                   Oakland                 CA
George             Neal                   East Palo Alto          CA
Robert             Neal                   East Palo Alto          CA
Taneya             Neal                   Pittsburg               CA
Austin             Neal                   Los Angeles             CA
Ronald             Nebreda                Daly City               CA
Andre              Ned                    San Francisco           CA
Kevin              Neely                  Hercules                CA
Dawit              Negatu                 San Jose                CA
Jennifer           Negrete                Fresno                  CA
Albert             Negrete                Fresno                  CA
Rona               Neloms' Smith          Palmdale                CA
Terrelle           Nelson                 Long Beach              CA
Nicole             Nelson                 La Crescenta            CA
Jermaine           Nelson                 Richmond                CA
Troy               Nelson                 Los Angeles             CA
Trina              Nelson                 Oakland                 CA
Shelli             Nelson                 Tracy                   CA
Wayne              Nelson                 Altadena                CA
Norman             Nelson                 Lakewood                CA
Curtis             Nelson I I             Los Angeles             CA
Oshane             Nembhard               Los Angeles             CA
Daniel             Nerayo                 Oakland                 CA
Ana                Neri                   Temecula                CA
Edgar              Neri                   Lawndale                CA
Yors               Neri Flores            Victorville             CA
Quinzale           Nero                   Lancaster               CA
John               Nesmith                Fairfield               CA
Amir               Nessim                 Granada Hills           CA
Cyrillo            Neto                   San Mateo               CA
Christian          Nettles                Los Angeles             CA
Brian              Neufang                Los Angeles             CA
Jason              Nevels                 Los Angeles             CA
Cheronne           Newborn                Elk Grove               CA
Brittany           Newell                 Walnut Creek            CA
Mellonie           Newman                 Ventura                 CA
Richard            Newmark                Sunnyvale               CA
Ronnie             Newton                 Oakland                 CA
Marvin             Newton                 Oakland                 CA
Ricky              Newton                 Inglewood               CA
Burton             Ng                     San Jose                CA
Guillain           Nguilu                 San Jose                CA
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Damon              Nguse Tsegay          Oakland                CA
Duke               Nguyan                Santa Ana              CA
Thach              Nguyen                San Jose               CA
Minh               Nguyen                Rancho Cordova         CA
Quang              Nguyen                Los Altos              CA
Au                 Nguyen                San Jose               CA
Steve              Nguyen                Milpitas               CA
Hoang              Nguyen                Oakland                CA
Steve              Nguyen                Westminster            CA
Tuan               Nguyen                San Jose               CA
Vu                 Nguyen                San Jose               CA
Rodney             Nichelson             Vallejo                CA
Shelvondez         Nicholas              Compton                CA
Krystal            Nichols               Gardena                CA
Daniel             Nichols               Los Angeles            CA
Bryannita          Nicholson             Long Beach             CA
Errol              Nicholson             Stockton               CA
Steven             Nicoloro              Redondo Beach          CA
Sandra             Nielsen               Ventura                CA
Eloy               Nieto                 Long Beach             CA
Jordan             Nieves                Pinole                 CA
Delia              Nieves                Torrance               CA
Ashkan             Nikfarjam             Sunnyvale              CA
Matthew            Niles                 Los Angeles            CA
Sandra             Ninan‐Lopez           La Mirada              CA
Stacy              Nix                   Sacramento             CA
Ted                Njiosseu              Los Angeles            CA
Tobias             Njoku                 Livermore              CA
Justin             Nkemakolam            San Leandro            CA
Kingsley           Nkemakolkam           San Lorenzo            CA
Ndidi              Nnaji                 Oakland                CA
Kelly              Nobbs                 Redwood City           CA
Taylor             Nolan                 Fresno                 CA
Rick               Nolley                Oakland                CA
Hiroshi            Noma                  Los Angeles            CA
Brenda             Nonnette              Paramount              CA
Tsewang            Norbu                 El Cerrito             CA
Kenneth            Norman                Oakland                CA
Carla              Norman                Compton                CA
Lorena             Norman                Hawthorne              CA
Bree               Norman                Inglewood              CA
Leonard            Norman                Los Angeles            CA
Orin               Norman                San Francisco          CA
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Ronnisha          Norris                Bakersfield            CA
Paul              Norris                Hayward                CA
Marcello          Norris                Sacramento             CA
Amber Nolen       Norris Nolen          Long Beach             CA
Prince            Nortey                Los Angeles            CA
Dejuan            North                 Stkn                   CA
Michael           Northcutt             Vacaville              CA
Tahjanae          Northcutt             Los Angeles            CA
Jason             Northrup              San Francisco          CA
Natalie           Norton                Lodi                   CA
Timothy           Norton                San Francisco          CA
Carolyn           Norwood               Hawthorne              CA
Mattie            Norwood               Los Angeles            CA
Mehrzad           Nourani               Irvine                 CA
Ramez             Nouri                 Elk Grove              CA
Mary              Nuamah                San Jose               CA
Teurai            Nugent                Rancho Cucamonga       CA
Adam              Numark                Novato                 CA
Tony              Nunes                 San Jose               CA
Heidi             Nunez                 Fresno                 CA
David             Nunez                 Hayward                CA
Luis              Nunez                 Anaheim                CA
Hipolito          Nunez                 South San Francisco    CA
Christian         Nunez                 Paramount              CA
Cy                Nunez                 Vallejo                CA
Miguel            Nurena Sancarranco    Anaheim                CA
Anthony           Nutt                  Bakersfield            CA
Mayf              Nutter                Bakersfield            CA
Chiedu            Nwamuo                Oakland                CA
Angelia           Nwankwo               Tracy                  CA
Chukwuma          Nwobodo               Torrance               CA
Odiakachukwu      Nwonye                Moreno Valley          CA
Joseph            Obey                  Los Angeles            CA
Hector            Obregon               San Leandro            CA
Moustafa          Obsiye                San Jose               CA
Chelsie           Ochinero              Fresno                 CA
Herman            Ochoa                 Lathrop                CA
Jose              Ochoa                 Anaheim                CA
Erika             Ochoa                 Palo Alto              CA
Armond            Ochoa                 Upland                 CA
Hector            Ochoa                 Long Beach             CA
Cesar             Ochoa                 Bell Gardens           CA
Andrew            Ocon                  Windsor                CA
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Dickson           Odabi                Oakland                CA
Brian             Oden                 San Jose               CA
Steve             Odessky              La Crescenta           CA
Henry             Odiase               Pittsburg              CA
Sammuel           Odoms                Oakland                CA
Abdulwahab        Odunuga              San Diego              CA
Joseph            Oestreich            Stkn                   CA
Christy           Ogan                 Playa Del Rey          CA
Serzh             Oganov               Sherman Oaks           CA
Jerry             Ogans                San Francisco          CA
George            Ogbechie             Bell Gardens           CA
Esieosa           Ogbeiwi              Pomona                 CA
Samuel            Ogbu                 Sacramento             CA
Thomas            Ogle                 Rancho Cucamonga       CA
Nkechiye          Ogosi                Highland               CA
Muyiwa            Ogunmefun            Clovis                 CA
Michael           Oh                   Torrance               CA
Robert            Oino                 Stkn                   CA
Irwin             Ojeda                West Covina            CA
Ike               Ojibe                Oakland                CA
Andrea            Ojo                  Los Angeles            CA
Christopher       Okeke                Torrance               CA
Johnson           Okere                Dublin                 CA
Obioma            Okerekeugo           Emeryville             CA
Valderia          Okoli                Fresno                 CA
Emmanuel          Okoro                Gardena                CA
Innocent          Okoronkwo            San Leandro            CA
Isman             Oktodinata           Upland                 CA
John              Ol                   Long Beach             CA
Kunle             Oladeinde            Los Angeles            CA
Comfort           Oladimeji            Sacramento             CA
Olugbemiga        Oladokun             Beverly Hills          CA
Jose              Olague               Manteca                CA
Gbolahan          Olaleye              Sacramento             CA
Mayra             Olascuaga            Walnut                 CA
Oluwaseun         Olayinka             Hayward                CA
Kenneth           Olden                San Jose               CA
Javier            Oliva                San Jose               CA
William           Olivares             East Palo Alto         CA
Daniel            Olivas               Lancaster              CA
Boanerges         Olivas               La Puente              CA
Richard           Olivas               San Francisco          CA
Elisabete         Oliveira             Downey                 CA
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Jonathan           Oliver                 Vallejo                CA
Charles            Oliver                 Suisun City            CA
Vanessa            Oliver                 Oakland                CA
James              Oller                  Daly City              CA
Franklin           Ollie                  San Pablo              CA
Kolawole           Olubodun               North Hollywood        CA
Olugbemiga         Oluwole Sr.            Oakland                CA
Stephen            Olvera                 Salinas                CA
Owhoedena          Omadhebor              Manteca                CA
James              Oneal                  Oakley                 CA
Aaron              O'Neil                 Los Angeles            CA
Rorthana           Ong                    Fresno                 CA
Evans              Ongaga                 San Ramon              CA
Prince             Ononiwu                San Bernardino         CA
Rafael             Ontiveros              San Jose               CA
Demetrius          Ontiveros              Hanford                CA
Eric               Oppong                 Inglewood              CA
Samuel             Orange                 Long Beach             CA
Brian              Orchard                North Hollywood        CA
Ramon              Ordonez                Burbank                CA
Justin             Ordonez                Napa                   CA
Julio Cesar        Ordonez‐ Lagos         San Bruno              CA
Victor             Oregon                 Santa Ana              CA
Jose               Orellana               Sunnyvale              CA
Rey                Oreto                  Harbor City            CA
Erikah             Organista‐Aguilar      San Jose               CA
Leopoldo           Oribello               San Jose               CA
Ernesto            Orijel                 Carson                 CA
Jesus              Ornelas                Hayward                CA
Eddie              Ornelas                South Gate             CA
Emmanuel           Ornelas                San Jose               CA
Michael            Orona                  Temple City            CA
Fernando           Orona                  San Leandro            CA
Melissa            Oronos                 Bay Point              CA
Ricky              Oropeza                Downey                 CA
Anthony            Orosco                 Richmond               CA
Rudy               Orosco                 Fresno                 CA
Guillermo          Orozco                 Los Angeles            CA
Juan               Orozco                 Whittier               CA
Mario              Orozco                 Rowland Heights        CA
Jose               Orozco                 San Diego              CA
Ricardo            Orozco                 Los Angeles            CA
Jose               Orozco                 San Francisco          CA
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Luis               Orozco                 Montebello             CA
Ricky              Orozco                 Brea                   CA
Marcelino          Ortanez                Brentwood              CA
Santiago           Ortega                 Hayward                CA
Farid              Ortega                 Castro Valley          CA
Greg               Ortega                 Fremont                CA
Daniel             Ortega                 Covina                 CA
Pablo              Ortiz                  North Hollywood        CA
Marcos             Ortiz                  Whittier               CA
Manuel             Ortiz                  San Jose               CA
Scarlett           Ortiz                  Selma                  CA
Jafet              Ortiz                  San Lorenzo            CA
Armando            Ortiz                  Phillips Ranch         CA
Katerina           Ortiz                  San Jose               CA
Martin             Ortiz                  Bell Gardens           CA
Edward             Ortiz                  Richmond               CA
Adriana            Ortiz                  Fontana                CA
Gabriel            Ortiz Ruiz             San Bruno              CA
Ronald             Orum                   Riverside              CA
Sestus             Osakue                 Los Angeles            CA
Patrick            Osakwe                 Fairfield              CA
Johnika            Osborne                San Pablo              CA
Joefranz           Oseghale               Riverside              CA
Stephen            Osei Wusu              Castro Valley          CA
Najat              Oshana                 Modesto                CA
Maria              Oshkeshequoam          San Martin             CA
Kehinde            Oshodi                 Van Nuys               CA
Edward             Osmun                  Concord                CA
Juan               Osoria                 Highland Park          CA
Jean‐Luc           Osorio                 Baldwin Park           CA
Edgar              Osorio                 San Pablo              CA
Cathy              Osorio                 San Francisco          CA
Chris              Ostos                  West Covina            CA
Gaoussou           Ouattara               San Pablo              CA
Amine              Oudouche               Canoga Park            CA
Sahibou            Oumarou                San Mateo              CA
Soeun              Oun‐Pich               San Jose               CA
Monique            Ovalle                 Fresno                 CA
Shawn              Owen                   Clovis                 CA
Ahmere             Owens                  Altadena               CA
April              Owens                  Oakland                CA
Florence           Owens                  Emeryville             CA
Barbara            Owens                  Los Angeles            CA
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Jessica           Owens                   Sacramento             CA
Mesha             Owens                   Antelope               CA
Banks             Owens                   Sacramento             CA
Mike              Owens                   Victorville            CA
Ronald            Owens Jr                Sacramento             CA
Troy              Oyao                    Tracy                  CA
Olawande          Oyebobola               Northridge             CA
Daisy             Ozaeta                  Los Angeles            CA
Oguzhan           Ozkan                   San Jose               CA
Benedict          Ozuagiemhe              Riverside              CA
Benito            Ozuna                   Pacoima                CA
Magdalena         Pablo‐ Vasquez          Los Angeles            CA
Mychal            Pace                    San Leandro            CA
Francisco         Pacheco                 Parlier                CA
Jose              Pacheco                 Downey                 CA
Vanessa           Padilla                 Stockton               CA
Reina             Padilla                 Milpitas               CA
Luis              Padilla                 Salida                 CA
Freddie           Padilla                 Stockton               CA
Cameron           Padilla                 Stockton               CA
Russell           Padilla                 Los Angeles            CA
Larry             Padriquilla             San Leandro            CA
Timothy           Pae                     Carson                 CA
Eduardo           Paguirigan              San Lorenzo            CA
David             Painchaud               Aptos                  CA
Raj               Pal                     Pinole                 CA
Juan              Palacios                San Bernardino         CA
Miguel            Palma                   San Jose               CA
Demetria          Palmer                  Ontario                CA
Dupree            Palmer                  San Francisco          CA
Jorge             Palomino                San Jose               CA
Donovan           Pam                     Salida                 CA
Rasheedah         Pamilton                Bellflower             CA
Richie            Pan                     Temple City            CA
Arnold            Pangalilingan           Daly City              CA
Lisa              Pannell                 Los Angeles            CA
Mikael            Panossian               Glendale               CA
Simon             Pantoja                 Merced                 CA
William           Pantoja                 Madera                 CA
Jeannette         Papineau                Torrance               CA
Francisco         Parache                 Concord                CA
Oscar             Parada                  Los Angeles            CA
Denny             Parada                  Stockton               CA
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Wilian             Parada                San Jose               CA
Manickam           Paramasivam           Cupertino              CA
Dolores            Paras                 Elk Grove              CA
Joseph             Paras                 San Mateo              CA
Martin             Pardo                 Santa Rosa             CA
Carlos             Paredes               Covina                 CA
Toikeon            Parham                Inglewood              CA
Scott              Parham                Redwood City           CA
Kennesha           Parker                Oakland                CA
Jillian            Parker                Fresno                 CA
Jeanette           Parker                Richmond               CA
Natasha            Parker                Moreno Valley          CA
Ken                Parker                Selma                  CA
James              Parker                Vallejo                CA
Geraldine          Parker                San Leandro            CA
Terry              Parker                Pittsburg              CA
Damita             Parker                Pittsburg              CA
Jerrell            Parker                Vallejo                CA
Melody             Parker                Oakland                CA
Calvin             Parker                Los Angeles            CA
Ricky L            Parker Jr.            Long Beach             CA
Helen              Parker‐Tator          La Habra               CA
Maurice            Parks                 San Francisco          CA
Reginald           Parks                 Fontana                CA
Leola              Parks                 Stockton               CA
Jimmy              Parks                 Los Angeles            CA
Richard            Parma                 Cerritos               CA
Kevin              Parra                 Orange                 CA
Shawn              Parsons               Carlsbad               CA
Joseph             Partida               South Lake Tahoe       CA
Ali                Parto                 Tustin                 CA
Arturo             Pasagui               Mountain View          CA
Jay                Pascua                Sacramento             CA
Esrom              Pascual               San Pablo              CA
Ruel               Pasibe                Stockton               CA
Karentessie        Pasion                Valencia               CA
Brian              Pastor                Walnut Creek           CA
Brian              Pastor                Elk Grove              CA
Kelvin             Pastores              Riverside              CA
Daniel             Patel                 Daly City              CA
Salah              Pathan                Cupertino              CA
Andrew             Patillo               San Pablo              CA
Allen              Patillo               Elk Grove              CA
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Kenneth D.         Patin                Oakland                 CA
Tony               Patten               Pittsburg               CA
Kiswanna           Patterson            Long Beach              CA
David              Patterson            San Mateo               CA
Gregory            Patterson            Sacramento              CA
Joseph             Patterson            Long Beach              CA
Jerel              Patterson            Sherman Oaks            CA
Aaron              Patterson            Antioch                 CA
Kyle               Patterson            Oakland                 CA
Nathan             Patterson            Dublin                  CA
Dontijuanette      Patton               Los Angeles             CA
Christopher        Patton               Fremont                 CA
Delbert            Patton               Los Angeles             CA
Nicholas           Patty                Los Angeles             CA
Larry              Paul                 Antioch                 CA
Tedd               Paul                 Oakland                 CA
Sawtantar          Paul                 North Hollywood         CA
Rick               Pauli                Vacaville               CA
Dmytryk            Paulk                Victorville             CA
John               Paulus               Oakland                 CA
Marija             Pavlovic             Los Angeles             CA
Gino               Pavone               South San Francis       CA
Gurjot             Pawar                San Jose                CA
Steve              Pawera               Playa Del Rey           CA
Rachel             Payares              Corona                  CA
Gary               Payer                San Jose                CA
Christian          Payne                Inglewood               CA
Theresa            Payne                Los Angeles             CA
Shaquenta          Payne                Los Angeles             CA
Kirk               Payne                Oakland                 CA
Kenyan             Payne                Compton                 CA
Chris              Paysinger            San Bernardino          CA
Crystal            Payton               Rancho Cordova          CA
Tamanica           Payton               Hercules                CA
Norman             Payton               El Cerrito              CA
Belinda            Payton               Stockton                CA
Danny              Paz                  Stockton                CA
Selena             Peacock              Modesto                 CA
Galu               Peapealalo           Montclair               CA
Kahlil             Pearson              Stkn                    CA
Mark               Pearson              Felton                  CA
Jason              Pearson              Concord                 CA
Jonathan           Peck                 San Jose                CA
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Rufo              Pedroza Gomez          San Jose               CA
Greg              Peeplez                Elk Grove              CA
Leonard Chawn     Peete                  Windsor Hills          CA
Telly             Peevy                  Hayward                CA
Raymond           Pejoro                 Millbrae               CA
Tyson             Pelanconi              Burbank                CA
Erick             Pelato                 Los Angeles            CA
Brian             Peluffo                Ontario                CA
Silvestre         Pena                   Inglewood              CA
Israel            Pena                   Richmond               CA
Alex              Pena                   Parlier                CA
Rudy              Penaloza               Santa Ana              CA
Brice             Pendergraff            Woodland Hills         CA
Hosea             Pendleton              Los Angeles            CA
Nuygen            Pendleton              Long Beach             CA
Phillip           Penn                   Vallejo                CA
Kevin             Penner                 San Diego              CA
Eric              Pennington             Los Angeles            CA
John              Pennington             Clovis                 CA
Tamisha           Pennington             Elk Grove              CA
Terrance          Penny                  San Leandro            CA
Yogesh            Penupolu               Mountain House         CA
Akwasi            Peprah                 Mountain House         CA
Thomas            Perales                Richmond               CA
Steven            Perales                Antioch                CA
Rene              Peralta Goff           Los Angeles            CA
Latonia           Percelle               Stockton               CA
Aaron             Perdue                 Berkeley               CA
Susan             Perdue                 Pico Rivera            CA
Fernando          Perez                  Bell                   CA
Alvaro            Perez                  Los Angeles            CA
Henri             Perez                  Riverside              CA
Miguel            Perez                  Los Angeles            CA
Jonathan          Perez                  San Martin             CA
Francisco         Perez                  Sacramento             CA
Adam              Perez                  Stockton               CA
Oscar             Perez                  San Jose               CA
Gerardo           Perez                  San Francisco          CA
Dolores           Perez                  Los Angeles            CA
Carmen            Perez                  San Jose               CA
Angelica          Perez                  Long Beach             CA
Alejandro         Perez                  Lindsay                CA
Jorge             Perez                  Sacramento             CA
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Lisa              Perez                   Fresno                 CA
Daniel            Perez                   Fresno                 CA
Cj                Perez                   Fremont                CA
Raul              Perez                   Burbank                CA
Gilbert           Perez                   Adelanto               CA
Miguel            Perez                   Tracy                  CA
Andres            Perez                   Oakland                CA
Andrew David      Perez                   Whittier               CA
Valentino         Perez                   Fresno                 CA
Santos A.         Perez                   Fresno                 CA
Jesus             Perez                   Rialto                 CA
Melanie           Perez                   Fullerton              CA
Cristel           Perez                   Baldwin Park           CA
Angel             Perez                   Colton                 CA
Ernie             Perez                   Lincoln                CA
Paulie            Perez Jr.               Lynwood                CA
Luis              Perez Olivares          Pacifica               CA
Francisco         Perez Patino            Los Angeles            CA
Razmik            Peria                   Glendale               CA
Lula              Perkins                 Stockton               CA
Lateesha          Perkins                 Richmond               CA
Rashell           Perkins                 Lathrop                CA
Shantelle         Perkins                 West Sacramento        CA
Laticia           Perkins                 Glendale               CA
Wilbert           Perkins                 Gardena                CA
Petina            Perkins                 Hayward                CA
Juan              Perla                   Morgan Hill            CA
Jason             Perlman                 Reseda                 CA
Daniel            Perreira                Pinole                 CA
Sharon            Perrin                  San Bernardino         CA
Eric              Perry                   Fresno                 CA
Jamonte           Perry                   Fresno                 CA
Corey             Perry                   Morgan Hill            CA
Marshall          Perry                   Santa Cruz             CA
Brian             Perry                   Sunnyvale              CA
Jabril            Perryman                Los Angeles            CA
Tsenare           Perryman                San Francisco          CA
Cory              Pershing                San Lorenzo            CA
Gwindale          Person                  Fremont                CA
Audrey            Peters                  Los Angeles            CA
Ryan              Peterson                Westminster            CA
Steven            Peterson                Middletown             CA
Andrea            Peterson                Castro Valley          CA
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Derrick            Peterson             Mather                 CA
Christopher        Peterson             Madera                 CA
Vasile             Petratenco           Elverta                CA
Yoftahe            Petros               Fresno                 CA
Jahan              Pettiford            Stockton               CA
Latricia           Pettis               Concord                CA
Emmanuel           Pettus               Oakland                CA
Annalisa           Pettus               Oakland                CA
Dana               Pettus               Oakland                CA
Nichole            Pettway              San Mateo              CA
Ha                 Pham                 North Highlands        CA
Van                Pham                 San Francisco          CA
Andy               Pham                 San Jose               CA
David              Pham                 Huntington Beach       CA
Quan               Phan                 Milpitas               CA
Stanley            Philip               Los Angeles            CA
Johnnie            Phillips             San Jose               CA
Antonia            Phillips             Hayward                CA
Anthony            Phillips             Ontario                CA
Cleotre            Phillips             Sacramento             CA
Roman              Phillips             Los Angeles            CA
Kristy             Phillips             Torrance               CA
Brian              Phillips             Dixon                  CA
Michael            Phillips             Stockton               CA
Steve              Phillips             Sonoma                 CA
Maya               Phillips             Los Angeles            CA
Kiersten           Phillips             San Pedro              CA
Garry              Phillips             Signal Hill            CA
Sean               Phillips             Studio City            CA
Ruth               Phillips             Oakland                CA
Thaddeus           Philyaw              Palo Alto              CA
James              Phipps               Fresno                 CA
Donald             Phipps               Santa Ana              CA
Juan               Picazo               Alhambra               CA
Ramon              Picazo               Maywood                CA
Wilearl            Pickens              Oakland                CA
Trevor             Pickens              San Jose               CA
Marty              Pickens              Compton                CA
Robert             Picker               Torrance               CA
Brinette           Pickett              Los Angeles            CA
Irving             Picou                Sacramento             CA
Kelsea             Pierce               San Pablo              CA
Shana              Pierce               Stockton               CA
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Kaneesha          Pierce                 Oakland                CA
Rocheall          Pierre                 Antioch                CA
Richard           Pierre                 Pomona                 CA
Bryan             Pierre                 San Pablo              CA
Monica            Pierre                 Long Beach             CA
Joshua            Pierson                Highland               CA
Loneeda           Pierson                San Pedro              CA
Andre             Pierson                Gardena                CA
Amos              Pilson                 Orange                 CA
Alberto           Pimentel Cruz          Hayward                CA
Michael           Pina                   Hayward                CA
Gabriella         Pina                   Hesperia               CA
John              Pinasco                Stockton               CA
Josef             Pinckney               Inglewood              CA
Hugo              Pineda                 Visalia                CA
Edwin             Pineda                 American Canyon        CA
Oscar             Pineda                 Fairfield              CA
Paul              Pineda                 Chula Vista            CA
Francisco         Pineda                 Van Nuys               CA
Salomon           Pineda Jr.             Riverside              CA
Jose              Pineda‐Tinoco          Caruthers              CA
Erika             Pino                   Los Angeles            CA
Jaime             Pinon                  Montebello             CA
Ivan              Pinto                  Van Nuys               CA
Christian         Pinzon                 Stockton               CA
Paul              Pirkey                 Sacramento             CA
Dwayne            Pitts                  Norwalk                CA
Rockmon           Pitts                  Oakland                CA
James             Plascencia             San Jose               CA
Ernesto           Plascencia             South San Francisco    CA
Nelly             Platero                Los Angeles            CA
Gregory           Plotkin                Woodland Hills         CA
Robert            Plummer                Sacramento             CA
Belle             Poblete                North Hollywood        CA
Monrovia          Poe                    Sacramento             CA
Chris             Poindexter             Oakland                CA
Hazel             Poindexter             Oakland                CA
Terrill           Pointer                Compton                CA
Darin             Pointer                Foresthill             CA
Stephen           Polito                 Folsom                 CA
Sharhonda         Polk                   Oakland                CA
Nakeisha          Polk                   Oakland                CA
Laurie            Polk Nesbitt           Oakland                CA
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Kevin              Polkinghorne           Fresno                 CA
Angelya            Pomar                  Sacramento             CA
Lisa               Ponce                  Sacramento             CA
Chris              Ponce                  Salinas                CA
Ruben              Ponce                  Torrance               CA
Daniel             Ponce De Leon          West Covina            CA
Tosheena           Poole Youmbi           Los Angeles            CA
Shayan             Poornasir              Mountain House         CA
Omid               Poornasir              Tracy                  CA
Ali Tamis          Popal                  Laguna Niguel          CA
Fred               Pope                   Los Angeles            CA
Latondra           Poplar                 San Pablo              CA
Jerald             Porchia                Long Beach             CA
Kenneth H.         Porcho                 Fresno                 CA
Briana             Porter                 Compton                CA
Sandra             Porter                 Alameda                CA
Elaine             Porter                 San Bernardino         CA
Chris              Porter                 Manteca                CA
Ericson            Porter                 Sacramento             CA
Richard            Porter                 Placentia              CA
Minerva            Porter                 Canyon Country         CA
Michael            Porter                 Los Angeles            CA
Walter             Portillo               Fontana                CA
Jimmy              Portillo               Los Angeles            CA
Christopher        Portillo               Burbank                CA
Carlos             Portillo               Los Angeles            CA
Jessica            Portillo               Fontana                CA
Gilbert            Portugal               Palmdale               CA
Martin             Posada                 Valley Village         CA
Jeremy             Potter                 Richmond               CA
Edwin              Potts                  Long Beach             CA
Jacare             Powe                   Palmdale               CA
Bert               Powe                   Valejo                 CA
James              Powell                 Imperial Beach         CA
Michael            Powell                 Sacramento             CA
Natosha            Powell                 Pittsburg              CA
Christopher        Powell                 Long Beach             CA
Jorge              Prado                  Downey                 CA
Lauren             Prarat                 Inglewood              CA
Amitefh            Prasad                 Hayward                CA
Sanjesh            Prasad                 San Bruno              CA
Surendra           Prasad                 Hayward                CA
Glenn              Prasad                 Elk Grove              CA
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Satya              Prasad                 Modesto                CA
Larry              Pratt                  Vallejo                CA
John               Pratt                  San Jose               CA
Sandy              Pratt                  Oakland                CA
Derek              Pratt                  Vallejo                CA
Arlene             Praza                  Huntington Park        CA
Gilberto Ramon     Preciado               Modesto                CA
Ignacio            Preciado               Oakland                CA
Anthony            Presley                San Gabriel            CA
Christin           Price                  Covina                 CA
Kadija             Price                  Berkeley               CA
Barbara            Price                  Oakland                CA
Chante             Price                  Wilton                 CA
Brandon            Prince                 Smartsville            CA
Tonte Dennis       Princewill             Long Beach             CA
Lorrie             Prine                  Vallejo                CA
Henrique           Procopio‐Bittancourt   Pacifica               CA
Charles            Proctor                Buena Park             CA
Carlos             Proctor                Vallejo                CA
Shawn              Protsko                Sacramento             CA
Jack               Prudencio              Los Angeles            CA
Jermaine           Pruitt                 Bellflower             CA
Mattie             Pruitt                 Inglewood              Ca
Rogena             Pryor                  Los Angeles            CA
Olivia             Puentes                Redwood City           CA
Gloria             Puga                   Huntington Park        CA
Jada               Pugh                   Oakland                CA
Stephen            Pujals                 Mountain View          CA
Sheri              Pula                   Moreno Valley          CA
Alfredo            Pulido                 San Jose               CA
Isaias             Pulido                 Carson                 CA
Antoine            Pullum                 Oakland                CA
Alton              Pullum Jr              Tracy                  CA
Malik              Pumphrey               Rancho Cucamonga       CA
Melba              Punsalan               Sunnyvale              CA
Steven             Purcell                Redwood City           CA
Sarah              Purdie                 San Jose               CA
Doria              Purdy                  Beverly Hills          CA
Carl               Purifoy                San Francisco          CA
Clifford Z         Purify                 Los Angeles            CA
Goldsborough       Purnell                Beaumont               CA
Daniel             Pyatt                  Oakland                CA
Adrian             Pyles                  Sacramento             CA
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Jerome            Qualls               San Jose               CA
Betty             Qualls               Oakland                CA
Rashell           Qualls               Gilroy                 CA
Harvey            Queen                Pinole                 CA
Ricardo           Quijano              Mountain View          CA
Celina            Quimiro              Azusa                  CA
Conor             Quinlan              San Rafael             CA
Jordan            Quinn                Alameda                CA
Letroy            Quinney              Richmond               CA
Diana             Quinones             Norwalk                CA
Carlos            Quintana             Mountain View          CA
Matthew           Quintanar            Elk Grove              CA
Pedro             Quintanilla          Richmond               CA
John              Quintero             Long Beach             CA
Alexander         Quintero             Lancaster              CA
Juan              Quintero             Los Angeles            CA
Franklin          Quintero             San Francisco          CA
Shirley           Quinto               Castro Valley          CA
Jimmy             Quiroz               Inglewood              CA
Dezario           Quiruz               Fresno                 CA
Victor            Quitoriano           Gardena                CA
Mustaeen          Qureshi              Fremont                CA
Antoine W         Raby                 Los Angeles            CA
Ray               Racela               Santa Cruz             CA
Anthony           Rachal               Los Angeles            CA
Octavian          Raddle               Campbell               CA
Christine         Rader                Yucaipa                CA
Anatoly           Rafailov             Sacramento             CA
Farid             Rafaty               San Leandro            CA
Thomas            Raffaelli            Soquel                 CA
Lisa              Ragle                Lawndale               CA
Ahmad             Rahimi               Fremont                CA
Daoud             Rahman               Vallejo                CA
Sm                Rahman               Fresno                 CA
Abdul             Rahmani              Rancho Sta Marg        CA
Sailesh           Raj                  Sacramento             CA
Anton             Rajakoone            Fremont                CA
Shan              Rajapaksha           Paramount              CA
Manesh            Rajwani              North Hollywood        CA
Jeffrey           Ralph                Pomona                 CA
Hitesh            Ram                  Antioch                CA
Dino              Ramic                Dublin                 CA
Fnu               Ramin                Clayton                CA
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Goody              Ramirez                   Oakland                CA
Luis               Ramirez                   Perris                 CA
Hector             Ramirez                   Gonzales               CA
Kendi              Ramirez                   Inglewood              CA
Frank              Ramirez                   Turlock                CA
Oscar              Ramirez                   Pittsburg              CA
Mario              Ramirez                   Fontana                CA
Ruben              Ramirez                   Stockton               CA
Gilbert            Ramirez                   Riverbank              CA
Mina               Ramirez                   Fresno                 CA
Glenda             Ramirez                   Fresno                 CA
Thomas             Ramirez                   Moreno Valley          CA
Freddie            Ramirez                   Rohnert Park           CA
Kevin              Ramirez                   Los Angeles            CA
Perry              Ramirez                   Salinas                CA
Jeremy             Ramirez                   Sylmar                 CA
John               Ramirez                   Stockton               CA
Manuel             Ramirez                   San Jose               CA
Stephanie          Ramirez                   Norwalk                CA
Rosie              Ramirez                   Los Angeles            CA
Elna               Ramirez                   Vallejo                CA
Sesilia            Ramirez                   Riverside              CA
Albert             Ramirez                   Mission Hills          CA
Maribel            Ramirez                   San Jose               CA
Julio              Ramirez                   Hayward                CA
Luis               Ramirez                   El Monte               CA
Jorge              Ramirez                   Los Angeles            CA
Blanca             Ramirez                   Redwood City           CA
Jorge              Ramirez                   Los Angeles            CA
Gustavo            Ramirez                   El Sobrante            CA
Jennifer           Ramirez ‐ Torres          Richmond               CA
Jorge              Ramirez Rosales           Daly City              CA
Vicente            Ramos                     Placentia              CA
Augustine          Ramos                     Richmond               CA
Oswald             Ramos                     Martinez               CA
Tony               Ramos                     Concord                CA
Luis               Ramos                     Los Angeles            CA
Jason              Ramos                     Daly City              CA
Yazmin             Ramos                     Los Angeles            CA
Victor             Ramos                     San Francisco          CA
Joe                Ramos                     Bellflower             CA
Juan               Ramos                     Long Beach             CA
Andrew             Ramos                     Fresno                 CA
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Juan              Ramos                   Daly City               CA
Enrico            Ramos                   San Bruno               CA
Georgia           Ramos                   Fresno                  CA
Givonia           Ramos                   Vallejo                 CA
Pablo             Ramos                   Canoga Park             CA
Jonathan          Ramos Trinidad          Fresno                  CA
Thanh             Ramp                    Los Angeles             CA
Kelley            Ramsey                  Richmond                CA
Gregory           Ramsey                  Inglewood               CA
Donnald           Ramzy                   Anaheim                 CA
Roosevelt         Randle                  Oakland                 CA
Hortense          Randolph                El Sobrante             CA
Cherie            Randolph                Oakland                 CA
Jasmine           Range                   Oakland                 CA
Jose              Rangel                  Stockton                CA
Roberto           Rangel                  San Francisco           CA
Victor            Rangel                  San Pedro               CA
Brian             Rangel Medina           San Francisco           CA
William Malcolm   Rankin                  Sunnyvale               CA
Shelley           Rankin                  Northridge              CA
Lyle              Rankins                 Los Angeles             CA
Theresa           Rankins                 San Pedro               CA
Latoya            Rankins                 Long Beach              CA
Anessa            Rankins                 Altadena                CA
Lakesha           Ransom                  Fresno                  CA
Abdul             Raouf                   Pittsburg               CA
Pamelia           Raphiel                 Los Angeles             CA
Kevin             Raphiel                 Lynwood                 CA
Deaundre          Rash                    Stockton                CA
Deanna            Rash                    Oakland                 CA
Pernell           Rash Jr                 San Leandro             CA
Aquil             Rasheed                 Oakland                 CA
Mohammad Nasim    Rashidi                 Antioch                 CA
Mary              Rasi                    Fresno                  CA
Wendle            Raspberry               Los Angeles             CA
Sevuloni          Ratabumusu              Oakland                 CA
Tonia             Ratcliffe               Rialto                  CA
Gregory           Raths                   Mission Viejo           CA
Jered             Ratliff                 Yuba City               CA
Shalia            Ratliff                 Sacramento              CA
Saul              Ravela                  Santa Rosa              CA
Latras            Ray                     Paramount               CA
Will              Ray                     Palo Alto               CA
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Stephen         Ray                    Fresno                 CA
Michael         Ray                    San Diego              CA
Daryl           Ray                    Inglewood              CA
David           Rayford                Glendale               CA
Roderic         Rayford                Stockton               CA
Linnea          Raymes                 Huntingtn Bch          CA
Ronald          Raynaldo               San Francisco          CA
Jose            Rayo                   Santa Ana              CA
John            Rayray                 Lodi                   CA
Mohamed         Razik                  San Francisco          CA
Fredy           Razo                   San Bernardino         CA
Jasmine         Razo                   Fresno                 CA
Najlaa          Razzouk                North Hollywood        CA
Jonathan        Reamer                 Kensington             CA
Willie          Reaves                 Hayward                CA
Steven          Rebolledo              Avenal                 CA
Enrique         Recalde                San Jose               CA
Kaleab          Reda                   San Jose               CA
Ken             Redman                 Ontario                CA
Dennis          Redmond                Los Angeles            CA
Marisela        Redmond                San Jose               CA
Eleisha         Redmond                San Francisco          CA
Jess            Redondo                Oakland                CA
Franzier        Redor Casiano          Modesto                CA
Steven          Reece                  Hayward                CA
Summer          Reed                   Woodland               CA
Mijoi           Reed                   Lawndale               CA
Allan           Reed                   Stockton               CA
Venus           Reed                   Vallejo                CA
Melanie         Reed                   Los Angeles            CA
Lonnie          Reed                   Los Angeles            CA
John            Reedburg               Long Beach             CA
Juan            Reese                  East Palo Alto         CA
Hubert          Reese                  Sacramento             CA
Jamie           Reeves                 Inglewood              CA
Adam            Reevesman              Elk Grove              CA
Chase           Regala                 Redwood City           CA
Amy             Regan                  American Canyon        CA
James           Reggie                 Rancho Cucamonga       CA
James           Rego                   Castro Valley          CA
Mohammed        Rehmatullah            Santa Clara            CA
Dan             Reich                  Novato                 CA
Noel            Reimer                 Anaheim                CA
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William           Reinhard             Pacheco                CA
Rafael            Reis                 San Pablo              CA
Douglas           Reiton               San Jose               CA
Daricus           Releford             San Jose               CA
Jon E             Rellis               Inglewood              CA
Brittany          Remington            Auburn                 CA
Charlene          Rene                 Los Angeles            CA
Sherman           Reneau               Tracy                  CA
Jessica           Renobato             Fresno                 CA
Iliana            Renteria             Fresno                 CA
Robert            Renteria             San Jose               CA
Elias             Resa Birto           Anaheim                CA
Francisco         Resendiz             Tustin                 CA
Ronald            Reser                San Jose               CA
Brian             Resnick              Culver City            CA
Margaret          Respert              Downey                 CA
Tabitha           Retana               San Jose               CA
Joleen            Reutlinger           Richmond               CA
Donald            Rexicker              Los Angeles           CA
Antonio           Reyes                Monterey               CA
George            Reyes                San Jose               CA
Cesar             Reyes                Los Angeles            CA
Marina            Reyes                Sacramento             CA
Andres            Reyes                Monterey Park          CA
Lawrence          Reyes                Alhambra               CA
Adolfo            Reyes                La Puente              CA
Mario             Reyes                Santa Maria            CA
Timothy           Reyes                Montebello             CA
Ramona            Reyes                Los Angeles            CA
Ruben             Reyes Jr.            Los Angeles            CA
Maria             Reynaga              Pacoima                CA
Regina            Reynolds             Stockton               CA
Michael           Reynolds             Carlsbad               CA
Maria             Reynoso              Oakland                CA
Thomas            Reza Jr              Riverside              CA
Yousra            Rezgui               Berkeley               CA
Norene            Rhoads               Aromas                 CA
Cheryl            Rhodes               Canoga Park            CA
Walter            Rhodes               Stockton               CA
Meredith          Rhodes               Sacramento             CA
Ceamon            Rhodes               San Francisco          CA
Constance         Rhodes               Stockton               CA
Alisha            Rials                Long Beach             CA
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Tiffany           Ribera                  Manteca                CA
Michael           Rice                    San Leandro            CA
Ronald            Rice                    Richmond               CA
Candace           Rice                    Los Angeles            CA
Eddie             Rice Rodriguez          Pico Rivera            CA
Rodney            Rich                    Rancho Cucamonga       CA
Jaimi             Richard                 Northridge             CA
Michael           Richard                 Lancaster              CA
James             Richards                Hayward                CA
Joseph            Richards                Citrus Heights         CA
Greg              Richards                Pacifica               CA
David             Richards                San Francisco          CA
Cedric            Richards Sr             Los Angeles            CA
Lawrence          Richardson              East Palo Alto         CA
Constance         Richardson              Antioch                CA
Herman            Richardson              Los Angeles            CA
Danae             Richardson              Walnut Creek           CA
Keira             Richardson              Palmdale               CA
Danita            Richardson              Pittsburg              CA
Kassandra         Ricketts                Gardena                CA
Olga              Rico                    Tracy                  CA
Aaron             Rideau                  Oakland                CA
Tammy             Rider                   Sacramento             CA
Jay               Ridley                  Sacramento             CA
Vincent           Riley                   Perris                 CA
Courtney          Riley                   Paramount              CA
Kenneth           Riley                   Los Angeles            CA
Karen             Riley‐ Brown            San Bernardino         CA
Chris             Rinek                   Arcadia                CA
Ron               Ringer                  La Mesa                CA
Michelle          Rinkwalker              Rancho Cordova         CA
Esther            Rios                    Salinas                CA
Anna              Rios                    Antioch                CA
Jose              Rios                    East Palo Alto         CA
David             Rios                    Vallejo                CA
Alejandro         Rios                    Oakland                CA
Marlena           Ripley                  Oakland                CA
Adrian            Ripoyla                 Fresno                 CA
David             Risse                   Roseville              CA
John              Rittenhouse             Sacramento             CA
Victor            Rivas                   Carmichael             CA
Salvador          Rivas                   San Jose               CA
Juan Jose         Rivas Nolasco           Petaluma               CA
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Kimberlee         Rivera                   San Jose               CA
Alejandro         Rivera                   Fresno                 CA
Marcelo           Rivera                   Oakland                CA
Moises            Rivera                   Rialto                 CA
Angela            Rivera                   Richmond               CA
Jack              Rivera                   San Bernardino         CA
Anthony           Rivera                   Los Angeles            CA
Glorimar          Rivera                   Bell Gardens           CA
James             Rivera                   Pleasanton             CA
Javier            Rivera                   San Mateo              CA
Catrina           Rivera                   Fremont                CA
Pedro             Rivera                   Patton                 CA
Lynn              Rix                      Antioch                CA
Daphne            Rizzo                    San Francisco          CA
Henry             Roa                      San Francisco          CA
Norma             Roa                      Pinole                 CA
Hector            Roach                    Tracy                  CA
Ronelle           Roach                    Merced                 CA
Shaveal           Roach                    Rncho Cordova          CA
Jacob             Roark                    Los Angeles            CA
Lisa              Robbio                   Escondido              CA
Tommy             Roberson                 Manteca                CA
Michael           Roberson                 Los Angeles            CA
Patrick           Roberson                 Hawthorne              CA
Antonae           Roberson                 San Leandro            CA
Angelo            Roberto                  San Bruno              CA
Arti Ferrera      Roberto Ferrera Romero   San Jose               CA
Jeffery           Roberts                  Berkeley               CA
Darryl            Roberts                  San Francisco          CA
Marcus            Roberts                  Vallejo                CA
Troy              Roberts                  Pittsburg              CA
Jacob             Roberts                  Sacramento             CA
Mellisa           Roberts                  Los Angeles            CA
James             Roberts                  Fairfield              CA
Shakir            Robertson                Brea                   CA
Delawrence        Robertson                Norwalk                CA
Mark              Robertson                Diamond Bar            CA
John              Robertson                Martinez               CA
Tracy             Robertson                Compton                CA
Sean              Robertson                Los Angeles            CA
Lavada            Robins                   San Lorenzo            CA
Charlene          Robinson                 San Pedro              CA
Myonshe Lamar     Robinson                 Richmond               CA
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Gayle             Robinson              Los Angeles            CA
Ebony             Robinson              Lynwood                CA
Robbie            Robinson              Fresno                 CA
Melonie           Robinson              Vallejo                CA
Calvin            Robinson              Pomona                 CA
Tiffany           Robinson              Torrance               CA
Ryan              Robinson              Los Angeles            CA
Myron             Robinson              Cerritos               CA
Ralph             Robinson              Vallejo                CA
Tyrone            Robinson              San Jose               CA
Rashaad           Robinson              Stockton               CA
Antoine           Robinson              Oakland                CA
Marvin            Robinson              Sacramento             CA
Natasha           Robinson              Fairfield              CA
Marcus            Robinson              Los Angeles            CA
Bronson           Robinson              Los angeles            CA
Alfonso           Robinson              San Bernardino         CA
Shanie            Robinson              Sacramento             CA
Darren            Robinson              Beverly Hills          CA
Kevin             Robinson              East Palo Alto         CA
Rosa              Robinson              Vallejo                CA
Gary              Robinson              Pittsburg              CA
Shawn             Robinson              San Leandro            CA
Michael           Robinson              Santa Monica           CA
Louise            Robinson              Los Angeles            CA
Dana              Robinson Roberts      Pittsburg              CA
Jesus             Robledo               San Jose               CA
Diane             Robledo               Moreno Valley          CA
Victor            Robles                Alameda                CA
Luis              Robles                Los Angeles            CA
Jose              Robles                Ceres                  CA
Diego             Robles                Norwalk                CA
Juan              Robles                Van Nuys               CA
Steven            Robles                San Jose               CA
Jarvis            Roby                  Fresno                 CA
Edward            Rocha                 Seaside                CA
Adam              Rocha                 Campbell               CA
Fernando          Rocha                 Fresno                 CA
Veronica          Rocha                 Northridge             CA
Thiago            Rocha                 San Mate               CA
Wendell           Rochester             Yucaipa                CA
Quentin           Rochon                Compton                CA
Edterica          Rockwell              Oakland                CA
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Andrew             Rodarte              Vallejo                 CA
Lazaro             Rodas                Fallbrook               CA
Luis               Rodas                San Pablo               CA
William            Rodas                Los Angeles             CA
Gabriel            Rodas‐Lopez          Van Nuys                CA
Willie             Rodgers              Compton                 CA
Teresa             Rodney               Fountain Valley         CA
Christopher        Rodrigues            San Francisco           CA
Hallef             Rodrigues            San Jose                CA
Margaret           Rodrigues            Visalia                 CA
Robert             Rodriguez            Selma                   CA
Nicholas           Rodriguez            Clovis                  CA
Salvador           Rodriguez            Oakland                 CA
Luz                Rodriguez            Pico Rivera             CA
David              Rodriguez            Petaluma                CA
Louis              Rodriguez            Union City              CA
Jose               Rodriguez            Los Angeles             CA
Amalia             Rodriguez            Richmond                CA
Kristofer          Rodriguez            Maywood                 CA
Rafael             Rodriguez            Hayward                 CA
Manuel             Rodriguez            Rosamond                CA
Johnny             Rodriguez            San Jose                CA
Michael            Rodriguez            Baldwin Park            CA
Jessica            Rodriguez            Oakland                 CA
Anthony            Rodriguez            Whittier                CA
Anthony            Rodriguez            North Hills             CA
Bernard J          Rodriguez            Clovis                  CA
Joseph             Rodriguez            San Jose                CA
Patricia           Rodriguez            Sacramento              CA
Ruben              Rodriguez            Vista                   CA
Armando            Rodriguez            Salinas                 CA
Andrew             Rodriguez            Milpitas                CA
Jose               Rodriguez            Garden Grove            CA
Jessica            Rodriguez            Ventura                 CA
Martin             Rodriguez            Tracy                   CA
Luz                Rodriguez            Vallejo                 CA
Ariel              Rodriguez            Inglewood               CA
Enrique            Rodriguez            Chino                   CA
Victor             Rodriguez            Colton                  CA
Miriam             Rodriguez            Hawthorne               CA
Mark               Rodriguez            Fresno                  CA
Catrina            Rodriguez            San Jose                CA
Aureliano          Rodriguez            South Gate              CA
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Cesar              Rodriguez               Woodland               CA
Jessica            Rodriguez               Woodland               CA
Carlos             Rodriguez               Reseda                 CA
Tony               Rodriguez               La Puente              CA
Jose               Rodriguez               San Francisco          CA
Nicole             Rodriguez               Oakland                CA
Christine          Rodriguez               Ontario                CA
Ruben              Rodriguez               Napa                   CA
Gilbert            Rodriguez               Bell                   CA
Juan               Rodriguez               Hawthorne              CA
Nicholas           Rodriguez Jr            Hercules               CA
Angelina           Rodriguez‐Diaz          Los Angeles            CA
Amy                Roetschke               San Jose               CA
Jeffrey            Rogers                  Lynwood                CA
Fane               Rogers                  San Jose               CA
Prince             Rogers                  Hayward                CA
Tierra             Rogers                  San Francisco          CA
Angelique          Rogers                  San Diego              CA
Desmond            Rogers                  Hercules               CA
Cassandra          Rogers                  Stockton               CA
Fyheima            Rogers                  Vallejo                CA
Andre              Rogers                  Santa Monica           CA
Robyn              Rogers                  Los Angeles            CA
Odessa             Rogers‐Dixon            Rialto                 CA
Ricardo            Rojas                   Pinole                 CA
Trina              Rojas                   Stockton               CA
David              Rojas                   Madera                 CA
Ariana             Rojas                   San Jose               CA
Cristian           Rojas                   Costa Mesa             CA
Luis               Rojas                   Compton                CA
Javier             Rojo                    Rialto                 CA
Reginald           Rolland                 Carson                 CA
Earvie             Rollins                 Richmond               CA
Tera               Rollins                 San Francisco          CA
Toni               Rolls                   Compton                CA
Hector             Rolon                   Whittier               CA
Perpetua           Romain                  Alhambra               CA
Alfonso            Roman                   Paramount              CA
Johanna            Romero                  Los Angeles            CA
Santo              Romero                  Daly City              CA
Christopher        Romero                  Compton                CA
Ruby               Romero                  Santa Rosa             CA
Mark               Romero                  Modesto                CA
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Marlene            Romero               Modesto                CA
Blair              Romero               Whittier               CA
Ruben              Romero               La Mirada              CA
Rosario            Romero               Clovis                 CA
Klarissa           Romero               Newark                 CA
Heriberto          Romero               Colton                 CA
Gilbert            Romero               South Gate             CA
Bryan              Romero               Ontario                CA
Julio              Romo                 San Jose               CA
Margarita          Romo                 La Puente              CA
Nicole             Rooke                Exeter                 CA
Jonathan           Root                 Newcastle              CA
Tapasu             Ropati               Garden Grove           CA
Tahry              Ros                  San Jose               CA
Maria              Rosa                 Oakland                CA
Wellington         Rosa                 San Bruno              CA
Daniel             Rosales              Visalia                CA
Sandra             Rosales              Burbank                CA
Fernando           Rosales              Lynwood                CA
Oscar              Rosales              Palo Alto              CA
Rita               Rosales              Redlands               CA
Mikee              Rosario              Daly City              CA
Casimiro           Rosas                Los Angeles            CA
Felipe             Rosas                Bakersfield            CA
Michelle           Rosborough           Los Angeles            CA
Lauren             Rose                 Antioch                CA
Denesia            Rose                 Los Angeles            CA
Paul               Roseli               El Monte               CA
Albert             Rosell               San Jose               CA
Camryn             Rosenberg            Roseville              CA
Gabriel            Rosenfeld            Oakland                CA
Laura              Rosner               Santa Ana              CA
Scott              Ross                 San Bernardino         CA
Brian              Ross                 Paramount              CA
Maximillian        Ross                 Suisun City            CA
Candice            Ross                 Whittier               CA
Stephen            Ross                 Downey                 CA
Denise             Ross                 Oakland                CA
Suhrab             Rostayee             Carmichael             CA
Alan               Rothchild            Foster City            CA
Matthew            Rothchild            San Francisco          CA
Marques            Rounds               San Francisco          CA
Torcy              Rounds               San Francisco          CA
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Bounlong           Roungreuang          Modesto                 CA
Willis             Roverso              Fairfield               CA
Larry              Rowe                 San Francisco           CA
Matthew            Rowe                 Long Beach              CA
Kevin              Rowel                Stockton                CA
Erik               Roya                 Stockton                CA
Danielle           Royal                Alameda                 CA
Ramon              Royer                Vallejo                 CA
Anthony            Ruano                Lakewood                CA
Crystal            Rubalcaba            Whittier                CA
Helen              Rubalcaba            Redwood City            CA
Rayann             Rubalcava            Anaheim                 CA
David              Rubalcava            Pomona                  CA
Jose               Rubalcava            Antioch                 CA
Gilberto           Rubio                Van Nuys                CA
Peter              Rubio                Benicia                 CA
Pablo              Rubio                Chula Vista             CA
Javier             Rubio                Los Angeles             CA
Rene               Rubio                Lomita                  CA
Joseph             Rubio                San Luis Obispo         CA
Daniel             Rubio                Concord                 CA
Eric               Rubio                Vallejo                 CA
Pedro              Rubio                Vallejo                 CA
Brian              Rubio                Palmdale                CA
Terion             Rucker               Downey                  CA
Samela             Rucker               Sacramento              CA
Avinia             Rucker               San Francisco           CA
Dorothy            Rudkin               Martinez                CA
Scott              Ruffalo              Merced                  CA
Joseph             Ruffin               Compton                 CA
Ashley             Ruiz                 Fresno                  CA
Martha             Ruiz                 Chino                   CA
Marvin             Ruiz                 Long Beach              CA
Adrian             Ruiz                 Downey                  CA
Krystal            Ruiz                 Los Angeles             CA
Leaynne            Ruiz                 Pittsburg               CA
Linda              Ruiz                 Downey                  CA
Esteban Jiovanni   Ruiz                 Fresno                  CA
Alejandro          Ruiz                 San Francisco           CA
Aris               Ruiz                 Rio Vista               CA
Carmen             Ruiz                 Pomona                  CA
Edward             Ruiz                 Arleta                  CA
Giovanny           Ruiz                 Los Angeles             CA
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Marissa              Rulloda                   Daly City              CA
Shiri                Rupan                     Hayward                CA
Robert               Rupp                      Oakley                 CA
Christian Emmanuel   Russell                   Vallejo                CA
Kevin                Russell                   Stockton               CA
Tiana                Russell                   Los Angeles            CA
Robin                Russell                   San Bernardino         CA
Albert               Russell Jr.               San Bernardino         CA
Jahayra Hernandez    Russell Thornton          Compton                CA
Kenneth              Russian                   Los Angeles            CA
Marcus               Ruth                      Redlands               CA
Gary                 Rutkowski                 Sacramento             CA
Hans                 Ruud                      Mountain View          CA
Ricardo              Ruvalcaba                 Perris                 CA
Eulogio              Ruvalcaba                 South Gate             CA
Ely                  Ruvalcaba                 Norwalk                CA
Rodrigo              Ruvalcaba                 San Fernando           CA
Anas                 Ryadi                     Pacifica               CA
Christina            Ryan                      Oakland                CA
Adela                Ryan                      Fresno                 CA
Nicole               Ryan                      Huntington Beach       CA
Mariana              Rybczynski                Visalia                CA
Brian                Saavedra                  Glendale               CA
Denise Hansen        Sabal                     Los Angeles            CA
Ahmad Shakib         Sabir                     Tracy                  CA
Ahmad                Sabir                     Tracy                  CA
Jeff                 Sable                     Glendale               CA
Saeed                Sadad                     Berkeley               CA
Solomon              Sadasey                   Los Angeles            CA
Kadda                Sadek                     Concord                CA
Gustavo              Saenz                     Sacramento             CA
Marlene              Saenz                     Panorama City          CA
Koui                 Saeteurn                  Sacramento             CA
Corey                Saffold                   Inglewood              CA
Qiamuddin            Safi                      San Leandro            CA
Abdul Rasheed        Safi                      Sacramento             CA
Basil                Sagmit                    Castro Valley          CA
Elizabeth            Sagrero                   Lynwood                CA
Joel                 Sagrero                   Compton                CA
Bill                 Sagum                     San Jose               CA
Wahid                Sahel                     Tracy                  CA
Sahil                Sahil                     Tracy                  CA
Wassim               Sahli                     San Diego              CA
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Surinder          Sahota                 San Jose               CA
Saba              Sahouria               San Mateo              CA
Ronald            Said                   San Francisco          CA
Terry             Saigh                  Mountain View          CA
Marian            Sailes‐ Lamon          San Leandro            CA
Rebeca            Saint                  Livermore              CA
James             Saint Louis            Victorville            CA
Reena             Saiz                   Ontario                CA
Jeanne            Sakai                  Fremont                CA
Issa              Salah                  San Mateo              CA
Juan              Salas                  Castroville            CA
Jamie             Salas Jr               Los Angeles            CA
Daniel            Salaz                  Salinas                CA
Melinda           Salazar                San Francisco          CA
Jessica           Salazar                Upland                 CA
Daniel            Salazar                Sacramento             CA
Edgar             Salazar                Panorama City          CA
Fernando          Salazar                Monterey Park          CA
Silvia            Salceda                South Gate             CA
Gloria            Salcido                Hacienda Heights       CA
Diego             Saldana Jr             La Puente              CA
Waleed            Saleh                  Irvine                 CA
Jason             Sales                  Daly City              CA
Sergio            Salinas                San Dimas              CA
Shamel            Saltus                 Pasadena               CA
Angela            Salvato                Vallejo                CA
Paul              Salvosa                Union City             CA
Thomas            Sam                    San Jose               CA
Arvyn             Samantha               Walnut                 CA
Rosie             Samarron               San Jose               CA
Lisa              Sambrano               Fresno                 CA
Joanna            Sambrone               San Dimas              CA
Othman            Samha                  Lodi                   CA
Jess              Samontanes             San Francisco          CA
Larhonda          Sample                 Salinas                CA
Roberto           Samudio                Costa Mesa             CA
Willie            Samuel                 Sacramento             CA
Vachel            Samuels                Lakewood               CA
Maurice           Samuels                San Diego              CA
Paul              Samuels                Cerritos               CA
Anantray          Sanathara              Irvine                 CA
Anthony           Sanchez                Santa Fe Springs       CA
Joe               Sanchez                Corona                 CA
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Geudy              Sanchez                 Fresno                 CA
Bernardo           Sanchez                 San Jose               CA
Enrique            Sanchez                 Lakewood               CA
Yesenia            Sanchez                 West Sacramento        CA
Jack               Sanchez                 San Francisco          CA
Antonio            Sanchez                 Buena Park             CA
Merci              Sanchez                 Redondo Beach          CA
Melissa            Sanchez                 Orange                 CA
Maria              Sanchez                 Sunnyvale              CA
Anthony            Sanchez                 Modesto                CA
Jairo              Sanchez                 San Jose               CA
Christopher        Sanchez                 Fresno                 CA
Jose               Sanchez                 Canoga Park            CA
Glenda             Sanchez                 Pomona                 CA
Jose               Sanchez                 Oakland                CA
Pedro              Sanchez                 Azusa                  CA
Joshua             Sanchez                 Porterville            CA
Vanessa            Sanchez                 Modesto                CA
Alejandro          Sanchez                 Stockton               CA
Blanca             Sanchez                 Stockton               CA
Ramiro             Sanchez                 Fresno                 CA
Jose               Sanchez                 San Pablo              CA
Michael            Sanchez                 Huntington Park        CA
Lucia              Sanchez                 San Jose               CA
Elizabeth          Sanchez                 Banning                CA
Arturo             Sanchez                 San Francisco          CA
Jose               Sanchez                 Pleasant Hill          CA
Yesenia            Sanchez                 La Puente              CA
Paul               Sanchez                 Sunnyvale              CA
Francisco          Sanchez                 Fresno                 CA
Pedro              Sanchez                 Santa Clara            CA
Cristian           Sanchez                 Chowchilla             CA
Romeo              Sanchez                 Foster City            CA
Alfredo            Sanchez                 Huntington Park        CA
Anthony            Sanchez                 Albany                 CA
Julio              Sanchez                 Los Angeles            CA
Jose               Sanchez                 Baldwin Park           CA
David              Sanchez                 Walnut                 CA
Heriberto          Sanchez‐Moreno          San Bruno              CA
Aaron              Sanderlin               Inglewood              CA
Alexandria         Sanders                 Compton                CA
Marvin             Sanders                 Fullerton              CA
Tanisha            Sanders                 Los Angeles            CA
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Victoria            Sanders               Rodeo                  CA
Lanette             Sanders               Compton                CA
Tonya               Sanders               Roseville              CA
Cavariee            Sanders               San Francisco          CA
Laurice             Sanders               Fairfield              CA
Molly               Sanderson             Long Beach             CA
Jorge               Sandoval              Los Angeles            CA
Omar                Sandoval              San Bernardino         CA
Marisela            Sandoval              Vallejo                CA
Robert              Sandoval              Vallejo                CA
Mery                Sandoval              Gardena                CA
Alberto             Sandoval              Oakland                CA
Alejandro           Sandoval              Merced                 CA
Christian           Sandoval              El Monte               CA
Miriam              Sandoval              Danville               CA
Rodney              Sanford               Fairfield              CA
Clark               Sanford               Hercules               CA
Kaylon              Sanford               Pomona                 CA
Alysia              Sankey                Hawthorne              CA
Rachel              Sano                  Fresno                 CA
Kenneth             Sanquisc              Hacienda Heights       CA
Enrique             Santana               Van Nuys               CA
Magali              Santana               Belmont                CA
David               Santana               Culver City            CA
Mylena              Santana‐ Bailey       Fresno                 CA
Raymond             Santiago              Long Beach             CA
Pedro               Santiago              Stockton               CA
Gregg               Santiago              San Jose               CA
Jose                Santillan             Ontario                CA
Larry               Santillanez           Santa Clara            CA
Crystal             Santinac              Rialto                 CA
Chris               Santini               San Jose               CA
Serina              Santoleri             Walnut Creek           CA
Madhu               Santos                Hayward                CA
Maikon              Santos                Sunnyvale              CA
Israel Galindo      Santos                Santa Rosa             CA
Edward              Santos                Fountain Valley        CA
Jaime               Santos                Whittier               CA
Jesus               Santos                San Jose               CA
Logan               Sanzeri               Los Angeles            CA
Priscilla           Sarabia               Orange                 CA
Christopher         Saralafosse           Palo Alto              CA
Cristian Antonio    Sarceno Rodriguez     San Jose               CA
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Kenneth           Sargeant             Antioch                CA
Albert            Sarian               Panorama City          CA
Brenda            Sarinana             Long Beach             CA
Joseph            Sarinana             Pomona                 CA
Jesscencio        Sario                Fairfield              CA
Brian             Sarkis               San Jose               CA
Akia              Sarrahkon            Orangevale             CA
Kamran            Sartor               Roseville              CA
Jon               Sarver               Corona                 CA
Roger             Satterwhite          Oakland                CA
Jose              Sauceda              Modesto                CA
Sergio            Saucedo              Fontana                CA
William           Saucedo              Sherman Oaks           CA
Ryan              Saunders             Clovis                 CA
Tony              Saunders             Mill Valley            CA
Zaneta            Saunders             Berkeley               CA
Rosanne           Savala               Fontana                CA
Paul              Savala               Fontana                CA
Andrew            Savarino             Los Angeles            CA
Ojay              Savet                Pacifica               CA
Aaron             Sawatsky             Fresno                 CA
Chanthaphone      Sayavong             Stockton               CA
Pualani           Sayson               Fresno                 CA
Lydia             Scalia               Visalia                CA
Anthony           Scarsciotti          Santa Ana              CA
Peter             Schadrack            San Clemente           CA
Victoria          Schaller             Long Beach             CA
Jason             Scheuplein           Roseville              CA
Brian             Schilling            Manteca                CA
Steve             Schiro               Antioch                CA
Dain              Schloss              San Jose               CA
Michael           Schmidt              Ventura                CA
Eduardo           Schopp               Ceres                  CA
Ryan              Schroder             Half Moon Bay          CA
Ronald            Schroeder            Victorville            CA
John              Schuler              Forestville            CA
Jared             Schwartz             Pinole                 CA
Joshua            Schweigert           Galt                   CA
Erica             Schweigert           Galt                   CA
Charleco          Scipio Jr            Victorville            CA
Leon              Scoggins             Antioch                CA
Darrion           Scoggins             Los Angeles            CA
Sarah             Scollay              Alameda                CA
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Porche            Scott                  Inglewood              CA
Anthony           Scott                  Inglewood              CA
Laquisha          Scott                  San Diego              CA
Edward            Scott                  Lancaster              CA
Demetria          Scott                  Los Angeles            CA
Patricia          Scott                  Sacramento             CA
Linden            Scott                  Los Angeles            CA
Steven            Scott                  Sacramento             CA
Jordan            Scott                  Inglewood              CA
Denise            Scott                  Citrus Heights         CA
Michael           Scott                  Antioch                CA
Johann            Scott                  Oakland                CA
Shana M.          Scott                  Oakland                CA
Kayla             Scott                  Oakland                CA
Raymond           Scott                  San Francisco          CA
Lakisha           Scott                  Stockton               CA
Edward Duke       Scott 3rd              Pittsburg              CA
Perry             Scranton               Los Angeles            CA
Jacqueline        Scroggins              Manteca                CA
Quinn‐Thi         Scruggs                Rodeo                  CA
Erik              Seaber                 San Jose               CA
Dorothy           Seaberg                Menifee                CA
Michelle          Seales                 Sacramento             CA
Armand            Seals                  Van Nuys               CA
Vohnathan         Seals                  Los Angeles            CA
Connie            Seastrunk              Pacifica               CA
Titwan            Sebala                 Ontario                CA
Tieisha           Sebastian              Pittsburg              CA
Nasir Ahmad       Sediqi                 Tracy                  CA
Scott             Seeley                 Santa Rosa             CA
Ramon             Segarra                Riverside              CA
Angelina          Segarra‐Scott          Union City             CA
Francisco         Segovia                North Hollywood        CA
Artemio           Segura                 Inglewood              CA
John              Seibold                Oakland                CA
J. Jeffery        Seitz                  Boulder Creek          CA
Diane             Sekaly                 Huntington Beach       CA
Hila              Seltzer                Sherman Oaks           CA
Eric              Selu                   Sacramento             CA
Ken               Selvy                  Concord                CA
Irene             Semakula               Chatsworth             CA
Jeff              Senchina               San Jose               CA
Jacob             Serban                 Lincoln                CA
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Victor            Serna‐Delgado           Pomona                 CA
Gilbert           Serrano                 San Jose               CA
Richard           Serrano                 Castro Valley          CA
Alicia            Serrano                 Redwood City           CA
Norma             Serrano                 Paramount              CA
Nelida            Serrano                 Wilmington             CA
Alejandro         Serrano                 Huntington Park        CA
Carlos            Serrano                 Pacoima                CA
Rafael            Serrano                 Van Nuys               CA
Omajel            Serrano Bonano          Castro Valley          CA
Nicolas           Serrato                 Van Nuys               CA
Sergio            Serratos                Paramount              CA
Jose              Serratos                Paramount              CA
Amin              Serreyah                Sunnyvale              CA
Nelson            Servellon               Van Nuys               CA
Juan              Servellon               Oakland                CA
Hazel             Servito                 San Jose               CA
Monique           Session                 Antioch                CA
Lemau             Seufale                 San Francisco          CA
Maria             Seung                   Brea                   CA
Danny             Sevillano               Santa Clarita          CA
Jacob             Sewald                  Antelope               CA
Matthew           Seward                  Oakley                 CA
Michael           Seward                  Stockton               CA
Shimika           Seward                  Sacramento             CA
Rodney            Sexton                  Los Angeles            CA
Ahmad             Seyar                   Santa Clara            CA
Yahya             Shabazz                 Lafayette              CA
Mirinda           Shafer                  Union City             CA
Robert            Shafer                  Rocklin                CA
John              Shafer                  Vacaville              CA
Luke              Shaffer                 San Jose               CA
Muzammil          Shafiq                  Gardena                CA
Randa             Shahin                  San Jose               CA
Ramin             Shahlai                 Long Beach             CA
Jordan            Shaia                   La Habra               CA
Muzammil          Shaikh                  San Francisco          CA
Faizan            Shaikh                  Colma                  CA
Arif              Shaikh                  Cupertino              CA
Fnu               Shaiktayyab             Fremont                CA
Mina              Shaker                  La Mirada              CA
Shah              Shakoor                 Burbank                CA
Ethel             Shamburger              Los Angeles            CA
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Shanequia          Shamburger            Vallejo                CA
Aminullah          Shams                 Tracy                  CA
Maureen            Shareef               Sacramento             CA
Mohammed           Shareek               Fresno                 CA
Shabnam            Sharma                Sacramento             CA
Sameer             Sharma                San Leandro            CA
Harri              Sharma                Diamond Bar            CA
Lakhvir Kumar      Sharma                San Jose               CA
Rokita             Sharpe                Inglewood              CA
Michael            Shavers               Antioch                CA
Jonathan           Shaw                  Sacramento             CA
Kelly              Shaw                  San Francisco          CA
Derrick            Shaw                  Compton                CA
Julie              Sheaffer              Colton                 CA
Roy                Shelby                Los Angeles            CA
Kiara              Shelby                Antioch                CA
Guy                Shelby                Oakland                CA
Robbie             Shelton               Los Angeles            CA
Anthony            Shelton               Long Beach             CA
Hissonnie          Shelton               Pittsburg              CA
Robert             Sheppard              Fair Oaks              CA
Kesia              Sheppard              Los Angeles            CA
Malcolm            Sheppard              Rosemead               CA
Muriel             Sherls                Sacramento             CA
James              Sherman               Inglewood              CA
Karl               Sherman               Chino                  CA
Ang                Sherpa                Richmond               CA
Lameisha           Sherri                Hayward                CA
Claudia            Sherron               San Bernardino         CA
Shukuru            Shields               Vallejo                CA
David              Shigemoto             San Jose               CA
Milad              Shini                 Concord                CA
Nikole             Shirley               Los Angeles            CA
Qais               Shirzad               Modesto                CA
Brandyn            Shivers               El Sobrante            CA
Saad               Shoaib                Corona                 CA
Julia              Short                 San Jose               CA
Robyn              Shorter               Oakland                CA
Tiffany            Shorter               Palmdale               CA
Alisa              Shorter Alam          Inglewood              CA
Deonnia            Shortie               Whittier               CA
Riyad              Shosha                Santa Clara            CA
John               Shou                  Santa Clara            CA
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Sagar                 Shrestha             El Cerrito             CA
Roman                 Shrestha             El Cerrito             CA
Damien                Shultz               Oroville               CA
Joseph                Shy                  Inglewood              CA
Imanuel               Sianipar             Bermuda Dunes          CA
Clarence              Sias                 Antioch                CA
Jose                  Sibauste             Glendale               CA
Ivonne                Sibrian              San Bernardino         CA
Sina                  Siegalkoff           Stockton               CA
Joseph                Sieling              San Jose               CA
Juan                  Sierra               Maywood                CA
Esli                  Sierra               Fresno                 CA
Ricardo               Sierra               Hanford                CA
Ryan                  Sierra               Hawthorne              CA
Travis                Siflinger            Canoga Park            CA
Waylon                Sigman               Benicia                CA
Leonard               Silas                Highland               CA
Tammy                 Silas                San Francisco          CA
Lenytt                Siliezar             Van Nuys               CA
Anthony               Sillemon             Modesto                CA
Marvin                Sillemon             Vallejo                CA
Katrina               Silva                Oakland                CA
Philip                Silva                Stockton               CA
Juana                 Silva                Rodeo                  CA
Angel                 Silva                Santa Clara            CA
Melissa               Silva                Montebello             CA
Alan                  Silva                San Jose               CA
Wilian                Silva Jr             San Bruno              CA
Antonio               Silva Mora           Hayward                CA
Gary                  Simas                Fremont                CA
Xavier                Simental             Whittier               CA
Orlando               Simentel             Compton                CA
Anthony               Simi                 Stockton               CA
Stephen               Simmions             Oakland                CA
Monica                Simmons              Hayward                CA
Calvin                Simmons              Fresno                 CA
Alicia                Simmons              Gardena                CA
Gervon                Simmons              Inglewood              CA
Sheldon               Simmons              Santa Rosa             CA
Eric                  Simmons              Ontario                CA
Andrea                Simmons              Sacramento             CA
David                 Simmons              Sacramento             CA
Porshia               Simms                Sacramento             CA
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Jacques           Simon                    Long Beach             CA
Jude              Simon                    San Jose               CA
Jovan             Simon                    Santa Ana              CA
Stephanie         Simon                    Benicia                CA
Alaric            Simon                    Hawthorne              CA
Steven            Simpson                  Oakland                CA
Howard            Simpson                  San Diego              CA
Ravin             Simpson                  Pittsburg              CA
Kevin D           Simpson                  San Pedro              CA
Francine          Simpson                  Whittier               CA
Roderick          Simpson                  West Sacramento        CA
Alonzo            Simpson                  Oakland                CA
Terrence          Sims                     Oakland                CA
Darryl            Sims                     Baldwin Hills          CA
Darius            Sims                     Palmdale               CA
Lamont            Sims                     Los Angeles            CA
Sequoia           Sims                     Sacramento             CA
Robert            Sims                     Hawthorne              CA
Job               Sims                     Signal Hl              CA
Jose David        Sinay Chavarria          Van Nuys               CA
Josefa            Singca                   San Jose               CA
Vashish           Singh                    San Mateo              CA
Surjit            Singh                    Castro Valley          CA
Jainan            Singh                    Hayward                CA
Lakesh            Singh                    South San Francisco    CA
Ashneel           Singh                    Pittsburg              CA
Rakesh            Singh                    Sacramento             CA
Manwinder         Singh                    Stockton               CA
Hirdesh           Singh                    Tracy                  CA
Baldev            Singh                    Mountain House         CA
Teva Nick         Singh                    San Ramon              CA
Shareen           Singh                    Pacifica               CA
Jitendra          Singh                    Pittsburg              CA
Vikramjit         Singh                    San Rafael             CA
Sunjeev           Singh                    Davis                  CA
Alvin             Singh                    Sacramento             CA
Vanjline          Singh                    Sacramento             CA
Amir              Singleton                Long Beach             CA
Peth              Sitthivong               Modesto                CA
Sisana            Sivongsay                Fresno                 CA
John              Skelton                  Sherman Oaks           CA
Jivanni           Skillings                Milpitas               CA
Jack              Skinner                  Los Angeles            CA
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Chris             Skinner              Sacramento             CA
Lamont            Skinner              Vallejo                CA
William           Skipwith             Berkeley               CA
James             Slatt                Petaluma               CA
Angelique         Sledge               Concord                CA
Larry             Slocum               Pittsburg              CA
Tracy             Slocum               San Jose               CA
Noor              Smadi                Upland                 CA
Elisha            Smalley              Oakland                CA
Daniel            Smart                Whittier               CA
Amadu             Smart                San Jose               CA
Darryl            Smaw                 Oakland                CA
Sean              Smiley               Los Angeles            CA
Melissa           Smiley               Whittier               CA
Nicole            Smith                Modesto                CA
Steven            Smith                Upland                 CA
Jesse             Smith                Orange                 CA
Kahlyn            Smith                Newark                 CA
Willie            Smith                Palmdale               CA
Jawana            Smith                Los Angeles            CA
Suzann            Smith                Oakland                CA
Rhonda            Smith                Oakland                CA
Marcus            Smith                Monterey Park          CA
Dajon             Smith                Carson                 CA
Louis             Smith                Los Angeles            CA
Armand            Smith                San Francisco          CA
Shavar            Smith                Clovis                 CA
Sophia            Smith                Beaumont               CA
Alan              Smith                Fontana                CA
Octavia           Smith                Sacramento             CA
Craig             Smith                San Jose               CA
Kirtan            Smith                Foster City            CA
Zabeo             Smith                Los Angeles            CA
Channon           Smith                Oakland                CA
Kevin             Smith                Colton                 CA
Selene            Smith                Millbrae               CA
Derek             Smith                Anaheim                CA
Deon              Smith                La Palma               CA
Jamiah            Smith                Oakland                CA
Robert            Smith                Oakland                CA
Antwaunette       Smith                Hawthorne              CA
David             Smith                San Jose               CA
Candice           Smith                Inglewood              CA
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William            Smith                Oakland                 CA
Tosha              Smith                Los Angeles             CA
Courtni            Smith                Vallejo                 CA
Kevin              Smith                Valley Village          CA
Damon              Smith                Oakland                 CA
Asa                Smith                Richmond                CA
Tammi              Smith                Clovis                  CA
Salina             Smith                Elk Grove               CA
Ginger             Smith                Sacramento              CA
Gayle L            Smith                Stockton                CA
Jay                Smith                Auburn                  CA
Gregory            Smith                Concord                 CA
Senovia            Smith                Sacramento              CA
Charles            Smith                Benicia                 CA
Mack               Smith                Pebble Beach            CA
Christina          Smith                Clovis                  CA
Eric               Smith                Campbell                CA
Elliott            Smith                Rialto                  CA
Shantese           Smith                Richmond                CA
Rorrick            Smith                San Diego               CA
Linda              Smith                Antioch                 CA
Marlon             Smith                San Jose                CA
Michael            Smith                Lake Elsinore           CA
Casey              Smith                Culver City             CA
Theresa            Smith                Sacramento              CA
Ingga              Smith                Los Angeles             CA
Sheila             Smith                Palmdale                CA
John               Smith                Los Angeles             CA
Murrell            Smith                Los Angeles             CA
Flossie            Smith                Oakland                 CA
Sheyan             Smith                Oakland                 CA
Aurora             Smith                Sacramento              CA
Ericka             Smith                Oakland                 CA
Denise             Smith                San Francisco           CA
Jamarr             Smith                San Francisco           CA
Kenneth            Smith                Richmond                CA
Monique            Smith                Stockton                CA
Melba              Smith                Santa Rosa              CA
Devonte            Smith                Oakland                 CA
Sharon             Smith                Berkeley                CA
Fred               Smith                Pittsburg               CA
Barry              Smith                Walnut Creek            CA
Rickey             Smith                San Francisco           CA
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Charles            Smith                    Los Angeles             CA
Herman             Smith                    Pasadena                CA
Roseanne           Smith                    Long Beach              CA
Daryl              Smith                    Ontario                 CA
Neal               Smith                    Lawndale                CA
Harrell            Smith                    Los Angeles             CA
Jeanell            Smith ‐ Brown            San Ramon               CA
Deon Renard        Smith Jr.                Los Angeles             CA
Denise             Smith Sr                 Sacramento              CA
Anthony            Snead                    Los Angeles             CA
Antoine            Snelgro                  Elk Grove               CA
Jimmy              Snell                    Rialto                  CA
Melvin             Snell                    Los Angeles             CA
Carrie             Snipes                   San Francisco           CA
Kenneth            Snow                     Monrovia                CA
Sarah              Snowden                  Oakland                 CA
John               Snyder                   Hawthorne               CA
Stacy              Sobocan                  Foster City             CA
Mauga              Sofara                   San Jose                CA
Samnith            Sok                      Hercules                CA
Filomeno           Solarez                  San Jose                CA
Robert             Solari                   Sacramento              CA
Ferdinand          Soliman                  Richmond                CA
Christopher        Solis                    La Puente               CA
Niels              Solis                    El Monte                CA
Andrew             Solis                    Modesto                 CA
Jaime              Solis                    Madera                  CA
Jonathan           Solis                    Long Beach              CA
Cesar Javier       Solis                    Menifee                 CA
John               Solomon                  San Francisco           CA
Niamika            Solomon                  Baldwin Hills           CA
Dayanara           Solorio                  El Monte                CA
Danielle           Solorio                  Hanford                 CA
Edwin              Solorzano                Richmond                CA
Denis Ismael       Solorzano Lopez          Sacramento              CA
Selim              Soltane                  Daly City               CA
Kimmy              Som                      Long Beach              CA
Neema              Sonam                    El Cerrito              CA
Katherine          Sorensen                 Santa Cruz              CA
Daniel             Sorguild                 Long Beach              CA
Alan               Soriano                  Daly City               CA
Raymond            Sosa                     Pleasant Hill           CA
Raul               Sosa                     Concord                 CA
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Alexander         Sosa                 Los Angeles            CA
Fernando          Soto                 Anaheim                CA
Pablo             Soto                 Fresno                 CA
Valerie           Soto                 Mission Viejo          CA
Alonso            Soto                 Pasadena               CA
Anthony           Sotto                Pacifica               CA
Steve             Soutas               Fresno                 CA
Ashli             Southard             Fresno                 CA
Marcos            Souto                Los Angeles            CA
James             Sowell               Pasadena               CA
Channel           Sowell               Antioch                CA
Phillip           Spann                Pacheco                CA
Jaylen            Spann                San Mateo              CA
Jodi              Sparks               Los Angeles            CA
Leslie            Speak                Colton                 CA
Donald            Spears               San Francisco          CA
Tammy             Spears               Stockton               CA
Denise            Spears               Stockton               CA
Jabari            Spellman             Sacramento             CA
Scott             Spencer              San Ramon              CA
Bryan             Spencer              Richmond               CA
Samuel            Spengler             San Jose               CA
Jason             Sperling             Castro Valley          CA
Frank             Spinale              Martinez               CA
Kevin             Spinelli             Long Beach             CA
Kenneth           Spirlin              Cypress                CA
Charles           Spitler              West Hollywood         CA
Aviance           Spivey               Sacramento             CA
Lester            Spraggins            El Cerrito             CA
Steve             Sprague              Santa Rosa             CA
Darrell           Springs              Redwood City           CA
Jennifer          Square               Chino Hills            CA
Aaron             St. Charles          Sacramento             CA
Holly             St. James            Oakland                CA
Paul              Stadler              Martinez               CA
Toby              Stafford             Santa Rosa             CA
Quiana            Stallworth           Livingston             CA
David             Stamm                San Diego              CA
Chris             Stampolis            Santa Clara            CA
Charles           Stanford             Hayward                CA
Lynetta           Stanley              Oakland                CA
Dominique         Stanley              Los Angeles            CA
Joshua            Stanton              Sacramento             CA
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Revis             Stanton              Long Beach             CA
Vivianna          Staples              Stockton               CA
James             Starkey              Los Angeles            CA
Juston            Starks               Los Angeles            CA
Saundra           Starling             Vallejo                CA
Jules             Starr                Studio City            CA
Maurice           Starr                Gardena                CA
Angelia           Staten               Pittsburg              CA
Daymond           Statum               Los Angeles            CA
Anthony Jerome    Staves               Paramount              CA
Eric              Stedman              Fresno                 CA
John              Steen                Napa                   CA
Cheryl            Stefin               Los Angeles            CA
Jared             Stephen              Hollister              CA
Russell           Stephen              Sacramento             CA
Samuel            Stephens             Daly City              CA
James             Stephens             Compton                CA
Stanley           Stephens             Oakland                CA
Nina              Stephens             Sacramento             CA
Sharon            Stephens             Los Angeles            CA
Mark              Stevens              Pacifica               CA
Joseph            Stevens              Oceanside              CA
Cashmere          Stevens              Antioch                CA
Leroy             Stevenson            Buena Park             CA
Wendel            Stevenson            Oakland                CA
Ashley            Stewart              Vallejo                CA
Gabriel           Stewart              Pinole                 CA
Dewan             Stewart              Los Angeles            CA
Lejon             Stewart              Carson                 CA
Taquilla          Stewart              Los Angeles            CA
Denai             Stewart              San Bernardino         CA
Rilee             Stewart              West Covina            CA
Carlin            Stewart              Stockton               CA
Stanley           Stewart              Buena Park             CA
Christopher       Stewart              San Bernardino         CA
Carol             Stewart              Oakland                CA
Sutoria           Stewart              Los Angeles            CA
Anita             Stewart              Los Angeles            CA
James             Stewart              San Dimas              CA
Keenan            Stewart              Los Angeles            CA
Cecily            Stewart              Redondo Beach          CA
Shomari           Stewart              Oakland                CA
Kwabena           Stewart              Vallejo                CA
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Debra             Stickley              Scotts Valley          CA
Tamas             Stiener               Tracy                  CA
Beverly           Stiggs                Oakland                CA
Eric              Stiller               Hemet                  CA
Neary             Stine                 Modesto                CA
Verna             Stitt                 San Francisco          CA
La Reese          Stitts Hunt           San Pablo              CA
Ranicia           Stockstill            Sacramento             CA
Mary              Stoker                Stockton               CA
Lawrence          Stoll                 Sherman Oaks           CA
Tony              Stoll                 San Jose               CA
Gary              Stone                 Pacific Grove          CA
Deonte            Stone                 Stockton               CA
Robin             Stone                 Stockton               CA
Reece             Stovall               Inglewood              CA
Rodney            Stovall               Fairfield              CA
Andrew            Stramel               Van Nuys               CA
Anthony           Streppone             Rancho Cucamonga       CA
Aisha             Stribling             Fairfield              CA
James             Strode Sr.            Fairfield              CA
Elisa             Stroffolino           Lytle Creek            CA
Marcel            Stroman               Sacramento             CA
Derek             Strong                Whittier               CA
Ken               Strong                Concord                CA
Derick            Stroud                Oakland                CA
Mazi              Stroud                Berkeley               CA
Elisha            Stubblefield          Los Angeles            CA
Bruce             Stuebing              Auburn                 CA
Jonathan          Stulzer               South San Francisco    CA
Rocky             Su                    Alameda                CA
Zhe               Su                    Union City             CA
Andres            Suarez                Daly City              CA
Brisa             Suarez                Stockton               CA
Edward            Suarez                Fremont                CA
Sandy             Suarez                Azusa                  CA
Nahum             Suazo                 Daly City              CA
Arkom             Sukhumpanya           San Francisco          CA
Wasif             Suleiman              Corona                 CA
Lakeesha          Sullivan              Los Angeles            CA
Tangie            Sullivan              Inglewood              CA
Patrick           Sullivan              Torrance               CA
Roy               Sullivan              Hayward                CA
Dan               Sumii                 Clovis                 CA
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Christopher        Summers              Los Angeles            CA
Calvin             Summers              Fairfield              CA
Donte              Summerville          Moreno Valley          CA
Brian A            Sumpter              Carson                 CA
Roy                Sumrall              Pomona                 CA
Adana              Sumrall              Gardena                CA
Angelino           Sundiam              Pacifica               CA
Justin             Sunglao              Hercules               CA
Eric               Suniga               Orosi                  CA
Laurence           Superville           Tracy                  CA
Cecelia            Sutton               Vallejo                CA
Dale               Sutton               Long Beach             CA
Ellis              Sutton               Hayward                CA
Monema             Swafford             Los Angeles            CA
Gregory            Swafford             Sacramento             CA
Mark               Swagerty             Richmond               CA
Brian              Swagger              San Jose               CA
Rothell            Swain                Los Angeles            CA
Donald             Swan                 Santa Clara            CA
Thomas             Swayne Jr            Oakland                CA
Penicha            Swindell             Discovery Bay          CA
Robert             Swordes              North Hills            CA
Mandinka           Syess                Oakland                CA
John               Sykes                Perris                 CA
Teresa             Szeto                San Francisco          CA
Jomar              Taa                  Stockton               CA
Jamie              Tabatabai            Concord                CA
Kirubel            Tafese               Oakland                CA
Wegahta            Tafla                Berkeley               CA
Innton             Tagger               Los Angeles            CA
Elaine             Tagoai               Long Beach             CA
Finau              Tahaafe              Whittier               CA
Carlos             Taitano              Vallejo                CA
Junie              Tajalle              Sacramento             CA
Petros             Takele               San Francisco          CA
Adolf              Taku                 Anaheim                CA
Corinthians        Talaga               Long Beach             CA
Peter              Talamantez           Campbell               CA
Steve              Talanoa              Union City             CA
Brian              Talavera             East Palo Alto         CA
Nishelle           Talavera             Gilroy                 CA
Tierra             Talbert              Oakland                CA
Zakaria            Taleb                Oakland                CA
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Christopher        Taliaferro           Los Angeles            CA
Shao               Tam                  Alhambra               CA
Ilaitia            Tamaibeka            San Francisco          CA
Israel             Tamariz Jr           North Hollywood        CA
Luz                Tamayo               San Jose               CA
Tedros             Tamene               Hayward                CA
Marvin             Tamonte              Hayward                CA
John Derrick       Tan                  Redwood City           CA
Joseph             Taneo                Concord                CA
Faith              Tanguay              Marysville             CA
Isaac              Tanner               Daly City              CA
Latresha           Tanner               Hayward                CA
Cedric             Tanner               Vallejo                CA
Eric               Tanner               Pittsburg              CA
Sharif             Tanveer              West Sacramento        CA
Oscar              Tapia                Fullerton              CA
Frank              Tapia                Roseville              CA
Jose               Tapia                La Puente              CA
Shane              Tapia                Los Angeles            CA
Nadine             Tapia                Downey                 CA
Tina               Tapia                Oakland                CA
Martha             Tapleras             Visalia                CA
Lashauna           Tapum                East Palo Alto         CA
Shahbaz            Tariq                Fremont                CA
Nicole             Tarpley              Compton                CA
Barbara            Tarver               Moreno Valley          CA
Albert             Tashchian            Fresno                 CA
Tanzing            Tashi                El Cerrito             CA
Israel             Taswell              San Francisco          CA
Quang              Tat                  West Covina            CA
Krystal            Tate                 Los Angeles            CA
Jesse              Tate                 Newark                 CA
Eric               Tatham               Fresno                 CA
Wanda              Tatum                Bellflower             CA
Taniela S.         Taufalele            San Jose               CA
Alyjha             Tauscher             Selma                  CA
Karwan             Tawfeeq              Sunnyvale              CA
Gloria             Taylor               San Francisco          CA
Donta              Taylor               Palmdale               CA
James              Taylor               Inglewood              CA
Steven             Taylor               Fairfield              CA
Thelma             Taylor               Inglewood              CA
Jeffrey            Taylor               Novato                 CA
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David              Taylor               Citrus Heights         CA
Ansar              Taylor               San Pablo              CA
Rodney             Taylor               Alameda                CA
James              Taylor               Inglewood              CA
Franklin           Taylor               Los Angeles            CA
Donzell            Taylor               Carson                 CA
Winston            Taylor               Victorville            CA
Cheree             Taylor               Victorville            CA
Derrick            Taylor               Vallejo                CA
Randy              Taylor               San Francisco          CA
Corbett            Taylor               Fairfield              CA
Amos               Taylor               North Highlands        CA
Donald             Taylor               Pittsburg              CA
Umen               Taylor               El Sobrante            CA
Steve              Taylor               Fresno                 CA
Delois             Taylor               Compton                CA
Orlandis           Taylor               Los Angeles            CA
Jasmine            Taylor               Los Angeles            CA
Joseph             Taylor               Rancho Cucamonga       CA
Mensah             Taylor               Moreno Valley          CA
Travis             Taylor               Rohnert Park           CA
Laurie             Taylor               Baypoint               CA
Matthew            Taylor               Oakland                CA
Sherrie            Taylor               Vallejo                CA
Brittoni           Taylor               Oakland                CA
Kamesha            Taylor               San Francisco          CA
Vangela            Taylor               Los Angeles            CA
Gregory            Taylor               San Bernardino         CA
Melvin             Taylor               Victorville            CA
Arthur             Taylor Iii           Sacramento             CA
George             Taylor Jr.           Los Angeles            CA
Rickey             Taylor Jr.           Sacramento             CA
Nathan             Teague               Visalia                CA
Srey               Teang                Stockton               CA
Chanel             Teasley              Sun Valley             CA
David              Tedesco              Sacramento             CA
Hugo               Tejada               Newark                 CA
Divesh             Tejpal               Winnetka               CA
Anabelen           Tellez               Oxnard                 CA
Grace Adriana      Tellez               Whittier               CA
Eilin              Telya                Modesto                CA
Shera              Temple               Carson                 CA
Maurice            Tenney               Oakland                CA
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Suliana            Teo                  Richmond               CA
Ricky              Tep                  Crows Landing          CA
Ruben              Tercero              San Leandro            CA
Sharene            Termini              Richmond               CA
Miguel             Terrazas             Huntington Park        CA
Tiffanie           Terrell              Los Angeles            CA
William            Terrell              Sonoma                 CA
Kyle               Terrell              Los Angeles            CA
Andrew             Terry                San Jose               CA
Chardae            Terry                San Leandro            CA
Anthony            Terry                Oakland                CA
Dionte             Terry                Stockton               CA
Travell            Terry                Anaheim                CA
Steve              Terzian              Monrovia               CA
Kush               Thadani              Newport Beach          CA
Cody               Thanarse             Los Angeles            CA
Bashea             Theadore             Los Angeles            CA
Omar               Thiane               Richmond               CA
David              Thibedeau            Folsom                 CA
Hilda              Thierry              Ontario                CA
Joan               Thill                Daly City              CA
Desiree            Thiry                Highland               CA
John               Thomas               San Francisco          CA
Keith              Thomas               Sacramento             CA
Cleo               Thomas               Lynwood                CA
Jordan             Thomas               Whittier               CA
Noel               Thomas               Pittsburg              CA
Kelly              Thomas               Sacramento             CA
Michael            Thomas               Carmichael             CA
Lowell             Thomas               Vallejo                CA
Anjeanette         Thomas               Los Angeles            CA
Stephen            Thomas               Stockton               CA
Demarco            Thomas               Sacramento             CA
Warren             Thomas               Hawthorne              CA
Kirt               Thomas               Elk Grove              CA
Rafino             Thomas               Lawndale               CA
Carlos             Thomas               San Jose               CA
Deontae            Thomas               Stockton               CA
Ivan               Thomas               Stockton               CA
Shelomith          Thomas               Alameda                CA
Gail               Thomas               San Jose               CA
Darin              Thomas               Inglewood              CA
Tuere              Thomas               San Francisco          CA
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Marcel             Thomas               Los Angeles            CA
Detra              Thomas               West Covina            CA
Kwame              Thomas               San Jose               CA
Freddie            Thomas               Inglewood              CA
Steven             Thomas               Nipomo                 CA
Jason              Thomas               Oakland                CA
Lorenzo            Thomas               San Francisco          CA
Mickey             Thomas               Alameda                CA
Andre              Thomas               San Pablo              CA
Robbie             Thomasson            Stockton               CA
Antoinette         Thomasson            Stockton               CA
Kongmany           Thommabengsa         Fresno                 CA
Casey              Thompson             Dublin                 CA
Isiah              Thompson             San Leandro            CA
Rachel             Thompson             Oakland                CA
Syeta              Thompson             Richmond               CA
Carlos             Thompson             San Francisco          CA
Nequetta           Thompson             Carson                 CA
Jeremy             Thompson             Parlier                CA
Wesley             Thompson             Rancho Cucamonga       CA
Brugette           Thompson             Carson                 CA
Marlene            Thompson             Antioch                CA
Sean               Thompson             Fremont                CA
Mark               Thompson             Compton                CA
Shauniece          Thompson             Sacramento             CA
Brandon            Thompson             Oakland                CA
Paul               Thompson             Downey                 CA
Ronald             Thompson             Los Angeles            CA
Breawna            Thompson Johnson     Fullerton              CA
Laura              Thompson King        Lancaster              CA
Chuckie            Thompson Lane        Stockton               CA
Austin             Thoms                Los Angeles            CA
Jason              Thorn                Gilroy                 CA
Jacqueline         Thornhill            San Jose               CA
Andrew             Thornton             Richmond               CA
Barry T.           Thornton             San Francisco          CA
Karen              Thorpe               Sacramento             CA
Javona             Threadgill           Long Beach             CA
Frank              Thurman              Concord                CA
Michael            Tieku                Oakland                CA
Jennifer           Tiger                Modesto                CA
James              Tiger                Vallejo                CA
Rico               Tiger                San Francisco          CA
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Benjamin          Tigilau               Menifee                CA
Billy             Times                 San Pablo              CA
Nicholas          Tims                  Hawthorne              CA
Montrella         Tindall               Los Angeles            CA
Rowell            Tinio                 San Ramon              CA
Patrick           Tinsley               Fontana                CA
Trayvon           Tippie                Paramount              CA
Javier            Tirado                Sacramento             CA
Miguel            Tirado                Palmdale               CA
Marcus            Tisdale               San Leandro            CA
Monirout          Tit                   Stockton               CA
Justin            Titen                 Agoura Hills           CA
Dina              Titsworth             Turlock                CA
Anthony           Titus                 Sacramento             CA
Jovanna           Tobar                 Fresno                 CA
Taylor            Tobias                Moorpark               CA
Jack              Todd                  San Jose               CA
Morgan            Todd                  Los Angeles            CA
Billy             Todd                  Long Beach             CA
Melody            Todd                  San Jose               CA
Ryan              Todrank               Roseville              CA
Eldor             Togaymurotov          San Francisco          CA
Fernando          Tolama Duran          San Francisco          CA
Kristine          Tolbert               San Jose               CA
Jesus             Toledo                Bakersfield            CA
Sergio            Toledo                Watsonville            CA
Christine         Tollefsen             Roseville              CA
Steven            Tom                   San Jose               CA
Greg              Tomascheski           Santa Clara            CA
John              Tomasetti             San Jose               CA
Artur             Torosyan              Daly City              CA
Raul              Torralba              Campbell               CA
Eric              Torrance              Lakewood               CA
Charmaine         Torrence              Oakland                CA
Forest            Torrence              Los Angeles            CA
Ruben             Torres                Corona                 CA
Carlos            Torres                Stockton               CA
Juliana           Torres                Chino                  CA
Reynaldo          Torres                San Mateo              CA
Mario             Torres                Boulder Creek          CA
Vanessa           Torres                Sylmar                 CA
Curtis            Torres                Artesia                CA
Haueter           Torres                Bellflower             CA
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Eduardo           Torres                   Fullerton              CA
Victor            Torres                   Garden Grove           CA
Eddy              Torres                   Long Beach             CA
David             Torres                   Wilmington             CA
Jonathan          Torres                   Stockton               CA
Miguel            Torres                   San Jose               CA
Timothy           Torres                   Fresno                 CA
Melissa           Torres                   Oakland                CA
Antonio           Torres                   Modesto                CA
Daniel            Torres                   Ontario                CA
Timmy             Torres                   San Jose               CA
Joseph            Torres                   Littlerock             CA
Michael           Torrez                   Bellflower             CA
Stevie            Torrez                   Fresno                 CA
Wayne             Torrisi                  Rancho Sta Marg        CA
Ricardo           Tortoledo                San Bernardino         CA
Luis              Tostado                  Los Angeles            CA
Mirian            Tostado                  Paramount              CA
Joseph            Touchstone               Selma                  CA
Emineh            Tounian                  Burbank                CA
Christian         Tovar                    Fresno                 CA
Maria             Tovar                    Modesto                CA
Ana               Tovar                    Modesto                CA
David             Tovar                    Fresno                 CA
Chris             Tover                    San Jose               CA
Martin            Tovmasyan                Glendale               CA
Gamlet            Tovmasyan                Glendale               CA
Kimberly          Tower                    San Diego              CA
Kenneth           Towner                   Los Angeles            CA
Douglas           Towns                    San Francisco          CA
Jenita            Towns                    San Francisco          CA
Peardie           Townsend                 Long Beach             CA
Helena            Townsend                 Encino                 CA
Michael           Trachiotis               San Francisco          CA
Guy Sanderson     Tracy Mendoza            Turlock                CA
Binh              Tran                     San Jose               CA
Mike              Tran                     Menlo Park             CA
Sonny             Tran                     San Jose               CA
Chi               Tran                     San Francisco          CA
Nhung             Tran                     San Jose               CA
Vinh              Tran                     Irvine                 CA
Lon               Transfiguracion          Long Beach             CA
Roger             Travis Jr                San Francisco          CA
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Jason              Traylor              Sacramento             CA
Christine          Traylor              Brentwood              CA
Devantae           Treadwell            Sacramento             CA
Jacob              Trejo                Lynwood                CA
Tracey             Trent                Napa                   CA
Ralph              Tresvant             Monrovia               CA
Gabriel            Trevino              Tulare                 CA
James              Trice                Oakland                CA
David              Trinh                Pittsburg              CA
Starlina           Triplin              Hawthorne              CA
Lori               Troester             Costa Mesa             CA
Nichol             Troester             Murrieta               CA
Luis Pedro         Troncoso Olmedo      San Francisco          CA
Roger              Tropet               Vallejo                CA
Sharron            Trotter              Livermore              CA
Alberto            Trought              Los Angeles            CA
Margaret           Troxclair            Fremont                CA
Stephanie          Trujeque             Montclair              CA
Enrique            Trujillo             San Jose               CA
Michael            Truong               San Ramon              CA
Ashley             Trusclair            Vallejo                CA
Keith              Tschudi              Santa Cruz             CA
Dawen              Tsien                Foster City            CA
Aramis             Tuason               San Jose               CA
Dominic            Tuason               Walnut Creek           CA
Sali               Tuatagaloa           San Francisco          CA
Cyrano             Tubbs                Downey                 CA
Johnny             Tucker               Oakland                CA
Brad               Tucker               Oakley                 CA
Timothy            Tucker               Pittsburg              CA
Tameia             Tucker               Richmond               CA
Ryian              Tucker               Los Angeles            CA
William            Tuiasosopo           Millbrae               CA
Sione              Tulua                Seaside                CA
Rosario            Tupe                 Sunnyvale              CA
Aristidez          Turcios              Riverside              CA
Hope               Turk                 Sacramento             CA
Porchia            Turk                 Sacramento             CA
Aykesha            Turner               Vallejo                CA
Glen               Turner               Antioch                CA
Hubert             Turner               Los Angeles            CA
Chandra            Turner               Carson                 CA
Harold             Turner               Patterson              CA
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Ronald             Turner               Elk Grove              CA
Arthur             Turner               Sacramento             CA
Melanie            Turner               Sacramento             CA
Ezra               Turner               Antioch                CA
Larry              Turner               Vallejo                CA
David              Turner               Fairfield              CA
Lajanee            Turner               Antioch                CA
Arod               Turner               Ontario                CA
Chauncey           Turner               Rancho Cucamonga       CA
Alvin              Turner               Lancaster              CA
Elgen              Turner               Elk Grove              CA
Dave               Turner Iv            Modesto                CA
Phenion            Turnipseed           Sacramento             CA
Wayne              Turpin               Sacramento             CA
Sonia              Turrieta             Bay Point              CA
Deborah            Tutson               Daly City              CA
David              Tuttle               San Jose               CA
Julie              Tuutafaiza           Alameda                CA
Steven‐Kane        Twyman               Sacramento             CA
Sherrell           Tyler                Vallejo                CA
Shawishi           Tyler                Los Angeles            CA
Robert             Tyler                Moreno Valley          CA
Timothy            Tyler                El Monte               CA
Tanya              Tyre                 Hemet                  CA
Ravi               Udayakumar           San Jose               CA
Charles            Udoma                Paramount              CA
Tabugbo            Ufoeduh              Manhattan Beach        CA
Dora               Uiagalelei           San Francisco          CA
Munachiso          Ukachukwu            Richmond               CA
Zakir              Ulfat                Fremont                CA
Hidayat            Ullah                Dublin                 CA
Oscar              Ulloa                Inglewood              CA
Jenish             Ulloa                Sacramento             CA
Christine          Underwood            Fresno                 CA
Kulisi             Unga                 San Mateo              CA
Christian          Urbina               Daly City              CA
Cergio             Urena                Los Angeles            CA
Jose               Urias                Rncho Cordova          CA
Cynthia            Uribe                San Pablo              CA
Emily              Urquieta             Long Beach             CA
Israel             Urrea                Anaheim                CA
Jose               Urrutia              San Francisco          CA
Aaron              Urton                Antioch                CA
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Earl               Usher                 Lancaster              CA
Jerri              Usher                 Los Angeles            CA
Roosevert          Uy                    Vallejo                CA
Nwabugo            Uzowuru               Gardena                CA
Gary               Vaca                  Gilroy                 CA
Enrique            Vaca Sanchez          Bloomington            CA
Moin               Vadeghani             Pleasant Hill          CA
Roland             Vaillant              Torrance               CA
John               Valadez               Gardena                CA
Marcelo            Valadez               Duarte                 CA
Rodolfo            Valadez Lima          Los Angeles            CA
Damaso             Valbuena              Sunnyvale              CA
Leomann            Valderrama            Los Angeles            CA
James              Valdez                Milpitas               CA
Hector             Valdez                Los Angeles            CA
Jessica            Valdez                Salinas                CA
Alexander          Valdez                Goleta                 CA
Leonard            Valdez                Manteca                CA
Gilbert            Valdez                El Monte               CA
Corina             Valdez                Fresno                 CA
Israel             Valdez                La Habra               CA
Robert             Valdez                Long Beach             CA
Felicia            Valdivia              Fresno                 CA
Analilia           Valdovinos            Long Beach             CA
Jovanny            Valencia              San Bernardino         CA
Nick               Valencia              Los Angeles            CA
Steve              Valencia              Antioch                CA
Julian             Valencia              Santa Clara            CA
Octavio            Valencia              Salinas                CA
Jose Alfredo       Valencia              Bellflower             CA
Michael            Valentine             Modesto                CA
Camille            Valentine             Fresno                 CA
Robert             Valenzuela            San Francisco          CA
Mary Astrid        Valenzuela            Daly City              CA
Clyde              Valenzuela            Chino                  CA
Ulises             Valle                 Victorville            CA
Patricia           Vallejo               Riverside              CA
Christopher        Vallejo               Richmond               CA
Andres             Vallejo               San Jose               CA
Santiago           Vallejo               Sun Valley             CA
Jose               Vallejos              Long Beach             CA
Alma               Valles                Baldwin Park           CA
Miles              Valor                 San Jose               CA
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Alexander          Van Allen            Hercules               CA
Douglas            Van Leuven           Fairfax                CA
James              Van Scooter          Sacramento             CA
Raymond            Vance                San Jose               CA
Yvonnia            Vance                San Rafael             CA
Sidney             Vance                Vallejo                CA
Robert             Vandenakker          San Jose               CA
Michael            Vanderpool           Sacramento             CA
Dimetrios          Vandiegriff          Inglewood              CA
Martin             Vandusen             Canoga Park            CA
Brenda             Vanmoy               Orangevale             CA
Kathleena          Vannarath            Sacramento             CA
Eric               Varela               South El Monte         CA
Salvador           Vargas               Millbrae               CA
Antonio            Vargas               San Jose               CA
Mickie             Vargas               Hayward                CA
Victor             Vargas               Los Angeles            CA
John               Vargas               San Mateo              CA
Hipolito           Vargas               Los Angeles            CA
Evelyn             Vargas               Downey                 CA
Daniel             Vargas               San Jose               CA
Robert             Vargas               Moreno Valley          CA
Steven             Vargas               Kingsburg              CA
Miguel             Vargas               Glendora               CA
Jorge              Vargas               San Jose               CA
Sylvia             Vargas               Los Angeles            CA
Mario              Vargas Cruz          Canoga Park            CA
Ritesh             Varma                Long Beach             CA
Deborah            Vasquez              Long Beach             CA
Michelle           Vasquez              Sylmar                 CA
Dolores            Vasquez              Clovis                 CA
Alesia             Vasquez              Vallejo                CA
Jose               Vasquez              Boyes Hot Spg          CA
Erik               Vasquez              Beaumont               CA
Ignacio            Vasquez              Petaluma               CA
Rafael             Vasquez              San Mateo              CA
Ismael             Vasquez              Sacramento             CA
Carlos             Vasquez              Los Angeles            CA
Anthony            Vasquez              Upland                 CA
Elizabeth          Vasquez              Murrieta               CA
Alvina             Vasquez              Elk Grove              CA
Santos             Vasquez Jr           Hayward                CA
Gawaine            Vaughn               Carson                 CA
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Kevin              Vaughn                North Sacramento       CA
James              Vaughn                Hayward                CA
Dennine            Vaughn                Vallejo                CA
Darrell            Vaughn                Compton                CA
Anatoly            Vaynshteyn            Elk Grove              CA
Marco              Vazquez               San Gabriel            CA
Brittney           Vazquez               Porterville            CA
Sergio             Vazquez               Chino                  CA
Teresa             Vazquez               Oakland                CA
Reginald           Vedrine               Fresno                 CA
Sirgio             Vega                  Santa Barbara          CA
Jose               Vega                  Riverside              CA
Racquel            Vega                  Pico Rivera            CA
Adrianna           Vega                  San Jose               CA
Xevion             Vega                  Modesto                CA
Ariel              Velasco               Daly City              CA
Juan               Velasco               San Jose               CA
Cresto             Velasco               Fresno                 CA
William            Velasco               Hayward                CA
Brandon            Velasco               San Bruno              CA
Roger              Velasquez             Pomona                 CA
Desi               Velasquez             Selma                  CA
Maria              Velasquez             Fresno                 CA
Julio              Velasquez             Monterey Park          CA
Martha             Velasquez             Tulare                 CA
Agustin            Velasto Jr            Stockton               CA
Cindy              Velazquez             Cypress                CA
Andre              Velazquez             Tustin                 CA
Oscar              Velazquez             Sun Valley             CA
Javier             Velez                 Fontana                CA
Israel             Venegas               Salinas                CA
Vene               Ventura               Carson                 CA
Kamaria            Ventura               Daly City              CA
Aneury             Ventura               Vacaville              CA
Dmitriy            Verbovshchuk          Rancho Cordova         CA
Victor             Verduzco              Fresno                 CA
Frumencio          Vergara               Daly City              CA
Marcus             Vernardo              San Bernardino         CA
Marvin             Vernardo Jr.          San Bernardino         CA
Gregory            Vernon                Los Angeles            CA
Tony               Vernon                Elk Grove              CA
Sean               Veroni                Pleasanton             CA
Christopher        Verret                Mountain View          CA
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Steven             Vershay              Modesto                CA
Dennis             Vetica               Lodi                   CA
Margaret           Vickers              Fresno                 CA
Chazz              Vickers              Inglewood              CA
Anthony            Victor               Sacramento             CA
Enrique            Vidalez              Freedom                CA
Elaine             Vidal‐Rahenkamp      Long Beach             CA
Odette             Vieiera              Newman                 CA
Cristina           Vien                 Hayward                CA
Jason              Viera                Riverside              CA
Guillermo          Villa                Duarte                 CA
Maricela           Villa                Fresno                 CA
Robert             Villa                Fresno                 CA
Norberto           Villa                Madera                 CA
Leonard            Villa                Los Angeles            CA
Luis               Villa                San Jose               CA
Lisseth            Villa                South El Monte         CA
Julio              Villa Cabrera        Rialto                 CA
Michael            Villablanca          San Mateo              CA
Verbi              Villadelgado         Hayward                CA
Jose               Villafana            Lawndale               CA
Leonard            Villafuerte          Sunnyvale              CA
Tony               Villagra             San Pablo              CA
Vince              Villagran            Upland                 CA
Juan               Villalpando          Hayward                CA
Michelle           Villalta             Bellflower             CA
Ramon              Villalvazo           Buena Park             CA
Jose               Villalvazo           Downey                 CA
Armando            Villaneda            Huntington Park        CA
Sally              Villanueva           Napa                   CA
Joy                Villanueva           San Bruno              CA
Stephanie          Villanueva           Stockton               CA
Eric               Villanueva           San Francisco          CA
Elizabeth          Villareal            Barstow                CA
Janet              Villarreal           Fremont                CA
Manuel             Villarreal           Moreno Valley          CA
Alec               Villasenor           Tulare                 CA
Richard            Villavicencio        Yorba Linda            CA
Enrique            Villegas             Bakersfield            CA
Rommel             Villegas             Hayward                CA
Jose               Villegas Torres      Bell Gardens           CA
Mike               Vira                 Oceanside              CA
Jose Gustavo       Virgen Vasquez       San Jose               CA
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Eddie             Virmantes                  Los Angeles            CA
Julio             Viscarra ‐ Harris          Perris                 CA
Alan              Viscuso                    Pittsburg              CA
Monte             Visser                     Stockton               CA
Tanisha           Vital                      Sacramento             CA
Jonathan          Vivanco                    Downey                 CA
Samantha          Vivero                     San Leandro            CA
Marisela          Viveros                    Carson                 CA
Bernardo          Vizcarra                   Hercules               CA
Trung             Vo                         Sacramento             CA
Trang             Vo                         Oakland                CA
Joshua            Vogel                      Citrus Heights         CA
Joel              Vojvoda                    Sunnyvale              CA
Jason             Volcimus                   Sunnyvale              CA
Edward            Volodarsky                 Antelope               CA
Catherine         Volz                       Sunnyvale              CA
Hasmik            Voskanyan                  Rancho Cordova         CA
Lawrence          Vosovic                    Santa Barbara          CA
Johnny            Wade                       Long Beach             CA
Dartagnan         Wade                       Loma Linda             CA
Maynard           Wade                       Oakland                CA
Chanell           Wade                       Sacramento             CA
William           Wadleigh                   Dublin                 CA
Cory              Wafer                      Stockton               CA
Thomas            Wagner                     Carmichael             CA
Karttie           Wahoff                     Riverside              CA
Ghaith            Wahsheh                    Fresno                 CA
Robbie            Wakefield                  Tustin                 CA
Angela            Wakil                      Sacramento             CA
Genet             Walden                     Los Angeles            CA
Joshua            Waldrop                    Fullerton              CA
Matthew           Walewangeko                Rancho Cucamonga       CA
Prit              Walia                      Newark                 CA
David             Walker                     Los Angeles            CA
Sherrett          Walker                     Pacifica               CA
Willie            Walker                     Carson                 CA
Priscilla         Walker                     Los Angeles            CA
Michael           Walker                     Poway                  CA
Angela            Walker                     Fresno                 CA
Nicole            Walker                     Richmond               CA
Latasha           Walker                     Pittsburg              CA
Esther            Walker                     Fresno                 CA
Keven             Walker                     Sacramento             CA
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John               Walker                Concord                CA
Josh               Walker                Van Nuys               CA
Mari‐Ann           Walker                Fremont                CA
Robert             Walker                San Jose               CA
Taylor             Walker                Riverside              CA
Michele            Walker                El Sobrante            CA
Arhonda            Walker                Inglewood              CA
Lynette            Walker                Richmond               CA
Michella           Wall                  Lancaster              CA
Isaiah             Wallace               Victorville            CA
Lawrynce           Wallace               Richmond               CA
Jesse              Wallace               Pittsburg              CA
Jamori             Wallace               Pinole                 CA
Sidarriss          Wallace               Oakland                CA
Kanishia           Wallace               Sacramento             CA
Dustin             Wallace               Lower Lake             CA
Anthony            Wallace               San Jose               CA
Steven             Wallace               Pinole                 CA
Brian              Walraven              San Jose               CA
Alan               Walsh                 San Jose               CA
Michael            Walters               La Habra               CA
Harold             Walters               San Pedro              CA
Sammie             Walthall              Orange                 CA
Jimmy              Walton                Fresno                 CA
Samuel             Walton                Redondo Beach          CA
Darlene            Walton Hanzy          Wilmington             CA
Margot             Wampler               San Francisco          CA
Stanley            Wandason              Modesto                CA
John               Wang                  South Pasadena         CA
Sherab             Wangchuk              El Cerrito             CA
Andre              Warbis                Oakland                CA
Edmond             Ward                  Riverside              CA
Armani             Ward                  Santa Rosa             CA
Jamean             Ward                  Rosamond               CA
Lamont             Ward                  Gardena                CA
Desmond            Ward                  Moreno Valley          CA
Camelia            Ward                  San Jose               CA
Tiana              Ward                  Vacaville              CA
Vanetda            Ward                  Los Angeles            CA
Robin              Ward                  Los Angeles            CA
Tanya              Warden                El Cerrito             CA
Chikala            Warden                El Cerrito             CA
Milledge           Ware                  Sacramento             CA
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Dekoda             Ware                    Carson                 CA
Gabrielle          Warnick                 Carson                 CA
Brenda             Warren                  Pittsburg              CA
Mack               Warren                  Sacramento             CA
Derrick            Warren                  Los Angeles            CA
Randy              Warren                  Fresno                 CA
Mutasha            Warren                  Lancaster              CA
Dominique          Warren                  Los Angeles            CA
Kineasha           Warren                  Stockton               CA
Akili              Warren                  Los Angeles            CA
Ben                Warren                  Castro Valley          CA
Willie             Warren                  Los Angeles            CA
Chris              Washington              Los Angeles            CA
Gregory            Washington              San Lorenzo            CA
Sasha              Washington              Fairfield              CA
Tracy              Washington              San Jose               CA
Valerie            Washington              Sacramento             CA
Eric               Washington              San Bernardino         CA
Greg               Washington              Vacaville              CA
Linda              Washington              Antelope               CA
Joseph             Washington              Sacramento             CA
Thomas             Washington              Los Angeles            CA
Tamika             Washington              Antioch                CA
Shedrick           Washington              Pittsburg              CA
Apryl              Washington              Federal                CA
Micheal            Washington Jr           Fresno                 CA
Clinzell H.        Washington Jr.          Los Angeles            CA
Anthony            Waters                  Antioch                CA
Deaaron            Waters                  Carmichael             CA
Ashley             Watier                  Vacaville              CA
Glenn              Watkins                 Sacramento             CA
Parrish            Watkins                 San Francisco          CA
Mary               Watkins                 Los Angeles            CA
Nathaniel          Watkins                 San Jose               CA
Christopher        Watkins                 San Jose               CA
Betty              Watkins                 Whittier               CA
Trisha             Watkins                 Loomis                 CA
Tara               Watkins                 Sacramento             CA
Jesse              Watland                 Costa Mesa             CA
Christopher        Watson                  Fullerton              CA
Niles              Watson                  Los Angeles            CA
Andrea             Watson                  Sacramento             CA
Greig              Watson                  Antioch                CA
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Linda              Watson                Sacramento             CA
Yates              Watson                Castro Valley          CA
Tyrone             Watson                Rancho Cucamonga       CA
Ronald             Wattenbarger          Riverside              CA
Jennifer           Watts                 Tracy                  CA
Ebony              Watts                 Alameda                CA
Sasha              Watts                 Bay Point              CA
Bernadette         Watts                 Oakland                CA
Dustin             Way                   Fresno                 CA
Jason              Weathers              Danville               CA
Damon              Weathersby            Oakland                CA
Ayanna             Weathersby            Oakland                CA
Marcus             Weathersby            Oakland                CA
Yvonne             Weaver                Los Angeles            CA
Laveldo            Weaver                Los Angeles            CA
Glenn              Weaver                Fontana                CA
Henry              Webb                  Hercules               CA
Dallas             Webb                  Anaheim                CA
Anthony            Webb                  Redondo Beach          CA
Gabriel            Wedekind              South San Francisco    CA
Marva              Weeks                 Adelanto               CA
Amaliya            Weisler               San Diego              CA
Lenny              Welch                 San Jose               CA
Cassandra          Welch                 Vallejo                CA
Mathiwes           Weldu                 Los Angeles            CA
Robert             Wellington            Los Angeles            CA
Bakari             Wells                 Fullerton              CA
Richard            Wells                 Los Angeles            CA
Anthony            Wells                 Sylmar                 CA
Jacqueline         Wells                 Oakland                CA
Charrisse          Wells                 San Francisco          CA
Kin Phan           Wender Campos Gomes   Fremont                CA
Darren             Wendland              San Mateo              CA
Nicolas            Wenzell               Granada Hills          CA
Negede             Werka                 San Francisco          CA
Holly              Wernli                Napa                   CA
William            Wesley                Fairfield              CA
Darryl             Wesley                Santa Clara            CA
Anthony            Wesley                San Francisco          CA
Alexander          Wessel                Sonoma                 CA
Darrell            Wesson                San Jose               CA
Erica              West                  Stockton               CA
Erick              West                  El Cajon               CA
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Jamil              West                  Oakland                CA
Thomas             West                  Tracy                  CA
Rico               West                  San Mateo              CA
Randy              West                  Long Beach             CA
Jerrold            Westbrooks            Fresno                 CA
Christopher        Whaley                Los Angeles            CA
Calvin             Wharton               Pinole                 CA
Daniel E           Wheeler               Oakland                CA
Tanganyika         Wheeler               Los Angeles            CA
Carolyn            Whiley                Alameda                CA
Eric               Whisenton             Fremont                CA
Gatheree           Whitaker              Ontario                CA
Anthony            Whitaker ‐ Holmes     Oakland                CA
Laura              White                 Riverside              CA
Monique            White                 Harbor City            CA
Trenton            White                 San Diego              CA
Laqueta            White                 San Jose               CA
David              White                 Oakland                CA
Louis              White                 Berkeley               CA
Tyrone             White                 Los Angeles            CA
Porachi            White                 Los Angeles            CA
Elgin              White                 Oakland                CA
Edwad              White                 San Leandro            CA
Keida              White                 Victorville            CA
Darlyn             White                 Lancaster              CA
Thomas             White                 Antioch                CA
Krystina           White                 Los Angeles            CA
Robert             White                 Los Angeles            CA
Bruce              White                 Rancho Cucamonga       CA
Eric               White                 San Francisco          CA
Derek              White                 Chino Hills            CA
Dushun             White                 Adelanto               CA
Meeka              White                 Long Beach             CA
Terrance           White                 Pittsburg              CA
Jared              White                 Modesto                CA
Rafeal             White                 Richmond               CA
Taron              White                 Los Angeles            CA
Sanders            White Jr              Compton                CA
Jan                White Martinez        Long Beach             CA
Melvin             Whitehead             Fresno                 CA
Kenny              Whitfield             Sunnyvale              CA
Nathaniel          Whitfield             Emeryville             CA
Troy               Whitley               Cool                   CA
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Michaelyn         Whitlock             Los Angeles            CA
Teon              Whitlow              Fullerton              CA
Eugene            Whittaker            Long Beach             CA
Felesia           Whittington          Richmond               CA
Heather           Wick                 Los Angeles            CA
Jonathan          Widemond             Lancaster              CA
Tracy             Wiggins              Clovis                 CA
Bryan             Wiggins              Torrance               CA
John              Wilcox               Roseville              CA
Catherine         Wilcox               Fresno                 CA
Gwenetta          Wiley                Los Angeles            CA
Shanell           Wiley                Antioch                CA
Michael           Wiley                Imperial Beach         CA
Nellie            Wiley                Rocklin                CA
James             Wiley                Stockton               CA
Wayne             Wilken               Highland               CA
Angela            Wilkins              Lakewood               CA
Monica            Wilkins              San Jose               CA
Darren            Wilkinson            Sacramento             CA
Shannon           Will                 Orangevale             CA
Leona             Willard              Long Beach             CA
Cedric            Williams             Fresno                 CA
Albert            Williams             American Canyon        CA
Tyrone            Williams             Rohnert Park           CA
Porscha           Williams             Los Angeles            CA
Tangelia          Williams             Pittsburg              CA
Shawn             Williams             Fresno                 CA
Michele           Williams             San Francisco          CA
Steven            Williams             South San Francisco    CA
Chere             Williams             Los Angeles            CA
Nevelyn           Williams             Antioch                CA
Vernon            Williams             Vallejo                CA
Dina              Williams             Tracy                  CA
Michael Andrew    Williams             Seaside                CA
Marcus            Williams             Oakland                CA
Tiffany           Williams             Brentwood              CA
Scott             Williams             Los Angeles            CA
Michelle          Williams             Pinole                 CA
Justin            Williams             San Francisco          CA
Patrice           Williams             San Francisco          CA
Adrienne          Williams             Los Angeles            CA
Tracy             Williams             Long Beach             CA
Carolyn           Williams             Oakland                CA
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Marshall           Williams             San Jose               CA
Ligaya             Williams             Los Angeles            CA
Byron              Williams             Inglewood              CA
Gregory            Williams             Oakland                CA
Destiny            Williams             San Francisco          CA
Paulette           Williams             Sacramento             CA
Fred Rico          Williams             San Jose               CA
Deborah            Williams             Stockton               CA
Roger              Williams             Modesto                CA
Jesse              Williams             Perris                 CA
Shane              Williams             Sacramento             CA
Bruce              Williams             Fresno                 CA
Myron              Williams             San Francisco          CA
Obeid              Williams             San Francisco          CA
Frank              Williams             La Mirada              CA
William            Williams             Novato                 CA
Gregory            Williams             San Francisco          CA
Claudia            Williams             Los Angeles            CA
Lavonn             Williams             Anaheim                CA
John               Williams             Signal Hill            CA
Glenn              Williams             Oakland                CA
Bernard            Williams             Torrance               CA
Vanessa            Williams             Modesto                CA
Marco              Williams             Sacramento             CA
Bobby              Williams             Lancaster              CA
David              Williams             Los Angeles            CA
Cheyenne           Williams             Compton                CA
Andrew             Williams             Felton                 CA
Clarence           Williams             San Jose               CA
Kurt               Williams             Antioch                CA
Alfred             Williams             Antioch                CA
Christopher        Williams             Los Angeles            CA
Bianca             Williams             Harbor City            CA
Samuel             Williams             Hayward                CA
Christopher        Williams             San Leandro            CA
Larry              Williams             Fresno                 CA
Johnny             Williams             Oakland                CA
Carroll            Williams             Tustin                 CA
Andre              Williams             North Highlands        CA
Jasmine            Williams             Vallejo                CA
Angel              Williams             Alameda                CA
Tashika            Williams             Bay Point              CA
Marcelle           Williams             Los Angeles            CA
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Drushan            Williams                Lynwood                CA
Sakinah            Williams                Sacramento             CA
Jacqueline         Williams                Sacramento             CA
Max                Williams                Carmichael             CA
Robert             Williams                Rancho Cucamonga       CA
Michael            Williams                Los Angeles            CA
Earl               Williams                Long Beach             CA
Jeffery            Williams                Los Angeles            CA
Johnpaul           Williams                San Jose               CA
Trashawn           Williams                Colton                 CA
Laquita            Williams                Carmichael             CA
Luwanda            Williams                Oakland                CA
Frederick          Williams                Pleasanton             CA
Erica              Williams                Oakland                CA
Andre              Williams                Lakeport               CA
Jacqueline         Williams                Union City             CA
Wayne              Williams                Daly City              CA
Traevon            Williams                Oakland                CA
Leo                Williams                Moreno Valley          CA
Johntay            Williams                Hayward                CA
Jason              Williams                Inglewood              CA
Brenda             Williams                Inglewood              CA
Sonia              Williams                San Pedro              CA
Larry              Williams                San Francisco          CA
Kyle               Williams                Bellflower             CA
Benita             Williams                Los Angeles            CA
Kevin              Williams ‐ Caldwell     Hawthorne              CA
John Wesley        Williams Jr             Milpitas               CA
Jesse              Williamson              Compton                CA
Antwuan            Willis                  San Jose               CA
Marquis            Willis                  Chula Vista            CA
Parker             Wills                   Richmond               CA
Eric               Wills                   Oakland                CA
Tarik              Wilridge                Los Angeles            CA
Gregory            Wilson                  Los Angeles            CA
Tatanisha          Wilson                  Oakland                CA
Steven             Wilson                  Perris                 CA
Jayshawn           Wilson                  Los Angeles            CA
Kudus              Wilson                  Fresno                 CA
Dana               Wilson                  Fresno                 CA
Cecelia            Wilson                  El Sobrante            CA
Joseph             Wilson                  North Hollywood        CA
Nicole             Wilson                  Gardena                CA
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Vera               Wilson                   Pittsburg              CA
Denise             Wilson                   San Francisco          CA
Lanisha            Wilson                   Fontana                CA
Casey              Wilson                   San Jose               CA
Dajuan             Wilson                   Inglewood              CA
Gretta             Wilson                   Sacramento             CA
Jammie             Wilson                   Fresno                 CA
Prince             Wilson                   Modesto                CA
Jernard            Wilson                   Los Angeles            CA
Frances            Wilson                   Oakland                CA
Ronnie             Wilson                   Los Angeles            CA
Cornelius          Wilson                   Los Angeles            CA
Maria              Wilson                   San Francisco          CA
Chana              Wilson                   Sacramento             CA
James              Wilson                   Fremont                CA
Donald             Wilson                   Pacific Grove          CA
Kimberly           Wilson                   Richmond               CA
Michelle           Wilson                   Modesto                CA
Tina               Wilson                   Pleasanton             CA
Valentina          Wilson                   Benicia                CA
Jimmy              Wilson                   Emeryville             CA
Terry              Wilson                   Stockton               CA
Ernest             Wilson                   Los Angeles            CA
Curtis             Wilson Jr                Oakland                CA
Alphonso           Wilson Jr.               Long Beach             CA
Briana             Wilson‐Latimore          Richmond               CA
Delilah            Wiltz                    San Francisco          CA
Roscoe             Wimberly                 Elk Grove              CA
Briana             Winchester               Sacramento             CA
Jeffery            Windham                  Antioch                CA
James              Windley                  Union City             CA
Demarrio           Winford                  Oakland                CA
Kenneth            Winston                  Oakland                CA
Tiffany            Winters                  Oakland                CA
Chalen             Winters                  Huntington Beach       CA
Scott              Wise                     San Ramon              CA
Michelle           Wise                     Elk Grove              CA
Tarence            Wise                     Sacramento             CA
Damon              Wise                     Sacramento             CA
James              Wissick                  San Jose               CA
Letrail            Witcher                  Lodi                   CA
Taliyah            Witt                     Livermore              CA
Henok              Woldehanna               Oakland                CA
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Samuel            Woldemariam          San Jose               CA
Alex              Woldemariam          San Jose               CA
Adam              Wong                 San Pablo              CA
Ken               Wong                 San Francisco          CA
Craig             Wong                 Long Beach             CA
Zenash            Wonji                Oakland                CA
Brian M           Wood                 Antioch                CA
Judd              Wood                 Morgan Hill            CA
Marvin            Woodard              Oakland                CA
Brittney          Woodards             Pinole                 CA
Joseph            Woodcock             Cotati                 CA
Chris             Wooden               Venice                 CA
Lodis             Woodmore             Corona                 CA
Sheron            Woodruff             San Francisco          CA
Greg              Woods                Castro Valley          CA
Jacoby            Woods                Rancho Cordova         CA
Shaun             Woods                Los Angeles            CA
Sholonda          Woods                Richmond               CA
Ashawndaus        Woods                Castro Valley          CA
Ashjanee          Woods                Sacramento             CA
Tina              Woods                Vallejo                CA
Sterling          Woods                Los Angeles            CA
Travyon           Woods                Hercules               CA
Karl              Woods                Oakland                CA
Jacqueline        Woodson              San Francisco          CA
Adrian            Wooldridge           Clovis                 CA
Robert            Woolley              Saratoga               CA
Cerise            Wooten               Riverside              CA
Bobbie            Wooten               Sacramento             CA
Randolph          Wooten               Pleasant Hill          CA
Girmachew         Workneh              Elk Grove              CA
Ebon              Worland              Los Angeles            CA
Kenneth           Worline              Pomona                 CA
London            Worthy               Costa Mesa             CA
Dorcas            Wortz                Oakland                CA
Julia             Woulfe               Grass Valley           CA
Jasmine           Wright               Compton                CA
Bobby             Wright               Los Angeles            CA
Demariess         Wright               Fresno                 CA
Eulana            Wright               Antelope               CA
Rhonda            Wright               Sacramento             CA
Porsha            Wright               Los Angeles            CA
Louis             Wright               Antioch                CA
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Karen              Wright                   Inglewood              CA
Levi               Wright                   Fair Oaks              CA
Daniel             Wright                   Oakland                CA
Kerese             Wright                   Daly City              CA
Connie             Wright                   Napa                   CA
Rosalyn            Wright                   San Leandro            CA
Mary               Wright                   Oakland                CA
Tammy              Wright                   San Pablo              CA
Annette            Wright                   Los Angeles            CA
William            Wright Jr                Los Angeles            CA
Terri              Wright‐Mcdaniel          Stockton               CA
Shayla             Wrought                  San Bernardino         CA
Ricardo            Wunder                   Tustin                 CA
Jessica            Wyatt                    Hawthorne              CA
Kimberly           Wyatt                    Sacramento             CA
Ricky              Wyrick                   Rosamond               CA
Ahmyna             Xrussell                 Oakland                CA
Brian              Yabut                    San Francisco          CA
Johnson            Yadigar                  Turlock                CA
Jorge              Yael Guerra              Oakland                CA
Paul               Yagen                    Elk Grove              CA
Katherine          Yaghoubi                 Alhambra               CA
Amber              Yale                     Santa Cruz             CA
Peter              Yaltanski                Pleasant Hill          CA
Phumee             Yang                     Fresno                 CA
Anthony            Yarber                   Richmond               CA
Laurena            Yarbrough                San Francisco          CA
Renita             Yates                    San Francisco          CA
Margaret           Yean                     Sacramento             CA
Nelcy              Yeargain                 Santa Clara            CA
Doug               Yeargain                 Santa Clara            CA
Daniel             Yengle                   San Mateo              CA
Jose Luis          Yengle                   Daly City              CA
Zaldie             Yet                      Union City             CA
Emil               Yevdayev                 San Pedro              CA
Bilgehan           Yilmaz                   Menlo Park             CA
Jay                Yin                      Oakland                CA
Arthur             Yllan                    San Jose               CA
Tuck               Yong                     San Francisco          CA
Aspen              Yonge                    Lone Pine              CA
Jessica            York                     Stockton               CA
Rujira             Yost                     Suisun City            CA
Henry              Younesian                San Francisco          CA
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Darlene           Young                Daly City              CA
Michelle          Young                Tracy                  CA
Danny             Young                Richmond               CA
Larry             Young                Oakland                CA
Denise            Young                Los Angeles            CA
Cheterra          Young                Bellflower             CA
Brittney          Young                Los Angeles            CA
Michael           Young                Stockton               CA
Troy              Young                Los Angeles            CA
Chris             Young                Oakland                CA
Lori              Young                Los Angeles            Ca
Jontae            Young                San Pablo              CA
Terrence          Young                Oakland                CA
Ronald            Young                Palmdale               CA
Dean              Young                Fairfield              CA
Eric              Young                Oakland                CA
Dwight            Young                Oakland                CA
Devion            Young                Arcadia                CA
Daniel            Young                Laguna Niguel          CA
Melanie           Young                Carson                 CA
Charles           Young Jr             Sacramento             CA
Lamar             Youngblood           Vallejo                CA
Shahab            Yousefi              Encino                 CA
Jackson           Yu                   Concord                CA
Yury              Yuger                San Francisco          CA
Abdulsalam        Yuksel               San Francisco          CA
Rex               Yumul                Carson                 CA
Abdulhamid        Yusuf                Glendale               CA
Gamal             Zaber                West Hills             CA
Ricardo           Zacarias             Reseda                 CA
Mohammad          Zadran               Manteca                CA
Daniel            Zahabian             Los Angeles            CA
Faizal            Zahir                Canoga Park            CA
Artur             Zakaryan             Irvine                 CA
Yamil             Zamacona             Santa Ana              CA
Tania             Zamarripa            Seaside                CA
Aaron             Zamarripa            Banning                CA
Michael           Zammetti             Visalia                CA
Chris             Zamora               Visalia                CA
Johann            Zamora               San Jose               CA
Cesar             Zamora               Bell                   CA
Edgar             Zamora               Long Beach             CA
Ignacio           Zamora               Los Angeles            CA
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Juan              Zamora Martinez          San Pablo              CA
Adrian            Zamorano                 Inglewood              CA
Charles           Zanders                  Castro Valley          CA
Moises            Zapata                   Visalia                CA
Chris             Zapata                   Norwalk                CA
Adolfo            Zapata                   Upland                 CA
Ronald            Zapata                   Hayward                CA
Gabriela          Zaragoza                 Whittier               CA
Luis              Zarco                    Redwood City           CA
Alvaro            Zavala                   Oakland                CA
Riordan           Zavala                   Placentia              CA
Carlos            Zavala                   Corona                 CA
Michael           Zebratski                Fremont                CA
William           Zeier                    Rohnert Park           CA
Jahmeela          Zeigler                  Sacramento             CA
Darrgh            Zeigler                  Sacramento             CA
Tanya             Zeigler                  Ontario                CA
Eric              Zelaya                   Burlingame             CA
Cesar             Zendejas                 Mission Hills          CA
Terrell           Zenon                    Anaheim                CA
Daniel            Zepeda                   Simi Valley            CA
Tad               Zereyhoune               Harbor City            CA
Rita              Zesatti                  Bell Gardens           CA
Shawyan           Ziari‐ Shalmani          Novato                 CA
Danny             Ziemer                   Alameda                CA
Armand            Zimmerman                Newhall                CA
Nasibolah         Ziyarmal                 Elk Grove              CA
Randall           Zuart                    Long Beach             CA
Brenda            Zubia ‐ Navarro          Fullerton              CA
Norman            Zuckerman                North Hollywood        CA
Maria             Zuniga                   Moreno Valley          CA
Johany            Zuniga                   Los Angeles            CA
Nacio             Zuniga                   Carson                 CA
Bruce             Zurbuchen                Los Gatos              CA
Aubrey            Armstrong                Stockbridge            GA
Douglas           Bertolini                Riverdale              GA
Maya              Bertrend                 Sugar Hill             GA
Benjamin          Bloodworth               Duluth                 GA
Lawrence          Bolden                   Douglasville           GA
Keyondra          Burton                   Decatur                GA
Ankhanhetrang     Campbell                 Augusta                GA
Janyne            Collins                  Acworth                GA
Robert            Coney                    Marietta               GA
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Lamar                Cook                    Lithia Springs         GA
Tony                 Daniel                  Hiram                  GA
Jairus               Davis                   Lithonia               GA
Mamadou              Djigo                   Atlanta                GA
David                Ergle                   Lilburn                GA
Russell              Garrison                Union City             GA
Terrence             Golson                  Atlanta                GA
Terrence             Golson Sr               Rex                    GA
Jovonne              Gore                    Atlanta                GA
Christopher          Gosdin                  Dawsonville            GA
Bryan                Green                   Norcross               GA
David                Grove                   Marietta               GA
Equan                Haines                  Union City             GA
Paul                 Hernandez               Jonesboro              GA
Ibukun               Idowu                   Social Circle          GA
Dawn                 Johnson                 Decatur                GA
Mellissia Victoria   Knight                  Atlanta                GA
Corneque             Lee                     Snellville             GA
Kenneth              Lewis                   Duluth                 GA
Rashid A             McDuffie                Atlanta                GA
Douglas              McEver                  Newnan                 GA
Daniel               Meek                    Douglasville           GA
Dante                Merritt                 East Point             GA
Charles              Miller                  Marietta               GA
James                Paul                    Mcdonough              GA
Macih                Payne                   Decatur                GA
Andrew               Rhodes                  Douglasville           GA
Desiree              Rice                    Valdosta               GA
Val                  Roberts                 Riverdale              GA
Lailaa               Salahuddin              Atlanta                GA
Ahmed                Salahuddin              Stone Mountain         GA
Traneice             Shelborne               Atlanta                GA
Cherri               Stepter Sawyer          Lithonia               GA
Bryan                Teasley                 Macon                  GA
Christopher          Tramel                  Atlanta                GA
Maurice              Tucker                  Atlanta                GA
Brad                 Waites                  Atlanta                GA
Darryl               Wheeler                 Atlanta                GA
Kevin                White                   Atlanta                GA
Wale                 Williams                Douglasville           GA
Charles              Woody                   Lawrenceville          GA
Geoff                Young                   Morrow                 GA
Ibrahim              Adeleke                 Oak Brook Terrace      IL
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John               Bergin                    Elmhurst               IL
Lavarine           Berry                     Elgin                  IL
Larry              Berry                     Elgin                  IL
Tueshay            Bradley                   Bellwood               IL
Wallace            Brown                     Homewood               IL
Stephen            Brown                     Chicago                IL
Zedrick            Bullock                   Riverside              IL
Germaine           Colbert Williams          Richton Park           IL
John               Fluellen                  Evanston               IL
Ernest             Frimpong                  Chicago                IL
Edward             Funches                   Berkeley               IL
Michael            Givens                    Joliet                 IL
Carlos             Gonzalez                  Peoria                 IL
Christopher        Green‐Williams            Glen Carbon            IL
Sheren             Griggs                    Park Forest            IL
Furman             Hister                    Chicago                IL
Jerome             Lonzo                     Chicago                IL
Peggy              Matelski                  Brookfield             IL
Konstantinos       Mathioudakis              Lemont                 IL
Loai               Mousa                     Palos Hills            IL
Abdul Malik        Muhammab                  Glenwood               IL
Lemeille           Myrick                    Oak Park               IL
Charles            Phillips                  Harvey                 IL
Doris              Phillips                  Dolton                 IL
Clifford           Radix                     Chicago                IL
Frantz             Remy                      Dolton                 IL
Cherie             Rice                      Chicago                IL
Serena             Robertson                 Chicago                IL
Michael            Ruiz                      Chicago Heights        IL
Danny              Spencer                   Dolton                 IL
Berhane            Tebarek                   Chicago                IL
Curtis             Terry                     Matteson               IL
Trevor             Walker                    Palatine               IL
Stephen            Weinstein                 Oak Lawn               IL
Larry              Williams                  Chicago                IL
Steve              Young                     Flossmoor              IL
Earl J             Young                     Chicago                IL
Roosevelt          Aaron                     Roxbury                MA
Richard            Abankwah                  Worcester              MA
Jacques            Abboud                    Lowell                 MA
Marven             Abda                      Salem                  MA
Abdelaal           Abdelaal                  Canton                 MA
Adam               Abdelrahmam               Allston                MA
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Osama              Abdlatif                Cambridge              MA
Aminu              Abdul Malik             Mattapan               MA
Emmanuel           Abelard                 Waltham                MA
Jean               Abilhomme               Worcester              MA
Dikran             Abkarian                Wakefield              MA
Fadi               Abouzied                Weymouth               MA
Elijah             Abraham                 Brockton               MA
Darlene            Abramovich              Peabody                MA
Carlos             Abreu                   Framingham             MA
Fausto             Abreu                   Dorchester             MA
Abdulkadir         Abubakr                 Randolph               MA
Jonathan           Ace                     Boston                 MA
Fabio              Acevedo                 Dracut                 MA
Joel               Acevedo                 Boston                 MA
Christopher        Acevedo                 Chicopee               MA
Abraham            Acheampong              Worcester              MA
Anny               Acosta                  Malden                 MA
Leslie             Acosta Berrios          Medford                MA
David              Adams                   Bridgewater            MA
Kofi               Adams                   Worcester              MA
Burnett            Adams                   Mattapan               MA
David              Adams                   North Weymouth         MA
Helen              Adedeji                 Dorchester             MA
Oluwafunmi         Adejobi                 Lynn                   MA
Saheed             Adekunle                Dorchester             MA
Niyi               Adeniyi                 Revere                 MA
Grace              Adeoye                  Saugus                 MA
Babatunde          Adeyemi                 Peabody                MA
Tika               Adhikari                Arlington              MA
Dangye             Adu                     Worcester              MA
Toufik             Afer                    East Boston            MA
Frank              Afful                   Chelmsford             MA
Rui                Afonseca                Brockton               MA
Edmilfon           Afonso                  Brockton               MA
Jabarti            Agane                   Belmont                MA
Zachary            Aggelis                 Arlington              MA
Gretchen           Agosto                  Somerville             MA
Carlos             Aguilar                 Newton                 MA
Jose               Aguirre                 Melrose                MA
Bethler            Aguy                    Haverhill              MA
Patrick            Agyemang                Mattapan               MA
Hussein            Ahmed                   Dorchester             MA
Vianco             Aikens                  Randolph               MA
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Eric              Akesson               Brockton               MA
Mohammad          Alami Chantoufy       Shrewsbury             MA
Mohammed          Alani                 Stoneham               MA
Omar              Alayahi               Lynn                   MA
Joseph            Albert                Dorchester             MA
Mohammed          Alchuraikhi           Auburn                 MA
Rodney            Alcindor              Boston                 MA
Wech              Alexandre             Everett                MA
Natacha           Alexandre             Hyde Park              MA
Calvin            Alexis                Brockton               MA
Michael           Alfonso               Wareham                MA
Fawzi             Alfrihat              Medford                MA
Miguel            Alicea                Randolph               MA
Khaled            Al‐Khatib             Quincy                 MA
Joshua            Allan                 Fall River             MA
James             Allen                 Topsfield              MA
Vandon            Allen                 Hyde Park              MA
Natalie           Alleyne               Lynn                   MA
Damian            Almada                Quincy                 MA
Amar              Almayahi              Salem                  MA
Kasia             Almonte               Rockland               MA
Jocenel           Alouidor              Brockton               MA
Eric              Alpert                Wakefield              MA
Tamer             Alqasir               Georgetown             MA
Ibrahim           Alsaraby              Bradford               MA
Jose              Alvarado              Leominster             MA
Karen             Alvarez Gomez         Maynard                MA
Zezito            Alves                 Brockton               MA
Joao              Alves                 Roxbury                MA
Carla             Alves                 Medford                MA
Jose              Amado                 Dorchester             MA
Abdul             Amara                 Fitchburg              MA
Rosemare          Amaral                Woburn                 MA
Aaron             Amardey‐ Wellington   Randolph               MA
Jeff              Amazan                Boston                 MA
Joseph            Amazan                Brockton               MA
Frantz            Ambroise              Cambridge              MA
Vadim             Amitan                North Attleboro        MA
Eugene            Anderson              Fitchburg              MA
Carly             Anderson              Sutton                 MA
William B.        Anderson              Swampscott             MA
Richard           Anderson              Lowell                 MA
Toddye            Anderson ‐ Alfred     Brockton               MA
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Juan               Andino                   Haverhill              MA
Carlos             Andrade                  Dorchester             MA
Jose               Andrade                  Brockton               MA
Danielson          Andrade                  Boston                 MA
David              Andrade                  Dorchester             MA
Viviane            Andrade                  Mansfield              MA
Ewald              Andre                    Brockton               MA
Robert J           Andrews Jr               Braintree              MA
Ronald             Andrews Sr               Woburn                 MA
Scott              Anglin                   Newton                 MA
Jocelyn            Antoine                  Brockton               MA
Emmanuel           Antoine                  Lowell                 MA
Benjamin           Antoine                  Hyde Park              MA
Alen               Anushev                  East Falmouth          MA
Fon                Anye                     Rockland               MA
Martin             Anyim                    Worcester              MA
Stuart             Apony                    Burlington             MA
Aikins             Appiah                   Worcester              MA
Luis               Aqudelo                  Worcester              MA
Peter              Aransky                  Newton Upper Falls     MA
Nathan             Arcelay                  New Bedford            MA
Perkings           Arcene                   Abington               MA
Yira               Arencibia                Malden                 MA
Daniel             Arias                    Lawrence               MA
Ariel              Arias                    Mattapan               MA
Matiop             Ariik                    Malden                 MA
Claudia Rosa       Aristides Garca          Brockton               MA
Danny              Arlin                    East Longmeadow        MA
Dylan              Armentrout               Charlton               MA
Pierre             Arnoux                   Hyde Park              MA
David              Arrighi                  Bridgewater            MA
Vladimir           Artamonov                Allston                MA
Michael            Arthur                   Weymouth               MA
Sivapala           Arumugam                 Wellesley              MA
Benjamin           Asamoah                  Lowell                 MA
Alex               Asidu                    Worcester              MA
Ehinoma            Asoro                    Hyde Park              MA
Dexter             Assade                   Lynn                   MA
Marcos             Asuaje                   Boston                 MA
Arthur             Atkinson                 Boston                 MA
Kadon              Auguste                  Hyde Park              MA
Elys'E             Auguste                  Roxbury                MA
Ulrick             Augustin                 Brockton               MA
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Nancy              Augustin                Everett                MA
Jean W             Auplant                 Charlestown            MA
Robert             Austin                  Dorchester             MA
Mark               Austin                  Quincy                 MA
Kintrell           Austin                  Boston                 MA
Efrain             Avalo                   Quincy                 MA
Jonathan           Awuah                   North Attleboro        MA
Tadele             Ayalew                  Revere                 MA
Erdinc             Aydin                   Methuen                MA
Anteneh            Ayele                   Malden                 MA
Lee                Aylward                 Worcester              MA
Fabian             Azuakolam               Brockton               MA
John               Azzolina                New Bedford            MA
Steas              Babahan                 Brookline              MA
Iana               Bach                    North Dartmouth        MA
Juan               Badillo                 Boston                 MA
Wilfredo           Baez                    Halyoke                MA
Wander             Baez                    Methuen                MA
Luis               Baez                    Roslindale             MA
Catalina           Baez                    Worcester              MA
Khouri             Bailey                  Boston                 MA
Christopher        Bailey                  Quincy                 MA
Gregg              Baker                   Stoughton              MA
Arthur             Baker                   Randolph               MA
Calvin             Baker                   Roxbury                MA
Terrence           Baker                   Boston                 MA
Barry              Balan                   Mashpee                MA
James              Ball                    Peabody                MA
Wintley            Baptiste                Randolph               MA
Yakim              Baptiste                Worcester              MA
Rachid             Baraoui                 Braintree              MA
Mauro              Barbosa                 Everett                MA
Adilson            Barbosa                 Brockton               MA
Christian          Barboza                 Tewksbury              MA
Quiana             Barker                  Taunton                MA
Thomas             Barksdale               Lawrence               MA
Aaron              Barnes                  Dedham                 MA
Rafael             Barrera Gudiel          Waltham                MA
Joseph             Barresi                 Jefferson              MA
Kyle               Barrett                 Randolph               MA
Elena              Barrett                 Lynn                   MA
Bakari             Barrett                 Medford                MA
Simao              Barros                  Roxbury                MA
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Joey               Barros               Holbrook               MA
Antonio            Barros               Brockton               MA
John               Barros               Roslindale             MA
James              Barrows              Somerville             MA
Daniel             Barry                Watertown              MA
Richard            Barry                Quincy                 MA
John               Barry                Charlestown            MA
Rakaysh            Barsatee             Boston                 MA
Daniel             Barselo              Lawrence               MA
Michael            Bartalini            Revere                 MA
Robbie             Bartlett             Leominster             MA
Elder              Bartley              Braintree              MA
Tina               Barton               Canton                 MA
Sumit              Barua                Andover                MA
Blase              Barzey               Roslindale             MA
Diane              Basemera             Newton                 MA
Edward             Basile               Watertown              MA
Lakeitha           Baskin               Stoughton              MA
Keith              Baskin               Mansfield              MA
Jason              Bass                 Brockton               MA
Melvin             Bastardo             Lawrence               MA
Mackendy           Bastia               Brockton               MA
Alix               Bastien              Andover                MA
Jarret             Bastys               Boston                 MA
Brian              Bateman              Leominster             MA
Timothy            Bates                Bellingham             MA
Brian              Batista              Chelsea                MA
Victor             Batista              Mattapan               MA
Steven             Baty                 Brewster               MA
Duperval           Bauchard             Fall River             MA
Rachael            Baum                 Winchester             MA
Elisandro          Bautista             Brockton               MA
Luis               Bautista             Methuen                MA
Bernondie          Bazne                Hyde Park              MA
David              Beal                 Boston                 MA
Quesi              Beaton               Hyde Park              MA
Isaac              Beauge               Worcester              MA
Michelle           Beauregard           Natick                 MA
Donald             Beckford             Milton                 MA
Livingston         Beckford             Boston                 MA
Audrey             Beckwith             Lawrence               MA
Omolayo            Beke                 West Somerville        MA
Roger              Belanger             Quincy                 MA
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Ali                Belgnaoui                  Everett                MA
Jean               Belile                     Mattapan               MA
Patrick            Belizaire                  Boston                 MA
Rony               Belizaire                  Brockton               MA
Ahmed              Belkabir                   Revere                 MA
Said               Belkouch                   Chelsea                MA
Wawa               Bell                       Methuen                MA
Matthew            Bell                       Holland                MA
Larry              Belle‐Jessamy              Dorchester             MA
Keith              Bellevue                   Somerville             MA
Osmor              Bello                      Boston                 MA
Robert             Bembery                    Boston                 MA
Ignacio            Benavides                  Hyde Park              MA
Kayla              Benevides                  Milford                MA
William            Benjamin                   Hyde Park              MA
Kenton             Benloss                    Lynn                   MA
Howard             Bennett                    Somerville             MA
Kelly              Bennett                    Revere                 MA
Christopher        Benoit                     Holyoke                MA
Joseph             Benoit                     Swampscott             MA
Aduapemi           Benson                     Hyde Park              MA
Yassine            Bentounsi                  Beverly                MA
Chris              Bergen                     Andover                MA
Max                Bernard                    Beachmont              MA
Gregore            Bernard                    Billerica              MA
Jerry              Bertrand                   Everett                MA
Michael            Bess                       Mattapan               MA
William            Bessett                    Abington               MA
Jean               Bethea                     Milton                 MA
Joseph             Bettencourt                Cambridge              MA
Manuel             Bettencourt                Peabody                MA
Bibek              Bhattarai                  Quincy                 MA
Brian              Bianchi                    Stoneham               MA
David              Biggers                    Canton                 MA
Jose               Binet                      Lawrence               MA
Tamika             Bispham                    Everett                MA
Joshua             Bivins                     Boston                 MA
Samuel             Black                      Dedham                 MA
Edward             Blackmon                   Dorchester             MA
Cherise            Black‐St. Laurent          Randolph               MA
Carl               Blain                      Mattapan               MA
Corsell            Blair                      North Cambridge        MA
William            Blair                      Chicopee               MA
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Kenneth            Blanchard             Chelmsford             MA
Robert             Blanchard             Lowell                 MA
Elvys              Blanco                Methuen                MA
Betty              Blanes                Malden                 MA
Alan               Blankenship           Framingham             MA
Paul               Blanton               Springfield            MA
Yvan               Bobadilla             Methuen                MA
Paula              Bobb                  Mattapan               MA
James              Boddie                Fitchburg              MA
Russell            Bogrett               Salem                  MA
Lisa               Boisseau              Millville              MA
Michael            Boissonnault          Ashland                MA
John               Boisvert              Worcester              MA
Paul               Bokwe                 Andover                MA
Allen              Bolden                Brockton               MA
Melinda            Boley                 Billerica              MA
Christopher        Bonanno               Springfield            MA
Michael            Bonarrigo             West Bridgewater       MA
John               Bond                  Brockton               MA
Michael            Bondanza              Danvers                MA
Gabriel            Bonder                Quincy                 MA
Teara              Bone                  Dorchester             MA
Claudia            Bonilla               Dedham                 MA
Wilfrid            Bonnane               Everett                MA
Nathan             Bonniah               Acton                  MA
Jessica            Bonsall               Revere                 MA
Wilmar             Borges                Worcester              MA
Steven             Borgida               Norton                 MA
Zdravko            Borisov               Billerica              MA
Julian             Borja                 Framingham             MA
Ulises             Borjas                East Boston            MA
Thomas             Borning               East Falmouth          MA
Jorge              Bosa                  Lynn                   MA
Elizabeth          Boucher               Warren                 MA
Abdelkader         Bouledras             Everett                MA
Salaheddine        Bounif                East Boston            MA
Conner             Bourgoin              Brighton               MA
Zachary            Bouricius             Montague               MA
Noureddine         Boutissant            North Andover          MA
Chimere            Bowden                Boston                 MA
Soneia             Bowens                Boston                 MA
Jacqueline         Bowes                 Haverhill              MA
Steven             Bowles                Norwell                MA
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Virginia            Bowman                  New Bedford            MA
Derrick             Boyd                    Newton                 MA
Faith               Boyd                    West Boylston          MA
Hakim               Boyles                  Mattapan               MA
Terrance            Bradham                 Mattapan               MA
Kristin             Bradley                 West Yarmouth          MA
Warren              Bramwell                Holbrook               MA
Joseph              Branch                  Fall River             MA
Domenic             Brangiforte             Salem                  MA
Vaughn              Brathwaite              Randolph               MA
Keny                Brea                    Boston                 MA
Santo               Brea                    South Boston           MA
Krista              Brennan                 Ayer                   MA
Brendon             Bretton                 Braintree              MA
James               Brewster                Woburn                 MA
Mikal               Brice                   Lynn                   MA
Dianna              Brice ‐ Martin          Brighton               MA
Anatoliy            Brichkov                Auburn                 MA
Wladinir De Souza   Bridges                 Worcester              MA
Nichelle            Brison                  Somerville             MA
Steve               Britton                 Brockton               MA
David               Brogna                  Danvers                MA
Jonathan            Bromley                 Attleboro              MA
Monique             Brooks                  Boston                 MA
Ashley              Brooks                  Quincy                 MA
Daniel              Brooks                  Gloucester             MA
Joshua              Brown                   Attleboro              MA
Rachel              Brown                   Wellesley              MA
Christopher         Brown                   Medford                MA
Sherry              Brown                   Marlborough            MA
Olajuwon            Brown                   Attleboro              MA
Chantale            Brown                   Brockton               MA
Marcus              Brown                   Randolph               MA
Sherman             Brown                   Mattapan               MA
Eugene              Brown                   East Boston            MA
Johnelle‐Marie      Brown                   Brockton               MA
Alfie               Brown                   Dorchester             MA
Willie              Brown                   West Bridgewater       MA
Jeffrey             Brown                   Needham                MA
Joycelyn            Brown                   Canton                 MA
Collins             Browne                  Boston                 MA
Jeremi              Browne                  Dorchester             MA
Ricky               Bruno                   Brockton               MA
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Pierre            Brutus               Brockton               MA
James             Bryant               Leominster             MA
Curtis            Bryant               Boston                 MA
Wilbert           Bryant               Grove Hall             MA
Allend            Bryson               Lynn                   MA
Miles             Bryson               Worcester              MA
Jennifer          Buback               Hyde Park              MA
Charles           Bugden               Lynn                   MA
Minh              Bui                  Revere                 MA
Kamal             Bujeti               Malden                 MA
Jason             Bullock              Lynn                   MA
James             Bullock              Brockton               MA
Henry             Burden               Hingham                MA
Kathleen          Burgess              Hull                   MA
Aquiles           Burgos               Lawrence               MA
Mark              Burhoe               Charlestown            MA
Nikita            Burhoe               Lynn                   MA
Theresa           Burke                Malden                 MA
Kevin             Burke                Randolph               MA
Patrick           Burke                Hingham                MA
Emmette           Burnette             Lakeville              MA
Stephen Edward    Burns                Boston                 MA
Mark              Burrowes             Roslindale             MA
Albert            Burwell              Haverhill              MA
William           Bush                 Worcester              MA
Tim               Butler               Hanover                MA
Alex              Butler               Roxbury                MA
Vincent           Buttaro              Hull                   MA
Mark              Buttiglieri          Boston                 MA
Linno             Byomuhangi           Woburn                 MA
Edward            Byron                Stoughton              MA
Joao              Cabral               Brockton               MA
Jessica           Cabrera              Brockton               MA
Jorge             Caceres              Hyde Park              MA
Lucas             Cadahia              Fitchburg              MA
Beral             Cadely               Medford                MA
Jocely            Cadet                Boston                 MA
Nathan            Cadrin               North Grafton          MA
Carl              Cahoon               Rockland               MA
Wyandotte         Cain                 Brockton               MA
Greg              Caizzi               Rockland               MA
Fequiere          Cajoux               Revere                 MA
Fredly            Cajuste              Quincy                 MA
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Thalia             Calderon                Revere                 MA
Carla              Calderon                Lynn                   MA
Nina               Caldwell                Cambridge              MA
Philip             Cali                    Medford                MA
Luis               Calle‐Betancur          Revere                 MA
Yulisca            Calzado                 Haverhill              MA
Mark               Camarata                Haverhill              MA
Neil               Cameron                 Randolph               MA
Craig              Campbell                Dorchester             MA
Victoria           Campbell                North Brookfield       MA
Lourdes            Campos                  Revere                 MA
Tercio             Campos                  Everett                MA
Moises             Campos Flores           Taunton                MA
Enrique            Candelario              Walpole                MA
Robin              Canela                  Danvers                MA
Michael            Canina                  Duxbury                MA
Stacey             Cannady                 Mattapan               MA
Danielle           Cannata                 North Easton           MA
Jeffery            Cannon                  Boston                 MA
Jeff               Canter                  Greenfield             MA
Eric               Cantor                  Stoughton              MA
Louis              Caplan                  Webster                MA
Shawn              Capozzi                 Peabody                MA
Michael            Capozzi                 Saugus                 MA
Christian          Capulli                 Chatham                MA
Donald             Card                    Lynn                   MA
Christopher        Cardarelli              Framingham             MA
Kimberly           Cardona                 Revere                 MA
Sabino             Cardoso                 Brockton               MA
Domingos           Cardoso                 Randolph               MA
Shawn              Carey                   Westfield              MA
Stanley            Cargill                 Worcester              MA
Marlon             Carimbocas              Boston                 MA
Stephen            Carlson                 Attleboro              MA
Jarod              Carmody                 Belchertown            MA
Andrea             Carozza                 Peabody                MA
Thomas             Carr                    Beverly                MA
Donovan            Carridice               Lynn                   MA
Patricia           Carrington              Dorchester Center      MA
Daniel             Carroll                 Worcester              MA
Thomas             Carromero               Chelsea                MA
Kuwaun             Carruthers              Randolph               MA
James              Carson                  Taunton                MA
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Maryann            Carter                   Dorchester             MA
Tyrus              Cartwright               Boston                 MA
Jalila             Cartwright               Dorchester             MA
Tyrone             Carty                    Milton                 MA
Arlene             Casey                    Winthrop               MA
Junior             Castelly                 Ashland                MA
Roberto            Castillo                 Dorchester             MA
Frederico          Castro                   Melrose                MA
Radhaysa           Castro                   Lawrence               MA
Francisco          Castro                   Indian Orchard         MA
Johayker           Castro Aquino            Lawrence               MA
Ennio              Cataldo                  Lynn                   MA
Joseph             Catanese                 Mashpee                MA
Hudson             Cavalcanti               Lowell                 MA
Jean               Caze                     Methuen                MA
Frantz             Cazeau                   Hyde Park              MA
Charlesky          Cejour                   Peabody                MA
Jackingson         Celestia                 Leominster             MA
Melyssa            Centeno                  Lynn                   MA
Michael            Centola                  Everett                MA
Achille            Cesaire                  Medford                MA
Brenohaire         Cesar                    Doorchester            MA
Felix              Chalas                   Lynn                   MA
Roy                Challenger               Boston                 MA
Mark               Chamberlin               Lynn                   MA
Robenia            Chambers                 Boston                 MA
Edward             Chamorro                 Worcester              MA
Patrick            Chan                     Brockton               MA
Dennie             Chan                     Attleboro              MA
Kiki               Chan                     Revere                 MA
Ricot              Chanel                   Malden                 MA
Mark               Charette                 Attleboro              MA
Jean               Charles                  Mattapan               MA
Janice             Charles                  East Boston            MA
Widmaier           Charles                  Cohasset               MA
Jacques            Charles                  Malden                 MA
Max                Charles                  Waltham                MA
Stevenson          Charles                  Dorchester             MA
Jennyfer           Charles‐Dubique          Chelsea                MA
Max                Charron                  Cambridge              MA
Leo                Chase                    Fall River             MA
Maureen            Chasson                  Saugus                 MA
Fred               Chatelain                Lowell                 MA
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John               Chaves                  East Walpole           MA
Mario              Chavez                  Dorchester             MA
Robert             Cheers                  Mattapan               MA
Nixon              Cherestal               Brockton               MA
Cyrus              Cherington              Boston                 MA
Jean               Cherisme                Roslindale             MA
Habbi              Cherrie                 Dorchester             MA
Reginald           Cheryne                 Melrose                MA
Munkit             Chet                    Braintree              MA
Eric               Chilicki                Watertown              MA
Anthony            Chinn                   Brockton               MA
Evans              Chiyombwe               Worcester              MA
Matthew            Choquette               Peabody                MA
Nabil              Choubane                Mansfield              MA
Khamhong           Chouvan                 Lowell                 MA
Mahbub             Chowdhury               Cambridge              MA
Alexandria         Chowdhury               Boston                 MA
Oraine             Christie                Boston                 MA
Glenroy            Christopher             Dorchester             MA
Jerry              Cipoletta               Malden                 MA
Michael            Ciulla                  Westford               MA
Gilbert            Civil                   Boston                 MA
Shiquile           Clark                   Everett                MA
Kevin              Clark                   Allston                MA
Janice             Clark                   Mattapan               MA
Theo               Clark                   Roxbury                MA
Rayshawn           Clarke                  Mattapan               MA
Charles            Clemons                 Boston                 MA
Nelio              Clergeau                Somerville             MA
Pierre             Clergeau                North Cambridge        MA
Arthur             Clifford                Worcester              MA
Theresa            Clifford                Haverhill              MA
Jacob              Cobbinah                Canton                 MA
Olga               Coclas Gerakis          Peabody                MA
Christopher        Codio                   Weymouth               MA
Steven             Colangelo               Everett                MA
Tiana              Colarusso               Saugus                 MA
Pauline            Coles                   Roslindale             MA
Rafael             Collado                 Lawrence               MA
Timothy            Collazo                 Worcester              MA
Mathew             Collier                 Bridgewater            MA
Randy              Collins                 Marshfield             MA
Edward P.          Collins Jr              Milton                 MA
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Chris              Collotta               Bridgewater            MA
Cynthia            Collotta               West Roxbury           MA
Rosa               Colon                  Brighton               MA
Edward             Compere                Wrentham               MA
Edwin              Concepcion             East Walpole           MA
Randy              Connolly               Hull                   MA
Craig              Connors                Beverly                MA
Bruce              Cononico               Spencer                MA
Jean               Constant               Hyde Park              MA
Joel               Contreras              Lynn                   MA
Barrett            Cook                   North Dighton          MA
Andrew             Cooper                 Worcester              MA
Lonnie             Copeland               Boston                 MA
Willis             Coppola                Haverhill              MA
Anthony            Cordeiro               Medford                MA
Diane              Cordio                 Fitchburg              MA
Jason              Cordova                Quincy                 MA
Richard            Corelli                Plymouth               MA
Rafael             Corona                 Chelsea                MA
Terrel             Correia                Nantucket              MA
Emanuel            Correia                Quincy                 MA
Angela             Correia                New Bedford            MA
Thomas             Corry                  Hingham                MA
Fernando           Costa                  Everett                MA
Angel              Cotto                  Springfield            MA
Mark               Cotugno                Amesbury               MA
Christopher        Coughlin               Foxboro                MA
Thomas             Couillard              North Brookfield       MA
Kesler             Coulanges              Malden                 MA
John               Cowell                 Boston                 MA
Young C            Cox Jr.                Brockton               MA
Jonathan           Coyle                  Gloucester             MA
Patrick            Craig                  Milton                 MA
Jeffrey            Crapo                  Whitinsville           MA
Trannee            Creecy                 Boston                 MA
Juan               Crespo                 Worcester              MA
Sueli              Crespo Borges          Everett                MA
Matt               Cristy                 Stow                   MA
Darryl             Cromartie              Dorchester             MA
Michelle           Cronin                 Worcester              MA
Beth               Cronin                 Weymouth               MA
Daniel             Crowe                  Tewksbury              MA
Troy               Crump                  Lowell                 MA
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Nestor             Cruz                    Cambridge              MA
Richard            Cruz                    Methuen                MA
Vilmarys           Cruz                    Hyde Park              MA
Omar               Cruz                    Hyde Park              MA
Tina               Cruz                    Tyngsboro              MA
Anthony            Culbreath               Boston                 MA
Christine          Culbreath               Boston                 MA
Paul               Cummings                Boston                 MA
Lenroy             Cunningham              Boston                 MA
Lee                Cunningham              Lynn                   MA
David              Curelop                 Mansfield              MA
Warren             Curry                   East Boston            MA
Ruben              D' Ambra                Fall River             MA
Stephanie          Da Silva                Carver                 MA
Carlos             Dacosta                 Belmont                MA
Jonathan           D'Addario               Chelsea                MA
Richard            Dakers                  Randolph               MA
Delcy              Dallacosta              Natick                 MA
Patrizio           Damato                  Manchester             MA
Colby              Dancy‐Chandler          West Roxbury           MA
Keith              Daniel                  Mattapan               MA
Tyrie              Daniel                  Cambridge              MA
Daijshaun          Daniel                  Dorchester             MA
David              Daniels                 Boston                 MA
Lonnie             Daniels                 Roxbury                MA
Khadijah           Daniels                 Hyde Park              MA
Mark               Darling                 Plymouth               MA
Edson              Dascy                   Fall River             MA
Ezequiel           Dasilva                 Fitchburg              MA
Ezequiel           Dasilva Freire          Peabody                MA
Manuela            Dasilveira              Dorchester             MA
Rafael             Dasiova                 Winthrop               MA
Renold             David                   Brockton               MA
Veronica           Davis                   Dorchester             MA
Jesse              Davis                   Haverhill              MA
Anthony            Davis                   Hyde Park              MA
Ta‐Tanisha         Davis                   Boston                 MA
Steven             Davis                   Brockton               MA
Kenneth            Davis                   Danvers                MA
Donald             Davis                   Marlboro               MA
Michael            Davis                   Boston                 MA
Torrence           Davis                   Medford                MA
Benjamin           Davis                   Lowell                 MA
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Lynn               Davis                   Boston                 MA
Albert             Davis Jr                Allston                MA
Bilal              Dawan‐Abdullah          Dorchester             MA
Rayan              D'Aza                   Lawrence               MA
Joao Carlos        De Andrade              Maynard                MA
Daniel             De Forest               Franklin               MA
Joe                De Jesus                Brockton               MA
Alberto            De La Cruz              Methuen                MA
Joao               De Paula                Weymouth               MA
Dilson             De Pina                 Brockton               MA
Joao               De Pinea                Randolph               MA
Marcio             De Souza                Malden                 MA
Odemar             Deaguiar                Allston                MA
Jasmin             Deangelo                Quincy                 MA
Michael            Dearn                   Worcester              MA
Kelly              Dearn                   Worcester              MA
Francisco          Debarros                Peabody                MA
Kellie             Debrito                 East Freetown          MA
Mackenzy           Debrosse                Randolph               MA
Jean               Decembre                Boston                 MA
Neil               Decoteau                Quincy                 MA
Silvia             Degale                  Boston                 MA
Mark               Degeorge                Chelsea                MA
Xiomara            Dejesus                 Lawrence               MA
Eber               Delgado                 Brockton               MA
Jennifer           Delgado                 Dorchester             MA
Raynold            Delhomme                Boston                 MA
Jean               Delinois                Fall River             MA
Mackenzie          Delisi                  East Boston            MA
William            Della Rocca             North Andover          MA
Vladimir           Delorbe                 Gardner                MA
Stephen            Delorenzo               Salem                  MA
Dominick           Deloretta               Roslindale             MA
Rinel              Delossantos             Peabody                MA
Gregory            Delrosario              Lawrence               MA
Roberto            Delrosario              Boston                 MA
Stephen            Deltufo                 Brockton               MA
Gabino             Delvalle                Hyde Park              MA
David              Demarco                 Bolton                 MA
Marie              Demattia                Leominster             MA
Yusef              Demetrius               Boston                 MA
Monique            Demoura                 Lowell                 MA
Diane              Denton                  Roslindale             MA
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Shawna             Denton‐ Carollo          Gloucester             MA
Luis               Depina                   Boston                 MA
Anaqueleto         Depina                   West Roxbury           MA
Francelino         Depina                   Brockton               MA
Ineida             Depina                   Brockton               MA
Edson Centeio      Depina                   Boston                 MA
Manny              Depina                   Brockton               MA
Miguel             Deras                    Lynn                   MA
Ashley             Deravil                  Cambridge              MA
John               Deroo                    Peabody                MA
Mackenson          Derrouette               Natick                 MA
Paul               Desantis                 Saugus                 MA
Patrick            Desgroseilliers          Fitchburg              MA
Quebeau            Desire                   Quincy                 MA
Fougere            Desjardins               Brockton               MA
Fabricio           Desouza                  Billerica              MA
Guetchen           Dessalines               Holbrook               MA
Thony              Dessime                  Randolph               MA
Adrian             Dhana                    Lynn                   MA
Omer               Diab                     Malden                 MA
Felipe             Dias                     Plymouth               MA
Joao Alfredo       Dias                     Chelsea                MA
Fabio              Diasdesuza               Marlborough            MA
Joshua             Diaz                     Chicopee               MA
Julian             Diaz                     Paxton                 MA
Nicholas           Dibenedetto              Nahant                 MA
Jeremy             Diflaminies              Norwood                MA
Juan               Difot                    Fitchburg              MA
Daniel             Difusco                  Somerville             MA
Gabin              Digbeu                   Randolph               MA
Erin               Dilisio                  Nahant                 MA
Quoc               Dinh                     Winthrop               MA
James              Dinitto                  Brockton               MA
Frank              Diniz                    Taunton                MA
Richard            Dinkins Jr               Brockton               MA
Franklin           Dionisio                 Boston                 MA
Alise              Dionne                   Haverhill              MA
Erica              Diplacido                Lynn                   MA
Alejando           Disla                    Lawrence               MA
Blake              Dixon                    Boston                 MA
Jacquetta          Dixon                    Randolph               MA
Kossi              Dogbe                    Framingham             MA
James              Doherty                  Burlington             MA
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Michael            Doherty              Halifax                MA
Hernan             Dominguez            Worcester              MA
Patrick            Donacien             Mattapan               MA
Marie              Donatelli            Lynn                   MA
William            Donegan              North Attleboro        MA
Bryan              Donelin              Quincy                 MA
Jason              Donlan               Newburyport            MA
Philip             Donovan              Dorchester             MA
Guyboyson          Dorcely              Boston                 MA
Jean               Dorestant            Brockton               MA
Michelson          Dorime               Hyde Park              MA
Philippe           Dorinvil             Brockton               MA
Edther             Dorinvil             Brockton               MA
Jernlor            Dorinvil             Brockton               MA
Jigme              Dorjee               North Quincy           MA
Buteau             Dorney               Everett                MA
Frero              Dorval               Boston                 MA
Cassandra          Dos Santos           Hudson                 MA
Tracey             Douglas              Quincy                 MA
Jeffrey            Dragon               Swampscott             MA
Miguel             Duarte               Lawrence               MA
Katia              Duarte               Boston                 MA
Dennis             Dube                 Halyoke                MA
Kenny              Dubuisson            Boston                 MA
Baltazar           Ducantro             Dorchester             MA
Jerry              Ducheine             Hyde Park              MA
John               Duckworth            Waltham                MA
John M             Duffy                Charlestown            MA
Peter              Duguay               Marlborough            MA
Leon               Dun                  Revere                 MA
Daniel             Dunbar               Boston                 MA
William            Dunn                 Cambridge              MA
Oscar              Dupervil             Malden                 MA
Kelvyn             Duran                Lawrence               MA
Michael            Duran                Haverhill              MA
Joseph P           Durning              Hudson                 MA
Roland             Durosca              Hyde Park              MA
Magda              Duverne              Cambridge              MA
Rajesh             Dwarika              Boston                 MA
John               Dwyer                Woburn                 MA
Christopher        Dyce                 Boston                 MA
Jeremey            Dyches               Maynard                MA
Leigha             Earl                 Milton                 MA
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Anna              Ebersole                Beverly                MA
Katuskia          Echeyarria              Lawrence               MA
James             Echgelmeier             Framingham             MA
Jonathan          Edge                    Attleboro              MA
Patrick           Edmunds                 Woburn                 MA
Anthony           Edokpa                  Salem                  MA
Jennie            Edouard                 Somerville             MA
Ebenezer          Edwards                 Worcester              MA
Leslie            Edwards                 Hyde Park              MA
Edison            Egalite Garcia          Dorchester             MA
Susan             Egnet                   Waltham                MA
Rasun             Eguavon                 Brockton               MA
Gary              Ehnot                   Salem                  MA
Dennis            Eigbokhan               Brockton               MA
Williams          Ejimonyeabala           Hyde Park              MA
Badreddine        Elallam                 Woburn                 MA
Pierre            El‐Dahr                 Worcester              MA
Stanley           Elien                   Everett                MA
Tarik             Elkhalil                Dorchester             MA
Nicole            Ellerbe                 Brookline              MA
Rashauna          Elliott                 New Bedford            MA
Latonya           Ellis                   Mansfield              MA
Edward            Ellis                   Newton                 MA
Ralph             Ellis                   Peabody                MA
Diane             Ellis                   Dorchester             MA
Norman            Ellison                 Boston                 MA
Kyle              Ellison                 Boston                 MA
Abdulelah         Elmalli                 New Bedford            MA
Gabriel           Elmassih                Norwood                MA
Zahir             Elmouhsine              Revere                 MA
Waled             Elsayed                 Somerville             MA
Amanda            Emerson                 Winter Hill            MA
Zeena             Enayetullah             Lynn                   MA
Yophtahe          Endale                  Stoneham               MA
David             Engdahl                 Dedham                 MA
Sean              English                 Hopedale               MA
Hikmat            Ennab                   Malden                 MA
Jean Fanel        Enoise                  Quincy                 MA
Edward            Enos                    Millis                 MA
Lisa              Epsimos                 Lynn                   MA
Steven            Epstein                 Abington               MA
Perkens           Erase                   Stoughton              MA
Atto              Eriveaux                Brockton               MA
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Beth              Erkul                 Belmont                MA
James             Erti                  Boston                 MA
Jose              Escobar               Lawrence               MA
Jose              Escobar Rosa          Walpole                MA
Frank             Escott                Waltham                MA
Ariel             Espinal               Lynn                   MA
Robinson          Espinal               Methuen                MA
Wadson            Espindola             Lunenburg              MA
Remy              Estelien              Everett                MA
Bill              Estes                 East Falmouth          MA
Luis              Estevez               Lawrence               MA
Jean              Estime                Cambridge              MA
Blain             Etienne               Mattapan               MA
Jean              Eustache              Everett                MA
Efe               Ewansiha              Peabody                MA
Genevra           Faber                 Winthrop               MA
Olumide           Fabikun               Stoughton              MA
Charles           Facey                 Milford                MA
Isaias            Fagundes              Medford                MA
James             Falco                 Stoughton              MA
Vincent           Falcone               Quincy                 MA
Frank             Fama                  Quincy                 MA
Nicolas           Fanandakis            Revere                 MA
Klodjan           Fani                  Roslindale             MA
Richard           Fanion                Westfield              MA
Frederico         Farhadi               Springfield            MA
Matthew           Farrell               Boston                 MA
Malana            Faulk                 Leominster             MA
Angela A.         Favors                Roxbury                MA
John              Favors                Hyde Park              MA
Stephen           Fawehinmi             Lynn                   MA
Stephen           Faye                  Braintree              MA
Miguel            Felix                 Brockton               MA
Makonnen          Fenton                Somerville             MA
Erika             Ferdinand             Medford                MA
Victor            Fernandes             Norton                 MA
Ezequiel          Fernandes             Brockton               MA
Andre             Fernandes             Lynn                   MA
Angelo            Fernandes             Boston                 MA
Jose              Fernandez             Mattapan               MA
Luis              Fernandez             Lawrence               MA
Rafael            Fernandez             Lowell                 MA
Anthony           Ferranti              Woburn                 MA
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Ernest            Ferrara              West Bridgewater       MA
Peter             Ferrari              Westborough            MA
Matheus           Ferraz               Attleboro              MA
Pilar             Ferrera              South Waltham          MA
Stormy            Ferreras             Revere                 MA
Donald            Ferry Jr             Reading                MA
Sonel             Fesnel               Attleboro              MA
Tryneice          Fields               Quincy                 MA
Adarilys          Figueroa             Lowell                 MA
Roy               Filkins              Brockton               MA
Deyves            Fils'Aime            Boston                 MA
Kenneth W         Finn                 Salem                  MA
Richard           Finnegan             Sutton                 MA
Dana              Finnemore            Peabody                MA
Morris            Fisher               Hyde Park              MA
Anton             Fisher               Boston                 MA
Michelle          Fisher               Abington               MA
Troy              Fisher               Peabody                MA
Brendan           Fitzpatrick          Boston                 MA
Paul              Flaherty             Milton Village         MA
Tyrone            Fleming              Dorchester             MA
Reginald          Florence             Boston                 MA
Esteban           Flores               Lawrence               MA
Antonio           Floro                Natick                 MA
Essen             Fnu                  Dorchester             MA
Mamadee           Fofana               Boston                 MA
Daniel            Fokuo                Framingham             MA
Adebayo           Folayan              Boston                 MA
Ramon             Fonseca              Natick                 MA
Casille           Fonseca              Northborough           MA
Nelia             Fonsecia             New Bedford            MA
Jean P            Fontaine             Stoughton              MA
Jose              Fontanez             Worcester              MA
Ariel             Fontes               Brockton               MA
Alcindo           Fontes               Brockton               MA
Joslyna           Fontes               Boston                 MA
Jeannette         Ford                 Marlborough            MA
Shaniece          Ford                 Lynn                   MA
Michael           Forman               Dorchester             MA
Rayshaun          Fortes               Randolph               MA
William           Fortilus             Boston                 MA
Julie             Foss                 Malden                 MA
Winston           Foster               Dorchester             MA
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Michelle           Fournier             Shrewsbury             MA
Brian              Fournier             Braintree              MA
Paul               Fox                  Plymouth               MA
Nicole             Foy                  Boston                 MA
Barry              Fradkin              Quincy                 MA
George             Francis              Lowell                 MA
Joshua             Francis              East Freetown          MA
Levon              Francis              Canton                 MA
Samuel             Francis              Roxbury                MA
Paul               Francis              Milton                 MA
Vladimir           Francois             Dedham                 MA
Gregory            Francois             Medford                MA
Marianie           Francois             Randolph               MA
Jean Herve         Francois             Boston                 MA
Stanley            Francois             Everett                MA
Lawrence           Frank                Everett                MA
Emily              Franklin             Dorchester             MA
Mario              Franklin             Hyde Park              MA
Joel               Fraser               Dorchester             MA
Franklyn           Fraser               Mattapan               MA
Hephzibah          Frazier              Boston                 MA
Daniel             Frechette            Manomet                MA
Keith              Frederick            Dorchester             MA
Jean               Freedman             Braintree              MA
Ronald             Freeman              Charlestown            MA
Horacio            Freire               Boston                 MA
Marcio             Freitas              Malden                 MA
Philip             Freitas              Clinton                MA
Brian              Freitas              Peabody                MA
Samuel             Fret                 Lowell                 MA
George             Frimpong             Worcester              MA
Gloria             Frizado              Taunton                MA
Anthony            Froio                Kingston               MA
Peter              Frontiero            Gloucester             MA
Sonya              Fuentes              Somerville             MA
Jose               Fuentes              Revere                 MA
Jean               Fuentes              Roslindale             MA
Robert             Fusco                Halifax                MA
Troy               Gabello              New Bedford            MA
Celia              Gabriel              Taunton                MA
James              Gachau               Malden                 MA
David P            Gaffey               Beverly                MA
Glenn              Gagne                Chicopee               MA
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Kaitlin           Gaitanakis            Chelsea                MA
Bryan             Galanos               Pepperell              MA
Natheena          Gales‐Femedo          Boston                 MA
James             Galland               Methuen                MA
Marina            Gallani               Burlington             MA
Viverston         Gallimore             Mattapan               MA
Elizabeth A       Gallinaro             Cambridge              MA
David             Galopim               Peabody                MA
Carlos            Galvao                Boston                 MA
Eunice            Gamadeku              Worcester              MA
Charles           Gamrecki              Tewksbury              MA
James             Gannon                Brighton               MA
Franklin          Garces                Dorchester             MA
Miguel            Garcia                Quincy                 MA
Yanis             Garcia                Worcester              MA
Alesander         Garcia                Lawrence               MA
Omar              Garcia                Lynn                   MA
Ricardo           Garcia                Boston                 MA
Benny             Garcia                Methuen                MA
Manuel            Garcia                Haverhill              MA
German            Garcia                Mansfield              MA
Elizabeth         Garcia                Lynn                   MA
Wilkin            Garcia                Lynn                   MA
Mustafa           Gardia                Lynn                   MA
Emma              Gardiner              Dedham                 MA
Jamiel            Gardner               Brockton               MA
Chris             Garland               Quincy                 MA
Braulio           Garrido               Dorchester             MA
John              Garrison              Hyde Park              MA
Stephen           Gaskill               Chelsea                MA
Steve             Gass                  East Walpole           MA
Pamela            Gatlin                Randolph               MA
Deborah           Gaul                  Boston                 MA
David             Gauthier              Randolph               MA
Emmanuel F.       Gauvin                Hyde Park              MA
Joshua            Gaviola               Malden                 MA
Alexander         Gay                   Kingston               MA
Didier            Gbla                  Clinton                MA
Shadrach          Gbolonyo              Lowell                 MA
Romeo             Gelin                 Brockton               MA
Pierre M          Gelin                 Dorchester             MA
Marcos            Genao                 Lynn                   MA
Richard           Gendron               Lynn                   MA
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Gina                Genovese              Dorchester             MA
Arthur              George                Milton                 MA
Catia               George                Woburn                 MA
Bryant              George                Plymouth               MA
Peterson            Georges               Stoughton              MA
Leroy               Gerald                Dorchester             MA
Pierre Arthur       Germain               Medford                MA
Alfredo             Geronimo              Waltham                MA
Brian               Gerroir               Arlington              MA
Michael             Gershenovich          Framingham             MA
Mohamed             Ghallami              Everett                MA
Richard             Ghiozzi               Medford                MA
Khalid              Ghomari               Brockton               MA
Tyrone              Gibbs                 Fall River             MA
Jason               Giguere               Feeding Hills          MA
Erinson Julian      Gil                   Dorchester             MA
Maria               Gil                   Lawrence               MA
Luis                Gil                   Lawrence               MA
Joshua              Gilbert               North Reading          MA
Christopher         Gildea                Canton                 MA
Jacqueline          Gilliard              Boston                 MA
James               Gilligan              Saugus                 MA
Arthur              Gingras               South Weymouth         MA
Andrew              Girard                Winchendon             MA
Emmanuel            Gitongamunyi          Leominster             MA
Joshua              Gitta                 Norwood                MA
William             Gittens               Boston                 MA
Marcus              Glynn                 Beverly                MA
Firudin             Gojazade              Roslindale             MA
Wayne               Golden                Abington               MA
Stephen             Goll                  Winthrop               MA
Daryl               Golston               Boston                 MA
Manuel              Gomes                 Boston                 MA
Anthony             Gomes                 Ashland                MA
Jonathan            Gomes                 Braintree              MA
Jordon              Gomes                 Seekonk                MA
Ramon               Gomez                 Holbrook               MA
Gloria              Gomez                 Roxbury                MA
Nalus               Gomez                 Somerville             MA
Anthony             Gomez                 Lawrence               MA
Carlos              Gomez                 Maynard                MA
Katherine           Gomez                 Boston                 MA
Jorge               Goncalves             Brockton               MA
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Leoneide            Goncalves             Brockton                MA
Medelyn             Gondim                Rockport                MA
Anthony             Gonsalves             Hyde Park               MA
Michelle            Gonsalves             Boston                  MA
Anthony             Gonsalves             Boston                  MA
Jean                Gonzales              Braintree               MA
Hilda               Gonzalez              Springfield             MA
Leonardo            Gonzalez              Lawrence                MA
Yordyn              Gonzalez              Lowell                  MA
Francis             Gonzalez              Dorchester              MA
Marie               Gonzalez ‐ Gago       Dracut                  MA
Miguel              Gonzalez Jr           Weymouth                MA
Juan Evelio         Gonzalez Reynoso      Lawrence                MA
Sean                Goode                 Dorchester              MA
Clarence            Goodlow               Saugus                  MA
Kenneth             Goodwin               Winthrop                MA
Keith               Goodwin               North Easton            MA
Austin              Gordon                Brockton                MA
Travis              Goss                  Uphams Corner           MA
Linda               Goudreault            West Springfield        MA
Charles             Grandon               Arlington               MA
Lloyd               Grant                 Methuen                 MA
Marc                Grant                 Ayer                    MA
Daniel              Grant                 Beverly                 MA
Anthony             Grant                 Marina Bay              MA
Jessica             Grasso                North Andover           MA
Philip              Gravalese             Roslindale              MA
Marshall            Gray                  Boston                  MA
Scott               Gray                  Somerville              MA
James               Green                 Ipswich                 MA
Russell             Green                 Danvers                 MA
Robert              Green                 Methuen                 MA
Benjamin            Green                 Lynn                    MA
Mervyn              Greenidge             Boston                  MA
Allister            Greenidge             Dorchester              MA
Earl                Griffin               Quincy                  MA
Maxine              Griffith              Boston                  MA
Chris               Griffiths             Mattapan                MA
Edward              Grueter               Brockton                MA
Edwin               Grullon               Revere                  MA
Ulysses             Grullon               East Boston             MA
Sergio              Guarracino            Everett                 MA
Ricardo             Guerrero              Boston                  MA
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Guillermo          Guerrero              Chelsea                MA
Nieves             Guerrero              Hyde Park              MA
Jean               Guerrier              Randolph               MA
Raquel             Guimaraes             Medford                MA
Carlos             Guity                 Amherst                MA
Ricardo            Guity                 Boston                 MA
Kevin              Guldin                Worcester              MA
Henryce            Gumes                 Everett                MA
Yousif             Gundoule              Chelsea                MA
Marcia             Gunn Jones            Boston                 MA
Tomas              Gutauskas             Mansfield              MA
Brenda             Gutierrez             Boston                 MA
James              Guy                   Reading                MA
Cary               Guy                   Braintree              MA
Mario              Guy                   Lowell                 MA
Elvys              Guzman                Methuen                MA
Kevin              Guzman                Revere                 MA
Emily              Guzman                Dorchester             MA
David              Gyewu                 Cambridge              MA
Samuel             Habcegiorgis          Cambridge              MA
Joseph             Habeeb                Revere                 MA
Aras               Hachikian             Watertown              MA
Houda              Haddadi               Lynn                   MA
Larbi              Hadidi                East Boston            MA
Alberto            Haggett               Charlton               MA
Dennis             Hairston              Roxbury                MA
Stuart             Hakey                 Millbury               MA
Christtian         Hall                  Leominster             MA
Joseph             Hallahan              Dracut                 MA
Noureddine         Haloui                Chelsea                MA
Thomas             Hampton               Hyde Park              MA
Tim                Hanlon                East Bridgewater       MA
Adera              Hanna                 Hyde Park              MA
Timothy            Hansen                Holden                 MA
Kerry              Hansen                Randolph               MA
Najoua             Harb                  Methuen                MA
Richard            Harrington            Wakefield              MA
Marcell            Harris                Cambridge              MA
Steven             Harris                Framingham             MA
Dequone            Harris                Boston                 MA
Christopher        Harris                Revere                 MA
Jesse              Harrison              Easthampton            MA
Deaundrea          Hart                  Braintree              MA
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Brian              Hartong               Three Rivers            MA
Samantha           Harvey                Dorchester              MA
Stefani            Hatton                Randolph                MA
Keith              Hawkins               Roslindale              MA
Melissa            Hayes                 Ashland                 MA
Susan              Hayes                 Agawam                  MA
Paul               Hayes                 Agawam                  MA
Chauniece          Haygood               Hyde Park               MA
Shenequa           Haynes                Medford                 MA
Kenneth            Headley               Cambridge               MA
Daniel J.          Healy                 Malden                  MA
Anthony            Healy                 Everett                 MA
Richard            Heap                  Dorchester              MA
Brian              Heath                 Mansfield               MA
Terry              Hector                Boston                  MA
Christopher        Helmar                Norwood                 MA
Alfonso            Henderson             Chestnut Hill           MA
Giovanna           Henry                 Boston                  MA
Edward             Henry                 West Springfield        MA
Joseph             Henry                 Lowell                  MA
Marvin             Henry                 Hyde Park               MA
Lyns               Hercule               Belmont                 MA
Roberto            Heredia               Dennis                  MA
Lawrence           Herman                Beverly                 MA
Jennifer           Hernandez             Lawrence                MA
Julio              Hernandez             Chelsea                 MA
Sammy              Hernandez             Brookline               MA
Luis               Hernandez             Lawrence                MA
Jose               Hernandez             Dedham                  MA
Yonel              Hernandez             Fall River              MA
Carlos             Hernandez             Lynn                    MA
Josue Orlando      Hernandez Fuentes     East Boston             MA
Michael            Herrera               Hopkinton               MA
John               Hibbard               Walpole                 MA
Attland            Hibbert               Randolph                MA
Monique            Hicks                 East Boston             MA
Paul               Hidalgo               Chelsea                 MA
Tai                Higginbottom          Boston                  MA
Walter             Higgs Iii             Revere                  MA
Omar               Hilal                 Revere                  MA
Luis               Hilario               Lawrence                MA
Charles            Hill                  Dorchester              MA
Ken                Hill                  Bedford                 MA
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Dwayne             Hill                 Dorchester             MA
Marvin             Hillery              Dorchester             MA
Llavar             Hind                 Boston                 MA
Jerome             Hinds                Lowell                 MA
Thomas             Hines                East Freetown          MA
John               Hines                Taunton                MA
Tim                Hines                East Falmouth          MA
Shirley            Hodge                Randolph               MA
Charles            Holcombe             Canton                 MA
Joel               Holder               Methuen                MA
Dietra             Holland              Salem                  MA
Tina               Holley               Boston                 MA
Ariel              Holmes               Northborough           MA
Lorenzo            Hooker Iii           Boston                 MA
Colin              Hoppie               Springfield            MA
Lanisha            Howard               Dorchester             MA
Christopher        Howard               Springfield            MA
Darrell            Howard               Roxbury                MA
William            Howard               Boston                 MA
Barbara            Howard               Weymouth               MA
Daniel             Hudson               Dedham                 MA
Keri               Huffam               Attleboro              MA
Damien             Huggins              Lynn                   MA
Percy              Hughes               Cambridge              MA
Frederico          Huguenin             Somerville             MA
Michael            Huguley              Malden                 MA
Cody               Hunter               Taunton                MA
Timothy            Hurley               Marblehead             MA
Mazin              Husain               Lynn                   MA
Angela             Hussey               Boston                 MA
Mark               Hutchinson           Lynn                   MA
Olguen             Hyppolite            Stoneham               MA
Victor             Icart                Quincy                 MA
Linus              Idemudia             Hyde Park              MA
Nnodim             Ifebuzo              Dorchester             MA
Festus             Igharo               Taunton                MA
Christian          Ighobaro             Randolph               MA
Chinedu            Ihejiere             Brockton               MA
Semihou            Iloupe               Mattapan               MA
Sunday             Inegbenebo           Brockton               MA
Harrison           Ingels               Worcester              MA
Derrick            Ingram               Everett                MA
Greg               Ingram               Brockton               MA
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Cedric             Ingram                 Jamaica Plain          MA
Charles            Ingram                 South Boston           MA
Ashley             Ingram                 Boston                 MA
Sergino            Innocent               Worcester              MA
Jean               Innocent               Roslindale             MA
Anthony            Inocencio              Stoughton              MA
Robert             Iovanne                Medford                MA
Kristin            Irving                 Beverly                MA
Aziz               Isaak                  Lynn                   MA
Asiful             Islam                  Malden                 MA
Patrigue           Italien                Stoughton              MA
Armand             Ivy                    Brockton               MA
Louis              Jacinthe               Holbrook               MA
Dana               Jackson                Quincy                 MA
Nicole             Jackson                Peabody                MA
Adell              Jackson                Boston                 MA
Kyle               Jackson                Boston                 MA
Letita             Jackson                Dorchester             MA
Corey              Jacobs                 Chestnut Hill          MA
Thierry Steve      Jacques                Malden                 MA
Yvelise            Jacques                West Medford           MA
Jeron              Jalli                  Beverly                MA
Mariama            Jalloh                 Quincy                 MA
Fantasia           James                  Boston                 MA
Onuh               James                  Norwood                MA
Danielle           James                  Stoughton              MA
Keon               James                  Somerville             MA
Abdul              Jami                   Taunton                MA
Rigaud             Janvier                Brockton               MA
Jerry              Janvier                Lynn                   MA
Richard            Jaquez                 Methuen                MA
Tahsin             Jassim                 Lowell                 MA
Dominique          Jean                   Brockton               MA
Kenan              Jean                   Fitchburg              MA
Jean               Jean                   Brockton               MA
Igor               Jean                   Randolph               MA
Quentin            Jean                   Boston                 MA
Carl               Jean ‐ Louis           Brockton               MA
Joel               Jean ‐ Michel          Milton                 MA
St Fleur           Jean Baptiste          Dedham                 MA
Pierre Alain       Jean Gilles            Lynn                   MA
Pierre Wilson      Jean Louis             Brockton               MA
Sandra             Jean‐Baptiste          Dorchester             MA
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Betsy             Jean‐Baptiste          Braintree              MA
Gardinel          Jeanlouis              Brockton               MA
Djherry           Jean‐Louis             Worcester              MA
Philippe          Jean‐Louis             Cambridge              MA
Emmanuel          Jean‐Michel            Hyde Park              MA
Jehol             Jeanniton              Arlington              MA
Hilton            Jean‐Pierre            Boston                 MA
Samantha          Jellison               Waltham                MA
Robert            Jenkins                Dorchester Center      MA
Guesley           Jerome                 Hyde Park              MA
Tamar             Jerome                 Hyde Park              MA
Francine          Jessamy                Roxbury                MA
Fitzgerald        Jeudy                  Dorchester             MA
Joseph            Jeudy                  Stoughton              MA
Rhau              Jhonsonn               Stoughton              MA
Antonio           Jimenez                Revere                 MA
Candy             Jimenez                Peabody                MA
Carlos            Jimenez                Wrentham               MA
Melvin            Jimenez                South Waltham          MA
Suraphel          Johannes               Malden                 MA
Muhammad          Johanni                Boston                 MA
Shikya            Johnson                Boston                 MA
Richard           Johnson                Worcester              MA
Jeffrey           Johnson                Randolph               MA
Tamba             Johnson                Lynn                   MA
James             Johnson                Pembroke               MA
Vernice           Johnson                Blackstone             MA
Kathleen          Johnson                Avon                   MA
Don               Johnson                Boston                 MA
Ahmad             Johnson                Boston                 MA
Matthew           Johnson                Brockton               MA
Herman            Johnson                Roxbury                MA
Wayne             Johnson                Boston                 MA
Jermain           Johnson                Auburn                 MA
Emmanuel          Johnson                Everett                MA
Carol             Johnson                Boston                 MA
Brian             Jolles                 Waltham                MA
Patrick           Jonathas               Medford                MA
Sony              Jonathas               Malden                 MA
Anthony           Jones                  Salem                  MA
Dolly             Jones                  Rochdale               MA
Nathaniel         Jones                  Boston                 MA
James             Jones                  Somerville             MA
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Albert            Jones                 Springfield            MA
Kwesi             Jones                 Lynn                   MA
Keith             Jones                 Milton                 MA
Shawn             Jordan                Salem                  MA
Adrianne          Jordan                Roxbury                MA
Stephen           Jordan                Hanover                MA
Jamal             Jordan                Randolph               MA
Wesner            Joseph                East Watertown         MA
Daniel            Joseph                Boston                 MA
Junior            Joseph                Saugus                 MA
Ronald            Joseph                Boston                 MA
Wilgens           Joseph                Fitchburg              MA
Nelson            Joseph                Milton                 MA
Roodly            Joseph                Brockton               MA
Gregory           Joseph                Brockton               MA
Dwayne            Joseph                Chelsea                MA
Nicolson          Joseph                Milton                 MA
Mackenson         Joseph                Medford                MA
Frentz            Joseph                Salem                  MA
Robert            Judd                  Watertown              MA
Michael           Judge                 North Attleboro        MA
Gary              Julian                Stoughton              MA
Jim               Julien                Brockton               MA
Nersonn           Justine               Lynn                   MA
Mory              Kaba                  Attleboro              MA
Mamady            Kady                  Lynn                   MA
Richard           Kagan                 Wilbraham              MA
Wilson            Kahunyo               Lowell                 MA
Andrew            Kaikai                Mattapan               MA
Micheal           Kakande               Waltham                MA
Herbert           Kalibala              Burlington             MA
Marsoh            Kamara                Stoughton              MA
Alhaji            Kamara                Dracut                 MA
Samuel            Kamau                 Raynham                MA
Martin            Kan                   Springfield            MA
Lawrence          Kane                  Salem                  MA
Sharon            Kanyangarara          Lynn                   MA
Jean              Karger                Weymouth               MA
Curt              Karl                  Saugus                 MA
Mustapha          Kartouche             Boston                 MA
Charles           Karugu                Boston                 MA
Wayne             Kasilowski            Dracut                 MA
Yosef             Kasse                 Cambridge              MA
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Paul               Kassis               Peabody                MA
Ana                Kayas                Franklin               MA
Dorjan             Keka                 Peabody                MA
Eric               Keller               Andover                MA
Joseph             Kelley               Boston                 MA
Jason              Kelley               South Weymouth         MA
Ryan               Kelley               Dedham                 MA
Christopher        Kelley               Melrose                MA
Ashley             Kelley               Quincy                 MA
Christian          Kelley               Boston                 MA
Michael            Kelley               Braintree              MA
Robert             Kelley               Chicopee               MA
Shimel             Kelly                Everett                MA
Brian              Kemmett              Somerville             MA
Tiana              Kendall              Springfield            MA
Deondre            Kennard              Hyde Park              MA
Lisa               Kenney               Beverly                MA
Shawn              Kenney               Boston                 MA
John               Kent                 Revere                 MA
Terrina            Kerr                 Boston                 MA
Nicole             Keskula              Millbury               MA
Queen              Key                  Dorchester             MA
Deepak             Khadka               Boston                 MA
Lena               Khalek               South Easton           MA
Mohamed            Khalil               Dorchester             MA
Badrul             Khan                 Andover                MA
Scott              Khourie              Woburn                 MA
Francis            Kibera               Worcester              MA
Peter              Kiere                Danvers                MA
Richard            Killeen              Sagamore Beach         MA
Walter             Kincey               Attleboro              MA
Thomas             Kines                Salem                  MA
Queyanna           King                 Mattapan               MA
Andre              King                 Dorchester             MA
Carolyn            King                 Roslindale             MA
John               Kinney               Quincy                 MA
Mikeya             Kirksey              Dorchester             MA
John               Kirwan               Ashland                MA
Damon              Kiser                Malden                 MA
Kudra              Kisubi               Waltham                MA
Senkubuge          Kiwanuka             Billerica              MA
Suzanne            Klaus                Melrose                MA
Bruce              Knight               Westwood               MA
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Andrew             Knox                 Amesbury               MA
David              Kokindo Jr           Dedham                 MA
Charlie            Kokinidis            Dedham                 MA
Wilson             Kokroko              Worcester              MA
Abdoul             Kone                 Boston                 MA
Jon                Konrad               Dover                  MA
Valerie            Koonce               Brockton               MA
Konstantinos       Korinis              Natick                 MA
Andre              Kornegay             Brockton               MA
Ansumana           Koroma               Hyde Park              MA
Kateryna           Kostyukova           Framingham             MA
Nikola             Kovacevic            Revere                 MA
Derick             Kuessan              Norwood                MA
Jason              Kulins               Methuen                MA
Priya              Kumar                Malden                 MA
David              Kumar                Malden                 MA
Babatunde          Kunnu                Boston                 MA
Ronald             Kurtz                Arlington              MA
Serge              Kuzmenko             Arlington              MA
Andrzej            Kuzmicki             Halyoke                MA
Richard            Kwan                 Randolph               MA
Robert             Kyaboona             Waltham                MA
David              Kyemba               Waltham                MA
Charles            Laamanen             Palmer                 MA
Pierre             Laborde              Medford                MA
Imani              Lacourt              Holbrook               MA
Jose               Lacourt              Boston                 MA
Rony               Ladouceur            Methuen                MA
Hansey             Lafond               Dorchester             MA
Jonathan           Lafontant            Boston                 MA
Jean               Laforest             Randolph               MA
Wesley             Laforest             Brockton               MA
Jose               Lagares              East Boston            MA
Garry              Laguerre             Brockton               MA
Marva              Laguerre             Brockton               MA
Junior             Laguerre             Brockton               MA
Alicia             Laing                Attleboro              MA
Kristofor          Lako                 Medfield               MA
Christopher        Lam                  Medford                MA
Patricia           Lamando              Nahant                 MA
Richard            Lamonica             Framingham             MA
Dion               Lamotte              Norwood                MA
Mark               Lampert              Dedham                 MA
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Krysten           Lamy                 Townsend               MA
Gary              Lamy                 West Springfield       MA
Kora              Lancey               Winchendon             MA
Shawn             Lanciani             Malden                 MA
Wayne A           Lane                 Randolph               MA
Joan              Langley              North Weymouth         MA
Jonathan          Langlois             Lynn                   MA
Mari              Lanzilli             East Boston            MA
Haru              Lao                  Quincy                 MA
Patrice           Lapierre             Needham                MA
Matthew           Laporte              Beverly                MA
Jose              Lara                 Lawrence               MA
Ruben             Laroche              Hyde Park              MA
Ifeanyi           Lator                Boston                 MA
Timmothy          Latson               Hyde Park              MA
April             Laura                Worcester              MA
Moise             Laurent              Malden                 MA
Wilson            Lauture              Brockton               MA
Ronald            Lavigne              Rutland                MA
John              Lavoie               Walpole                MA
Kevin             Lawlor               Marshfield             MA
Cathleen          Lawlor               Brockton               MA
Jenny             Lazo                 South Lawrence         MA
Jose              Lazo                 Somerville             MA
Andy              Le                   Dorchester             MA
Richard           Leandro              Malden                 MA
Kenneth           Leary Jr             Auburndale             MA
Kevin             Leblanc              Charlton               MA
Tomica            Leblanc              East Freetown          MA
William           Lebron               Brockton               MA
Nicholas          Leclair              Leicester              MA
Sherry            Leclair              Lunenburg              MA
Amir              Leeloo               Boston                 MA
Pierre            Lefeige              Milton                 MA
Franck            Lefevre              Brockton               MA
Fritz             Lefort               Medford                MA
Marco             Leite                Weymouth               MA
Fernando          Leite                Medford                MA
Bernier           Leon                 Lynn                   MA
Edmund            Leonard              Roxbury                MA
Samuel            Lev                  Easthampton            MA
Mark              Lever                Leominster             MA
Greg              Leverone             Milford                MA
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Alan               Levine                Natick                 MA
Scott              Lewis                 Wilbraham              MA
Acton              Lezama                Charlestown            MA
Errol              Licciardi             Acton                  Ma
Gary               Lima                  Dorchester             MA
Mario              Lima                  Peabody                MA
Shiquan            Lin                   Quincy                 MA
David              Linehan               Waltham                MA
Jeffrey            Liss                  Fall River             MA
Heather            Littles               Saugus                 MA
John               Litwinsky             Boston                 MA
Francisco          Lizardo               Revere                 MA
Enmanuel           Lizardo               Chelsea                MA
Henrique           Lobo                  Lynn                   MA
Neltor             Lobo                  Dorchester             MA
Darlene            Lockhart              Tewksbury              MA
Stephan            Lockwood              Boston                 MA
Stephan T          Lockwood              Stoughton              MA
Andrew             Loeser                Somerville             MA
Suzanne            Lograsso              East Boston            MA
Corey              Lombardi              Haverhill              MA
Victor             Lopes                 Framingham             MA
Denize             Lopes                 Northboro              MA
Emmanuel           Lopes                 Mattapan               MA
Joao               Lopes                 Lowell                 MA
Celestino          Lopes                 New Bedford            MA
Lenisa             Lopes                 Mattapan               MA
Joanna             Lopez                 Worcester              MA
Luis               Lopez                 Roxbury                MA
Carlos             Lopez                 Lynn                   MA
Jose               Lopez                 Lowell                 MA
Yashira            Lora                  Haverhill              MA
Manuel             Loramartinez          Shrewsbury             MA
Altagracia         Lorenzo               Mattapan               MA
Jean Wist          Lormeus               Milton                 MA
Dila               Loseil                Brockton               MA
Tatiana            Lott                  Boston                 MA
Eric               Lott Sr.              Dorchester             MA
Pierre             Louis                 Mattapan               MA
Murat              Louis                 Watertown              MA
Esteve             Louis                 Stoneham               MA
Martin             Louis                 Lynn                   MA
Josilien           Louis                 Medford                MA
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Larry              Louis                Stoughton               MA
Jean               Louis Jacques        Brockton                MA
Jeslie             Louizia              Brockton                MA
Charles            Loukeris             North Billerica         MA
Ernest             Louro                Weymouth                MA
Plamen             Lovtchinov           Acton                   MA
Sady               Lozada               Malden                  MA
Paul               Lubinga              Lincoln                 MA
Bourcicaut         Lucas                Framingham              MA
Reginald           Lucas                Roxbury                 MA
Jackson            Lucas                Randolph                MA
Robert             Lucas                Roxbury                 MA
Darren             Lucas                Boston                  MA
Melissa Perez      Luis Perez           Revere                  MA
Victor             Luna                 Lowell                  MA
Rose               Luna                 Lowell                  MA
Pierre             Lundy                Everett                 MA
Robert             Lunkoto              Hyde Park               MA
Tam                Ly                   Quincy                  MA
Vi                 Ly                   Randolph                MA
Deborah            Lyons                Taunton                 MA
Edward             Lyons                Cambridge               MA
Theresa            Lyons                Boston                  MA
Corina             Lyttle               Swampscott              MA
Chris              Macbride             Hyannis                 MA
James              Maccanell            Easthampton             MA
Sean               Macdonald            Braintree               MA
Jeffrey            Macdonald            Worcester               MA
Fabiano            Macedo               Sudbury                 MA
Anthony            Machado              Melrose                 MA
Claudio            Machado              Everett                 MA
Adrienne           Mackey               Rockland                MA
Susan              Macleod Laborne      Falmouth                MA
Christopher        Madan                Marshfield              MA
Frank              Magori               Lynn                    MA
Michael            Maher                Holden                  MA
Raj                Mahimtura            Hudson                  MA
Jude               Maignan              Webster                 MA
Juan               Maiun                Lawrence                MA
Johny              Malan                Brockton                MA
Esmeraldo          Maldonado            Worcester               MA
John               Malloy               Cambridge               MA
Christina          Mallozzi             Worcester               MA
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Sabrina           Maloney              Randolph               MA
David             Manchester           Billerica              MA
Mario             Mancini              Everett                MA
William           Mancortes            Hyde Park              MA
Frances           Mancuso              Chicopee               MA
Derek             Maneiro              Peabody                MA
Soraya            Maness               Dorchester             MA
James             Mangiero             Brighton               MA
Bryan             Mannila              Paxton                 MA
Mark              Manning              Danvers                MA
Nicole            Manning              Dorchester             MA
Gifty             Mansaray             Malden                 MA
Frantz            Mansuy               Brockton               MA
Edward            Mantey               Everett                MA
Ralph             Marasa               Lowell                 MA
Bens              Marcellus            Boston                 MA
Jean              Marcenat             Boston                 MA
Monica            Marchando            Dorchester             MA
Alan              Marchesini           Lynn                   MA
Tiffany           Marciello            Billerica              MA
Franklin          Marcos               Fall River             MA
Steve             Marides              Billerica              MA
Kyrol             Mark                 Boston                 MA
John              Marol                North Attleboro        MA
Matthew           Marquez              Salem                  MA
Weder             Marra                Natick                 MA
Matthew           Marrano              Plymouth               MA
Dennis            Marroquin            Watertown              MA
Brian             Marsh                Randolph               MA
Amanda            Marshall             Beverly                MA
Jimmy             Marshall             Dorchester             MA
Pablo             Marte                Lawrence               MA
Mark              Martin               Methuen                MA
Robin             Martin               Templeton              MA
Laura             Martinez             Sudbury                MA
Jerson            Martinez             Methuen                MA
Francis           Martinez             Arlington              MA
Julio             Martinez             Springfield            MA
Joselito          Martinez             Everett                MA
Dilermando        Martins              Framingham             MA
Agusto            Martins              Medford                MA
Nelson            Martins              Fall River             MA
Gregory           Masse                Weymouth               MA
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Marie              Massenet                Braintree              MA
Angel              Masso                   Shrewsbury             MA
Gary               Mateo                   Abington               MA
Leeroy             Mateo                   Worcester              MA
Stanley            Mathieu                 Saugus                 MA
Zachary            Mathieu                 Millbury               MA
Clifford           Mathurin                Stoughton              MA
Paul               Mathurin                Boston                 MA
Christian          Matias                  South Lawrence         MA
Seyed              Matoofi                 Quincy                 MA
Ibraim             Matos                   Hyde Park              MA
Ashley             Matos                   Bradford               MA
Lisa               Matos ‐ Lewis           Boston                 MA
Jason              Matovu                  Norwood                MA
Pamela             Matthews                Dorchester             MA
Luiz               Mattos                  Westborough            MA
Eileen             Maxwell                 South Boston           MA
Patrick            May                     Scituate               MA
Stephanie          Maynard                 Worcester              MA
Othman             Mbari                   Revere                 MA
Earl               Mcallister              Lowell                 MA
Twana              Mccall                  Walpole                MA
Roger              Mccarthy                Framingham             MA
Brian              Mccarthy                Somerville             MA
John               Mcclain                 Quincy                 MA
Ben                Mcclary                 Boston                 MA
Scott              Mcclure                 Westwood               MA
Jeff               Mccray                  Jamaica Plain          MA
Pernell            Mcdaniel                Boston                 MA
Ari                Mcdonald                Framingham             MA
Brian              Mcdonald                Hopedale               MA
Conor              Mcdonald                Dorchester             MA
Richard            Mcdonald                Boston                 MA
Ronald             Mcgrath                 Haverhill              MA
Rayna              Mcgregor                Cambridge              MA
Andrea             Mcgregor Reese          Cambridge              MA
Lydia              Mcguire                 Boston                 MA
Belinda            Mcilvaine               East Milton            MA
Richard            Mckenna                 Hyde Park              MA
John               Mckenna                 Sandwich               MA
Melvin             Mckenzie                Boston                 MA
Anthony L          Mckinney Sr             Everett                MA
Jason              Mclean                  Dorchester             MA
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Lawrence           Mcleod               Dorchester              MA
Shawn              Mcmanus              Woburn                  MA
Lisa               Mcmanus              Burlington              MA
Richard            Mcmullen             Foxborough              MA
Steven             Mcnally              Wollaston               MA
Kaileigh           Mcneil               Charlestown             MA
Kevin              Mcphail              Belmont                 MA
Marty              Mcphail              Roxbury                 MA
Sam                Meas                 Lowell                  MA
Hannah             Mecaskey             Boston                  MA
Priscilla          Medeiros             Leominster              MA
Manuel             Medina               Boston                  MA
Miguel             Medina               Fall River              MA
Jason              Medley               Boston                  MA
Frady              Medrano              Peabody                 MA
Ashir              Mehmood              Arlington               MA
Furqan             Mehmud               Fitchburg               MA
Phaedra            Mehu                 Everett                 MA
Berik              Meirkhanov           Brookline               MA
Hector             Mejia                Brighton                MA
Yessideiry         Mejia                Salem                   MA
Francisco          Mejia                Jamaica Plain           MA
Pedro              Mejia                Everett                 MA
Carlos             Mejias               Dorchester              MA
Berardo            Melara               Everett                 MA
Juan               Melendez             Fitchburg               MA
Andres             Mellizo              Hudson                  MA
Christopher        Melo                 Lawrence                MA
Anthony            Membo                Boston                  MA
Michael            Meminger             Boston                  MA
Michelle           Memnon               Worcester               MA
Michael            Mendes               Lynn                    MA
Jose               Mendes               Brockton                MA
Miguel             Mendes               Roxbury                 MA
Simao              Mendes               Pittsfield              MA
Alexander          Mendes               Brockton                MA
Carlos             Mendez               Lowell                  MA
Edwin              Mendez               Woburn                  MA
Jezabell           Mendoza              Hopkinton               MA
Connor             Menjares             Pepperell               MA
Derek              Mensah               Worcester               MA
Isaac              Mensah               Worcester               MA
Andre              Merced               Holyoke                 MA
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Dannery Daniel     Mercedes Molina      Peabody                MA
Joseph             Merlina              South Lawrence         MA
Antone             Merrill              Everett                MA
Dickson            Mesah                Worcester              MA
Francisco          Meto                 Weymouth               MA
Kristina           Mezzetti             Lynn                   MA
Isaura             Michelon             Malden                 MA
Lindsay            Michonski            Plymouth               MA
Maurice            Mignott              Boston                 MA
Yolanda            Mikell               Dorchester             MA
Daryl              Mikuszewski          Gardner                MA
Eduardo            Milagre              Hyannis                MA
Davin              Miller               Boston                 MA
Donna              Miller               Feeding Hills          MA
Jealynn            Miller               Revere                 MA
Trent              Miller               Boston                 MA
Frank              Miller               Plymouth               MA
Waylon             Mills                Dorchester             MA
Vernon             Mills                Boston                 MA
William            Mir                  Lynn                   MA
Jonathan           Miranda              Brockton               MA
Joao               Miranda              Medfield               MA
David              Misch                Worcester              MA
John               Mitchell             Wellesley              MA
Allen              Mitchell             Randolph               MA
William            Mitchell             North Reading          MA
Hamilton           Moguea‐ Hernandez    Marblehead             MA
Mohamad            Mohamad              Boston                 MA
Omar               Mohamed              Boston                 MA
Bahaedin A         Mohammad             South Waltham          MA
Taliye             Mohamud              Roxbury                MA
Hussain            Moheiddin            Somerville             MA
Marie              Molefe               Newton                 MA
Richard            Moleti               Nahant                 MA
Ford               Molin                Randolph               MA
Steven             Molina               Springfield            MA
Lisa               Molino               East Lynn              MA
Jean               Momplaisir           Woburn                 MA
Brucenel           Mompremier           Taunton                MA
Andrew             Monaham              Randolph               MA
Gretta             Moncina              Saugus                 MA
Juan               Monegro Diaz         Lawrence               MA
Carlo              Monestime            Brockton               MA
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Jos                Monge                   Dorchester             MA
Paulo              Moniz                   Randolph               MA
Billy              Monroy                  Haverhill              MA
Irineu             Monteiro                Brockton               MA
Wilson             Monteiro                Brockton               MA
Inilda             Monteiro                Brockton               MA
Francisco          Monteiro                Brockton               MA
Joao               Monteirodepina          Fall River             MA
Joao               Montero                 Brockton               MA
Lisa               Montgomery              Jamaica Plain          MA
Arien              Monti                   Worcester              MA
Mario              Montos                  Dorchester             MA
As‐ Salaam         Mooltrey                Charlestown            MA
Susan              Mooney                  Abington               MA
Ryan               Mooney                  Medway                 MA
Marlon             Moore                   Boston                 MA
Bernard            Moore                   Mattapan               MA
Andreya            Moore                   Brockton               MA
Jamie              Moore                   Lowell                 MA
Christopher        Moorhead                Worcester              MA
Ilonka             Mora                    South Lawrence         MA
Joel               Morales                 Everett                MA
Vanessa            Morales                 Randolph               MA
Carlos             Moran                   Revere                 MA
Marco              Morataya                Hyde Park              MA
Lennox             More                    Roxbury                MA
Pedro              Moreira                 Everett                MA
Victor             Moreira                 Brockton               MA
James              Morgan                  Quincy                 MA
Ramy               Morgan                  Westborough            MA
Neit               Morillo                 Methuen                MA
Hermin             Morpeau                 Brighton               MA
Kyle               Morris                  Malden                 MA
Kevin              Morrison                Medford                MA
Malcolm            Morrison                Rockland               MA
William            Morse                   Dracut                 MA
Junior             Moscoso                 Boston                 MA
Anthony            Mosley                  Lowell                 MA
John               Mota                    Stoneham               MA
Mujahid            Moughal                 Malden                 MA
Saleh              Moujtahid               Fitchburg              MA
Nicholas           Moulaison Sr.           Revere                 MA
Robert             Moulton                 Wakefield              MA
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Tanisha           Moultrie              Dorchester             MA
Philipe           Moura                 Winthrop               MA
Washington        Moura                 Framingham             MA
Erica             Moya                  Cambridge              MA
Kurai             Moyo                  Boston                 MA
Stanley           Mroczkowski           Hyannis                MA
Joshua            Mubuuke               Lowell                 MA
Bryan             Muenzner              Beverly                MA
Janel             Muhammad              Dorchester             MA
Brenton           Muir                  Boston                 MA
Emmanuel          Mukendi               Somerville             MA
Patrick           Mukuria               Brockton               MA
Felicita          Muller                Brockton               MA
Kadian            Mullings              Norwood                MA
Shariyf           Mulrain               Dorchester             MA
Marissa           Munafo                Everett                MA
Robert            Mungai                Holbrook               MA
Abigail           Muniz                 Everett                MA
Jared             Murphy                Stoughton              MA
Thomas            Murphy                Andover                MA
Zachary           Murphy                West Barnstable        MA
James             Murphy Sr.            Dorchester             MA
Paul              Murray                Marshfield             MA
Jarvis            Murray                East Boston            MA
Jenny             Musto                 Salem                  MA
John              Muumba                Newton                 MA
Robert            Mwangi                Taunton                MA
Derek             Myers                 Brockton               MA
Ronald            Myers                 Leominster             MA
Louis             Myers Jr              Hyde Park              MA
Raymond           Myers Kieran          Revere                 MA
Jesse             Mzee                  Leominster             MA
Abdelkrim         Nadar                 Everett                MA
Fatuma            Nakanwagi             Salem                  MA
Wandwasan         Napir                 North Cambridge        MA
Stjean            Narcisse              Medway                 MA
Mohammad          Nasir                 Boxborough             MA
Selena            Natale                Quincy                 MA
Frantz            Nazaire               Boston                 MA
Tariq             Nazyat                Framingham             MA
David             Nazzaro               Newton                 MA
Nche              Ndumu                 Lynn                   MA
Brehan            Negewo                Everett                MA
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Solmaria           Negron                  Springfield            MA
Angelica           Negron‐ Torres          Lawrence               MA
Rayon              Nelson                  Boston                 MA
Lester             Nelson                  Mattapan               MA
Isa                Nelson                  Marlborough            MA
Richard            Nelson                  Haverhill              MA
David              Nelson                  Natick                 MA
Indira             Nelson                  Mattapan               MA
Johnathan          Nesmith                 New Bedford            MA
Daniel             Neuhaus                 Gardner                MA
Fabio              Neves                   Revere                 MA
Amadeu             Neves                   New Bedford            Ma
Zaida              Neves                   New Bedford            MA
Erik               Newton                  Southbridge            MA
Adam               Nezbeth                 Boston                 MA
Anthony            Ngari                   Randolph               MA
Randy              Nguyen                  Boston                 MA
Vuong              Nguyen                  Chelsea                MA
Kosal              Nhin                    Lynn                   MA
Sylvester          Nicholas                Mattapan               MA
Dana               Nichols                 Lawrence               MA
Roger              Nicholson               Cambridge              MA
Caterina           Nicolazzo               West Newton            MA
Martita            Nieves                  Boston                 MA
Jerry              Nieves                  Rockland               MA
Baljinder          Nijjar                  Boston                 MA
David              Nims                    Plymouth               MA
Gideon             Njuguna                 Lynn                   MA
Juliano            Noel                    Weymouth               MA
Jimmy              Noel                    Brockton               MA
Rodney             Noel                    Canton                 MA
Ronald             Noel                    Brockton               MA
Jorge              Nolasco                 East Boston            MA
Yves               Noncent                 Randolph               MA
James              Noncent                 Randolph               MA
Joseph             Noriega                 Danvers                MA
Jewel              Nortey                  Clinton                MA
Iguieldo           Norvil                  Boston                 MA
Abdelmajid         Nouirja                 Revere                 MA
Wilber             Nova Acevedo            Revere                 MA
Nathan             Novello                 Malden                 MA
Robert             Nsereko                 Framingham             MA
Peter              Nsiah                   Framingham             MA
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George             Ntim                  Worcester              MA
Francisco          Nunes                 Dorchester             MA
Francisco          Nunez                 Brockton               MA
Jose               Nunez                 Andover                MA
Pedro              Nunez                 Chelsea                MA
Juan               Nunez                 Lawrence               MA
Mandy              Nutter                Lowell                 MA
Stella             Nwogbo                Worcester              MA
Harold             O' Garro Jr.          Dorchester             MA
Jonathan           Obasohan              Lynn                   MA
Agbonlahor         Obazee                Dorchester             MA
Dickson            Obazee                Boston                 MA
George             Obichie               Randolph               MA
Gerald             Obika                 Haverhill              MA
Pius               Oboh                  Lynn                   MA
Kevin              Obrien                North Attleboro        MA
Michael            O'Brien               Chelsea                MA
Rita               Obuchowski            Worcester              MA
Jordan             Ocallaghan            East Weymouth          MA
Roberto            Ocasio                Saugus                 MA
Orlando            Ocasio                East Taunton           MA
Edwin              Ochoa                 Winthrop               MA
James              Oconnell              Woburn                 MA
Lisa               O'Connor              Lawrence               MA
Eddie              Odney                 Dedham                 MA
Ernest             Ofori                 Worcester              MA
Julius             Ogiemwanre            Swampscott             MA
Ayodeji            Ogundele              Jamaica Plain          MA
Bismark            Ohemeng               Marlboro               MA
Ugwa               Oji                   Brockton               MA
Washington         Okechi                Lynn                   MA
Isiaka             Okeowo                Peabody State          MA
Edwin              Okhumeode             Lynn                   MA
Moses              Okonoboh              Lowell                 MA
Ifeanyichukwu      Okoye                 Randolph               MA
Michael            Oksanish              Westminster            MA
Blessing           Okunbor               Boston                 MA
Samson             Okundaye              Randolph               MA
Albert             Okundaye              Dorchester             MA
Olatunji           Oladejo               Norwood                MA
James              Oleary                Reading                MA
Adilson            Oliveira              Brockton               MA
Diego              Oliveira              Lawrence               MA
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Daniel             Oliveira              Fall River             MA
Joseph             Oliver                Boston                 MA
Tawanna            Oliver                Boston                 MA
Damaris            Oliveras              Worcester              MA
Andrew             Oliveri               Plymouth               MA
Miguel             Olivero               Dorchester             MA
Taiesha            Olivier               Malden                 MA
David              Olson                 Amesbury               MA
Kirk               Olson                 Taunton                MA
Abdelrazig         Omer                  Lynn                   MA
Emmanuel           Omezi                 Methuen                MA
Emmanuel           Omoregie              Quincy                 MA
Bright             Omorodion             Everett                MA
David              Omotosho              Stoneham               MA
Nkaja              Opara                 Medford                MA
Maxwell            Opoku                 Worcester              MA
Harry              Opoku                 Worcester              MA
James              Orelus                Lynn                   MA
Gabriel            Oriereasiunu          Everett                MA
Michael            Orlandi               Indian Orchard         MA
Peterson           Ormil                 Weymouth               MA
Jose               Ortega                Roslindale             MA
Felix              Ortega                Lawrence               MA
Andry              Ortic                 Boston                 MA
Stephanie          Ortiz                 Lawrence               MA
Jalisa             Ortiz                 Leverett               MA
Ana                Ortiz                 Dracut                 MA
Edgardo            Ortiz                 Lawrence               MA
Willian            Ortiz                 Somerville             MA
Wayne              Ortiz                 Chelsea                MA
Louie              Ortiz                 Stoneham               MA
Shesler            Ortiz                 Randolph               MA
Oswaldo            Ortiz                 Shrewsbury             MA
Alberto            Ortiz                 Boston                 MA
Andy               Osei                  Blackstone             MA
Bryan              Osgood                Revere                 MA
Stephen            Oshaughnessy          Reading                MA
Raymond            Osibe                 Mattapan               MA
Elmutaz            Osman                 Weymouth               MA
Carlos             Osorio                Everett                MA
Majd               Ossi                  Boston                 MA
Richard            Otoole                Sterling               MA
Michelle           Ouellette             Haverhill              MA
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Nicole            Owens                 Salem                  MA
Fatai             Owolabi               West Roxbury           MA
Nafiu             Oyeladun              Mattapan               MA
Stephen           Oyeyemi               Chelsea                MA
Kimberly          Oyola                 Lowell                 MA
Edwin             Oyomire               Framingham             MA
Alfred            Ozil                  Mattapan               MA
Mutarlu           Paasewe               Worcester              MA
Maria             Pacheco               Taunton                MA
Julio             Pacheco               Natick                 MA
Bonny             Pack Wilkerson        Weymouth               MA
Antonio           Padilla               Brockton               MA
Jaime             Pagan                 Lowell                 MA
Shannon           Paiva                 Middleborough          MA
Clayton           Pajonotti             Wakefield              MA
Fredy             Palacio               East Longmeadow        MA
Ngodup            Paljor                Malden                 MA
Daniel            Panagos               Springfield            MA
Chin              Pang                  Revere                 MA
Justine           Panopoulas            Saugus                 MA
Blanca            Pantojas              Lynn                   MA
Kevin             Paraz                 Lynn                   MA
Chani             Parent                Revere                 MA
Rodney            Parham                Revere                 MA
Darren            Parks                 Dorchester             MA
David             Parris                Springfield            MA
Nathaniel         Parrish               Springfield            MA
Michelle          Partin                Plainville             MA
Jean              Patrice Cassamagor    Brockton               MA
Jonathan          Patterson             Easthampton            MA
Ricardo           Patxot                East Boston            MA
Emmanuel          Paul                  Lynnfield              MA
Olendini          Paul                  Brockton               MA
Geraldy           Paul                  Hyde Park              MA
Corneille         Paul                  Brockton               MA
Thorton           Paul                  Boston                 MA
Natasha           Paul                  Cambridge              MA
Elvys             Paula                 Winthrop               MA
Danny             Paula                 Everett                MA
Sandro            Paulino               Haverhill              MA
Joel              Pavon                 Boston                 MA
Joseph            Payne                 Weymouth               MA
William           Paz                   Tewksbury              MA
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Leonard            Pearson                  Dorchester             MA
Nicholas           Peck                     Plymouth               MA
Robert             Pedrosa                  Beverly                MA
Ann                Pellegrino               Billerica              MA
Rony               Pena                     Lawrence               MA
Ana                Pena                     Norwood                MA
Ramon              Pena                     Peabody                MA
Steve              Pennacchio               Melrose                MA
Eddy               Peralt                   Revere                 MA
Matheus            Perazolla                Revere                 MA
Antonio            Pereira                  Hanover                MA
Nilson             Pereira                  Peabody                MA
Luis R             Pereira                  Framingham             MA
Odair              Pereira                  Brockton               MA
Edwin              Perez                    Peabody                MA
Juan               Perez                    Boston                 MA
Pedro              Perez                    Dorchester             MA
Guillermo          Perez                    Hyde Park              MA
Lidy               Perez                    Chelmsford             MA
Rafael             Perez                    Worcester              MA
Jairo              Perez Berea              Worcester              MA
Paul               Perruzzi Jr.             Westford               MA
Lance              Perry                    Medford                MA
Karisha            Perry                    Dorchester             MA
David              Perryman                 Dorchester             MA
Kari               Person                   Dorchester             MA
Gabriel            Peters                   Wilmington             MA
Scott              Peters                   Leominster             MA
Robert             Peters                   North Easton           MA
Thierry            Petit                    Boston                 MA
Keny               Petit‐Frere              Brockton               MA
Matthew            Petrini                  Woburn                 MA
Peter              Pfeil                    Winthrop               MA
Stanley            Phanor                   Methuen                MA
Patrick            Pharel                   Everett                MA
William            Phebus                   Clinton                MA
Flaco              Philippe                 Fall River             MA
Nikia              Phillips                 Westwood               MA
Rony               Philogene                Boston                 MA
Patrick            Phipps                   Hyde Park              MA
Daniel             Phoenix                  Ware                   MA
Richard            Piccicuto                Hadley                 MA
Eric               Pickett‐Jackson          Worcester              MA
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Renaldo           Pierre                  Billerica              MA
James             Pierre                  Boston                 MA
Paking            Pierre                  Brockton               MA
Ariste            Pierre                  Malden                 MA
Joseph            Pierre                  Brockton               MA
Stevenson         Pierre                  Fitchburg              MA
Samuel            Pierre                  Brockton               MA
Rolex             Pierre                  Randolph               MA
Rodeline          Pierre                  Stoughton              MA
Drucker           Pierre                  Canton                 MA
Anderson          Pierre                  Brockton               MA
Johnson           Pierre                  Mansfield              MA
Phippman          Pierre‐ Pierre          Framingham             MA
Amos              Pierresaint             Lowell                 MA
Brienna           Pimental                Plymouth               MA
Franklin          Pimentel                Boston                 MA
Minoska           Pina Vasquez            Revere                 MA
Gerald            Pini Jr                 Norwell                MA
Dyllan            Pione                   Revere                 MA
Selwyn            Piper                   Mattapan               MA
Robert            Pirelli                 Boston                 MA
Leonete           Pires                   Boston                 MA
David             Pitts                   Halifax                MA
Italo             Piva‐Cruz               Waltham                MA
Enid              Pizarro                 Roslindale             MA
Reginald          Pluviose                Brockton               MA
Jean              Plymouth                Milton                 MA
Yaw               Poku                    Framingham             MA
Kwame             Poku                    Oxford                 MA
Cristian          Polanco                 Haverhill              MA
Andres            Polanco                 Lawrence               MA
Misael            Polanco                 Chelsea                MA
Gregory           Polimis                 Dorchester             MA
Richard           Ponce                   Springfield            MA
Lindo             Pontes                  Dorchester             MA
Anthony           Poole                   Quincy                 MA
Ruben             Porras                  West Roxbury           MA
John              Porrazzo                Revere                 MA
Nicole            Porter                  Boston                 MA
Kareem            Porter                  Boston                 MA
Stanley           Porter                  Mattapan               MA
Franko            Portorreal              Lawrence               MA
Cherelle          Posley                  Foxboro                MA
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Alfred             Potter                  Lawrence                MA
Darius             Pourfarzaneh            Shrewsbury              MA
Alkia              Powell                  Hyde Park               MA
David              Power                   Hanover                 MA
Marjorie           Preble                  Fiskdale                MA
Besnik             Preniqi                 West Springfield        MA
Tarik              Preston'Holmes          Cambridge               MA
Spencer            Previlon                Somerville              MA
John               Prevost                 Dorchester              MA
Tykeila            Price                   Boston                  MA
Tyson              Price                   Boston                  MA
Shanna             Pringle‐Ahart           Cambridge               MA
Deidre             Pritchett               Dedham                  MA
Alix               Provence                Saugus                  MA
Robert             Provost                 Gloucester              MA
Vanessa            Pulecio                 Worcester               MA
Gerald             Quek                    Concord                 MA
Luis               Quinones                Dorchester              MA
Jose               Quinones                Lawrence                MA
Oscar              Quiterio                Lawrence                MA
Dieubon            Racine                  North Billerica         MA
Elton              Rada                    Peabody                 MA
Michael            Ragland                 Dorchester              MA
Benjamin           Ramirez                 North Andover           MA
Ruben              Ramirez                 Cambridge               MA
Daniel             Ramirez                 Dedham                  MA
Ivan               Ramos                   Fitchburg               MA
Jonhathan          Ramos                   Dracut                  MA
Herivelton         Ramos                   Leominster              MA
Arturo             Ramos                   Charlestown             MA
John C             Ramos                   Brockton                MA
Ariel              Ramos                   Lynn                    MA
Ricardo            Ramos                   Brighton                MA
Chris              Rance                   Haverhill               MA
Anthony            Ranno                   Revere                  MA
John               Ravenell                Mattapan                MA
Harold             Raye                    Mattapan                MA
Jude               Raymond                 Randolph                MA
Frantz             Raymond                 Everett                 MA
Dennis             Recer                   Chelmsford              MA
Jean               Recis                   Brighton                MA
Samantha           Redlinger               Wayland                 MA
Atiya              Reed                    Mansfield               MA
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Joanem             Regis                Brockton               MA
Roseanne           Reid                 Revere                 MA
Clive              Reid                 Boston                 MA
Marshall           Reid                 Brockton               MA
Paul               Reilly               Norfolk                MA
Juanmy             Reinoso              Dorchester             MA
Wilhem             Remy                 Everett                MA
Pierre             Remy                 Brockton               MA
Robert             Reposa               Scituate               MA
Antonio            Resende              Brockton               MA
Silvino            Resendes             Woburn                 MA
Martin             Resenike             Fitchburg              MA
Mark               Revesai              Leominster             MA
Roosbens           Revolus              Brockton               MA
Daniel             Reyes                Lynn                   MA
Juan               Reyes                Fitchburg              MA
Jeffrey            Reyes                Roxbury                MA
Yamilette          Reyes                Springfield            MA
Michael            Reyes                Cambridge              MA
Kelin              Reyes                Haverhill              MA
Harry              Reynolds             Worcester              MA
Roderick           Reynolds             Boston                 MA
Hugo               Reynoso              Haverhill              MA
Angel              Reynoso              Methuen                MA
Robert             Rhodes               Dracut                 MA
Kevin              Rhodes               Weymouth               MA
Stephen            Rhodes               Brockton               MA
Marc               Rhuma                Stoughton              MA
Nikita             Ricci                Malden                 MA
John               Rice                 Dorchester             MA
Eddie              Rich                 South Boston           MA
Widmy              Richard              Weymouth               MA
Darryl             Richards             Dorchester             MA
Bruce              Richards             Raynham                MA
Rolando            Rieny                Boston                 Ma
Jesus              Rigueiro             South Hadley           MA
John               Riley                West Boylston          MA
Norman             Riley                Danvers                MA
Anthony            Riley                Danvers                MA
Jason              Ring                 Methuen                MA
Miguel             Riquelme             Roslindale             MA
Peter              Ritchie              Springfield            MA
Enyi               Rivas                Lynn                   MA
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Jose               Rivera                 Cambridge              MA
Timothy            Rivera                 Norwood                MA
Rafael             Rivera                 Everett                MA
Christopher        Rivera                 Lowell                 MA
Frank R.           Rivera                 Framingham             MA
Saulo J            Rivera                 Lawrence               MA
Luis               Rivera                 Worcester              MA
Kenneth            Rivera                 Dorchester             MA
Tabitha            Rivera‐Ross            Uxbridge               MA
Emil               Rivers                 Mattapan               MA
Brian              Roach                  Rockland               MA
Christopher J      Robbins                Marstons Mills         MA
Marc               Robergeau              Bridgewater            MA
Reginal            Roberson               Dorchester             MA
Pierre Johnny      Robert                 Cambridge              MA
Kimberly           Roberts                Dorchester             MA
Raymond            Roberts                Beverly                MA
Clarissa           Robertson              Chelsea                MA
Edward             Robertson              Stoughton              MA
Christopher        Robertson              North Easton           MA
Denise             Robie                  East Pembroke          MA
Garry              Robinson               Roslindale             MA
Paul               Robinson               Dorchester             MA
Donnovan           Robinson               Malden                 MA
Andrew             Robinson               Dorchester             MA
Ravon              Robinson               Fall River             MA
Kurt               Robinson               Brockton               MA
Patricia           Roc                    Malden                 MA
Daniel             Rocha                  Boston                 MA
Stavros            Roditis                Chelsea                MA
Ana                Rodrigues              Rockland               MA
Joao               Rodrigues              Randolph               MA
Kerlin             Rodrigues              Brockton               MA
Joao               Rodrigues Sr.          Randolph               MA
Walter             Rodriguez              Everett                MA
Jose               Rodriguez              West Bridgewater       MA
Yilmarie           Rodriguez              Roxbury                MA
Jose               Rodriguez              Lowell                 MA
Juan               Rodriguez              Holyoke                MA
Aneudy             Rodriguez              Framingham             MA
Jose               Rodriguez              Lowell                 MA
Ettienne           Rodriguez              Boston                 MA
Dionicio           Rodriguez              Milford                MA
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Jose               Rodriguez               Boston                 MA
Robin              Rodriguez               Dorchester             MA
Abderrahim         Rogadi                  Everett                MA
Jeremy             Rogers                  Plymouth               MA
Jasmine            Rogers                  Dorchester             MA
Vincent            Rogers                  Dorchester             MA
Michael            Rogerson                Attleboro              MA
Peter              Rogina                  Melrose                MA
Enrique            Rojas                   Haverhill              MA
Christina          Rojas                   Roslindale             MA
Cynthia            Roman                   Wakefield              MA
Ronald             Romano                  Revere                 MA
Michael            Rooks                   Boston                 MA
Stephen G.         Rooney                  Pepperell              MA
Peter              Rooney                  Methuen                MA
Jairo              Roque                   Haverhill              MA
Andre              Rosa                    Stoughton              MA
Lucas              Rosa Guimaraes          Malden                 MA
Eduardo            Rosado                  Bradford               MA
Jose               Rosado                  Revere                 MA
Robert             Rosano                  Norwood                MA
Phillip            Rosario                 South Boston           MA
Rigo               Rosario                 Hyde Park              MA
Manuel             Rosario                 Clinton                MA
Ramon              Rosario                 Lawrence               MA
Franklyn           Rosario                 Waltham                MA
Anita              Roscoe                  Dorchester             MA
Marlena            Rose                    Roxbury                MA
Elijah             Rose                    Salem                  MA
Esther             Rosembert               Chicopee               MA
Richard            Rosen                   Middleton              MA
Ammar              Roslan                  Lowell                 MA
Leroy              Ross                    Mattapan               MA
Andrew             Rotondi                 Medford                MA
Louis A            Rowe                    Saugus                 MA
William            Rowe                    Amesbury               MA
Robert             Rowton                  Billerica              MA
Tomeco             Royal                   Dedham                 MA
Jean ‐ Rony        Royal                   Worcester              MA
Mark               Royster                 Fall River             MA
Benon              Rubarema                Melrose                MA
Indrick            Rubin                   Brockton               MA
Jahjah             Rudder                  Boston                 MA
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Anthony            Russo                   Malden                  MA
Joseph             Russo                   Chelsea                 MA
Michael            Ryan                    Quincy                  MA
Kevin              Ryczek                  Longmeadow              MA
James              Sabella                 Falmouth                MA
Ademi              Sabino                  Ashland                 MA
Bernard            Sackey                  Milton                  MA
Thomas             Sadler                  Northampton             MA
Michael            Sagan                   West Springfield        MA
Joseph Rocky       Saint Germin            Everett                 MA
Fransiyu           Saint Valliere          Randolph                MA
Jimmy              Saint‐Felix             Mattapan                MA
Herbert            Salas                   Leicester               MA
Tarek              Salem                   Lynn                    MA
Sandra             Sales                   Boston                  MA
Kemmesha           Sales                   Holbrook                MA
Jaronn             Sales                   Charlestown             MA
Edgardo            Salgado                 Chicopee                MA
Yasser             Salib                   Westborough             MA
Shanekqua          Salley                  Fall River              MA
Delvin             Salomon                 Dorchester              MA
Vernet             Salvant                 Lowell                  MA
Sean               Salvi                   Saugus                  MA
Yousuf             Samanter                Malden                  MA
Abdiabiz           Samanter                Porter Square           MA
Jean               Sampeur                 North Grafton           MA
Brett              Sampson                 Weymouth                MA
Alex               Sampson                 Everett                 MA
David              Samra                   Somerville              MA
Michael            Sanchez                 Lynn                    MA
Kayla              Sanchez                 North Andover           MA
Antonio            Sanchez                 Lowell                  MA
Johnathan          Sanchez                 North Andover           MA
Herman             Sanchez                 Quincy                  MA
Ivis               Sanchez                 Charlestown             MA
Clifford           Sanders                 Boston                  MA
John               Sanderson               Worcester               MA
Rajinder           Sandhu                  Lynn                    MA
William            Sansone                 Boston                  MA
Catherine          Santana                 Dedham                  MA
Fausto             Santana                 Hyde Park               MA
Juan Jose          Santana                 Lowell                  MA
Angel              Santiago                Marlborough             MA
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Jose               Santiago                 Holyoke                 MA
Jorge              Santos                   Marlborough             MA
Romeo              Santos                   Brockton                MA
Janil E            Santos                   Dorchester              MA
Joao               Santos                   Dorchester              MA
Thalita            Santos                   Somerville              MA
Alfred             Santos                   Palmer                  MA
Wellington         Santos                   Boston                  MA
Kelley             Sardina                  Billerica               MA
Patrick            Sarpong                  Shrewsbury              MA
Carlton            Satchell                 Dorchester              MA
Adrien             Satchell                 Brockton                MA
Yasir              Sati                     Lynn                    MA
James              Sautter                  South Waltham           MA
Ronald             Savastano                Tewksbury               MA
Julio              Savinon                  Lowell                  MA
Anthony            Scalia                   Abington                MA
Lindalva           Scardua                  Peabody                 MA
Dana               Schanke                  Methuen                 MA
Paul               Scharff                  East Falmouth           MA
Justin             Schultz                  Fall River              MA
Wayne              Schuman                  Orleans                 MA
Ankara             Scimitar Mendes          New Bedford             MA
Roy                Scott                    Medford                 MA
Edward             Scott                    Chelsea                 MA
David              Sealy                    Worcester               MA
Edward             Sebugwawo                Medford                 MA
Alan               Segel                    Natick                  MA
Herber             Segura                   Waltham                 MA
Prosper            Seide                    Everett                 MA
Norberto           Sein                     Mattapan                MA
Michelle           Sekora                   Mansfield               MA
David              Sekundayo                Stoughton               MA
James              Selden                   Lynn                    MA
Alan               Selden                   Plymouth                MA
Castel             Seme                     Brockton                MA
Danillo            Sena                     West Acton              MA
Driss              Sene                     North Quincy            MA
John               Serna                    Somerville              MA
Bryant             Serna                    West Springfield        MA
Evelyn             Serrano                  Fall River              MA
Martin             Serrano                  Lynn                    MA
Brian              Setyabule                Lowell                  MA
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Sagena             Shaba                Boston                 MA
Rahil              Shaikh               Burlington             MA
Adam               Shallies             Bridgewater            MA
Jeffrey            Shapiro              Danvers                MA
Lisa               Sharkey              Cambridge              MA
Lewis              Shaw                 Quincy                 MA
Shakeem            Shaw                 Dorchester             MA
Cassius            Shearer              Ashland                MA
Patrick            Sheffield            Waltham                MA
Michelle           Shepherd             Quincy                 MA
Shahram            Shirasb              Braintree              MA
Theodore           Shirley              West Yarmouth          MA
Alan               Shuman               Framingham             MA
Juanda             Siddiqui             Billerica              MA
Jean Ricardo       Sillery              Hyde Park              MA
Tabitha            Silva                Leominster             MA
Carl               Silva                Melrose                MA
Esmael             Silva                Bridgewater            MA
Anildo             Silva                Brockton               MA
Fabio              Silva                Worcester              MA
Rochelle           Silva                Taunton                MA
Heather            Silva                Revere                 MA
Melany             Silva                Dorchester             MA
Ricardo            Silveira             Everett                MA
Glen Ford          Silver               Stoneham               MA
Pierrot            Simeon               Taunton                MA
William            Simon                Jamaica Plain          MA
Thiago             Simonetto            Westboro               MA
Jermain            Simpson              Framingham             MA
Ronald             Sims                 Mattapan               MA
Iqbal              Singh                Medford                MA
Whitney            Singh                Brockton               MA
Solomon            Siraw                Everett                MA
Nick               Sitmalidis           Framingham             MA
George             Skinder              Braintree              MA
Ricardo            Slyvester            Gardner                MA
John               Small                Dorchester             MA
Tim                Smalley              Chicopee               MA
Jeffrey            Smead                Medford                MA
Joyce              Smith                Worcester              MA
Daniel             Smith                Winchendon             MA
Janice             Smith                West Quincy            MA
Stephen            Smith                Woburn                 MA
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Timothy            Smith                   Revere                 MA
Paul               Smith                   Chelmsford             MA
Peter              Smith                   Natick                 MA
Robert             Smith                   Holliston              MA
Dominique          Smith                   Boston                 MA
Stephen            Smith                   Brockton               MA
Carl               Smith Jr.               Stoughton              MA
Joseph             Soares                  Duxbury                MA
Sonia              Soares                  Lynn                   MA
Marcos             Soares                  Norwood                MA
Florence           Soden                   Lynn                   MA
Victor             Solis                   Roxbury                MA
Bernard            Solomon                 Framingham             MA
Michael            Soremekun               Boston                 MA
Richard            Sorensen                Quincy                 MA
Joel               Sosa                    Lynn                   MA
Styvalis           Sosa                    Boston                 MA
Freddy             Soto                    Dorchester             MA
Milciades          Soto                    Quincy                 MA
William            Soto                    Fall River             MA
Jason              Souffrant               Canton                 MA
Troy               Sousa ‐ Semper          Brockton               MA
Argenirlen         Souza                   Marlborough            MA
Carlos             Souza                   Framingham             MA
Scott              Souza                   Mansfield              MA
Fabricio           Souza                   Revere                 MA
Roman              Spada                   Methuen                MA
Sheras             Spahija                 Boston                 MA
Marcelo            Spairani                Belmont                MA
Michael            Spano                   Rockland               MA
Christine          Sparks                  Boston                 MA
Michelle           Spencer                 Roxbury                MA
Phillip            Spencer                 Avon                   MA
Erycah             Spencer                 Bridgewater            MA
Steve              Spirito                 Lynn                   MA
Kevin              Sprissler               Stoughton              MA
Darien             Spruill                 Boston                 MA
Michael            Squadrito               Everett                MA
Hamzah             Ssali                   Lowell                 MA
Godfrey            Ssekandi                Lowell                 MA
Robert             Ssekiranda              Watertown              MA
Samuel             Ssewanyana              Lowell                 MA
Jameson            St Fleu                 Malden                 MA
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Jean               St Fleur                  South Boston            MA
Benny              St Fort                   Brockton                MA
Stevenson          St Hilaire                Brockton                MA
Ashely             St. Clair Iii             Milford                 MA
Charles            St. Leger                 South Easton            MA
Dawnele            Stafford                  Boston                  MA
Robert             Stanton                   Revere                  MA
Chantal            Starbard                  Auburn                  MA
Samantha           Stark                     Centerville             MA
Howard             Stein                     Worcester               MA
Jamal              Stephens                  Stoughton               MA
James              Sterling                  Cambridge               MA
Scott              Sternburg                 Natick                  MA
William            Stevenson                 Quincy                  MA
Jacob              Stewart                   Somerville              MA
Shurlock           Stewart                   Brockton                MA
Marc               Stimphard                 Brockton                MA
Christopher        Stines                    Mattapan                MA
Walles             Stokes                    Attleboro               MA
Zachary            Stone                     Belchertown             MA
Joanne             Stornaiuolo               Winthrop                MA
Patricia           Strait ‐ Mcgrath          Hanson                  MA
Antonia            Stratton                  Boston                  MA
William            Strauss                   Shirley                 MA
Antwaun            Streater                  Boston                  MA
Leosha             Streater                  Brighton                MA
Iesha              Strickland                Boston                  MA
Wallace            Stuart                    Auburn                  MA
Andrea             Stuart                    Chestnut Hill           MA
Jennifer           Stuart                    Lynn                    MA
Marc               Stuzynski                 Bedford                 MA
Adam               Subervi                   Watertown               MA
Jose               Suero                     Everett                 MA
Ramon              Suero                     Dorchester              MA
Manuel             Suero                     Chelsea                 MA
Scott              Sullivan                  Chelmsford              MA
Paul               Sullivan                  Arlington               MA
Domnick            Sullivan                  Dorchester              MA
James              Summers                   Natick                  MA
James              Sundin                    Dedham                  MA
Daniel             Sutherland                Dorchester              MA
Carlena            Suttles                   Dorchester              MA
Porsche            Suttles                   Dorchester              MA
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Anton              Sventsitski          Boston                 MA
Stephen            Swanson              North Andover          MA
Michael            Swartz               Peabody                MA
Eric               Swartz               Lincoln                MA
Matthew            Sweeney              Hopkinton              MA
Brian              Sweeney              Revere                 MA
Marc               Syllien              Somerville             MA
Eric               Szettella            Lawrence               MA
Nde                Tabufor              Rockland               MA
Edward             Tache                Shrewsbury             MA
Frank              Taddeo               Methuen                MA
Tigran             Tadevosyan           Belmont                MA
Samone             Taggart              Lynn                   MA
Derick             Tah                  Malden                 MA
Precious           Tahnji               Framingham             MA
Afanwi             Tahsoh               Mattapan               MA
Brian              Tahsoh               Boston                 MA
Ernie              Tajada               Lynn                   MA
Randall            Talancy              Shrewsbury             MA
George             Tam                  Foxboro                MA
Victor             Tanwani              Brockton               MA
Ryan               Tapia                Fitchburg              MA
Michael            Tartt                Fall River             MA
Brian              Tata                 Ayer                   MA
Ketra              Tatum                Dorchester             MA
Claudino           Tavares              Whitman                MA
Christopher        Tavares              New Bedford            MA
Bryan              Tavares              South Easton           MA
Emmanuel           Tawiah               Clinton                MA
Jonathan           Tay                  Somerville             MA
David              Taylor               Rutland                MA
Dominika           Taylor               Dorchester             MA
Milton             Taylor               Mattapan               MA
Stephanie          Taylor               Taunton                MA
Chase              Tayor                Worcester              MA
Jean Calvin        Tchuileu             Brockton               MA
Christopher        Teixeira             Boston                 MA
Paulo              Teixeira             Framingham             MA
Jose               Tejada               Lynn                   MA
Michel             Teleau               Braintree              MA
Stephenson         Tenor                Brockton               MA
Midemson           Termitus             Waltham                MA
Fritzgerald        Terrane              Boston                 MA
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Jack               Texeira                Raynham                MA
Basudev            Thapa                  Malden                 MA
Vikrant            Thapa                  Malden                 MA
Benjamin           Theis                  Clinton                MA
Ralph              Thelemaque             Malden                 MA
Alexander          Then                   Haverhill              MA
Louis P.           Theodore               Revere                 MA
Daniel             Theodore               Brockton               MA
Tommy              Theogene               Brockton               MA
Prosline           Theork‐ Louis          Mattapan               MA
Alexa              Theriault              Framingham             MA
Alix               Thevenin               Brockton               MA
Bokar              Thiam                  Boston                 MA
Raynah             Thibodeaux             Roslindale             MA
John               Thiongo                Methuen                MA
Jordan             Thomas                 Cambridge              MA
Clifford           Thomas                 Lawrence               MA
Victor             Thomas                 Boston                 MA
Michael            Thomas                 Ipswich                MA
Aisha              Thomas                 Lowell                 MA
Vegina             Thomas                 Randolph               MA
Carolyn            Thomits                Brookline              MA
Larry              Thompson               Hyde Park              MA
Glenn              Thompson               Tewksbury              MA
Linda              Thompson               Boston                 MA
Courtney           Thompson               Dorchester             MA
Marc               Thompson               Halyoke                MA
Emily              Thorner                Woburn                 MA
Arthur             Thorpe                 Stoughton              MA
John               Tibakunirwa            Topsfield              MA
James              Tierney                Wakefield              MA
Atila              Tigges                 Framingham             MA
Frederick          Tillery                Lowell                 MA
Kim                Tillery                Boston                 MA
Michael            Timmons                Danvers                MA
Luiz               Tinuco                 Marlborough            MA
Jeffrey            Tippett                Brockton               MA
Frantzy            Tisme                  East Weymouth          MA
Devin              Tolbert                Salem                  MA
Zachary            Tomasz                 North Andover          MA
Widerson           Tondreau               Hyde Park              MA
Terrence           Toon                   Milton                 MA
Candace            Torres                 Tyngsborough           MA
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Thalia              Torres                 Dracut                 MA
William             Torres                 Melrose                MA
Xavier              Torres                 Lawrence               MA
Matthew             Torrey                 Brighton               MA
Gregory             Toto                   Framingham             MA
James               Touhey                 Pembroke               MA
Novens              Toussaint              Brockton               MA
Connie              Tout Puissant          Dorchester Center      MA
Cedric              Townes                 Bedford                MA
Douglas F           Tracia                 Ashland                MA
Roberto             Tracy                  Medford                MA
Chris               Traietti               Quincy                 MA
Richard             Trainito               Saugus                 MA
Nam                 Tram                   Lynn                   MA
Dino                Tramontozzi            Framingham             MA
Jim                 Tran                   Dorchester             MA
Andrew              Tremblay               East Wareham           MA
Robert              Tritto                 Brighton               MA
Michelle            Tropeano               Malden                 MA
Jelani              Trought                Southbridge            MA
Jamilla             Trouit                 Somerville             MA
Julia               Trujillo               Lynn                   MA
Erika               Tsipouras              Waltham                MA
Tony                Tucker                 Lynn                   MA
Susan               Tucker                 Reading                MA
Shenay              Tull                   Glen Burnie            Ma
Rohan               Tulloch                Fall River             MA
Johnson             Tunis                  Gloucester             MA
Joan                Turner                 Framingham             MA
Lawanda             Turner                 Quincy                 MA
Jeffrey             Turner                 Roxbury                MA
Jarid               Turner                 Dorchester             MA
Makkah              Tymes                  New Bedford            MA
Elva                Tyrance                Mattapan               MA
Phaedra             Udor                   Randolph               MA
Chimeze             Ufomba                 Salem                  MA
Clement             Ukpong                 Weymouth               MA
Julio Cesar         Urrutia                Saugus                 MA
Santiago            Usma                   Chelsea                MA
Daniel              Ustayev                Natick                 MA
Raphael             Usuomon                Wilmington             MA
Corinne             Utley                  Maynard                MA
Daniel              Vail                   Andover                MA
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Robert            Vaillencourt              Sandwich               MA
Jackly            Val                       Roslindale             MA
Jean C            Valcin                    Framingham             MA
Juan              Valdez                    Roxbury                MA
Jonathan          Valdez                    West Roxbury           MA
Anibal            Valentin                  Dorchester             MA
Elisha            Valerio ‐ Goulet          Clinton                MA
Cesar             Valladares                Malden                 MA
Balmori           Valle                     Chelsea                MA
Dona Marie        Vander‐Heyden             Jamaica Plain          MA
Crystal           Vann                      Taunton                MA
Jean              Vante                     Brockton               MA
Kenneth           Vantyne                   Danvers                MA
Eddy              Varela                    Roxbury                MA
Edvaldo           Varela                    Quincy                 MA
Analdy            Vargas                    Lawrence               MA
Luis              Vargas                    Mattapan               MA
Luis A.           Vargas                    South Lawrence         MA
Mayelin           Vargas                    South Lawrence         MA
Julio             Vargas                    Lawrence               MA
Luis              Vargas                    Lawrence               MA
David             Vargas                    Worcester              MA
Steven            Varroso                   Weymouth               MA
Gina              Varvelli                  Quincy                 MA
Shashi            Vasan                     Cambridge              MA
Junior            Vasquez                   Weymouth               MA
Edward            Vasquez                   Lawrence               MA
Ronald            Vasseur                   East Bridgewater       MA
Dennis            Vautour                   Peabody                MA
Laionel           Vazdeandrade              Randolph               MA
John              Vecchione                 Brockton               MA
Josue             Vega                      Bellingham             MA
Rowland           Vega                      Worcester              MA
Carmen            Vega                      Malden                 MA
Eduardo           Veiga                     Dorchester             MA
Elmer E           Velasco                   Lynn                   MA
Jocelyn           Velez                     Brockton               MA
Ismael            Velez                     West Roxbury           MA
Angel             Velez                     Indian Orchard         MA
Sandy             Veliz                     Auburn                 MA
Stephen           Vento                     Middleboro             MA
Jose              Ventura                   Lynn                   MA
Patrick           Verdieu                   Dedham                 MA
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Kelsie              Verdini              Lynn                   MA
Guilliano           Verna                Everett                MA
Kehonia             Vick                 Revere                 MA
Scott               Vieira               New Bedford            MA
Marlon              Vieira               Brockton               MA
Alex                Vieux                Hyde Park              MA
Carlos              Villegas             Lynn                   MA
Daniel              Vince                Waltham                MA
Michael             Vitale               Revere                 MA
Kristen             Vitello              Revere                 MA
Jessica             Vitt                 Groton                 MA
Juan Carlos         Vizcaino             Lawrence               MA
Jesus               Volquez              Boston                 MA
Sophia              Vorias               Salem                  MA
Leslie              Wadhams              Roxbury                MA
Ebiasaph            Wadi                 Brockton               MA
Abdulfatai          Wahab                Stoughton              MA
Lashawn             Waiters              Dorchester             MA
Clyde               Walcott              Waban                  MA
Kamille             Walden               Rockland               MA
Robert              Waldman              Arlington              MA
Maxwell             Waldron              Boston                 MA
Lorraine            Waldron              Boston                 MA
Joanne              Walker               Framingham             MA
Riccardo            Walker               Dorchester             MA
Sherry              Walker               Framingham             MA
Cynthia             Walker               Roslindale             MA
Karen               Wall                 Braintree              MA
William             Waller I I           Boston                 MA
Liam                Walls                Plymouth               MA
Jean                Walter               Brockton               MA
Angelik             Walters              Boston                 MA
William             Wanambwa             Waltham                MA
Yuanzhe             Wang                 Newtonville            MA
Nicholas            Wanjiru              Lowell                 MA
Thomas              Ward                 Rockland               MA
Cordelia            Ware                 Boston                 MA
Kareem              Washington           Revere                 MA
Victor              Washington           Brockton               MA
Corey               Washington           Dorchester             MA
Frederick L.        Watkins              Brockton               MA
Warren              Watson               Medford                MA
Kevin               Watson               Bourne                 MA
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Wilfred            Watts                     Roxbury                MA
Nicole             Webley ‐ Roberts          Worcester              MA
David              Wedge                     Braintree              MA
Darcey             Welch                     Randolph               MA
Robert             Welch                     Medford                MA
Orlando            Weller                    Bridgewater            MA
Abdullahi          Weyrah                    Roxbury                MA
Robert             Wheble                    Springfield            MA
Richard            Wheeler                   Sunderland             MA
Shawn              Whigham                   Milton                 MA
Robert             Whitcomb                  Halifax                MA
Denzel             White                     Lincoln                MA
Coretta            White                     Hyde Park              MA
Ilene              Wilgoren‐ Deane           Brockton               MA
Prince             Wilkerson                 Roslindale             MA
Terran             Williams                  Brockton               MA
Brian              Williams                  Lynn                   MA
Sherwin            Williams                  Quincy                 MA
Shawn              Williams                  Boston                 MA
Hansel             Williams                  Lowell                 MA
Bobby              Williams                  Worcester              MA
Shayne             Williams                  Springfield            MA
Curtis             Williams                  Boston                 MA
Gabriela           Williams                  Revere                 MA
Vaughn             Williams                  Boston                 MA
Vernel             Williams                  Brockton               MA
Marcell            Williams                  Malden                 MA
Tiera              Williams                  Randolph               MA
Michael            Williams                  Dedham                 MA
Liana              Williams                  Roxbury                MA
George             Williams                  Stoughton              MA
Craig              Williams                  Dorchester             MA
Sean               Williamson                Brockton               MA
Marco              Willis                    Taunton                MA
Florette           Willis                    Worcester              MA
Dennis             Wilson                    New Bedford            MA
Sean               Wilson                    Dunstable              MA
Aundre             Wilson                    Boston                 MA
Derek              Winbush                   Boston                 MA
Seth               Winch                     Saugus                 MA
Jeffrey            Wise                      Lynn                   MA
Trevor             Witt                      Fall River             MA
Andrew             Witunsky                  Lynn                   MA
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Mitchell          Wojtasinski            Braintree              MA
Mark              Wollaston              Boston                 MA
Menwon            Wongbay                Worcester              MA
Latanya           Wood                   Boston                 MA
Paul              Woodley                Roxbury                MA
Richard           Woodrum                Attleboro              MA
John              Woods                  Medford                MA
Shonelle          Woods                  Mattapan               MA
Grace             Worrell‐ Watts         Roxbury                MA
Jonathan          Wozniak                Palmer                 MA
Diane             Wright                 Hyde Park              MA
Brandon           Wright                 Lynn                   MA
Winston           Wright                 Milton                 MA
Angela            Wright ‐ Gonsalves     Dorchester             MA
Douglas           Wrobel                 Ware                   MA
Jean              Xavier                 Cambridge              MA
Gregory           Xavier                 Brighton               MA
Flody             Xavier                 Brighton               MA
Florian           Xhengo                 Worcester              MA
Randy             Yanoff                 Stoughton              MA
George            Yawlui                 Worcester              MA
Emmanuel          Yciano                 Lynn                   MA
Narek             Yegoyan                Burlington             MA
Craig             Yelle                  Lowell                 MA
Michelet          Yeye                   Avon                   MA
Jessica           Ynfante                Lynn                   MA
Turgut            Yoludogiu              Watertown              MA
Daniel            Yordanov               Billerica              MA
Audrey            Young‐Sweeting         Roxbury                MA
Yusuf             Yusuf                  Cambridge              MA
Mohamed           Yusuf                  Wellesley              MA
James             Zabel                  Quincy                 MA
Abderrahmane      Zaidi                  Marlborough            MA
Abdelghani        Zaim                   Fitchburg              MA
Joshua            Zall                   Lynn                   MA
Nathaly           Zambrana               Revere Beach           MA
Wanda             Zayas                  Roxbury                MA
Matthew           Zecchino               Danvers                MA
Joleen            Zetes                  Lynn                   MA
Bo                Zhou                   Dover                  MA
Philip            Ziama                  Worcester              MA
Khalid            Zitouni                Revere                 MA
Toni              Zoghayb                Lowell                 MA
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Arthur             Zoidis                Canton                 MA
Donald             Zollo                 Saugus                 MA
Ronald             Zuniga                Chelsea                MA
Dexter             Abrams                Orange                 NJ
Joel               Abreu                 Bayoanne               NJ
Carlos Eduardo     Abreu                 Paterson               NJ
David              Acey                  Irvington              NJ
Chris              Addy                  East Orange            NJ
Ayowale            Adekoya               Newark                 NJ
Manuel             Aguirre               Edison                 NJ
Ramon              Alcantara             Paterson               NJ
Murad              Ali                   Newark                 NJ
Roberta            Allen Nelson          Newark                 NJ
Antoine            Alston                Union                  NJ
Avery              Alveranga             Paterson               NJ
Ama                Amaniampong           Orange                 NJ
Carl               Amos                  Teaneck                NJ
Josh               Andreis               Bloomfield             NJ
Tanya              Andrews               Metuchen               NJ
Nanabanyin         Arbuah                West Orange            NJ
Kareem             Arnold                East Orange            NJ
Jordan             Ashby                 Linden                 NJ
Anthony            Ashley                Monmouth Junction      NJ
Eric               Ausbon                Irvington              NJ
Rashan             Austin                Nutley                 NJ
Raymond            Avila                 West New York          NJ
Al‐Furquan         Baker                 Irvington              NJ
Tonia              Banks                 Montclair              NJ
Ralph              Barkley               Burlington             NJ
Anthony            Barnette              Newark                 NJ
Monte              Barrett               East Rutherford        NJ
Jeremiah           Barrios               South Plainfield       NJ
Luis               Bayo                  Jersey City            NJ
Troy               Bazemore              Paterson               NJ
Carolyn            Bell                  Carteret               NJ
Menes              Belmont               Irvington              NJ
Lloydel            Bernard               Paterson               NJ
Pamela             Bethea                Elizabeth              NJ
Dayron             Blacknell             Paterson               NJ
Maurice            Boddie                Paterson               NJ
Marcus             Bond                  Somerset               NJ
Vincent            Booker                Monmouth Junction      NJ
Falisha            Booker                Paterson               NJ
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Mahmoud            Bowman                 Elizabeth               NJ
Desean             Bradley                Newark                  NJ
Michelle           Brewer                 Newark                  NJ
Aaron              Brinkley               Plainfield              NJ
Troy               Brooks                 Union                   NJ
Kevin              Brown                  Plainfield              NJ
Tangela            Brown                  Carteret                NJ
Amoree             Brown                  Newark                  NJ
Thilita            Brown Adamson          Newark                  NJ
Sashas             Burney                 Irvington               NJ
Tracey             Butler                 Plainfield              NJ
Lena               Callier                Linden                  NJ
Alexander          Camacho                Elizabeth               NJ
Christian          Capcha                 West New York           NJ
Derrick            Carden                 Vauxhall                NJ
Donna              Carter                 Hackensack              NJ
Kelvin             Carter                 Garfield                NJ
Anthony            Castello               Long Branch             NJ
Dortyl             Ceneus                 Irvington               NJ
Richard            Chamas                 Jackson                 NJ
Wayne              Chambers               Paterson                NJ
Reginald           Charles                Orange                  NJ
Imran              Chaudhry               Bayonne                 NJ
Cristal            Cheley ‐ Wynn          Newark                  NJ
Tyasiah            Cook                   Elizabeth               NJ
Jamie              Crocker                Rahway                  NJ
Jeffrey            Cupolo                 Brick                   NJ
Barbara            Cureton                Bogota                  NJ
Efrain             Dagdag                 North Brunswick         NJ
Denise             Dalesandro             Elizabeth               NJ
Joseph             Daniels                East Orange             NJ
Rickey             Danzey                 Newark                  NJ
Che                Darden                 Newark                  NJ
Bernice            Davis                  Jersey City             NJ
Thelonious         Davis                  Cliffside Park          NJ
John               Defreitas              Maplewood               NJ
Leede              Delagarde              West Orange             NJ
Simon              Desil                  North Plainfield        NJ
Jocelyn            Desire                 Elizabeth               NJ
Christian          Diaz                   Paterson                NJ
Jonita             Dickens                Newark                  NJ
Todd               Dimery                 Irvington               NJ
James              Dixon                  Passaic                 NJ
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Kenneth           Dramani              Newark                 NJ
Leonard           Dupree               Maplewood              NJ
John              Dupree               Irvington              NJ
William           Eadie                Jersey City            NJ
Terrence          Eaton                Irvington              NJ
Osama             Elhuni               New Brunswick          NJ
Clement           Emina                Orange                 NJ
Schadrac          Falaise              Glen Ridge             NJ
Timothy           Farias               Kearny                 NJ
Sheik             Fazal                Jersey City            NJ
Delon             Femple               Hackensack             NJ
Rochelle          Ferguson             Hackensack             NJ
Robinson          Fernandez            Paterson               NJ
Erkeinstia        Florexil             Irvington              NJ
Lekecia           Flowers              East Orange            NJ
Craig             Flynn                Jersey City            NJ
Debbie            Forester             Jersey City            NJ
Emmanuela         Forges               Orange                 NJ
Niccolo           Fornier              Jersey City            NJ
Timothy           Foster               Montclair              NJ
Joysalon          Fulton               Newark                 NJ
David             Garry                Fanwood                NJ
Christine         Gaymon               Clementon              NJ
Jabril            Gerald               Orange                 NJ
Francesca         Giambona             Bergenfield            NJ
Michael           Givens               Newark                 NJ
Corey             Givens               Hillside               NJ
James             Glenn                Newark                 NJ
Johnnie           Golden               Parlin                 NJ
Gerard            Gomez                Morristown             NJ
Paul              Goode                Hackensack             NJ
Tamiko            Gourdine'Broadway    Hackettstown           NJ
Jennifer          Gravino              Woodland Park          NJ
Jayme             Gray                 Elizabeth              NJ
Latisha           Green                Newark                 NJ
Hammad            Griffin              Elizabeth              NJ
Tonique           Griffin              Newark                 NJ
Joseph            Grillo               Lyndhurst              NJ
Giuseppe          Gualtieri            Bloomfield             NJ
Amalio            Gurcsik              Sewell                 NJ
Zadikah           Hamilton             Irvington              NJ
Larry             Hardeman             Perth Amboy            NJ
Ronald            Hargrove             Jersey City            NJ
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Carolyn            Harris                  Newark                 NJ
Tasson             Harris                  Newark                 NJ
Ronald             Harris                  East Orange            NJ
Donna              Hayes                   Newark                 NJ
Antero             Heredia                 Elizabeth              NJ
Delvin             Hiciano                 North Bergen           NJ
Devin              Higgs                   Orange                 NJ
Michael            Hill                    Newark                 NJ
Vennette           Hill                    Jersey City            NJ
Keith              Hines                   Montclair              NJ
Gary               Hodge                   Englewood              NJ
Shakeya            Holden                  Newark                 NJ
Theresa            Horton                  Irvington              NJ
Mosharraf          Hossain                 Teaneck                NJ
Tamir              Houston                 Hillside               NJ
Bjoern             Huggett                 South Toms River       NJ
Gerald             Hunter                  Jersey City            NJ
Shawn              Hurd                    Florham Park           NJ
Terry              Hurley                  North Brunswick        NJ
Syiedah            Hutcherson              Jersey City            NJ
Ignatius           Ibida                   Newark                 NJ
Masonna            Ingram ‐ Ayore          Newark                 NJ
Albert             Isaac                   Bloomfield             NJ
Laurence A         Jackson                 Elizabeth              NJ
Jamal              Jackson                 Irvington              NJ
Ebony              Jackson                 Woodbridge             NJ
Jakera             Jacobs                  Paterson               NJ
Henry              Jean Philippe           Howell                 NJ
Lekecha            Jefferson               Newark                 NJ
Stephen            Jenkins                 Woodbridge             NJ
Mikah              Johnson                 Fords                  NJ
Jason              Johnson                 Newark                 NJ
Delvon             Johnson                 East Orange            NJ
Hassan             Johnson                 Newark                 NJ
Casey              Jones                   Orange                 NJ
Marvin             Jones                   East Orange            NJ
Deirdre            Jones                   Newark                 NJ
Albert             Jordan                  Newark                 NJ
Gail               Jordan                  Newark                 NJ
Jesael             Jose                    Union City             NJ
Lisa               Joseph                  Parsippany             NJ
Thomas             Judd                    Newark                 NJ
Khady              Kante                   Passaic                NJ
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Melissa            Kassim               Newark                 NJ
Michelle           Kenny                Hackensack             NJ
Darrell            Killings             Bound Brook            NJ
Jak                Koester              Hamilton               NJ
Benimarvin         Lagraje              Newark                 NJ
Nacha              Laguerre             East Orange            NJ
Gary               Lamb                 Paterson               NJ
Alberto            Lamby                East Orange            NJ
Eddie              Laners               Teaneck                NJ
William            Langston             Plainfield             NJ
Simon              Laurent              Roselle                NJ
Norman             Lawrence             Prospect Park          NJ
Kang               Lee                  Wayne                  NJ
George             Leerdam              Bloomfield             NJ
Chester            Lemond               Irvington              NJ
Stephanie          Lewis                Edison                 NJ
Daysi              Lopez                Guttenberg             NJ
Victor             Lopez                Paterson               NJ
Carl               Lovell               Orange                 NJ
Jeffrey            Lucas                Hackensack             NJ
Qurell             Lynn                 Newark                 NJ
Jacques            Mann                 Elizabeth              NJ
Valarie            Marshall             Rahway                 NJ
Jaquay             Martin               Irvington              NJ
James              Massey               East Orange            NJ
Derek              Matthews             West New York          NJ
Fred               Mccalla              New Brunswick          NJ
Thomas             Mcclain Jr.          Plainfield             NJ
Lakishia           Mcclee               Elizabeth              NJ
Cavarrio           Mcduffy              Newark                 NJ
Clarente           Mcfadden             Paterson               NJ
Candise            Mcghee               Elizabeth              NJ
Timothy            Mckenzie             Hamilton               NJ
Shaniah            Mclendon             Orange                 NJ
Robert             Mcnair               Union                  NJ
Almeshia           Medley               Plainfield             NJ
Anthony            Mercado              Secaucus               NJ
Idenia             Middleton            Newark                 NJ
Michael            Miller               Edison                 NJ
Khadijah           Miller               East Orange            NJ
Robert             Mitchell             Jersey City            NJ
Charisse           Mitchell             Neptune                NJ
Marvin             Mixson               Newark                 NJ
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Donna             Monroe                Newark                 NJ
Ozirus            Morency               Union                  NJ
Mona              Morgan                Long Branch            NJ
Bret              Mullins               Blackwood              NJ
Fermin            Munoz Guzman          Paterson               NJ
Minherve          Murad                 Irvington              NJ
Derrick           Murphy                Rahway                 NJ
Malissa           Myers                 North Brunswick        NJ
Marlene           Neal                  Trenton                NJ
John              Noel                  Maplewood              NJ
Emmanuel          Nwankwo               Somerset               NJ
Terrence          Oats                  Hasbrouck Heights      NJ
Ifeayinwa         Odelugo               East Orange            NJ
Segun             Odufeso               Irvington              NJ
Oluwasegun        Oladipo               Newark                 NJ
Anthony           Omowaiye              Newark                 NJ
Carolyn           Orr                   East Orange            NJ
Abdoulaziz        Ouedraogo             East Orange            NJ
Yolonda           Outlaw                Neptune                NJ
Sean              Padua                 Jersey City            NJ
George            Payne                 Roselle                NJ
Darlene           Pearson               Elizabeth              NJ
Carol             Pearson               Newark                 NJ
Nafeesah          Peoples               Jersey City            NJ
Cristopher        Phillips              Irvington              NJ
Maurice           Pierce                Piscataway             NJ
Milton            Pittman               Newark                 NJ
Rafael            Planas                South Hackensack       NJ
Afeez             Popoola               Newark                 NJ
Darnell           Pough                 Wallington             NJ
Peter             Prawl                 Somerset               NJ
Anthony           Pressley              Jersey City            NJ
Keysha            Preston               Ewing                  NJ
Sharisse          Quinones              Newark                 NJ
Anthony           Quintana              Clifton                NJ
Scott             Rankins               Woodbridge             NJ
Victoria          Ransome               Irvington              NJ
Jesse             Redd                  Union                  NJ
Joseph            Remar                 Roselle                NJ
Kevin             Rembert               Passaic                NJ
Steven            Rhim                  Plainfield             NJ
Darlene           Rhodes                Ellis Island           NJ
Robert            Rhodes Jr             Bloomfield             NJ
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Calvin            Richard              Perth Amboy             NJ
Mignonne          Ridley               Union City              NJ
Rusbis            Rincon               Palisades Park          NJ
Alfredo           Rivera               Paterson                NJ
Yvette            Roach                Bound Brook             NJ
Alisha            Robertson            Newark                  NJ
Troy              Robinson             Newark                  NJ
Joey              Robinson             Newark                  NJ
Zakiyyah          Robinson             East Orange             NJ
Sheena            Robinson             Roseville               NJ
Kerry             Rodgers              Millville               NJ
Maria             Rodriguez            South Amboy             NJ
Fred              Rogers               Jersey City             NJ
Malcolm           Rowe                 Newark                  NJ
Akwete            Sackey               Avenel                  NJ
Tiffany           Salas                Irvington               NJ
Aggrey            Salmon               Englewood               NJ
Sabr              Samuel               East Orange             NJ
Kevin G           Sanders              Asbury Park             NJ
Sirod             Sanders Jr           Prospect Park           NJ
Dominique         Sanon                Linden                  NJ
Ama               Sarpong              Newark                  NJ
William           Scott                Edison                  NJ
Kimilla           Shaw                 Carteret                NJ
Afia              Shipman              Elizabeth               NJ
Marqese           Singleton            Newark                  NJ
Jason             Sistrunk             West Orange             NJ
Rasheema          Smith                Hackensack              NJ
Paul              Smith                Paterson                NJ
Derrick           Smith                Newark                  NJ
David             Smith                Jersey City             NJ
Selwyn            Smith                Irvington               NJ
Byron             Sowell               Elizabeth               NJ
Carlos            St Jean              Newark                  NJ
Vernon            Staten               Jersey City             NJ
Harry             Stephenson           East Orange             NJ
Reshawn           Stewart              Trenton                 NJ
Edward            Suggs                East Orange             NJ
Pamela            Taylor               East Orange             NJ
Guyralynne        Taylor               Newark                  NJ
Verinia           Taylor               Kearny                  NJ
Jajuan            Taylor               Garfield                NJ
David             Teague               Newark                  NJ
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John               Tellez                 Jersey City            NJ
Jermaine           Thomas                 Linden                 NJ
Karen              Thomas                 Town Center            NJ
Juanita            Thomas                 Paterson               NJ
Cherie             Thomas                 East Orange            NJ
James              Tillis                 Bloomfield             NJ
Dana               Tirado                 Parlin                 NJ
Arvin              Todd                   Linden                 NJ
Richard            Toliver                Newark                 NJ
Aaron              Tomblin                New Brunswick          NJ
Caba               Tooler                 Newark                 NJ
Facinet            Toure                  East Orange            NJ
Alan               Tucker                 Irvington              NJ
Derek              Tucker                 Newark                 NJ
Dennis             Tuggle                 Somerset               NJ
Joseph             Turnowicz              Harrison               NJ
Mark               Tyrelle                Newark                 NJ
Coral              Uloho                  North Brunswick        NJ
Huberman           Valentin               Newark                 NJ
Leferrell          Vandiver               Elizabeth              NJ
Gabriel            Vargas                 Hasbrouck Heights      NJ
Christian          Villamar               Fairview               NJ
Michael            Watford                Newark                 NJ
Nathaniel          White                  Somerville             NJ
Kenneth            Widgeon                Linden                 NJ
Erinn              Wilkinson Sr.          Neptune                NJ
Dennis             Williams               Orange                 NJ
Ikera              Williams               Paterson               NJ
Linda              Williams               Paterson               NJ
Christopher        Williams               Neptune                NJ
Summer             Williams               Linden                 NJ
Sherese            Williams               Bayonne                NJ
Dominique          Willis                 Newark                 NJ
Christopher        Wilson                 Irvington              NJ
Detrah             Wright                 Newark                 NJ
Gary               Wright                 North Brunswick        NJ
Aaron              Yarbrough              Newark                 NJ
Edrice             Yasin                  Bloomfield             NJ
Eric               Zeigler                Bloomfield             NJ
Saiba              Zida                   Jersey City            NJ
Habiba             Abdurrahim             Bronx                  NY
Carol              Abomis                 Brooklyn               NY
Kingsley           Abuchi                 St Albans              NY
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Alexis            Acevedo               Brooklyn                NY
Hari              Acharya               Elmhurst                NY
Michael           Adams                 New York City           NY
Debo              Adekoya               Elmont                  NY
Olusola           Adeyeri               Bronx                   NY
Olatunbosun       Afolabi               Brooklyn                NY
Vishnu            Aggarwal              Richmond Hill           NY
Radhe             Aggarwal              Richmond Hill           NY
Irving            Agnant                Jamaica                 NY
Raheel            Ahmed                 Deer Park               NY
Mustak            Ahmed                 Bronx                   NY
Daniel            Ahmed                 Brooklyn                NY
Labaran           Ahmed                 Bronx                   NY
Muhammed          Ahmed                 Deer Park               NY
Emeka             Ahunamba              Bronx                   NY
Kingsley          Aifuobhokhan          Saint Albans            NY
Olufemi           Aina                  Far Rockaway            NY
Ademola           Akesode               Bronx                   NY
Turobbek          Akhmedov              Brooklyn                NY
Syed              Akhtar                Brooklyn                NY
Monday            Akpata                Brooklyn                NY
Lawrence          Albert                Brooklyn                NY
Lorenzo           Alexander             Medford                 NY
Clifford          Alexander             Brooklyn                NY
Antonio           Alexander             Mount Vernon            NY
Brian             Alexander             Bronx                   NY
Pierre            Alexis                Brooklyn                NY
Ricky             Ali                   Bronx                   NY
Mustafa           Ali                   Jamaica                 NY
Emmad             Alkaifee              Bronx                   NY
Rondu             Allah                 Coram                   NY
Edward            Allen                 Springfield Gardens     NY
Martin            Almonte               Arverne                 NY
Jason             Alston                Jamaica                 NY
Frank             Ampong                Bronx                   NY
Pierre            Anelis                Brooklyn                NY
Fatema            Annan                 Staten Island           NY
Antonio           Antonetti             Spring Valley           NY
Edwyn             Arias                 Bronx                   NY
Anthony           Arroyo                Bronx                   NY
Johnny            Arroyo                Flushing                NY
Steven            Astudillo             Bronx                   NY
Chris             Astudillo             Middle Village          NY
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Marc               Aubourg                 Queens Village          NY
Dennis             Ayala                   New York                NY
Serigne            Ba                      Bronx                   NY
Ousmane            Babou                   New York                NY
Abdoul             Baby                    New York                NY
Gerard             Bady                    Laurelton               NY
Charles            Baez                    Bronx                   NY
Abdoul Aziz        Bagayan                 New York                NY
Yusuf              Bah                     Brooklyn                NY
Pamela             Bamba                   Staten Island           NY
Henry              Banahene                Brooklyn                NY
Boubacar           Bande                   New York                NY
Ifra               Bane                    New York                NY
Alero              Barrett                 Brooklyn                NY
Julissa            Baruti                  Garnerville             NY
Grace              Bassey                  Long Island City        NY
Toumbou            Bathily                 Bronx                   NY
Nasser             Batichon                Freeport                NY
Martial            Beauzile                Bethpage                NY
Yves               Belizaire               Brooklyn                NY
Vasilio            Beltre                  Bronx                   NY
Laxton             Bennett                 Queens                  NY
Phillip            Bentley                 Brooklyn                NY
Kettly             Bernard‐ Cadet          Medford                 NY
Phillip            Bethune                 Gordon Heights          NY
Mohammad           Bhatti                  Brooklyn                NY
Albert             Bianchino               Hancock                 NY
Willie             Black                   Brooklyn                NY
Clyde              Bonaprate               Elmont                  NY
Rubin              Bonhomme                Valley Stream           NY
Joseph             Borges                  Bronx                   NY
Alvin              Borrero                 East Meadow             NY
Todd               Bowen                   Brooklyn                NY
Marc               Boyou                   Bronx                   NY
John               Bradley                 New York                NY
Rupert             Brammer                 Bronx                   NY
Johnathan          Brooks                  Middletown              NY
Clive              Brooks                  Queens                  NY
Monique            Brooks                  Queens Village          NY
Patrece            Brown                   Elmont                  NY
Latisha            Brown                   Long Island City        NY
Shawn              Brown                   Queens Village          NY
Evon               Brown                   Brooklyn                NY
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Malcolm            Brown                   Mount Vernon            NY
Daniel             Brown                   Bronx                   NY
Onald              Bruno                   Brooklyn                NY
Ahmad              Brunson                 Brooklyn                NY
Jean               Bruny                   Brooklyn                NY
Emmanuel           Bruny                   Brooklyn                NY
Wilkins            Brutus                  Brooklyn                NY
Erwin              Bryant                  New York City           NY
Eric               Buckner                 Yonkers                 NY
Porfirio           Bueso                   Jackson Hts             NY
Syed               Bukhari                 Pearl River             NY
Nathan             Burnett                 Mount Vernon            NY
Damion             Burton                  Mount Vernon            NY
Edward             Caba                    Copiague                NY
Richard            Cabrera                 Queens                  NY
Bryant             Cabrera                 Bronx                   NY
Myrna              Cadet                   Rosedale                NY
Chantel            Campbell                Jamaica                 NY
Tamira             Campbell                Yonkers                 NY
Kipling            Campbell                Bronx                   NY
Jonathan           Cano                    Queens                  NY
Yonaton            Cardono                 Bronx                   NY
Christian          Carrillo                Tomkins Cove            NY
Tyshawn            Carter                  Rockville Center        NY
Sean               Casey                   Brooklyn                NY
Jean               Casseus                 Springfield Gardens     NY
Albery             Castillo Arias          Yonkers                 NY
Carlos             Castrillon              Flushing                NY
Cassandra          Celestine               Hempstead               NY
Antonio            Centeno                 Brooklyn                NY
Luis               Cerda                   Woodhaven               NY
Michael            Ceresa                  Bronx                   NY
James              Cermot                  Elmont                  NY
Milton             Chadan                  Brooklyn                NY
Emil               Chapman                 Brooklyn                NY
Graham             Chappelle               Brooklyn                NY
Anthony            Charles                 Brooklyn                NY
Pierre Milkenn     Charles                 Valley Stream           NY
Adil               Charles                 Brooklyn                NY
Marcandre          Cherelus                Queens Village          NY
Fenherre           Cherubin                Valley Stream           NY
Medgine            Chery                   Brooklyn                NY
Chukwudi           Chidobe                 Bronx                   NY
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Marcos            Chong                Valhalla               NY
Saad              Choudhry             Brooklyn               NY
Awais             Chughtai             Bronx                  NY
Alex              Cira                 Smithtown              NY
Abraham           Clairvil             Brooklyn               NY
Johnie            Clemente             Saint Albans           NY
Warddell          Clyburn              Bronx                  NY
William           Coleman              Bronx                  NY
Steven            Collin               Queens Village         NY
Wascar            Colon                Bronx                  NY
Wenninyide        Conombo              Bronx                  NY
Shane             Copeland             West Sayville          NY
Ka‐Shawn          Cordes               Brooklyn               NY
Shairon           Cornelia             Brooklyn               NY
Erly              Corrales             Bronx                  NY
Hudson            Cottiere             Rosedale               NY
Jackeline         Couret               New York City          NY
Rickford          Cozier               Brooklyn               NY
Yvett             Cross                Brooklyn               NY
William           Cruz                 New York               NY
Wilfredo          Cueto                Jackson Heights        NY
Kerelos           Daif                 Brooklyn               NY
Walter            Dais                 New York               NY
John              Daise                Yonkers                NY
Brett             Daniel               Brooklyn               NY
Jasiah            Daniels              Astoria                NY
Gaoussou          Dao                  New York City          NY
Idowu             Daramola             Buffalo                NY
Jeffrey           Darby                Ozone Park             NY
Marquis           Darden               Mount Vernon           NY
Dawnette          Davidson             Babylon                NY
Darius            Davis                Hastings Hdsn          NY
Barry             Davis                Brooklyn               NY
Stephen           Davis                Laurelton              NY
Malery            De La Cruz           Bronx                  NY
Ilya              Dekhkanov            Briarwood              NY
Edwitch           Denis                Brooklyn               NY
Clayton           Dennis               Queens Village         NY
Mark              Dewar                Brooklyn               NY
Sekouba           Diakite              Bronx                  NY
Mamadou           Diallo               Brooklyn               NY
Tara              Diallo               Bronx                  NY
Mamadou           Diallo               Bronx                  NY
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Mamadou          Diallo                     Bronx                  NY
Alvan            Dias                       Saint Albans           NY
Reynae           Diaz                       Brooklyn               NY
Efrain           Diaz                       Bronx                  NY
David            Diaz                       Mount Vernon           NY
Johny            Dietz                      Massapequa             NY
Angel            Dilone                     Bronx                  NY
Modou            Diop                       Bronx                  NY
Cheikh           Diop                       Bronx                  NY
Aaron            Dixon                      Bronx                  NY
Frederick        Dixon                      Flushing               NY
Michael          Dixon                      Jamaica                NY
Anthony          Donahue                    Bronx                  NY
Ernst            Dorelien                   Shirley                NY
Clifford         Dorestil                   Jamaica                NY
Layr             Dorzin                     Brooklyn               NY
Latisha          Doward                     Bronx                  NY
Calvin           Downing                    Brooklyn               NY
Rubens           Dubuisson                  Brooklyn               NY
Pierre           Dumond                     Elmont                 NY
Janei            Dunbar                     Brooklyn               NY
Damon            Dupree                     Brooklyn               NY
Runel            Dussuau                    Manhattan              NY
Wesly            Edmond                     New York               NY
Jamel            Edwards                    Springfield Gardens    NY
Jackson          Elie                       Jamaica                NY
Charmaine        Elliott ‐ Jackson          New York               NY
Dana             Ellis                      Apalachin              NY
Kevin            Ellis                      Long Island City       NY
Eric             Ellis                      Hempstead              NY
Tanya            Erickson                   St Albans              NY
Rachel           Estrada                    Jamaica                NY
Ariel            Estrella                   Brooklyn               NY
Gabriel          Etienne                    Bronx                  NY
Huguens          Eugene                     Freeport               NY
Yves             Exilus                     Brooklyn               NY
Sherrel          Farnsworth                 Brooklyn               NY
Mohammed         Faruque                    South Richmond Hill    NY
Nicholas         Fazal                      Kew Gardens            NY
Michael          Fernandez                  Mount Vernon           NY
Hassan           Ferrer                     New York               NY
Alfred           Ferrer                     Queens                 NY
Muhammad         Firdaus                    Elmont                 NY
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Andrew             Flores               Bronx                  NY
Pamela             Floyd Robertson      Bronx                  NY
Lareena            Forbes               Bronx                  NY
Kevin              Forbes               Bronx                  NY
Jesenia            Foster               Bronx                  NY
Ben                Fountain             Mount Vernon           NY
Nattasha           Fox                  Bronx                  NY
Everal             Francis              East Meadow            NY
Petit Levy         Francois             Brooklyn               NY
Arol               Francois             Massapequa             NY
Rashein            Franklyn             Elmont                 NY
Andre              Frederick            Bronx                  NY
Mackendy           Frejuste             Brooklyn               NY
Nana               Frimpong‐Manson      Bronx                  NY
Mikina             Fuller               Brooklyn               NY
Junior             Fuller               Jamaica                NY
Justin             Gamba                East Islip             NY
Arturo             Garcia               New York               NY
Christopher        Gaskin               Brooklyn               NY
Doug               Gausney‐Cruz         Queens                 NY
Alioune            Gaye                 Bronx                  NY
Gus                Gazetas              Glendale               NY
Ramon              German               Bronx                  NY
Joseph             Gibbs                Brooklyn               NY
Louis              Gioppo               South Richmond Hill    NY
Bisram             Gittens              Bronx                  NY
Raquelle           Gittens              Baldwin                NY
Jormain            Glasgow              Jamaica                NY
Roger              Gomez                Corona                 NY
Angel              Gonzalez             Bronx                  NY
Michael            Gordon               Rosedale               NY
Basil              Gordon               St Albans              NY
Ben                Gordon               Jamaica                NY
Akiaguiwe          Goyounho             Bronx                  NY
Troy               Graham               Massapequa             NY
Joseph             Grant                Massapequa             NY
Richard            Grant                Bronx                  NY
Donovan            Grant                New York               NY
Ursula             Grant                Freeport               NY
Terrell            Greaves              New York               NY
Zacarias           Green                New York               NY
Janet              Greene               New Rochelle           NY
Nelly              Guerrero             Queens Village         NY
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Ousmane           Gueye                New York                NY
Mame Abdou        Gueye                New York City           NY
Richardsone       Guillaume            Brooklyn                NY
Christian         Guillen              Bronx                   NY
Sudarshan         Guni                 Woodside                NY
Marcus            Hadden               Brooklyn                NY
Mukit             Hafiz                Jamaica                 NY
Odeh              Hammoudeh            Glendale                NY
Mahfuzul          Haque                Bronx                   NY
Darryl            Harris               Brooklyn                NY
Shaun             Harris               Mount Vernon            NY
Divine            Harrison             Woodside                NY
Durrian           Haughton             Jamaica                 NY
Angela            Haughton             Mount Vernon            NY
Guyce             Hayes                Jamaica                 NY
Willard           Haywood              Bronx                   NY
Terrence          Henry                Bronx                   NY
Steven            Hernandez            Glendale                NY
Robert            Hernandez            Bronx                   NY
Bismaik           Hernandez            Bronx                   NY
Trevor            Heron                Brooklyn                NY
Elvis             Herrera              Pelham                  NY
Delroy            Hetburn              Bayshore                NY
Larry             Hill                 Brooklyn                NY
Patrick           Hinds                Brooklyn                NY
Josephine         Hjardemaal           Richmond Hill           NY
Alexander         Holder               Brooklyn                NY
Tevin             Holloway             Central Islip           NY
Abdelmonem        Hosen                Nanuet                  NY
Mohamed           Hossain              Brooklyn                NY
Charles           Howard               Brooklyn                NY
Neil              Howard               Bronx                   NY
Kyle              Howard               Flushing                NY
Angel             Huertas              Howard Beach            NY
Perry             Hurst                New York City           NY
Mahamadou         Idirssa              Bronx                   NY
Hamidou           Idrissa              Brooklyn                NY
Eulder            Isaac                Queens                  NY
Euler             Isaac                Springfield Gardens     NY
Sheikh            Islam                Hollis                  NY
Amanul            Islam                Brooklyn                NY
Amimur            Islam                Brooklyn                NY
Amasai            Israel               Brooklyn                NY
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Christian          Jackson               Bronx                  NY
Lajeanna           Jacobs                Brooklyn               NY
Jermaine           James                 Jamaica                NY
Oswald             James                 Brooklyn               NY
Demeterius         Jay                   Wyandanch              NY
Trevor             Jean                  Brooklyn               NY
Rich Michel        Jean Baptiste         Brooklyn               NY
Mario              Jean Toussaint        Brooklyn               NY
Socrates           Jean'Gilles           Brooklyn               NY
Tyjuan             Jenkins               Brooklyn               NY
Isidro             Jimenez Rodriguez     Manhattan              NY
Henry              Joanus                Brooklyn               NY
Tranell            John                  Brooklyn               NY
Otalia             John                  Queens                 NY
Raymond            Johnson               Bronx                  NY
Ronald             Johnson               Brooklyn               NY
Curtis             Johnson               Mount Vernon           NY
Maurice            Johnson               Brooklyn               NY
Dwight             Johnson               Brooklyn               NY
Anthony            Jones                 Uniondale              NY
Jeter              Jones                 Brooklyn               NY
Kevin              Jones                 Jamaica                NY
Fritz              Joseph                Brooklyn               NY
Bangaly            Kaba                  Brooklyn               NY
Mohamed            Kante                 Bronx                  NY
Oumarou            Kante                 New York               NY
Mamadou            Kante                 Bronx                  NY
Mohamed            Kanu                  Bronx                  NY
Mamady             Keita                 Manhattan              NY
Conrod             Kentish               Brooklyn               NY
Cecil              Keymist               Bronx                  NY
Pervez             Khan                  East Elmhurst          NY
Waqas              Khan                  Brooklyn               NY
Alexander          Kikel                 Mohegan Lake           NY
Christian          Kiladitis             College Point          NY
James              Kimbrough             Queens Village         NY
Tyrell             King                  Staten Island          NY
Earnell            Kirkland Jr           Jamaica                NY
Oumar              Konipo                Bronx                  NY
Yaye               Koura                 Brooklyn               NY
Abdoul             Kouyo                 New York               NY
David              Kowalsky              Nyack                  NY
Griffiths          Kpogli                Bronx                  NY
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Richard            Kyei                  Bronx                  NY
Fritz              Laforest              Rosedale               NY
Sumit              Lama                  Elmhurst               NY
Angsonam           Lamasherpa            Corona                 NY
Armstrong          Lamothe               Jamaica                NY
Dennis             Larosa                Brooklyn               NY
Paul               Larue                 Brooklyn               NY
Aldwyn             Lawrence              New Rochelle           NY
Archie             Layne                 Brooklyn               NY
Wesley             Lewis                 East Elmhurst          NY
Kenneth            Lewis                 Brooklyn               NY
Jose               Liz                   New York               NY
Denzil             Lobban                Roosevelt              NY
Javier             Lopez                 Bronx                  NY
Edwin              Lopez                 Bronx                  NY
Carlos             Lopez                 Bronx                  NY
Ken                Louis                 Bronx                  NY
Harold             Lovett                New York               NY
Derik              Lugo                  Elmont                 NY
Noel               Luna                  Mount Vernon           NY
Peter              Lynch                 Brooklyn               NY
Ikechukwu          Madu                  Bronx                  NY
Gursel             Mandaci               Brooklyn               NY
David              Mapp                  Brooklyn               NY
Lazarus            Marrast               Brooklyn               NY
Wagner             Marte                 Bronx                  NY
Moises             Marte Jr              Bronx                  NY
Shelly             Martin                New York               NY
Jarrett            Martin                New City               NY
Efrem              Martinez              Bronx                  NY
Darryl             Mashore               Corona                 NY
Maria‐Lisa         Massop                Brooklyn               NY
Alexis             Mateo                 Brooklyn               NY
Bladimy            Mathurin              Brooklyn               NY
Sebastian          Matias                New York City          NY
Leah               Maynor                Staten Island          NY
Maurice            Mayo                  Brooklyn               NY
Makhtar            Mbaye                 Bronx                  NY
Jeffrey            Mcconnell Jr          Bronx                  NY
Dexter             Mccray                Brooklyn               NY
Jackie             Mcdaniel              Brooklyn               NY
Garland            Mckiver               Bronx                  NY
Herman             Mcleod                Brooklyn               NY
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Kylle             Mcmillan             Roosevelt               NY
Howard            Mcneill              Brooklyn                NY
Daquan            Mcrae                Bronx                   NY
Ernie             Mejia                Bronx                   NY
Angel             Melendez             Brooklyn                NY
Adamou            Melrem               Bronx                   NY
Keven             Menelas              Brooklyn                NY
William           Mensah               Rosedale                NY
Leon              Mensah               Brooklyn                NY
Jeankirk          Michel               Brooklyn                NY
Derrick           Mickels              Brooklyn                NY
Craig             Miller               Brooklyn                NY
Robert            Miller               Hempstead               NY
Aishah            Miller               Monroe                  NY
Stephanie         Minette              Brooklyn                NY
Peter             Miranda              Yonkers                 NY
Clifford          Mitchell             Yonkers                 NY
Paul              Molina               Brooklyn                NY
Noel              Molina               Freeport                NY
Coutois           Molyneaux            Rosedale                NY
Alexander         Moore                Brooklyn                NY
Dashan            Moore                Bronx                   NY
Marcus            Moore                Jamaica                 NY
Janet             Moran                Brooklyn                NY
Lisa              Morgan               Brooklyn                NY
Alfred            Morris               Yonkers                 NY
Karen             Morrison             Brooklyn                NY
Brett             Motz                 Elmont                  NY
Ahmed             Moustafa             Queens                  NY
Omyah             Muhammad             Brooklyn                NY
David             Murray               Jamaica                 NY
Martin            Myers                Mount Vernon            NY
Irungu            Naantaanbuu          New York                NY
Ramcharran        Nauth                Jamaica                 NY
Nashath           Nazeer               New Rochelle            NY
Mbaye             Ndiaye               New York                NY
Trung             Nguyen               Brooklyn                NY
Valentino         Nieves               Long Island City        NY
Youssouf          Niono                New York                NY
Yury              Niyazov              Briarwood               NY
Kebba             Njie                 Bronx                   NY
Kwame             Nketia               Bronx                   NY
Trinley           Norbu                Elmhurst                NY
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Faron            Norwood               Brooklyn               NY
Joseph           Novembre              Elmont                 NY
Anthony          Nurse                 Woodhaven              NY
Kelechi          Nwakwue               Brooklyn               NY
Chukwunanu       Nzeka                 Brooklyn               NY
Steve            Odigie                Jamaica                NY
Amanteh          Officer               Bronx                  NY
John             Ofori Amanfo          Staten Island          NY
Oliwole          Ogunnubi              Brooklyn               NY
Leana            Ojeda                 Corona                 NY
Ebenezer         Olasokan              Brooklyn               NY
Chris            Olewuenyi             Bronx                  NY
Andre            Oliphant              Deer Park              NY
Fraylin          Olivares              Bronx                  NY
Manuel           Olivari               Queens                 NY
Michael          Oluwole               Brooklyn               NY
James            Onwodi                Queens Village         NY
Adem             Orhan                 Brooklyn               NY
Tammy            Osby                  Brooklyn               NY
Raymond          Osorio                Bronx                  NY
Tobrise          Otomewo               Saint Albans           NY
Filwende         Ouedraogo             Bronx                  NY
Jimmy            Paredes               Yonkers                NY
Owen             Parris                Brooklyn               NY
Veronica         Passalacqua           Lindenhurst            NY
Kamilah          Patterson             Brooklyn               NY
Rously           Paul                  Brooklyn               NY
Jean             Paulino               Bronx                  NY
Dusko            Pavlovic              New York               NY
Zoila            Pena                  Bronx                  NY
Sofia            Pena                  Mount Vernon           NY
Patrick          Penel                 Brooklyn               NY
Nagles           Percy                 Cambria Heights        NY
Francisco        Perez                 Manhattan              NY
Romer            Perez                 Bronx                  NY
Edwin            Perez                 Bronx                  NY
Louis            Perpignant            Brooklyn               NY
Aron             Persaud               Yonkers                NY
Robert           Peterson              Bronx                  NY
Jethro           Petit                 Flushing               NY
Sunita           Pherai                Cedarhurst             NY
Henry            Piedra                Forest Hills           NY
Sharrise         Pierce                Schenectady            NY
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James             Pierre                  Elmont                  NY
Samuel            Pierre                  Brooklyn                NY
Junel             Pierre                  Far Rockaway            NY
Jacques           Pierre ‐ Louis          Brooklyn                NY
Jefferson         Pilgrim                 Flushing                NY
Samuel            Polo                    Jamaica                 NY
Martine           Polynice                Elmont                  NY
Salvatore         Potente                 Yonkers                 NY
David             Pratt                   Troy                    NY
Lavon             Prescott                Yonkers                 NY
Samuel            Quartey                 Bronx                   NY
Victor            Quimi                   Woodside                NY
Gabriel           Quinones                Bronx                   NY
Priyan            Rajapathirage           Staten Island           NY
Nargiza           Rakhmatova              Brooklyn                NY
Domingo           Ramos                   Brooklyn                NY
Anthony           Ranauro                 Auburn                  NY
Darien            Rankine                 Brooklyn                NY
Jean‐Maxime       Rateau                  Bronx                   NY
Shiva             Rawat                   Woodside                NY
Andrew            Rawlinson               Bronx                   NY
Muhammad          Razi                    Valley Stream           NY
Kennard           Reece                   Brooklyn                NY
Miguelina         Reinoso                 Bronx                   NY
Alvin             Renfrum                 Springfield Gardens     NY
Fabian            Renton                  Jamaica                 NY
Giovanny          Restrepo                Fresh Meadows           NY
Nelson            Reynoso                 Bronx                   NY
Raymond           Rhoden                  Bronx                   NY
Deval             Rhodes                  Elmont                  NY
Sherma            Richards                Lawrence                NY
Francisco         Rivera                  Bayport                 NY
Traci             Robertson               Brooklyn                NY
Nathaniel         Robinson                Brooklyn                NY
Yuwsuf            Robinson                Bronx                   NY
Dianne            Robinson                Brooklyn                NY
Jeffrey           Rochester               Middletown              NY
Richard           Rodriguez               Bronx                   NY
Leandro           Rodriguez               Bronx                   NY
Eleazar           Rodriguez               Manhattan               NY
Andres            Rodriguez               Freeport                NY
Miguel            Rodriguez               Bronx                   NY
David             Rogers                  Bronx                   NY
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Lucia              Rojas                  Staten Island          NY
Jose               Roman                  Bronx                  NY
Frank              Romeo                  New York               NY
Joseph             Romero                 Bronx                  NY
Owen               Romillie               Brooklyn               NY
Elvin              Rosa                   New York               NY
Frank              Rosa                   Bronx                  NY
Ricardo            Rosario                New York               NY
Jose               Rosario                Bronx                  NY
Candice            Rose                   Hempstead              NY
Anderson           Ross                   Jamaica                NY
Robert             Russo                  Rye                    NY
Dipak              Sah                    Queens                 NY
Jose               Salcedo                Ozone Park             NY
Robert             Salisbury              Bronx                  NY
Anthony            Salley                 Bronx                  NY
William            Salmon                 Bronx                  NY
Atti               Salmon                 Brooklyn               NY
Geordany           Salomon                Queens Village         NY
Nicole             Salter                 Bronx                  NY
Selvio             Salvador               Bronx                  NY
Jody               Sambury                Brooklyn               NY
David              Sampson                Brooklyn               NY
Kavi               Samuel                 Brooklyn               NY
Brian              Samuel                 South Ozone Park       NY
Jose               Sanchez                Brooklyn               NY
Elvis              Santana                South Richmond Hill    NY
Raymond            Santiago               Staten Island          NY
Lenny              Santiago               Brooklyn               NY
Christopher        Santiago               Brooklyn               NY
Tauseef            Sattar                 Staten Island          NY
Tristen            Saunders‐Hall          Brooklyn               NY
Hupert             Savage                 Brooklyn               NY
Adama              Sawadogo               New York City          NY
Saidou             Sawadogoo              Brooklyn               NY
Melissa            Schmid                 Niagara Falls          NY
Jessica            Scott                  Queens                 NY
Yvanson            Selon                  West Babylon           NY
Juan               Serrano                Wappingers Falls       NY
Angela             Seward                 Forest Hills           NY
Aman               Sharma                 Richmond Hill          NY
Courie             Sharpe                 Hempstead              NY
Najah              Sharrieff              Jamaica                NY
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Billy              Shell                Middletown             NY
Franklin           Shields              Valley Stream          NY
Sharon             Shipley              Brooklyn               NY
Shafran            Shurid               Jamaica                NY
Bakary             Siby                 Bronx                  NY
Anthony            Simmons              Arverne                NY
Joseph             Simmons Jr           Brooklyn               NY
Anil               Singh                Hicksville             NY
Jatinder           Singh                Richmond Hill          NY
Vipandeep          Singh                Jamaica                NY
Amritpal           Singh                Bellerose              NY
Himat              Singh                South Richmond Hill    NY
Harjinder          Singh                Queens                 NY
Carolann           Singh                South Richmond Hill    NY
Amrik              Singh                Bronx                  NY
Eric               Siri                 Brooklyn               NY
Mohammed           Sirleaf              Jamaica                NY
Christopher        Sirmons              Central Islip          NY
Stephen            Smith                Albany                 NY
James              Smith                Brooklyn               NY
Latonia            Smith                New Rochelle           NY
Abigail            Smith                Brooklyn               NY
Darryl             Smith                Whitestone             NY
Prentis            Smith Jr             Bronx                  NY
Abel               Sosa                 Bronx                  NY
Henry              Soto Segura          Staten Island          NY
Susan              Southwell            New York               NY
Miles              Spell                Bay Shore              NY
James              Stevens              Brooklyn               NY
Ronnie A.          Stevens              Brooklyn               NY
Paul               Stuckey              Bronx                  NY
Kevin              Styles               Ozone Park             NY
Luinlly            Suazo                Bronx                  NY
Jewel              Subhan               Jamaica                NY
Omobolanle         Sunmonu              Queens                 NY
Janine             Sutton               Bronx                  NY
Taquan             Swaby                Bronx                  NY
Ismael             Sysavane             Bronx                  NY
Eli                Talvy                Bronx                  NY
Jean               Tarte                Jamaica                NY
Duane              Tate                 Bronx                  NY
Samuel             Taveras              Manhattan              NY
Josephus           Taylor               Brooklyn               NY
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Monte               Taylor                Astoria                NY
Robert              Taylor                Bronx                  NY
Ronell              Teague                New York City          NY
Jabel               Teesay                Jamaica                NY
Pablo               Tejeda                Glendale               NY
Rodc                Terrell               Brooklyn               NY
Paras               Thapa                 Corona                 NY
Garry               Thelamy               Queens                 NY
Jean                Theodore              Wheatley Heights       NY
Lucien              Theodore              Hollis                 NY
Chad                Thomas                Brooklyn               NY
Whitney             Thomas                Huntingtn Sta          NY
Jeffrey             Thomas Jr             Far Rockaway           NY
Leroy               Thompson              Bronx                  NY
Derrick             Thompson              Brooklyn               NY
Eric                Thompson              Jamaica                NY
Jessica             Thompson              Freeport               NY
Frank               Thompson Jr.          Jamaica                NY
Ashia               Thomson               Mitchell Field         NY
Alisha              Tittle                Saint Albans           NY
Norman              Titus                 Jamaica                NY
Issa                Togola                Ny                     NY
Patrick             Toko                  Bronx                  NY
Wendell             Toro                  Brooklyn               NY
Adrian              Toro                  Brooklyn               NY
Pablo               Torreblanca           Bronx                  NY
Bienvenido          Torres                Queens                 NY
Elhadji D           Toure                 Bronx                  NY
Fode                Traore                Bronx                  NY
Souleymane Amadou   Traore                Bronx                  NY
Toussegho Y         Tsikabaka             New York               NY
Sango               Tyehimba              Bronx                  NY
Charles             Udeagblala            Brooklyn               NY
Alfred              Udo                   Jamaica                NY
Evans               Uka                   Far Rockaway           NY
Olson               Vanrossum             Brooklyn               NY
Francisco           Varela                Brooklyn               NY
Hector              Vargas                New York               NY
Carlos              Vasquez               Brooklyn               NY
Jonathan            Vasquez               Woodhaven              NY
Orvil               Vasquez               Brooklyn               NY
Mike                Vaughan               Glen Cove              NY
Steven              Vega                  New York               NY
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Albert             Vega                 Bronx                   NY
Christopher        Velez                Bronx                   NY
Eduardo            Velez                Bronx                   NY
Evan               Velez                Woodside                NY
Christopher        Ventura              Lindenhurst             NY
Antoinette         Vereen               Bronx                   NY
Jaime              Vidal                Bronx                   NY
Eard               Vidal                Brooklyn                NY
Darren             Villante Jr          Freeport                NY
Karl               Voigt                Brooklyn                NY
Joseph             Voltaire             Brooklyn                NY
Curtis             Waithe               Brooklyn                NY
Raphael            Walcott              Springfield Gardens     NY
Lancelot           Waldoron             Baldwin                 NY
Che                Walker               Yonkers                 NY
Lamont             Walker               New York                NY
Steve              Walker               Queens Village          NY
Rodney             Walker               Peekskill               NY
Reginald           Walker               Jamaica                 NY
Troy               Wallace              Saint Albans            NY
Sandra             Wallace              Brooklyn                NY
Arthur             Wallace              Saint Albans            NY
Wayne              Wallace              Brooklyn                NY
George             Wallace              Bronx                   NY
Stuart             Warner               Jericho                 NY
Fabayo             Watkins              New York                NY
Berris             Watson               Brooklyn                NY
Rayon              Weatherley           Brooklyn                NY
Craig              White                Mount Vernon            NY
Lacole             Whitfield            Hempstead               NY
Eddie              Whitten              New York                NY
Lemuel             Wiechels             Astoria                 NY
Priscilla          Wilkerson            Manhattan               NY
Dwayne             Williams             Brooklyn                NY
Samuel             Williams             Far Rockaway            NY
Sterling           Williams             Springfield Gardens     NY
Kevin              Williams             Brooklyn                NY
David              Williams             Saint Albans            NY
Douglas            Williams             Corona                  NY
Isheem             Williams             Flushing                NY
Wendell            Williams             Brooklyn                NY
Michael            Williams             Roosevelt               NY
Moses              Williams             Brooklyn                NY
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Benjamin           Williams             Bronx                  NY
Wayne              Wilson               Brooklyn               NY
Keisha             Wilson               Valley Stream          NY
Lester             Wintz                Brooklyn               NY
Marion             Wolfe                Brooklyn               NY
Brian              Woodward             Hempstead              NY
Calvin             Wright               Yorktown               NY
Ayo                Wynter               Brooklyn               NY
Pierre             Yepes                Flushing               NY
Jorge              Ynfante              Maspeth                NY
Shaibu             Zakaria              Bronx                  NY
Fernando           Zamora               Jackson Heights        NY
Kiswendsida        Zongo                Bronx                  NY
Inoussa            Zoungrana            Bronx                  NY
Khalilah           Greene               Florence               sc
William            Adusei               Missouri City          TX
David              Ahmadu               Houston                TX
Sher               Ali                  Sugar Land             TX
Adel               Alzamir              Houston                TX
Jay                Arthur               Houston                TX
Danny              Asbury               Cypress                TX
David              Ashmore              Richmond               TX
Steve              Balch                Spring                 TX
Dawit              Belhen               Houston                TX
Darryn             Benson               Waco                   TX
Brett              Blackburn            Spring                 TX
Gregg              Boudreaux            Houston                TX
Mark               Bowen                Dallas                 TX
James              Bradley              Katy                   TX
Charles            Bruce                Fresno                 TX
Craig              Cade                 Houston                TX
David              Canada               Sugar Land             TX
Charles            Carter               Houston                TX
Laronn             Cleveland            Missouri City          TX
Velinda            Crezo                Houston                TX
Richardean         Daniels              Houston                TX
Frank              Davis                Manvel                 TX
Jonathan           Davis                Houston                TX
Charlene           De Leon              Fresno                 TX
Schlanda           Dorsey               Houston                TX
Wallace            Ellis                Houston                TX
David              Fenton               Houston                TX
Karen              Fitzhenry            Alvin                  TX
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Terry              Fletcher               Waller                  TX
Harold             Foster                 Houston                 TX
Michael            Grigsby                Houston                 TX
Ismael             Gutierrez Bazaldua     Pearland                TX
Long               Ha                     Houston                 TX
Corey              Hale                   Houston                 TX
Jarrett            Henderson              Houston                 TX
Ruben              Hernandez              Pasadena                TX
Ruben C            Hernandez              Pasadena                TX
Peter              Herrera                Richardson              TX
Brian              Hilt                   Irving                  TX
Clint              Horn                   Houston                 TX
Vickie             Jackson                Fort Worth              TX
Carla              Jackson                Houston                 TX
Henry              Jackson                Houston                 TX
Rudolph            Jenkins                Humble                  TX
Mark               Jenkins                Houston                 TX
James              Joffrion               Houston                 TX
Wendell            Johnson                Houston                 TX
Kevin              Johnson                Houston                 TX
Michael            Johnson                Houston                 TX
Vinson             Jolivette              Tomball                 TX
Abadan             Kasnavia               Sugar Land              TX
Paul               Kimmons                Desoto                  TX
Tim                Kugler                 Spring                  TX
Stephen            Langley                Houston                 TX
Earl M .           Lloid                  Sugar Land              TX
Joaquin            Lopez                  Houston                 TX
Joseph             Lyons                  Houston                 TX
Marlon             Mancilla               Houston                 TX
Justin             Mathew                 Missouri City           TX
Michael            McLaughlin             Hockley                 TX
Michael Shayne     McVoy                  Mesquite                TX
Christopher        Miller                 La Porte                TX
Renald             Moore                  Houston                 TX
Larry              Murphy                 Galveston               TX
Keith              Mwamba                 Houston                 TX
Jerry              Nolen                  Natalia                 TX
Jacob              Okereke                Lewisville              TX
Chinaza            Okereke                Katy                    TX
Prince             Owese                  Plano                   TX
David              Perkins                Dallas                  TX
Diego              Poston                 Lockhart                TX
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Lisa              Rheams                 Austin                  TX
David             Ridriguez              Canutillo               TX
Wisam             Robie                  Katy                    TX
Armando           Rodriguez              Corpus Christi          TX
Agustin           Rodriguez Jr           Houston                 TX
Meroan            Sattouf                Houston                 TX
James             Saunders               Houston                 TX
Randy             Scott                  Conroe                  TX
Jason             Scott                  Spring                  TX
Mark              Seymour                Houston                 TX
Cameron           Shaw                   Haltom City             TX
Norman            Silverston             Houston                 TX
Douglas           Simpson                Spring                  TX
Robert            Sims                   Houston                 TX
Carlos            Stubblefield           Katy                    TX
Milton            Styner Senior          Humble                  TX
Craig             Taylor                 Mansfield               TX
Lee               Thompson               Houston                 TX
Joy               Thompson               Katy                    TX
Geoffrey          Turnbull               Spring                  TX
Mario             Vallez                 Houston                 TX
Delrick           Veal                   Houston                 TX
Kelvin            Wagner                 Houston                 TX
Jack              Walker                 Houston                 TX
Kenny             Walsh                  Humble                  TX
Delia             White                  Missouri City           TX
Telemekus         Williams               Houston                 TX
Gregory           Williams               Houston                 TX
Chuck             Winfree                Houston                 TX
Brian             Wolsey                 Spring                  TX
Terrance          York                   Houston                 TX
Brian             Zelk                   Houston                 TX
